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                                                        ADDLESHAW GODDARD LU'




                                     AWARD




INTERNATIONAL CHAMBER OF COMMERCE (ICC)
INTERNATIONAL COURT OF ARBITRATION
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Case 1:17-cv-01986-RJL Document 1-2 Filed 09/26/17 Page 2 of 285




            ICC INTERNATIONAL COURT OF ARBITRATION




                         CASE No 18806/ARP/Mfl/TO



                  KONOIKIE CONSTRUCTION CO. LIMITED

                                     (Japan)

                                       vs/

                        1. THE MINISTRY OF WORKS

                                   (Tanzania)

                2. TANZANIA NATIONAL ROADS AGENCY

                                   (Tanzania)

                     3. THE MINISTRY OF TRANSPORT

                                   (Tanzania)

4. THE ATTORNEY GENERAL OF THE UNITED REPUBLIC OF TANZANIA

                                   (Tanzania)




This document is an original of the Final Award rendered in conformity with the
       Rules of Arbitration of the ICC International Court of Arbitration.
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INTERNATIONAL CHAMBER OF COMMERCE
INTERNATIONAL COURT OF ARBITRATION
ICC Case No. 18806/ARP/MD/TO




            KONOIKE CONSTRUCTION CO., LTD (Japan)
                                                           Claimant


                               Wc




               (1) THE MINISTRY OF WORKS (Tanzania)
         (2) TANZANIAN NATIONAL ROADS AGENCY (Tanzania)
             (3) THE MINISTRY OF TRANSPORT (Tanzania)
     (4) THE ATTORNEY GENERAL OF THE UNITED REPUBLIC OF
                          TANZANIA (Tanzania)


                                                        Respondents




                         FINAL AWARD




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SECTION I: INTRODUCTION

    I. In this Section, the following background issues are addressed:

              Definitions;
              Referencing;
              Parties and their legal representatives;

              Arbitral Tribunal;
              Arbitration Agreement, Applicable Law and Place of Arbitration;
        I Procedural history of the Arbitration;

              PartialAward;
              Fact witnesses;
              Expert witnesses, their reports and joint statements;

              Tanzanian law;
              Parties' list of issues.



Definitions

   2. In this Award, the following terms and expressions are used:
       "Accepted Contract Amount" means the amount claimed in Clause 1.1.14 of
      the Contract.

      "Addendum" means Addendum No. 1 (to the Contract) dated 15 March
      2007.

      "Arbitral Tribunal" or "Tribunal" means the tribunal appointed by the
      Parties as set out in this section.

      "CCS" means the Claimant's written closing submissions.

      "Claimant" or "Konoike" means the Claimant in this arbitration as set out in
      paragraph 4 below.



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    "Contract" means the construction contract entered into between the
    Claimant and the Ministry of Works dated 21 March 2003.

    "Contract price" has the meaning ascribed to it in the Contract.

    "Contractor" has the meaning ascribed to it in the Contract.

    "DoS" means the Deed of Settlement dated 15 March 2007.

    "Employer" has the meaning ascribed to it in the Contract.

    "Engineer" has the meaning ascribed to it in the Contract. The original
    Engineer, Roughton International was replaced by Black & Veatch.

    "FIDIC" means Federation Internationale Des Ingenieurs-Conseils.

    "GNT" means the Govermiient Negotiating Team formed for the purpose of
    negotiating a settlement with Konoike in late 2006.

    "GST" means the Government Special Team appointed by the Government to
   review the Project in November 2006.

   "Government" means the Government of the United Republic of Tanzania.

   "ICC" means the International Chamber of Commerce.

   "ICC Court" means the ICC International Court of Arbitration.

   "ICC Rules" means the 1998 ICC Rules of Arbitration.

   "IPC" means Interim Payment Certificate.

   "Japanese Yen" or "JYN" means the currency of Japan.

   "Letter of Acceptance" means the letter sent by the Employer to the
   Claimant dated 14 March 2009 informing the Claimant that its Tender had
   been accepted [E2/228/230].

   "MoLD" means the Ministry of Infrastructure and Development of Tanzania.

   "MoU" means the Memorandum of Understanding dated 30 January 2007.


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    "Outstanding Amount" means the sum of USD 10,602,746.36 which
    Konoike alleges was owed to it as Price Escalation on the Foreign Currency
    element of IPCs 7-16.

    "Pre-Bid Meeting Minutes" means the minutes of the meeting held on 25
    November 2002 in relation to the tender for the design and construction of the
    Dodoma-Manyoni and the Manyoni —Singida Roads IG1JI111.

    "Parties" means the Claimant and the Respondents together unless the
    context requires otherwise, and "Party" means each individually as the
    context requires.

    "Price Escalation" has the meaning ascribed to it in the Contract.

    "Project" means the design and construction of the Road by the Contractor
    under the Contract.

    "RCS" means the Respondents' written closing submissions.

    "Regulations" means the Public Procurement (Goods, Works, non-Consultant
    Services and Disposal of Public Assets by Tender) Regulations 2005, GN No.
   97.

   "Respondents" means the Respondents in this arbitration as set out in
   paragraphs 6-9 below.

   "Road" means the road from Dodoma to Manyoni.

   "Schedule" means the Schedule of Costs and Percentages of Listed Elements
   in the Contract fEl/6/1081.

   "Section" means a section of the Road.

   "Section 1" means Km 0 (Dodoma) to Km 63 (Uhelela) of the Road.

   "Section 2" means Km 63 (Uhelela) to Km 84 (Chikuyu) of the Road.

   "Section 3" means Km 84 (Chikuyu) to Km 110 (Muhalala) of the Road.

   "Section 4" means Km 110 (Muhalala) to Km 127 (Manyoni) of the Road.

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        "Tanroads" means the Second Respondent, Tanzania National Roads
        Agency.

        "Tanzanian Shillings" or "TTh" means the currency of the United Republic
        of Tanzania.

        "Tanzania" means the United Republic of Tanzania.

        "US Dollars" or "USD" means the currency of the United States of America.

       "Works" has the meaning ascribed to it in the Contract.




Referencing
    3. The following referencing system is used:

            Transcript citations: the citation [Ti/l/i] refers to the transcript of the
           hearing on day 1, page 1, line 1.

           Documents: identified by their electronic hearing bundle reference -
            [41/1.1/1].

           Expert reports: identified by the name of the expert, the number of the
           expert report and the paragraph number of the expert report.

           Witness statements: identified by the name of the witness, the number of
           the witness statement and the paragraph number of the witness statement.

Parties and their legal representatives

   4. The Claimant is Konoike Construction Co. Limited, a limited liability
       company, incorporated under the laws of Japan, whose address and registered
       office is at 3-4-5, Umeda, Kita-ku, Osaka 530-8517, Japan.

   5. The Claimant is represented in this arbitration by:

        Mr David Thomas QC

        Ms Jane Lemon QC




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Case 1:17-cv-01986-RJL Document 1-2 Filed 09/26/17 Page 9 of 285


     Keating Chambers

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     Mr Simon Delves

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    Mr Nicholas Smith

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    Capital House

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    Email:       n.smith@beale-law.com


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    The First Respondent is the Ministry of Works (Tanzania) whose address is
    P0 Box 9423, Dar es Salaam, Tanzania. The First Respondent is a Ministry of
    the Government of the United Republic of Tanzania.

    The Second Respondent is the Tanzanian National Roads Agency
    ("Tanroads") whose office is at ZAIN House, Fl 3 and 4, Corner Ali Hassan
    Mwinyi Road I Kawawa Road, Kinondoni, Dar es Salaam, Tanzania.
    Tanroads is an Executive Agency of the Government of the United Republic
    of Tanzania established pursuant to section 3(l) of the Executive Agencies
    Act, and operational since July 2000.

    The Third Respondent is the Ministry of Transport whose address is P0 Box
    9144, Dar es Salaam, Tanzania. The Third Respondent is a Ministry of the
    Government of the United Republic of Tanzania.

    The Fourth Respondent is the Attorney General of the United Republic of
    Tanzania whose address is P0 Box 9050, Dar es Salaam, Tanzania. The
    Attorney General is the chief legal adviser to the Government Departments
    and Ministries of the United Republic of Tanzania.

    The Respondents are represented in this arbitration by:

    Mr D Brian King

    Mr Jonathan Gass

    Mr Carlos Ramos-Mrosovsky

    Mr Lee Rovinescu

    Mr Francisco Franco Rodriguez

    Ms Tessa Hayes

    Mr Michael Xiao

    Freshfields Bruckhaus Deringer US LLP


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                                    P1



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Arbitral Tribunal

   11. The members of the Arbitral Tribunal are:

      Mr John Bellhouse

      13 Gray's Inn Square

      London WC1R 5JR

      United Kingdom

      Tel:           +44 (0)20 7067 1900

      Email:        johnjmhbe1lhouse.com




      Mr Belihouse's appointment as President, on the joint nomination of the
      Parties, was confirmed by the Secretary-General of the ICC International
      Court of Arbitration pursuant to Article 13(2) of the ICC Rules (2012) on
      26 February 2013.




     Professor Douglas Jones AO

     Level 15, 1 Bligh Street

     Sydney, NSW 2000

     Australia

     Tel:           +61 2 9353 4120

     Fax:           +61 2 8220 6700

     Email:         douonesdougjones.info




                                       'Li'


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       Professor Jones' appointment, on the nomination of the Claimant, was
       confimwd by the Secretary-General of the ICC Court, pursuant to
       Article 13(2) of the ICC Rules (2012) on 10 January 2013.




       Mr Graeme Christie

       Simpson Grierson

       88 Shortland Street

       Private Bag 92518

       1141 Auckland

       New Zealand

       Tel:           +64 9 977 5088

      Fax:            +64 9 977 5028

      Email:          graeme.christiesimpsongrierson.com




      Mr Christie's appointment, on the joint nomination of the Respondents, was
      confirmed by the Secretary-General of the ICC Court, pursuant to
      Article 13(2) of the ICC Rules (2012), on 10 January 2013.




Arbitration Agreement, the Applicable Law and Place of Arbitration

   12. The agreement to arbitrate is set out in Sub-Clause 20.6 (Arbitration) of the
      General Conditions of the Contract dated 21 March 2003 signed by Konoike
      and the Ministry of Works which provides:

       "Unless settled amicably, any dispute in respect of which the DABs decision
      (if any) has not become final and binding shall be finally settled by
      international arbitration. Unless otherwise agreed by both Parties:




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     The dispute shall be finally settled under the Rules of Arbitration of the
    International Chamber of Commerce,

     The dispute shall be settled by three arbitrators appointed in accordance with
    these Rules, and

    The arbitration shall be conducted in the language for communications
    defined in Sub-Clause 1.4 [Law and Language]

    The arbitrator(s) shall have full power to open up, review and revise any
    cert(Jicate, determination, instruction, opinion or valuation of the Engineer,
    and any decision of the DAB, relevant to the dispute. Nothing shall disqual,5'
    the Engineer from being called as a witness and giving evidence before the
    arbitrator(s) on any matter whatsoever relevant to the dispute.

    Neither Party shall be limited in the proceedings before the arbitrator(s) to
    the evidence or arguments previously put before the DAB to obtain its
    decision, or to the reasons for dissatisfaction given in its notice of
    dissatisfaction. Any decision of the DAB shall be admissible in evidence in the
    arbitration.

    Arbitration may be commenced prior to or after completion of the Works. The
    obligations of the Parties, the Engineer and the DAB shall not be altered by
    reason of any arbitration being conducted during the progress of the Works."

    Sub-Clause 1.4 (Law and Language) of the General Conditions of the Contract
    provides that:

     "The Contract shall be governed by the law of the country (or other
   jurisdictions) stated in the Appendix to Tender."

    The Appendix to Tender provides that the "Governing Law" is the "Law of the
    Republic of Tanzania."

    The Parties agreed, and at its session of 11 October 2012, the ICC Court fixed
    London, United Kingdom, as the place of arbitration.




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Procedural history of the arbitration

       On 3 April 2012, the Claimant notified the Respondents of its intention to
       commence this arbitration.

       The Claimant submitted a Request for Arbitration dated 4 July 2012 (received
       by the ICC Secretariat on 5 July 2012).

      At its session of 11 October 2012, the ICC Court decided that this arbitration
       shall proceed between the Claimant and the Respondents, pursuant to
      Article 6(4) of the ICC Rules (2012).

      The Respondents submitted an Answer and Counterclaim dated
       13 September 2012, and the Claimant submitted a Reply to the Answer and
      Counterclaim dated 24 October 2012.

      On 2 November 2012, the Claimant acknowledged that the MolD had ceased
      to exist as of 24 November 2010 and should be removed as a Respondent to
      this arbitration.

      The members of the Arbitral Tribunal were appointed on the dates set out in
      paragraph 11 above and the ICC Secretariat submitted the file in this
      arbitration to the Arbitral Tribunal on 26 February 2013.

      On 18 April 2013, a procedural meeting was held in London and a provisional
      procedural timetable was largely agreed.

      The Claimant submitted the Statement of Case and supporting evidence on
      17 May 2013.

      Further to a hearing on 6 and 7 June 2013 in London, the Arbitral Tribunal
      issued Procedural Order No. I and the Procedural Timetable pursuant to
     Article 24.2 of the ICC Rules (2012).

     Further to the hearing on 6 and 7 June 2013, the Arbitral Tribunal issued
     Procedural Order No. 2 containing the Arbitral Tribunal's decisions in respect
     of the Second and Third Respondents' preliminary issues application dated
     10 April 2013.

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    The Terms of Reference were executed by the Claimant, the Respondents and
    Arbitral Tribunal on 7 June 2013. The Terms of Reference were approved by
    the ICC Court on 11 July 2013.

    An Addendum to the Terms of Reference was executed by the Arbitral
    Tribunal on 19 July2013.

    By email dated 6 December 2013, pursuant to Article 27 of the ICC Rules
    2012, the Arbitral Tribunal declared the proceedings closed in relation to the
    Preliminary Issues 3, 6 and 8 to be decided in a Partial Award.

    The Respondents submitted the Defence and Counterclaims and supporting
    evidence on 22 February 2014.

    The Claimant submitted a Reply and Defence to Counterclaims on 13 June
    2014.

    The Respondents submitted a Rejoinder on 12 September 2014.

    On 1 October 2014, the Tribunal directed the Parties to submit Powers of
    Attorney authorising their respective counsel to represent the Parties. The
    Claimant submitted a Power of Attorney in respect of Beale & Company LLP
    dated 10 April 2013; a Power of Attorney in respect of David Thomas QC and
   Jane Lemon QC dated 30 September 2014; and a Power of Attorney in respect
   of Ms Fatma Karume dated 30 October 2014. The Respondents submitted a
   Power of Attorney in respect of the Ministry of Transport granting a Power of
   Attorney to Freshfields Bruckhaus Deringer LLP and Freshfields Bruckhaus
   Deringer US LLP dated 11 April 2013; a Power of Attorney by Tanroads, the
   Ministry of Works and the Attorney General in favour of Freshfields
   Bruckhaus Deringer US LLP, Jane Davies Evans and Gabriel Pascale Malata
   dated 2 October 2014.

   On 7 October 2015, both Parties agreed in principle to the appointment of a
   Tribunal Secretary. Ms Marie-Claire O'Kane was subsequently appointed.

   The Tribunal issued a draft Procedural Order No. 3 on 21 October 2014 for
   review by the Parties. The Tribunal then issued a revised draft Procedural

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       Order No 3 on 29 October 2014 and an amended appendix 2 on 31 October
       2014. Procedural Order No 3 was not formally issued, having been superseded
       by the hearing.

       By emails dated 5, 11 and 12 January 2015 the President issued directions for
       the hearings held on 20 and 21 January 2015.

       The Parties' submitted written Closing Submissions on 16 January 2015.

       Evidential hearings were held from 24 November 2014 to 8 December 2014;
       8 and 9 January 2015; and 20 and 21 January 2015.

       The ICC Court extended the time for the issue of the Final Award on a number
       of occasions and finally on 26 October 2015 to 29 January 2016.

       Pursuant to a Confidentiality Agreement dated 13 May 2015, between the
       Arbitral Tribunal and the Parties' quantum experts, Ms Joanne Prior for the
       Claimant and Mr David Kyte for the Respondents, the Parties agreed to the
       quantum experts assisting the Arbitral Tribunal with the calculation of the
       quantum arising from the Arbitral Tribunal's decisions.

      The Chairman of the Arbitral Tribunal met twice and had one telephone
      conference with the quantum experts who calculated the quantum resulting
      from the Arbitral Tribunal's decisions.

      The calculation of the quantum was finalised on 6 November 2015, following
      which the Arbitral Tribunal requested submission by the Parties of their
      respective costs submissions which had already been exchanged between the
      Parties.

      By email datedi February 2016, the Arbitral Tribunal, pursuant to Article 27
      of the ICC Rules, declared the proceedings closed.

Partial Award

      During the hearing on 6 and 7 June 2013, the Arbitral Tribunal heard
      submissions from the Parties on which, if any, further preliminary issues
      would be considered at the hearing on 18 and 19 July 2013. By a letter dated

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     3 June 2013, the Respondents had proposed that 11 issues be addressed on a
     preliminary basis. At the conclusion of day I of the hearing, and having
     carefully considered the Parties' submissions, the Arbitral Tribunal indicated
    that it was not prepared to consider on a preliminary basis proposed issues 1,
    2, 4, 7, 9, 10 or 11. The Arbitral Tribunal decided that the proposed
    preliminary issues 4, 7, 9, 10 and 11 were not possible to consider in the
    absence of relevant factual and/or expert evidence and/or would not, if
    decided as preliminary issues, significantly reduce the cost of the arbitration.
    If necessary, those issues would be addressed in the Final Award.

    The Arbitral Tribunal indicated that it would consider Preliminary Issue No. 3,
    Preliminary Issue No. 5, Preliminary Issue No. 6 and Preliminary Issue No. 8.
    The precise and agreed formulation of these preliminary issues was
    communicated by the Claimant following the hearing on 6 and 7 June 2013
    and recorded in the directions contained in Procedural Order No. 1.

    By email dated 4 July 2013, the Respondents' counsel confirmed the Parties'
    agreement that Preliminary Issue No. 5 no longer required determination. The
    Partial Award therefore only considered Preliminary Issue No. 3, Preliminary
    Issue No. 6 and Preliminary Issue No. 8.

    Preliminary Issue No. 3 was: "Are the MoU and the DoS stand alone
    contracts? If not, are claims made under the terms of the MoU/ DoS subject
    to the notice, particularisation and dispute resolution provisions of the
    Contract?"

    Preliminary Issue No. 6 was: "Is compliance with the contract notUlcation
    provisions of the Contract a pre-condition to the pursuit of a claim for an
    extension of time and/or additional payment under the Contract?"

    Preliminary Issue No. 8 was: "What principles apply in relation to the use of
    currencies under the Contract? Does the Contract c

    onstrain the currency ofpayment for claims under the Contract or for claims
   for damages for breach of the Contract?"



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    50. The Arbitral Tribunal decided that:

            In relation to Preliminary Issues No. 3:

               • In respect of the items referred to in paragraphs 3.0, 4.0, 5.0, 6.0,
                   8.0 and 9.10 of the MoU, the MoU is not a "stand alone" document
                   and any claims under the terms of the MoU in respect of the
                   matters set out in such paragraphs are subject to the notice,
                   particularisation and dispute resolution provisions of the Contract.

               • Clause 2 of the MoU and paragraphs 1, 2 and 3 of the DoS are not
                   "stand alone" agreements and any claims made pursuant to Clause
                   2 of the MoU and/or paragraphs 1, 2 and 3 of the DoS are subject
                   to the notice, particularisation and disputes resolution provisions of
                   the Contract.

           In relation to Preliminary Issue No. 6: compliance with the contractual
           notification provisions of Sub-Clause 20.1 of the Contract is a pre-
           condition to the pursuit of a claim for an extension of time or additional
           payment under the Contract.

           In relation to Preliminary Issue No. 8:

               • Any sums due under the terms of the Contract are payable in either
                  US Dollars or Tanzanian Shillings.

           The Arbitral Tribunal declined to decide as a Preliminary Issue whether
           the Contract constrains the currency of payment in respect of a claim for
           damages for breach of the Contract.

The Fact Witnesses

   51. The Claimant's witnesses of fact are:

       a. Tetsuo Sakamoto who was the Project Manager for the Dodoma-Manyoni
           Road Project at Konoike. Mr Sakamoto filed five witness statements dated
           17 May 2013, 13 June 2014, 8 October 2014, 10 December 2014,
           18 December2014.

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            Takashi Yamashita who is the General Manager of the Kenya Office at
            Konoike. Mr Yamashita filed three witness statements dated 15 May
            2013,11 June 2014, and 26 November2014.

            Hajime Nagaishi who is the Operating Officer of the International
            Division at Konoike. Mr Nagaishi filed two witness statements dated
            14 May 2013 and 13 June 2014.

            Jeffrey McCormick who was a consultant for Konoike in relation to the
            Dodoma-Manyoni Road Project. Mr McCormick filed two witness
            statements dated 13 May 2013 and 10 June 2014.

            Yasutalca Mizobata who was an Operations Officer of the Corporate
            Planning Department and the International Operation of Konoike.
            Mr Mizobata filed one witness statement dated 8 May 2013.

        f'. Akihiko Koizumi who is Section Manager of the Administration
            Department for the International Division of Konoike. Mr Koizumi filed
            one witness statement dated 8 May 2013.

        g. Nobuo Okada who was a manager in the Business Department of the
            International Division of Konoike. Mr Okada filed one witness statement
            dated 12 June 2014.

    52. The Respondents' witnesses of fact are:

           Jotham Ntensibe who was Highway Engineer and subsequently Resident
           Engineer for the Dodoma-Manyoni Road Project. Mr Ntensibe filed three
           witness statements dated 2 December 2013, 12 September 2014 and
            19 December 2014.

           Sirilius Matupa who was Principal State Attorney in the Attorney
           General's Chambers. Mr Matupa filed one witness statement dated
           5 December 2013

Expert witnesses, their reports and joint statements

   53. The Claimant's expert witnesses and reports are as follows:

                                          Is



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      a. David Richards submitted:

             • First report in relation to delay issues dated I May 2013
                 ID1/1.1111;

             • Side report on delay issues dated 25 October 2014 ED5/5.1/11;

             • Second report in relation to prolongation and disruption issues
                 dated 9 May 2013 ID111.2111;

             • Side report on disruption issues dated 31 October 2014 ID5/5.2/11;

             • Side report on prolongation and disruption valuation dated
                 16 November 2014 1D515.3/1I;

             • Revised side report on prolongation and disruption valuation dated
                 19 December 2014 1D6/15/1I;

             • Third report concerning pre-Addendum disruption issues dated
                 17 April 2014 [Dl/1.3/1];

      b. Tim Tapper submitted a report on quantum dated 20 June 2013
         [D2/2.1/1]. Mr Tapper was replaced by Ms Joanne Prior as the
         Claimant's quantum expert.

      c. Joanne Prior submitted:

                First report on quantum dated 17 April 2014 1D2/2.3/1I;

            • First side report on quantum dated 13 November 2014 [D5/5.4/1];

            • Third side report on quantum dated 24 December 2014 D6/2/1I.

     d. Nigel Penfold submitted:

            • Report on technical defects dated 12 June 2014 1D414.1/11;
            • Side report on technical defects dated 13 November 2014
                [P5/5.5/1i.


 54. The Respondents' expert witnesses and reports are as follows:
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         Wendy MacLaughlin submitted:

             • Report on delay and disruption dated 28 February 2014
                 1P2/2.2.1/11;
             • Side report on delay dated 24 October 2014 [P5/5.6/1];
             . Side report on disruption dated 30 October 2014 [P5/5.7/1I.

         David Kyte submitted:

             • First side report on quantum dated 19 November 2014 [D5/5.8/1];
             • Second side report on quantum dated 22 December 2014
                [D6/14/1].

         Christian Busch submitted:

                Report on technical defects dated 29 September 2014 [D4A/l/11;
            • Side report on technical defects dated 12 November 2014
                [D5/5.9/1].

 55. The experts submitted the following joint reports:

         Joint report on delay by David Richards and Wendy MacLaughlin dated
         10 October2014 [P3/3.1/11;

        Joint report on disruption by David Richards and Wendy MacLaughlin
         dated 11 October2014 [P3/3.2/1];

        List of Agreed Issues on quantum by Joanne Prior and David Kyte dated
         17 October 2014 [P3/3.3/1];

        Joint statement on quantum issues by Joanne Prior and David Kyte dated
         17 December 2014 [P6/1/1];

        Schedule of Agreement and Disagreement concerning prolongation and
        disruption valuation issues by David Richards and David Kyte dated
        7 November 2014 [P3/3.4/I];




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             Further joint report concerning prolongation and disruption valuation
             issues by David Richards and David Kyte dated 22 December 2014
             (D6/16/1I;

             Joint report on technical defects by Nigel Penfold and Christian Busch
             dated 4 November 2014 1D4/4.2/1I.

Tanzanian law

    56. As set out above, the governing law of the Contract is the law of the Republic
        of Tanzania.

    57. The key provisions of the law of Tanzania relied upon by the Parties include
        the following:

            Law of Contract Act, sections 20(1), 21, 23, 59, 60, 73, 73(2);

            Evidence Act, section 115;

            Public Procurement Act 2004, section 87;

            Judicature and Application of Laws Act, section 2(3);

            Public Procurement (Goods, Works, Non-Consultant Services and
            Disposal of Public Assets by Tender) Regulations 2005, sections 2(1),
            23(1), 44, 118(3), 123(3).

Parties' List of Issues

   58. The Respondents provided a list of issues to the Tribunal, upon which the
       Claimant has commented, stating whether the issue as framed is agreed or not
       agreed and providing an alternative issue where it is not agreed ("the List of
       Issues")

   59. The Tribunal has had regard to this List of Issues and the corresponding
       comments, in addition to the Claimant's list of issues provided at Appendix A
       to the CCS.




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SECTION II: THE BACKGROUND TO THE DISPUTES

Introduction

   1.     In considering the various heads of claim, it is important to put into context
          the history of dispute between the Parties regarding payment for the
          Contract Works.

   2.     In this Section, the Tribunal summarises the key events and claims in
          relation to:

            Tender;

            Initial problems and commencement of First Suspension;

            Negotiations;

            Re-mobilisation;

            Second Suspension;

         I Third Suspension;

            Termination;

            Events subsequent to termination.

   3.    This Section is not intended to set out an exhaustive list of events.




Tender

  4.     On 15 November 2002, the Tanzanian Ministry of Works invited tenders for
         the design and construction of the upgrade of the Dodoma-Manyoni Road
         ("the Road") fE1/1/1]. The Tender Documents were contained in two
         Volumes. Volume 1 comprised Sections I-V and Volume 2 comprised
         Sections VI and VII [E1/2/11]. Section V of Volume 1 contained
         amendments to the standard FIDIC yellow book form of contract [EI/5175].
         Section III of Volume 1 contained a Schedule of Cost and Percentage of
         Listed Elements which stated a sum of TZS 1.5 billion as the Provisional
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      Sum to cover Price Escalation [E1/3/41]. The Contractor was also to
      designate the currencies and proportions in which it wanted the Contract
      Amount to be paid [El/3/401.

      A mandatory pre-bid meeting took place in Dar es Salaam at the Ministry of
      Works on 25 November 2002 [Gill/i]. The meeting dealt with both the
      Dodoma-Manyoni Road and the Manyoni-Singida project. By paragraph
      18.4 of Section II of the Tender, "any modflcation of the bidding
      documents ... that may become necessary as a result of the pre-bid meeting
      shall be made by the Employer exclusively through the issue of an
      Addendum pursuant to Clause 11 and not through the minutes of the pre-bid
      meeting; however, such an Addendum may be prepared and transmitted
      together with the above Minutes." [Gl/2/191

      The Minutes of the Pre-Bid Meeting state at Q16:

      "Q Does sub-clause 13.8 of the Conditions of Particular Application mean
     that there will be no adjustment for change in Price in respect of the foreign
     currency element of the contract amount?

     A That is correct" [Gl/l/6]

     On 15 January 2003, the Claimant sent its submission letter in respect of the
     Road, enclosing the relevant bid documents [E214/248] including Form of
     Tender [E2/4/249] and the Appendix to Tender including Schedule of Costs
     with Contingency amounts to cover Price Escalation [E2/5/255]. The
     Minutes of the Pre-Bid Meeting were attached to the Contractor's Proposals
     [El/i 1/220].

     On 7 February 2003, the Ministry of Works issued a Letter of Intent to the
     Claimant confirming that its tender had been successful subject to the
     Claimant answering certain queries 1E2/3/2321. On 14 March 2003, the
     Employer sent its Letter of Acceptance to the Claimant 1E2/2/2281 which
     stated the contract sum of TZS             63,887,999,940.80    payable in
     TZS 15,599,521,051.20 and USD 48,883,365.00. The Form of Agreement
     was signed on 21 March 2003 [E2/i/224].

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         The Contract was an amended form of the FIDIC Yellow Book design and
         build contract ("the Contract"). The Employer was the Ministry of Works
         and Roughton International was named as the Engineer [E2/212281.

         The Contract provided for the Lump Sum Contract Price of
         TZS 63,887,999,940.80 (inclusive of VAT) payable in the following
         proportions: 24.4% in TZS (15,899,521,051.20) and 75.6% in USD
         (48,883,365.00). [E2/1/224]. A breakdown of this figure was provided by
         the Claimant in the completed version of the Schedule of Cost and
         Percentage of Listed Elements LE2/5/2591. The Commencement Date for the
         Contract was 1 April 2003, and the Time for Completion was 29 September
         2006. The rate of exchange was TZS 987.8305 to USD 1.00 LE2/1/2251. The
         Accepted Contract Amount was defined at Sub-Clause 1.1.4.1 as "the
         amount accepted in the Letter of Acceptance for the execution and
         completion of the Works and the remedying of any defects." 1E3/1/6061. The
         Letter of Acceptance referred to a contract sum of TZS 63,887,999,940.80
         payable in the local and foreign currency proportions set out above
         [E2/2/228].

Initial Problems and Commencement of First Suspension

Variations

         In April 2003, the design work commenced in addition to some preliminary
         work on site. In 2003 and 2004, the Employer instructed a number of
         variatiOns to the design of the Road, predominantly in relation to the vertical
         and horizontal alignment [G1/25/119]. The Claimant contends that the effect
         of these changes was to almost double the quantity of earthworks under the
         Contract. The Engineer also instructed changes to the design of the Cl and
        C2 sub-base in respect of the thickness of the layers and cement content

        The Claimant's detailed design was not completed and approved until
        December 2004, 15 months later than planned [G1/16/55] IGI/18/571
        LG1/19/581. Commencement and progress of bulk earthworks was
        accordingly delayed.


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         By December 2005, the Claimant had submitted claims for extensions of
         time and additional payment of TZS                     13,157,710,069 and
         USD 16,568,911.98 arising from the variations [GJ/16/55 [G1/18/571. This
         was followed by a claim in March 2006 for additional payment of
         TZS 918,783,689 and USD 4,485,246.81 for Variations to Cl/C2.

Price Escalation on foreign currency and delayed payment of IPC 15

         By its application for payment of IPC 12 of 16 December 2005, the
         Claimant submitted an application for payment of Price Escalation due on
         IPCs 7 - 11 fGl/26/1591. By letter of 9 March 2006, the Engineer wrote to
         the Claimant calculating Price Escalation on the amount payable in local
         currency namely, TZS only IG1/40/1771. The Claimant responded on
         9 March 2005 stating that it did not agree that Price Escalation was due only
         on the Tanzanian shilling element [G1/41/179].

         On 23 March 2006, the Claimant gave the Employer notice of its intention
        to refer the Price Escalation dispute to the DAB [G1/42/180J.

        Throughout this period, the Claimant continued to apply for Price Escalation
        on amounts payable in both the local and foreign currency amounts in its
        applications for IPCs 14 and 15 on 10 April and 3 June 2006 respectively.
        The Engineer amended those applications to allow for Price Escalation on
        the amount payable in local currency only [G1/45/1851 [G1/47/190].

        By its decision of 5 July 2006, the DAB decided that Price Escalation was
        payable only on the local currency element IGI/52/207]. On 10 July 2006,
        the Claimant gave the Employer notice of dissatisfaction and required an
        attempt at amicable settlement pursuant to Sub-Clause 20.5 [G1152/237].

        The Claimant wrote to the Engineer on 14 July 2006 giving notice that it
        was funding the Project by means of credit supplied from Japan in the
        amount of TZS 33.8 billion 1G1154/2381. On 26 July 2006, the Claimant
        requested meetings with the MolD and Prime Minister to appeal for urgent,
        high-level intervention [G1/56/241].



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       The Claimant wrote to the MolD on 3 August 2006 noting that IPC 15
       should have been paid in frill by 1 August 2009. As at the date of the
       Claimant's letter, USD 1,278,530.00 remained outstanding IG1/60/3091.

       The Cabinet informed the Claimant on 7 August 2006 that the Government
       could not afford to pay Price Escalation as requested and reffised to
       intervene [G1/63/313].

       On 14 August 2006 the Claimant served a Sub-Clause 16.1 notice of
       suspension following the non-payment of JPC 15 [G1/66/318].

       On 31 August 2006, Roughton wrote to the Claimant noting that the
       Claimant had threatened to suspend from 5 September 2006, but that it had
       observed on site that the Claimant's progress has substantially dropped prior
      to this date. Roughton stated that it was concerned that the Claimant's
      reduction in progress was not contractually justified.

      On 5 September 2006, the Claimant wrote to the Employer recording its
      entitlement to suspend and giving notice under Sub-Clause 20.1
      [G1/7213751. The Claimant chose to slow down its works rather than
      suspend completely ("the First Suspension").

      On 8 September 2006, the Claimant received a payment of
      IJSD 1,252,808.69 which cleared much of the underpaid amount on IPC 15,
      leaving a deficit of USD 25,721.98 [G11731376].

 25, The Minutes of the Site Progress Meeting No 39 on 14 September 2006 note
      that the Claimant confirmed that JPC 15 had been paid on 8 September 2006
      1G1184/3941.

 26. IPC 16 was certified on 20 October 2006 in the sum of TZS 919,364,404.18
      and USU 2,379,355.87 [G1186/4121. Payments were received of TZS
      919,364,408.20 on 8 November 2006, USD 1,458,399.75 on 10 November
      2006 and USD 948,633.10 on 22 December 2008 [H1/1.55/361. This
      amounted to an overpayment of IPC 16 by USD 27,721.98 [G3/183/11651.




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        The Claimant and the Engineer allocated the totality of these payments to
        IPC 16 as recorded in the Claimant and the Engineer's respective Monthly
        Progress Reports to the Employer [111/1.55/36] [H2/1.48/20]. Following
        payment of IPC 16, the deficit on IPC 15 was recorded as reduced to
        USD 18,922.50.

Negotiations

        On 18 October 2006, the Claimant made a request for arbitration in respect
        of the Price Escalation dispute fG1/85/3961. On 27 October 2006, the
        Claimant gave the Employer notice of its intention to refer to a DAB the
        variations dispute resulting from the Engineer's instructions on the
        Contractor's proposed design given during the design review process
        [61/87/414].

        On 2 November 2006, there was a meeting between Dr Konoike and the
        President of Tanzania [61/89/4851 followed by a meeting at ministerial
        level [61/90/486].

        On 10 November 2006, the MolD informed Roughton that a team of seven
        officials ("the GST") appointed by the Government to review the Project
        would visit on 12 November 2006 [61/92/494]. Discussions were held
        during this visit 161/93/4951 in a meeting chaired by Mr Matupa.

        This was followed by another meeting on 28 November 2006 fG1/97/5091
        in which the possibility of agreeing an amicable settlement was canvassed
        by the MolD. The Claimant was requested to suspend its arbitration in
        respect of Price Escalation but refused to do so [61/97/509].

        On 11 December 2006, Mr Chambo (the Deputy Permanent Secretary of the
        MolD) informed the Claimant that a negotiating team ("GNT") had been set
        up for the purpose of reaching an amicable settlement [61/100/515]. On 14
        December 2006, the Claimant submitted its paper entitled "Minimum
        Position for Negotiations - Without Prejudice" [62/101/517]. Mr Mrema
        was initially part of the Claimant's team prior to joining Tanroads at 11 June
       2007. The Claimant's position paper summarised the problems that the

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       Claimant had encountered on the Project, including allegations concerning
       the Employer and the Engineer's alleged lack of understanding of the
       concepts of design and build and lump sum contracts, such that they
       mistakenly concluded that they could instruct any changes of additional
       works they liked without having to pay for them. The Claimant also
       complained that the Employer failed to recognise its entitlement to Price
       Escalation on the foreign currency element of the contract sum whilst paying
       some other contractors for such sums.

 33. The paper also set out the Claimant's minimum position for a negotiated
       settlement which included:

         An extension of time of 36 months if the administration of the Contract on
         the Employer's side remained the same, or 24 months if it was changed
         together with time-related costs with a minimum total of TZS 9.9 billion.

         Payment of Price Escalation on the full contract amount.

         Variations to the work to be paid in full.

         Additional design costs of TZS 1,813,008,129.

         TZS 14.6 billion for disruption caused by loss of productivity.
         [G21102/5251

 34. Negotiations took place during a series of meetings in December 2006 and
       January 2007. The negotiating process and the resulting Minutes of Meeting,
       Memorandum of Understanding and Addendum are discussed in the next
       Section III but summarised below.

 35.   The First Meeting was held on 19 December 2006, and it was agreed that the
       first item to be discussed would be Price Escalation [G211021645].

 36. This was dealt with at the Second Meeting on 20 December 2006
       1G2/1041667].




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 37. The Third Meeting took place on 21 and 27 December 2006 [G2/10516771.
       During this meeting, the Parties went through in detail the 13 Variation
       claims put forward by the Claimant.

 38. Meetings resumed with the Fourth Meeting on 3 January 2007
       1G2/107/7241, during which it was agreed that the ICC arbitration on Price
       Escalation would be suspended pending the outcome of the negotiations.

 39. The Fifth, Sixth and Seventh Meetings took place on 4, 5 and 8 January
      respectively. [G2/107/7261 [G2/107/728]

 40. The Eighth Meeting took place on 9 January 2007, during which:

         The Claimant offered to reduce its disruption claim to TZS 10 billion
         whereas the Employer put forward a figure of TZS                5 billion
         [G2/1071730].

         The Claimant offered to accept a 24 month extension of time whereas the
        Employer offered 19 months with a possible further 5 months
         1G2/10717301.

        It was agreed that the Claimant would put forward a proposal for sectional
        completion at paragraph 25.6 [G2/107/7291.

        The Employer agreed to expedite the payment of Price Escalation because
        it was a matter that could be dealt with as part of the existing Contract
        without the need to modify it by Addendum [G2/107/729].

 41. The Ninth and final meeting took place on 10 January 2007 [G211071730]. It
      was agreed at paragraph 27.4 that payment of Price Escalation would be
      made on IPCs 7-16 upon which Price Escalation on the local currency
      portion had already been certified and paid 1G2/107/731] ("the
      Outstanding Amount").

 42. On 15 January 2007, the Claimant submitted its application for IPC 17
      which included the Outstanding Amount JG2/110I7661. This was rejected by
      Roughton by a letter of the same date [G2/1111770] requesting that the IPC


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         be resubmitted without the "disputed escalation". The Claimant did so on
         17 January 2007 1G2/112/771].

         The Memorandum of Understanding was signed on 30 January 2007
         1G2/118/8111.

         On 3 February 2007, there was a meeting between the MolD and the
         Claimant [G2/122/855]. The Claimant stated that, in order to remobilise
         works and equipment, it required the Employer to at least effect payment of
         Price Escalation while waiting for completion of arrangements for the
         payment of the remaining claims as agreed in the MoU. The Minister
         confirmed that an addendum would be prepared and ratified by the Attorney
         General's office, passed through Ministerial Tender Board and once agreed
         and signed by both Parties, the addendum would become effective.

        The Claimant wrote to the Employer on 6 February 2007 [G2/123/860] and
         19 February 2007 [G2/124/861] requesting payment of the Outstanding
        Amount.

        On 5 March 2007, Roughton was informed about the agreement in relation
        to Price Escalation [G2/126/9091. On 19 March 2007, Roughton certified
        payment of the Outstanding Amount in IPC 18 [G2/132/958].

        The Addendum (incorporating the MoU and Minutes of Meeting) was
        signed on 14 March 2007 [G2/130/915]. The following day, the Parties
        executed a Deed of Settlement 1G2/131/9551 in order to conclude the
        arbitration that the Claimant had commenced in respect of Price Escalation.

Re-mobilisation

        On 18 and 19 March 2007, the Employer paid TZS 719,219,158.41 and
        USD 1,540,721.154 respectively in respect of IPC 17, leaving a deficit of
        USD 20,768.37 on 29 March 2007 JG3/183/1165].

        As a result of this payment, the Claimant resumed some work but did not
        fully remobilise.



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          On 1 May 2007, the Claimant attended a meeting with Mr Chambo at which
          it was told that the MolD was not sure how much could be paid from the
          remaining budget but that it was planned to pay as much as possible against
          the certified amount. 1G2/139/9731 At this time, Black & Veatch replaced
          Roughton as Engineer under the Contract [G2/155/1000].

          Actual earthworks resumed on 2 May 2007. The Outstanding Amount was
          then paid in four instalments between 25 May and 23 July 2007
          [G2/153/997] [62/161/1081] [62/168/1070] [G3/183/12 00].

          On 14 September 2007 the Claimant submitted its claim for an extension of
          time and additional costs arising from the First Suspension (Claim 6)
          [63/200/1239]. A draft Determination was issued on 8 November 2007
         awarding the Claimant a 42 day extension of time for completion, 15 days
         extension for Section 3 and additional payment of TZS 520,543,451.04
          [63/232/1336].

         Black & Veatch then wrote to the Employer on 27 February 2008 seeking
         approval of this determination [63/318/1510] but by letter dated 10 March
         2008, approval was refused by Tanroads on the basis that the determination
         was "unwarranted and appears mischievous" [63/324/1558]. On 18 June
         2008, Black & Veatch wrote to the Claimant advising that the Engineer
         determined that by virtue of clause 3.5 it was prohibited from implementing
         its determination [64/407/1772].

Second Suspension

IPC 19

         On 20 April 2007, the Claimant submitted its application for IPC 19, which
         included the payments in respect of Pre-Addendum Disruption, prolongation
         and Additional Design (totalling TZS 21,721,102,945) [G2/135/967] The
         Engineer stated on 11 May 2007 that he was unable to certify them because
         of a lack of understanding of the background to the Addendum
         162/14519851. The Claimant served a Sub-Clause 16.1 notice in respect of
         the failure to certify IPC 19 on 21 May 2007 [G2/150/9921.

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          IPC 19 was resubmitted on 16 June 2007 [G2/15611006}. It was certified by
          Black & Veatch on 26 June 2007 1G2/160/10161 and due for payment on 21
          August 2007. The Claimant gave a Sub-Clause 16.1 notice in respect of the
          resubmitted IPC 19 on 22 August 2007 [G3/189/1217] on the basis that a
          sum of USD 13.482 million remained outstanding at this point. A further
          payment was made on 6 September 2007 [G3/193/1221], leaving USD 2.4
          million remaining outstanding.

          On 20 September 2007 the Engineer wrote to the Claimant asking for
          substantiation of the Pre-Addendum Disruption which formed part of IPC 19
          [G3/203/12471. The Claimant responded stating that, under the terms of the
          Addendum, the Parties had agreed that Pre-Addendum Disruption had been
          adequately substantiated [G3/204/1248]. By a letter dated 1 November
         2007, the Engineer stated that substantiation was required, failing which
         provisional payment made in respect of Pre-Addendum Disruption would be
         deducted from future payments [G3/227/1328].

         On 2 November 2007, the Claimant received USD 2.2 million towards
         IPC 19 together with payment of the outstanding sums due on IPCs 1 - 18
         [G3/231/1334].

         The remaining amount on IPC 19 of USD 182,000 was paid on 29 May
         2008 [G4/393/17151.

IPC 20

         The Claimant applied for IPC 20 on 28 April 2007, which included payment
         for the varied pre-Addendum works carried out between 2003 and 2006
         subject to measurement under the Addendum [G211361968]. The application
         was returned by Black & Veatch on 4 July 2007 on the grounds that the re-
         measure would need to be carried out jointly fG2/166/1026].

         The Engineer suggested to the Claimant at Technical Meeting 3 on 6 August
         2007 that it should submit its application and claim an on-account payment
         for increased quantities based pro rata on the completed length of the road.
         A supplemental application for payment on a remeasurement basis could

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          then be submitted once that remeasurement had been undertaken
          [G2/177/10891. The Claimant re-submitted IPC 20 on 16 August 2007 in
          accordance with this suggestion 1G3/182/1108].

    61. The revised IPC 20 was certified on 7 September 2007 [G31196/1226]. The
          Employer refused to pay this and retumed it to the Engineer on 9 October
          2007 [G3/214/1277]. On 17 October 2007, the Engineer wrote to the
          Claimant attaching the MolD's letter and asking for the application to be re-
          submitted based on actual work done and associated escalation costs only
          1G3/218/12841.

    62. The Claimant gave notice under Sub-Clause 16.1 in respect of IPC 20 by its
         letter of 6 November 2007 [G3/230/1333].

    63. Meanwhile:

            IPC 21 was certified on 15 December 2007 [G3/266/1407]. This was paid
            in full by two payments on 16 and 22 January 2008 [H1/1.13/70].

           IPC 22 was certified on 15 January 2008 [G3/285/14371. This IPC was
           cleared by three payments on 18,20 and 26 February 2008 [G3/312/1497]
            [G3/316/15071 [H2/1.56/571.

   64. By January 2008, there was approximately USD 128,000 outstanding in
         respect of IPC 19 [M111.13/70] and TZS 6 billion and USD 19 million
         outstanding on IPC 20 [112/1.55/26].

   65.   The Claimant wrote to Tanroads on 23 January 2008 requesting a top-level
         meeting regarding its financial problems. It stated that construction work
         would be suspended unless payment was made immediately [G3/291/14521.

IPC 20A, IPC 23

   66. A meeting took place between Tanroads, the Engineer and the Claimant on
         12 February 2008 (G31302/1475]. It was agreed that the Claimant would re-
         submit IPC 20 as IPC 20A excluding the re-measured works. These works
         would then be submitted in later IPCs once the re-measurement process had
         been undertaken.
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      IPC 20A was re-submitted by the Claimant on 15 February 2008
      [G3/307/1489]    and certified by the Engineer on 19 February 2008
      [G3/310/14931.

      IPC 23 was submitted on 23 February 2008.

      The Claimant wrote to Tanroads on 26 March 2008 chasirig payment of IPC
      20A and reiterating that the Works would be suspended again if payment
      was not made. The Claimant also pointed out that the Sub-Clause 16.1
     notice given on 6 November 2007 was still valid in respect of IPC 20
      [G3/330/1569].

     On 15 April 2008, Dr Konoike wrote to the President of Tanzania explaining
     the position and seeking assistance [G3/347115941.

     On 16 April 2008, the Claimant submitted a suspension notice for non-
     payment of IPC 20A without prejudice to its primary position that the notice
     previously given on 6 November 2007 in respect of IPC 20 applied
     [G3/349/1597].

     On 19 April 2008, the Claimant suspended the earthwork and pavement
     works for a second time [G3/35311609] and structure and ancillary works on
     29 April 2008 [G3/357/1614].

     A Sub-Clause 16.1 notice was submitted on 21 April 2008 in respect of
     IPC 23 fG3/356/16131.

     By the end of April 2008 a further payment of TZS 8 billion was received by
     cheque referenced to IPCs 20A and 23 [G3/362/1623]. The Claimant
     confirmed in its letter dated 1 May 2008 its understanding that this payment
     covered the local currency portions of IPC 20A, 23 and partially paid the
     foreign currency element of TPC 20A. Approximately USD 22.5 million
     remained outstanding on IPCs 19, 20A and 23. The Claimant requested that
     the Engineer inform it of any misunderstanding in this regard
     1G3/362/16221.




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      By letter dated I May 2008, the Claimant gave notice pursuant to Sub-
      Clause 20.1 of its claim for an extension of time and costs pursuant to Sub-
      Clauses 8.4 and 20.1 resulting from delayed payment of IPC 20
      1G3/361/16211. A Sub-Clause 20.1 notice was issued in respect of IPC 23
      on 24 May 2008.

      On 5 May 2008, Tanroads wrote in response to the suspension of the Works
      stating that because of the above payments the Claimant was advised to
      proceed with the Works as planned [G3/36611628].

      On 15 May 2008, the President of Tanzania's office wrote to the Claimant
      expressing concern regarding the financial difficulties it faced and expressed
      a commitment to pay a further USD 10 million in June 2008 with any
      remaining sums in July 2008. The Clamant was requested to proceed with
      the works as scheduled to enable timely completion of the Project
      fG3/373116381.

      A high-level meeting took place on 23 May 2008 in Tokyo between the
      Permanent Secretary Chambo and Dr Konoike. The former agreed that a
      payment schedule would be prepared and submitted to Dr Konoike. It was
      acknowledged by Mr Chambo that it was no longer feasible to expect the
     Project to be completed by 29 September 2008 and the Parties would need to
     agree an extension of time [G3/38711702].

     Mr Chambo sent the Claimant a payment schedule on 7 June 2008 showing
     the proposed dates for payment [G4/397/1731}. On 16 June 2008,
     Dr Konoike asked for confirmation that the Respondents would not fail to
     execute payments due after IPC 23, which were not included on the schedule
     fG4/40211750]. The Deputy Permanent Secretary responded assuring Dr
     Konoike that the Government would pay IPC 24 in July 2008
     [G41403117511.

     Payment of USD 9 million was made on 19 June 2008 in accordance with
     the agreed schedule [G31380/16941. The Claimant recommenced the Works
     on 21 June 2008 (G4/404/1752] with full remobilisation on 12 July 2008.


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        No further payment of USD 10.5 million was in fact made in July, contrary
        to the payment schedule provided by Mr Chambo on 7 June 2008. On
        16 September 2008, IPC 20A was paid in full. IPC 23 was eventually paid in
        full on 22 September 2008.

Third Suspension

        IPC 24 was certified on 16 May 2008. A Sub-Clause 16.1 notice was given
        in respect of IPC 24 on 5 August 2008 [G4/430/18361.

        The Claimant applied for IPC 25 on 17 July 2008 [G41424/1820] which was
        certified by the Engineer on 18 August 2008. This certificate included sums
        due for re-measured works carried out between April and June 2008.

        On 25 August 2008, the Claimant informed Tanroads that its financial
       position had become critical and it could not continue the Works further and
       would be suspending on 27 August 2008 fG4/443/18591.

       On 2 September 2008, the Respondents made payment of the local currency
       portion of IPC 24 [G4/447/1865].

       On 16 September2008, the Respondents made a further payment of USD 10
       million covering the outstanding foreign currency portion of IPC 20A and
       part of the foreign currency element of IPC 23.

       On 19 September 2008, the Claimant submitted its application for IPC 26 in
       the sum of TZS 2,426,600,697.00 and USD 8,009,220.37 for work done
       during July and August together with Price Escalation JG41460119171,

       On 20 September 2008, the Claimant submitted a consolidated claim for an
       extension of time and additional payment by reason of the First Suspension
       (Claim 6), the cement shortage (Claim 7), the cholera outbreak (Claim 8)
       and the Second Suspension (Claim 13) 1G4/463/19271.

       On 22 September 2008, the Claimant received a further payment of USD 4
       million [G4146411 9303. This was the final payment received on the Project.




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      The Claimant issued a notice under Sub-Clause 16.1 in respect of IPC 25 on
      15 October2008 [G4/498/2005].

      On 25 October 2008, Mr Lear of Black & Veatch wrote to the Claimant
      informing it that the Employer had advised that it was not satisfied with the
      various explanations for the previous certifications and accordingly they
      required the reversal of these payments until such time as the latter had been
     resolved. Amounts would be deducted from IPC 26 which did not meet the
     minimum amount required for certification. [G4/515/2052]. On the same
     day, Mr Ntensibe wrote to Mr Mrema stating that Black & Veatch did not
     agree with Tanroads' position on the issue [H2/1.65/89].

     On 1 November 2008, the Claimant gave notice of entitlement to suspend
     for the non-certification of IPC 26, stating that Sub-Clause 14.6 did not
     permit the Employer to instruct or require the Engineer to adjust or deduct
     on the ground of dissatisfaction with any payment of any amount certified
     [G4/525/2072].

     On 3 November 2008, the Claimant gave notice that it would be suspending
     works from 6 November 2008 by reason of the Employer's failure to pay
     IPCs 24 and 25 (C41527/2084} which it confirmed by letter of 6 November
     2008 1G41535120971.

     The Engineer wrote to the Claimant on 5 November 2008 confirming that he
     remained constrained by the Employer's instructions [C4/531/2089].

     The minutes of the Site Progress Meeting on 13 November 2008 record that
     the Claimant stated that even if all certified amounts for IPC 24 and 25 were
     paid, it would not resume working 1A2119161.

     The Claimant gave notice of Claim 22 in respect of the Third Suspension on
     14 and 17 November 2008 [G4154612116] [G41548/2121].

     On 24 November 2008, the Claimant submitted its application for IPC 27 for
     works carried out in September and October 2008 together with Price
     Escalation 1G4/554/21311. This was never certified by the Engineer.


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Termination

       On 2 December 2008, the Claimant issued a notice of entitlement to
       tern-dnate [G4/559/2142. In response, Mr Chambo wrote to the Claimant on
       4 December 2008 calling a meeting for the following day to discuss the
       situation [G4/560/2145]. This meeting took place on 5 December 2008
       tG4/561/21461. The Claimant was asked to confirm whether it would
       recommence the Works if IPCs 24 and 25 were paid but not IPC 26. The
       Claimant replied that the position would not change and the suspension
       would continue.

       On 12 December 2008, the Claimant wrote to Mr Chambo stating that it was
       open to the possibility of participating in amicable settlement negotiations
       1G41567/21561. Mr Chambo responded on 15 December 2008 agreeing to
       convene a meeting to resolve the differences which had arisen including
       payment of IPCs 24, 25 and 26 on 22 December 2008 1G4/570/21631.

       On 15 December 2008, Tanroads convened an Emergency Meeting at which
       they approved the procurement of a contractor to complete the remaining
       works and recommended that the Claimant's subcontractor, Estim, carry out
       this work [G4/579/21831.

       In another letter of 15 December 2008, Tanroads outlined its position that
       the Claimant had given it no choice but to complete the works by other
       means and was required after the elapse of 14 days to proceed as per Sub-
       Clause 16.3 to cease further work, hand over plant and materials for which it
       had received payment and remove all their goods from site [G4/571/2164].

       Tanroads wrote to the Claimant on 16 December 2008 stating that the notice
       of termination would take effect from today's date in accordance with Sub-
       Clause 16.2 1G41577121801.

       The Claimant wrote on 16 December 2008 clarifying that the notice of 2
       December 2008 did not mean that the Contract was automatically terminated
       at the end of the 14 day period [G4/57812182]. Tanroads reiterated on the
       same date that the notice was a notice of termination [G4/579/21831.

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      The Engineer wrote to the Claimant on 16 December 2008 giving notice that
      the 14 day notice of entitlement to terminate had ended that day and asking
      whether the Claimant now intended to terminate the Contract
      [G4/580/21851. He also wrote to Mr Mrema of Tanroads stating that
      Tanroads' planned retendering of the Contract would be tantamount to
      repudiation of the Contract which would place Tanroads in a very vulnerable
      contractual position [S3/1.1].

      On 17 December 2008, the Claimant wrote in response to Tanroads' two
      letters of 16 December 2008 stating that the notice was a notice of
      entitlement to terminate and it considered that Tanroads taking final steps to
      appoint an alternative contractor amounted to a repudiation of the Contract.
      1G41583/2189]

      On 20 December 2008, Black & Veatch wrote to the Claimant setting out
     the sums that would have been due under IPC 27 and the deductions that had
     been made and confirming that, as a result, IPC 27 did not meet the
     minimum amount required for certification 1G4/591/22131.

     Three days of meetings took place on 22, 23 and 24 December 2008 chaired
     by Mr Chambo 1C41592122 151 1G4/593122191 [G4/594/22261. It was agreed
     that there would be another meeting sometime in January 2009
     [G41594/2229}

     On 5 January 2009, Tanroads wrote to the Claimant stating that it should be
     vacating the site so as to allow Tanroads to pave the way for the new
     contractor by the end of January fG4I601/22461.

     Dr Konoike visited Tanzania in late February 2009 and, at a number of
     meetings with Mr Chambo of MolD held on 19 and 21 February 2009,
     advised that the Claimant would resume work if outstanding payments for
     IPCs 24-27 were made [G4163312298] [G41634/2301}.

     By letter dated 5 March 2009, Tanroads wrote to the Claimant advising that
     it had entered into a replacement contract with Estim on 27 February 2009
     and requesting the Claimant to leave the site immediately [G5/640/2310].

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        The Claimant wrote to Tanroads on 11 March 2009 stating that Tanroads'
        actions amount to a repudiatory breach and the Claimant gave notice of its
        election to terminate the Contract under Sub-Clause 16.2 with immediate
        effect 1G5/645/23251.

Events subsequent to termination

        The Claimant transferred the majority of its demobilised plant and
        equipment to the Zuzu storage yard near Dodoma. Thereafter, during April,
        May and June 2009, the Claimant sold this plant and equipment,
        predominantly to Highlands Estates and Estim.

        On 26 June 2009, the Claimant submitted its applicationlclaim for final
        payment following termination [G5/669/2451}.

        On 10 February 2010, the Claimant received a response from Mr Ntensibe
        of Black and Veach assessing the amounts due under Bills 1-6 and
        Variations. He did not deal with the termination claims, on the basis that this
        issue was under dispute [G5/717/26071.

Summary of Claims

        As a result of the above, the Claimant asserts that at the date of termination,
        it had completed 92% of the Works (approximately 110km of the Road) but
        had been paid only 71% of the agreed Adjusted Contract Price which took
        no account of its claims.

        Consequently, in outline, the Claimant now seeks:

          The balance of payments due to it for work it has completed, including:

          . The sums agreed in the Addendum for pre-Addendum disruption,
              additional design costs and price escalation;

          . Various disputed bill items and variations.

          Delay and disruption claims arising from the First, Second and Third
          Suspensions as outlined above (in addition to fiuther claims during this


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        period resulting from (i) national cement shortage; (ii) emergency repair
        works; (iii) a cholera outbreak; (iv) waterlogged ground; (v) exceptional
        rainfall).

     c. Claims arising from wrongful termination of the Contract, including:

            . Costs of maintaining the Performance Security;

            • Losses arising from currency devaluation;

            • Loss of opportunity to undertake three further contracts as a
                consequence of financial difficulties suffered by the Claimant
                caused by the Respondents' breaches of contract;

                VAT;

                Financing charges and interest;

            • Costs of DAB proceedings, amicable settlement and the arbitration
                itself.

 116. The Respondents contend that the Claimant's claims should be dismissed in
      their entirety and seek:

        That the Tribunal open up, review and revise TPCs 15 to 25 to exclude
        sums that were not due to the Claimant pursuant to the Contract.

        Recovery of sums allegedly overpaid to the Claimant in relation to JPCs
        15 to 25, together with pre- and post-award compound interest at an
        appropriate rate.

        A declaration that the Claimant failed to complete the Works by the time
        for Completion.

        A declaration that Tanroads terminated the Contract on or about 15
        December 2008 and did so validly.

        Liquidated damages for delay in the sum of 10% of the Accepted Contract
        Amount.


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      fi Costs of repairing the allegedly defective works.

     g. Costs of the DAB referrals and amicable settlement discussions.

  117. Against this background the Arbitral Tribunal now considers the various
       claims arising between the Parties, commencing with the issues arising from
       the Addendum dated 14 March 2007.




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SECTION III: THE ADDENDUM CLAIMS

Factual background

Context to negotiations

         The context in which the negotiations between the Parties arose is set out in
         the Section II. Some of the events referred to in Section II are repeated in
         this Section but in greater detail.

         On 14 July 2006, the Claimant wrote to the Engineer stating that its cash
         flow had reached critical level [G11541238]. The Claimant then wrote to the
         MolD on 26 July 2006 requesting co-operation in order to reach a practical
         solution 1G1156/2411.

         At a meeting on 7 August 2006 between the MolD and the Claimant, the
         latter was informed that the Government of Tanzania could not afford to pay
        Price Escalation as requested [G1/63/313].

         On 14 August 2006, the Claimant served a suspension notice on the basis of
        the Employer's non-payment of IPC 15 FG1/7213751. It contends that it was
        therefore entitled either to suspend or go slow from 5 September 2006
        pursuant to Sub-Clause 16.1 of the Contract. At paragraph 44 of their
        closing submissions, the Respondents maintain that the Claimant had in fact
        already slowed down the Works two weeks before giving this notice
        154/1/231. In any event, the receipt of USD 1,252,808.69 (99% of IPC 15)
        on 8 September 2006 should have put an end to the slowdown.

        The Respondents contend that the continued slow-down of the Works,
        notwithstanding the receipt of substantial payments, was a tool to pressurise
        the Government to yield to the Claimant's demand for Price Escalation. At
        paragraph 2.29 of its closing submissions, the Claimant rejects this
        allegation and contends that at no stage during the course of the Works was
        it suggested to the Claimant by the Engineer or the Employer that its
        suspension was invalid 1S3/11211.




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Initial discussions

          On 2 November 2006, Dr Konoike met with the President of Tanzania in
          Tokyo to discuss the Claimant's financial situation [G1/89/485]. This was
          followed by a meeting on 5 November 2006, between the Claimant and the
         Engineei the Employer, the MolD and the Chairman of the Parliamentary
         Infrastmcture Committee [G1/90/486].

          On 10 November 2006, the Claimant was informed that a team of seven
         officials had been appointed by the Government to review the Project - the
         Government Special Team ("GST"). A meeting took place with the GST on
          12 November 2006, chaired by Mr Matupa [G119314951.

         On 13 November 2011, Mr Matupa sent the Claimant a list of questions
         [G1194/4971. In response, the Claimant submitted a file of further
         information to Mr Matupa, including the DAB decision [G1195/502] and a
         report on the problems it had encountered IG1/96/5031.

         A flirther meeting took place on 28 November 2006 LG1/9715091, chaired by
         Mr Chambo (the Deputy Permanent Secretary of the MolD). It was recorded
         that the MolD had decided to look into agreeing an amicable settlement. The
         Claimant was requested to suspend its arbitration in respect of Price
         Escalation, but it refused to do so.

         On 11 December 2006, Mr Chambo informed the Claimant that a
         negotiating team had been set up for the purpose of reaching an amicable
         settlement - the Government Negotiating Team ("GNT"). The Claimant
         was invited to present all its claims to the GNT as a basis for negotiations
         within two days [G1/100/5151.

         In response, the Claimant prepared a report entitled "The Contractor's
         Minimum Position for Negotiations - Without Prejudice" [G2/101/5171.

GNT negotiations

         Negotiations took place at a series of meetings in December 2006 and
         January 2007. The meetings were attended by a number of representatives

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      from the Claimant, with Mr McCormick acting as a consultant. The GNT
      was composed of a range of professionals whose positions are confirmed by
      Mr McCormick 1C4/1/61:

     a. Mr Chambo - Deputy Permanent Secretary of the MolD;

     ii Mr Matupa - from legal department in the Attorney General's office;

        Mr Feleshi - from legal department in the Attorney General's office;

        Mr Kasuwi - engineer from the Ministry of Finance;

        Mr Rubibira - Contract specialist from MoW;

        Mr Macha - engineer with Cowi;

        Mr Mndowla - from consultancy firm PWC.

      The First Meeting took place on 19 December 2006 1G2/1021645]. Price
      Escalation was the first issue discussed. It was noted at paragraph 5.14 as an
      agreed fact that "Procedure for including the minutes for pre-bid meeting
     was not properly followed."

      On the evening of 19 December 2006, Mr Feleshi sent an email to the GNT,
     copied to Mr Nyamubi of the Claimant, attaching a document setting out the
     ONT's position on the items in dispute. At paragraph 3.0, it noted that "The
     Employer in principal agrees that the escalation clause applies to the whole
     contract amount" [G2/103/6521

     The Second Meeting took place on 20 December 2006, during which the
     issue of Price Escalation was agreed between the Parties. Paragraphs 4.1.1
     and 4.1.2 of the Minutes record:

           "4.1.1 ISSUES OF ESCALATION OF PRICE

           The following issue was agreed by the parties.

           Whether the pre-bid meetings were properly incorporated into the
           contract


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            -irgurnents for issue determination

           The parties agreed that since the clear wording of clause 13.8 allows
           escalation ofprice on the whole contract sum and the pre bid meeting
           was not effectively incorporated in the contract the price escalation
           clause should apply to the whole contract sum payable both in local
           andforeign currency.

           The Employer in principal agrees that the escalation clause applies to
           the whole contract amount

           41.2 Price escalation

           The parties agreed that price escalation clause should apply to the
           whole contract sum in accordance with article 13.8 of the Conditions
           of the particular application.

           4.3 Disruption claims

           The contractor undertook to provide a cost build-up for the claim of
           14,635,397,232 relating to the descriptions causing loss of
          productivity." 1G2/104/671]

     The Claimant stated at paragraph 4.5.0 that "work cannot recommence until
     some payment is received" The Respondents contend that during the
     negotiations, on a daily basis, the Claimant told the GNT that it would not
     remobilize unless it received Price Escalation on foreign-currency payments
     or other substantial sums.

     The Minutes for the First and Second Meetings were signed on
     22 December 2006.

     The Third Meeting took place on 21 and 27 December 2006, dealing with
     the 13 Variation claims 1G211051677].

     The Fourth Meeting took place on 3 January 2007, during which the Parties
     agreed to suspend the ICC arbitration on Price Escalation pending the
     outcome of the negotiations rG2/107/7241.

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 20. The Fifth Meeting took place on 4 January 2007 and the Sixth Meeting on 5
      January 2007, at which the Claimant confirmed that it would discontinue the
      arbitration upon "The Employer's decision to pay for Adjustments for
      Changes in Costs in accordance with Clause 13.8 in both Contract currency
      components." [G2/107/727].

 21. Negotiations continued at the Seventh Meeting on 8 January 2006
      [62/10717281. The Eighth Meeting took place on 9 January 2007
      [G2/1071729]. By this point:

        The Claimant had offered to reduce its disruption claim to TZS 10 billion.

        The Claimant offered to accept a 24 month extension of time. The
        Employer offered 19 months with a possible further 5 months.

        It was agreed that the Claimant would put forward a proposal for sectional
        completion.

        The Employer agreed to expedite the payment of Price Escalation because
        it was a matter that could be dealt with as part of the existing Contract,
        without the need to modif' it by Addendum.

        The Employer undertook to make sure that the Resident Engineer would
        be changed and to supervise closely the next Engineer.

 22. Further agreements were reached at the Ninth (and final) Meeting on 10
      January 2007 [62/107/730]. Paragraph 27.0 records the following:

           "27.1 The Contractor maintained the claim of Tshs. 76,228,583,58600
           in accordance with the submitted Bills of Quantities for the Final
           Approved Design (B2), being a revised Contract Lump Sum amount
           and Tshs. 12 bln for disruption claims. However, he invited the
           Employer to give another offer for consideration.

          272 The Employer urged the Contractor to be consistent because
          already on 9th Jan 2006 [sic] the Contractor had agreed to reduce his
          disruption claim from Tshs 14.64 billion to Tshs. 10.0 billion.


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              27.3 Eventually it was agreed that the disruption costs be Tshs.10.0
              billion and the Contractor was inclined to discount the balance of the
              claim. The final agreed Contract Lump Sum amount now will be Tshs.
              862 bIn. It was agreed that the disruption had been adequately
              substantiated.

              27.4 The Contractor maintained the request for an extension to the
              Time for Completion of 24 months and early payments ofAdjustments
             for Changes in Costs to enable them to continue with the work In
              response the Employer informed the Contractor that a balance of
             Adjustments for Changes in Costs in foreign currency can be paid now
              on those cerq/icates upon which Adjustments for Changes in Costs for
              local component has already been cert?fled and paid

              27.5 The Contractor has 64 Km to complete after finishing 63 Km. It
              was agreed that the time needed is 24 months to finish the Works.

             27.6 The Parties settled with the sum of Tshs. 86,228.583,58600 as an
             adjusted Contract Price which excludes amounts for Adjustments for
             Changes in Costs VAT and all Provisional Sums and Contingencies."

Memorandum of Understanding / Addendum/Deed of Settlement

        Following the Ninth Meeting, a Memorandum of Understanding dated 30
        January 2007 ("the MoU") was prepared [02/118/811]. The MoU provided
        at paragraph 10.1.1 that those areas that required amendment of the Contract
        would be implemented in accordance with the mandatory procedure of the
        Public Procurement Act No 21 of 2004 and Regulations UN 97 of 2005.
        These areas are contained in paragraphs 3.0, 4.0, 5.0, 6.0, 8.0 and 9.0.
        Paragraph 10.1.2 stated that the areas which do not need amendment of the
        Contract will be implemented immediately by the Employer, by following
        administrative arrangements within the Government.

        Pursuant to paragraph 11.0, the minutes of the nine meetings formed part of
        that agreement ("the MoU Minutes"). The minutes of the Third Meeting
       and the consolidated minutes of the Fourth to Ninth meetings were dated

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          30 January 2007 but in fact signed the following day, 31 January 2007,
         according to the evidence of Mr McCormick [C4/1/20]. This is also
         apparent from the email chain between the Parties at the time [G2/119/8291
         referred to below.

          Subsequently, a meeting took place at Dodoma on 3 February 2007 between
         the Claimant and the MolD. The Record of Discussions (prepared by the
         Claimant originally in Japanese) notes that during this meeting, the Minister
         of Infrastructure Development (A.J. Change) explained that an addendum
         would be prepared and ratified by the Attorney General's office, passed
         through the Ministerial Tender Board and once agreed and signed by both
         Parties, the Addendum would become effective 1G2/122/8551.

         On 14 March 2007, the Parties entered into the Addendum ("the
         Addendum") 1E5/2/13081 which provided for, amongst other things, an
         Adjusted Contract Price of TZS 86,228,583,586.99 excluding VAT and a
         Provisional Sum to cover for Price Escalation. The MoU and MoU Minutes
         were appended to the Addendum at Appendix 1.

         On the following day, 15 March 2007, the Parties executed the deed of
         settlement ("the DoS") tG2/131/9551.

Claims Arising from the Addendum

Outline of claims

         The Claimant contends that the Respondents are in breach of their
         obligations under the Addendum by seeking to deduct sums which had
         previously been certified and paid to the Claimant in respect of (i) Price
         Escalation, (ii) pre-Addendum disruption costs and (iii) Additional Design
         costs:

        a. In respect of Price Escalation, the Claimant was paid a total of
           TZS 7,545,094,949.00 (TZS 9,054,113,934 including VAT) and
           USD 23,060,819.64 (USD 27,672,983.57 including VAT) up to and
           including IPC 24. The Respondents are now seeking to reclaim all Price


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            Escalation paid to the Claimant on the foreign currency element and all
            Price Escalation in excess of TZS 1.5 billion paid on local currency.

            Regarding pre-Addendum disruption costs, the Claimant received TZS 10
            billion through IPC 19 on 29 May 2008, in addition to Price Escalation on
            that sum. The Respondents subsequently sought to reclaim this payment
            in September 2008, instructing the Engineer to deduct the sums certified
            from JPC 26 and TPC 27.

            The Claimant also received TZS 1,813,008,129.00 for Additional Design
            costs in IPC 19, which the Respondents have sought to reclaim.

    29. The Respondents allege that they are entitled to deduct such amounts as the
         Claimant in fact had no right to the sums paid. They say that adjustments
         should be made to the IPCs accordingly, as set out in the Respondents'
         Summary of Revised JPCs at Appendix C to the Defence and
         Counterclaims.

    30. The Tribunal must therefore determine the extent of the Claimant's
         entitlement to payment for:

           Price Escalation;

           Pre-Addendum disruption costs;

           Additional Design costs.

   31. The Tribunal's analysis of whether the Addendum is a binding and
         enforceable agreement and of each of the three claims is set out below.

Price Escalation

The Parties' Principal Submissions

   32. The summaries of the Parties' cases set out in this Section and elsewhere in
         the Award are not intended to be exhaustive.

   33. The Claimant contends that the correct position in relation to its entitlement
         to Price Escalation is the following:

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         Under the original Contract, Price Escalation was payable on the whole of
         the Accepted Contract Amount after expiry of the first 18 months of the
         Contract, payable in Tanzanian Shillings. A provisional sum of TZS 1.5
         billion was allowed in respect of Price Escalation but there was no cap on
         the amount that might ultimately be payable.

         The effect of the Addendum was that Price Escalation on the US Dollar
         element of the Accepted Contract Amount was itself payable in US
         Dollars. The Respondents' arguments as to the invalidity of the
         Addendum cannot succeed.

 34. The Respondents deny that this is the colTect interpretation of the original
      Contract or the Addendum. They contend that:

         On the true construction of the original Contract, Price Escalation was due
         only on the local currency, capped at TZS 1.5 billion. This is evident
         from:

                 The pre-bid meeting minutes;

            . Schedule of Costs and Percentages of Listed Elements;

            • Contractual provisions on Contingencies.

        The Addendum was not effective in modifying the provisions on Price
        Escalation, as such agreement was void or unenforceable. In any event,
        the TZS 1.5 billion cap was left intact.

        In the alternative, even if Price Escalation was due on the US Dollars
        position, it was not payable in US Dollars, but in Tanzanian Shillings.

 35. The Parties' principal submissions are summarised below on the issues of:

        Entitlement to Price Escalation under the original Contract;

        The effect of the Addendum;

        Entitlement to payment of Price Escalation in dollars following the
        Addendum.




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Entitlement to Price Escalation under the Original Contract

   36. The Claimant avers that there are no words in Sub-Clause 13.8 or any of the
         other relevant provisions limiting Price Escalation to the local currency.
         Consequently, the Price Escalation formula in Sub-Clause 13.8 is applicable
         to the whole of the Accepted Contract Amount. The Claimant relies in
         particular on the provisions set out below:

           Sub-Clause 13.8:

            "...the lump sum Accepted Contract Amount shall be adjusted for rises or
           falls in the cost of labour, goods and other inputs to the Works, by the
            addition or deduction of the amounts determined by the formulae
           prescribed in this Sub-Clause." [E21612731

           Clause 1.1.4 of the General Conditions:

            "'Accepted Contract Amount' means the amount accepted in the Letter of
           Acceptance for the execution and completion         of the Works and the
           remedying of any defects." [E3/1/6051

           The Letter of Acceptance:

            "The contract sum will be Tsh 63,887,999,940.80 (i.e. Sixty three billion
           eight hundred eighty seven million nine hundred ninety nine thousand
           nine hundredforty and cents eighty) only payable in the following
           proportions: Tshs 15,599,521,051.20 (L e. fifteen billion five hundred
           ninety nine million five hundred twenty one thousand fifty one and cents
           twenty) and USD 48,883,365.00 (i.e. forty eight million eight hundred
           eighty three thousands three hundred sixty five) only, equivalent to Tsh
           48,288,278,889.60 (i.e. forty eight billion two hundred eighty eight
           million four hundred seventy eight thousand eight hundred eighty nine
           and cents sixty) at the rate of exchange of I USD to Tshs 987.8305."
           [E2/2/2281

           Sub-Clause 13.8(b):



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        "...the sums payable by the Employer to the Contractor shall - in the
        event of change in the NCC index - be subjected to increase or decrease
        in accordance with application of the Formula." 1E2/6/2741

        Sub-Clause 13.8(c):

        "The value of net work done, cert?tied by the Engineer, in any monthly
        Interim or Final Certjflcate as payable by the Employer to the Contractor
        before deduction of any Retention Money shall be increased or decreased
        by an amount of 'F' Tanzanian Shillings where the value of 'F' shall be
        determined as follows:




                   F=1c—lo) xPc

                                 lo

           IJMRJ2JITh

           (z) Ic indicates the value of the NCC Index on the day, which falls thirty
           days before the date of Interim or Final Valuation

           (ii) lo indicates the value of the NCC Index on the day, which falls
          thirty days before the Tender submission date.

           (iii)Pc indicates the "effective value" of the work done under the
          certUicate concerned (being the value of that part of the work which is
          subject to such increase or decrease) and is as defined hereinafter."

       Sub-Clause 13.8(d):

        "The effective value (Pc) or work done which is to be subjected to
       increase or decrease shall be the difference between:

       (i) the amount which, in the opinion of the Engineer, is due to the
       Contractor under Section 14 [Contract Price and Payment] (before
       deduction of retention money and before deducting sums previously paid
       on account) less:

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           any amount for payment or repayment of any advance payment

           any amount for materials on site

           any amounts for nominated sub-contractors (if any)

           any amounts for any other items based on actual cost or current prices

           any sums for increases or decreases in the Accepted Contract Amount as
          paid under this Sub-Clause and

           (ii) the amount calculated in accordance with Sub-Clause 13.8(c) (z) above
           and included in the last preceded Interim CertUicate issued by the
           Engineer in accordance with Section 14 [Contract Price and Payment]
           hereof" [E2/6/2751

       g. Sub-Clause 14.1(a)

           "The Contract Price shall be the lump sum Accepted Contract Amount
          and be subject to adjustments in accordance with the Contract."

Relevance of Pre-Bid Meeting Minutes

        The Respondents dispute the Claimant's interpretation of the original
        Contract. They contend that the Pre-Bid Meeting Minutes demonstrate that
        Price Escalation would not be available on foreign currency amounts, as
        evidenced by Question 16:

             "Q 16 Does sub-clause 13.8 of the Conditions of Particular
             Application mean that there will be no adjustment for change in Price
             in respect of the foreign currency element of the contract amount?

             A 16 That is correct." 1G4/574/21751

        The Claimant consciously included the Pre-Bid Meeting Minutes in its
        Contractor's Proposal, which formed part of the Contract. It had no
        legitimate expectation of Price Escalation on foreign currency and has failed
        to produce any witnesses who were involved in the bidding process to say
        otherwise. Answer 16 simply confirmed that the bidding documents in their

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         current form meant that there would be no Price-Escalation on foreign
         currency. Consequently, an Addendum was not necessary as no modification
         was required.

    39. The Claimant denies that the Pre-Bid Meeting Minutes negate an entitlement
         to Price Escalation on foreign currency:

           Paragraph 18.4 of the Instructions to Bidders stated that any modification
           to the Contract through the Pre-Bid Meeting must be made by the issue of
           an addendum. No such addendum was issued by the Respondents in
           respect of Sub-Clause 13.8.

           Alternatively, the Pre-Bid Meeting Minutes are inconsistent with Sub-
           Clauses 13.8 and 14.1 which take priority under Sub-Clause 1.5 of the
           Conditions of Contract 1E2/6/2671.

           In any event, there can be no doubt of the entitlement to Price Escalation
           on amormts payable in foreign currency after the agreements of January to
           March 2007.

Schedule of Costs and Percentages of Listed Elements

   40. The Respondents contend that the Schedule of Costs and Percentages of
         Listed Elements in the Contract 1E5/4/13271 also demonstrates that Price
        Escalation was not payable on foreign currency. In the cell marked
        "Provisional Sum to cover price escalation", the amount of TZS 1.5 billion
        was inserted in the Tanzanian Shilling column. The Claimant filled in "0.00"
        in the corresponding Foreign Currency column. The Instructions to Bidders
        stated that:

              "Elements against which no percentage/amount has been entered by
              the Tenderer shall not be the subject of any payment calculation but
             shall be deemed to be included elsewhere in the Lump Sum Amount."
              [E 1/2/15]

  41. Furthermore:



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           In contrast to the Tanzanian Shillings column, the foreign currency
           columns for Total Cost of Works and Total Lump Sum Bid Price were the
           same - at approximately USD 40.7 million - since no amount was
           included for Price Escalation.

           The Total Foreign Currency Requirements for the Project stated a figure
           of USD 40.7 - the same as the Total Cost of Works without Price
           Escalation.

         In response, the Claimant avers that it could not include any sums for Price
         Escalation in the foreign currency column because under the formula in Sub-
         Clause 13.8(c) any allowance for Price Escalation was at the time of the
         contract to be paid in Tanzanian Shillings. Therefore any allowance for
         Price Escalation in the Schedule could only be in Tanzanian Shillings and
         the Claimant was recording that no Price Escalation was payable in the
         foreign currency. That later changed with the agreements of January and
         March 2007.

Contingencies and Cap on Price Escalation

         The Respondents submit that all Price Escalation under the Contract was to
         be paid from a contingency amount that the Contractor itself included in its
         bid, capped at TZS 1.5 billion, as evidenced by the Schedule of Costs and
        Percentages of Listed Elements. The Respondents aver that such a cap is
        reflected in the terms of the Contract, including the following:

       a. Sub-Clause 13.5:

             "The Contingencies shall only be used, in whole or in part, in
            accordance with the Engineer i instruction and the Contract Price shall
            be adjusted accordingly. The total sum paid to the Contractor shall
            include only such amounts from the Contingencies element of the Price
            as the Engineer shall have instructed "[E2/6/2731

       h. Sub-Clause 13.8:




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          "The costs of complying with the requirements of this sub-clause shall
          be met from the Contingencies element          of the Contract Price."
          1E2/6/2751

     c. Sub-Clause 14.4:

           "The Contingencies element of the Schedule does not enter into this
           valuation of the Work and shall be used or not used entirely as the
           Employer may see fit, but primarily for meeting the costs          of the
           implementation of sub-clause 13.8; Adjustments for Changes in cost."
           fF2161277]

      The Instructions to Bidders required tenderers to submit a Sub-Clause 14.4
      Schedule as part of their bid; while warning that where no amount was
     entered, that element would "be deemed to be included elsewhere in the
     Lump Sum amount." fE1121151

     Therefore, even if the Claimant could succeed in its argument that Price
     Escalation is payable on foreign currency amounts in principle, in practice, it
     makes no difference. The TZS 1.5 billion contingency amount was
     exhausted by the Price Escalation paid to the Contractor on local currency
     amounts alone, as of IPC 15, issued on 6 June 2006.

     The Claimant denies that the provisions relied upon by the Respondents
     support their position as alleged [S311174]. The reality is that amendments
     have been introduced to the standard form of contract at Sub-Clauses 13.5,
     13.8 and 14.4 which are neither internally consistent nor consistent with the
     absence of any Contingencies. However, they do not contain any words of
     limitation on the amount payable and should be read subject to the main
     purpose of Sub-Clause 13.8. Further, they should be construed strictly or
     alternatively contra proferentem.

     In any event, the Claimant contends that a cap on Price Escalation does not
     make commercial sense. The Respondents could have instructed numerous
     Variations to the Contract, increasing the contract price and without any



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         corresponding obligation to pay the Claimant for Price Escalation in respect
         of the same.

    48. The Respondents deny that the existence of a cap is commercially
         nonsensical. The uncertainty of the amount payable under a Price Escalation
         formula is precisely why a cap is appropriate for a developing country
         financing a major project.

The Effect of the Addendum

    49, The Respondents deny that the Price Escalation provisions of the Addendum
         are effective. Four principal submissions are made:

           The Addendum was not submitted to a tender board for approval, contrary
           to Section 44 of the Tanzanian Public Procurement (Goods, Works, Non-
           Consultant Services and Disposal of Public Assets by Tender) Regulations
           2005 ("the Regulations").

           The agreement on Price Escalation produced an unreasonable windfall for
           the Claimant, in breach of Section 23(1) of the Regulations.

           The agreement was void for mutual mistake of fact under section 20(l) of
           the Law of Contract Act.

           The original TZS 1.5 billion cap was left unamended by the Addendum in
          any event.

Tender Board approval

        The Respondents rely on Section 44 of the Regulations:

         "Any variations to the value of a procurement or disposal contract shall be
        reviewed and approved by the appropriate tender board." jF3/3.8/491:

        The Respondents contend that in purporting to provide for Price Escalation
        on the foreign currency, the Addendum varied the Contract's value as:

       a. Price Escalation was not payable on the foreign currency under the
          original Contract;

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     b. Even if the original Contract had provided for Price Escalation on the
        foreign currency, on the Claimant's case, the Addendum still purportedly
        increased the value of the Contract by:

               Removing the TZS 1.5 billion cap on Price Escalation;

           • Providing for payment of Price Escalation on US Dollars in US
              Dollars.

     No review or approval of the Addendum was sought or obtained. The fact
     that members of the GNT had authority, even senior authority, in public
     contracting or public procurement in other contexts does not change the fact
     that none of them purported to act as a tender board, or had authority to do
     so. Even if the ONT or its process had the objective characteristics of a
     Tender Board within the meaning of the Regulations, this is irrelevant.

     The requirement for Tender Board approval is not a mere teclmieality. The
     policy behind Section 44 is to prevent government officials from conveying
     valuable contractual entitlements outside the designated process. It cannot
     be circumvented by arguing that the Addendum was simply "interpreting"
     the original Contract - the question of whether or not the value of a contract
     has been varied is objective.

     In response to the Respondents' Tender Board arguments, the Claimant
     contends that:

       This is not a pleaded point, having been raised by the Respondents for the
       first time during opening submissions (T14/30/10-13].

       Approval is not needed in any event. Section 44 does not apply as Price
       Escalation was payable on foreign currency in the original Contract and
       consequently there was no change to the value of the Contract by the
       Addendum. Nor does the change in relation to Price Escalation being paid
       in dollars change the value of the Contract.

       Even if Section 44 did apply, the best evidence is that approval was in fact
       given, even though the MoU itself indicates that it was not needed.

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        Reliance is placed on the record of discussions held in Dodoma on
        3 February 2007 (G2/122/856] and the letter from Mr Chambo of 13
        March 2007 1G2112919141.

     d. In the event that approval was not given by the Tender Board, the
        Respondents are estopped from denying that it was given. The Claimant
        states that it relied on what it was told about approval having been given
        and on the Addendum being a good and lawful agreement.

      The Respondents accepted that the onus is on them to show that the approval
      had not been granted [T15169125 - T15/70/4]. They contend that the
      documentary evidence relied on by the Claimant is unclear. The documents
      simply suggest what was intended to happen, not what actually happened
      [T15/65/14-19j. Furthermore, the mantra that runs through the actual
      documents - the Deed of Settlement and the Addendum - is that the
     modification to Price Escalation is not actually a change and did not need to
     go to the tender board 1T15/67/1-61.

     The Respondents submit that the Claimant cannot derive assistance from the
     doctrine of estoppel. Estoppel cannot breathe life into an otherwise unlawful
     public contract. Reliance is placed on the cases of Maritime Electric Co v
     General Dairies Ltd [1937] AC 610, 620, ]?hyl Urban District Council v
     Rhyl Amusements Ltd [1959] 1 W.L.R. 465, Southend-on-Sea Corporation v
     Hodgson (Wickford) Ltd [1962] Q.B. 416, and Churchill Fisheries Export
     fly Lid v Director General of Conservation [1990] VR 968.

     The Respondents acknowledge that Mr Matupa's evidence was that the
     UNT had intended the Contractor to be paid Price Escalation on the entire
     contract price, including the foreign currency element 1T5/170121-241. It is
     denied that this is of any relevance, in light of the legal position. Regardless
     of the GNT's desire to agree to Price Escalation on the foreign currency,
     they could not do so without Tender Board approval.

     By letter dated 2 September 2015, the Respondents submitted recently
     discovered minutes of a Tender Board meeting on 21 February 2007, dated




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        13 April 2007. The Respondents submitted that the Minutes were consistent
        with the Respondents' closing submissions on 21 January 2015 fTl5/67123
        - T15/68/41. By letter dated 8 September 2015, the Claimant did not object
        to the submission of the minutes and submits that the Minutes make clear
        that Tender Board approval was given to the Addendum before it was signed
        by the Parties.

Unreasonable Windfall

        The Respondents contend that even if the Claimant can overcome the
        arguments on procedural validity of the Addendum, the purported agreement
        in respect of Price Escalation is unlawful or contrary to public policy and
        consequently unenforceable under Tanzanian Law.

        The Respondents rely upon Section 23(1) of the Regulations:

              "23 Price adjustment

             In the event of inflation, a price adjustment formula shall apply in
             order to arrive at a reasonable price"

        Applying Price Escalation to the foreign currency element would create a
        windfall for the Claimant which could not be a "reasonable price" for the
        following reasons:

          Applying a TZS inflation index to US dollars could not be a reasonable
          adjustment. Inflation in Tanzania has consistently exceeded that in the
          United States. The fact that the Claimant was making dollar-denominated
          purchases in Tanzania is irrelevant.

          The available evidence suggests that during the relevant period, dollar
          prices in Tanzania remained relatively stable. In contrast, the NCC index
          on which the Price Escalation formula was based increased in 2007 at an
          annual rate of3l%.

          To the extent that the foreign currency amount relates to costs that the
          Contractor actually incurred in Japan, Price Escalation would be


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         inappropriate. The Japanese Yen was static or deflationary during the
         relevant period.

 62. In response, the Claimant contends that:

         The Regulations do not apply. Reliance is placed on section 2 W:

             "2 (1) Subject to sub-regulation (2), these Regulations shall apply to all
            procurement of goods, works and non-consultant services undertaken
            by a procuring entity except where the context provide otherwise in
            which case the provisions of the Act shall prevaiL" [F3/3.8/71

         In this case the context is the Contract. Provided that it does not
         contravene the provisions of the Act referred to, the Public Procurement
         Act 2004, the Regulations will not apply.

         If the Regulations do apply, then on the proper construction of Regulation
         23, the effect is to require the Parties to apply a price adjustment formula
         so as to arrive at a reasonable price. Thus if they apply a price adjustment
         formula then Regulation 23 deems the price arrived at by its application to
         be reasonable.

         Even if the Regulations required the result of the application of the
         formula to be reasonable, there was compliance because it was
         reasonable. The Price Escalation formula in fact takes account of only
         50% of the increase in the prices of the basket of construction materials on
         which it is founded.

 63. Even if contrary to the above there is a breach of the Regulations, this does
      not necessarily entail that the price adjustment formula is void. Reliance is
      placed on section 23(1) of the Law of Contracts Act (Tanzania):

            "23(1) The consideration or object of an agreement if lawfuL unless -

                       it isjbrbidden by law;

                          is of such a nature that, if permitted, it would defeat the
                   provisions of any law;

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                           Lcfraudulent;

                            involves or implies injury to the person or property of
                        another; or

                            the court regards it as immoral or opposed to public
                       policy" [F1/13/15]

          The burden lies on the Respondents to show that one of the above criteria is
          met and they have failed to do so. In particular, the Claimant contends that
          the Respondents have failed to show that the Price Escalation formula was
          forbidden by law. The Claimant relies on Gherulal .Parekh v Mahadeodas
          (1959) Supi. 2S.C.R.406.

          The Respondents submit in return that the context of the Contract cannot
          displace the Regulation pursuant to Regulation 2(1). Regulation 2(1) merely
          confirms the basic principle of administrative law that the regulations must
          yield if, in a particular instance, they are incompatible with the statute they
          implement - not the Contract they regulate.

          The Respondents assert that the Claimant's contention that the Price
          Escalation formula compensated it for only SO% of actual cost increases is
          neither relevant nor factually accurate.

Mistake

          The Respondents contend that the agreement on Price Escalation was
          premised on a mutual mistake of fact and is consequently void. The Law of
          Contract Act (Tanzania) provides that:

          "20(l) Where both the parties to an agreement are under a mistake as to a
          matter offact essential to the agreement, the agreement is void

          (2) An erroneous opinion as to the value of the thing which forms the subject
          matter of the agreement is not deemed a mistake as to a matter offact.




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       21) A contract is not voidable because it was caused by a mistake as to any
       law in force in Tanzania; but a mistake as to a law not in force in Tanzania
       has the same effect as a mistake offact."

  68. The Respondents aver that:

         The Minutes of the First Meeting on 19 December 2006 note as an agreed
         fact that "Procedure for including the minutes for pre-bid meeting was not
         properly followed" [G21102/650].

         The Claimant and the GNT expressly premised the Price Escalation
         provision of the Addendum on this mistaken agreed fact: "Since.., the pre
         bid meeting was not effectively incorporated into the contract, the price
         escalation clause should apply to the whole contract sum payable both in
         local and foreign currency" [G211041667].

 69. Mr Matupa confirmed that this was the ONT's belief at the time as its
       members had not considered the legal points that had been taken in the DAB
       proceedings [T5/163/8 - T5/168/211. Mr McCormick confirmed that the
       Claimant had also believed that the Pre-Bid Meeting Minutes had not been
       incorporated into the Contract [T4/31/5-12].

 70. The Respondents aver that a mistake about the terms of a contract is one of
      fact. Reliance is placed on Pollock & Mulla, Indian Contracts & Specific
      Relief Acts (13th ed) (Vol 1), p629 [F4/4.18/41 and Kleinwort Benson Ltd v
      Lincoln City Council [1999] 2 AC 349 [F4/4.13/1]. An agreement premised
      on a mutual mistake of fact is void under section 20(1) of the Tanzania Law
      of Contract Act 1961.

 71. The Respondents contend that notwithstanding Mr Matupa's evidence that
      the GNT had decided to concede Price Escalation regardless of the fine
      contractual position, the agreed statement of facts is nonetheless
      demonstrative of reliance upon the mistake as to what was contained in the
      Contract in relation to Price Escalation [T14/214122 - T14/215/31.

 72. The Claimant's position on mistake is that:


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            There was no mistake as:

              • The minutes of the negotiation meetings were accurate. The
                 procedure at paragraph 18.4 of the Instructions to Bidders was not
                 followed.

              • The award of the DAB was based on the fact that the minutes of the
                 Pre-Bid Meeting were included in the Claimant's tender and in the
                 Contract. The members of the GNT would have been aware of that.

            Even if there was a mistake, it was a mistake of law not fact, pursuant to
            section 21 of the Law of Contract Act (Tanzania) read in conjunction with
            Section 2(3) of the Judicature and Application of Law Act.

            The requirements of section 20(1) are not satisfied, as the purported
            mistake did not go to the very basis of the Contract or involve a fact
            essential to the agreement. Both Parties should have known the true state
            of affairs in any event. The Claimant relies on Pollock and Mulla "The
            Indian Contract Act" pages 455-475 [F2/2.28/131 and Sheikh Brothers
            Ltd v Arnold Julius Ochsner and Another [1957] AC 136 1F2/2.3/1].

            Any mistake was irrelevant as the Particular Conditions take precedence
            over the Contractor's Proposal under the order of priority provisions
            found in the Form of Agreement and at Sub-Clause 1.5 of the General
            Conditions.

           In any event, Price Escalation was payable on foreign currency elements
           under the terms of the original Contract. If the Price Escalation agreement
           contained in the Addendum is void for mistake of law, this is ultimately
           irrelevant.

TZS 1.5 billion cap

   73. The Respondents aver that the 1.5 billion cap in the original Contract was
         not amended by the Addendum. The cap had in fact already been exhausted
         by payments of Price Escalation on TZS amounts. The Addendum left all of



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         the Contract's original terms undisturbed unless specifically stated
         otherwise.

   74. Additionally, eliminating the cap would have varied the value of the
         Contract by billions of Tanzanian Shillings and therefore would have
         required review and approval by a Tender Board.

   75. The Claimant contends that even if the original Contract did contain a cap it
         is plain from the express terms of the subsequent agreements that there was
         none following agreement of the MoU, Addendum and Deed of Settlement.

   76. Furthermore, the Claimant submits that:

           There is no reference to a cap in any of the Minutes;

           As at IPC No 16 on 20 October 2006, the Respondents had already paid
           TZS 1,629,788,350 for Price Escalation, in excess of the purported cap;

           Mr Matupa confirmed that the government was committed to pay Price
           Escalation without any cap 1T5/171/241.

   77. Alternatively, the Respondents have waived their right to rely upon any cap
         argument or are estopped from advancing the same. If there was a cap
         originally, the Respondents, by their conduct, assured the Claimant that they
         would not enforce it, and the Claimant acted on that to its detriment.
         Reliance is placed on the case of Edwin Simon Maniuya v Adam Jonas
         Mba/a [1983] TLR 410.

Entitlement to payment of Price Escalation in Dollars following the Addendum

   78. The Respondents contend in the alternative that even if Price Escalation is
         payable on dollars, it is not also payable in dollars. The Claimant must
         therefore reimburse the Respondents for the overpayments it received in this
         respect, amounting to TZS 8,370,108,867.

   79. Payment in dollars would have been a clear change from the original
         Contract, and thus required approval from the Tender Board. Furthermore, if
        the negotiators had agreed to change the currency in which Price Escalation

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       was to be paid, they would have done so expressly and such would have
       been evident in the Minutes. Additionally, adding another uplift in the form
       of a non-market exchange rate on top of the application of a TZS index to
       US dollar amounts would make the Price Escalation formula even more
       unreasonable.

  80. The Claimant relies on the following provisions in support of its entitlement
       to Price Escalation payable in dollars:

         Paragraph 2.2 of the MoU:

          "The Parties have agreed to interpret the said Clause 13.8 in such a
         manner that allows the Contractor to be paid for the changes in cost on
         the full Accepted Contract Amount (or such other amount amended in
         accordance with the Contract) and in currencies both, Tanzanian as well
         as Foreign."

         The Addendum provided at paragraph 1.0(i):

          "Sub-Clause 13.8 of the Particular Application shall be correctly
         interpreted i.e. Price Escalation shall be paid on the whole of the works
         covered by the Adjusted Contract Price in both Tanzanian Shillings and
         US Dollars. Price Escalation in accordance with Sub-Clause 13.8, will be
         paid on all works carried out until the final Time for Completion."

         The Deed of Settlement dated 15 March 2007:

         "The Parties have agreed to interpret the said Clause 13.8 in such a
         manner that allows the Contractor to be paid for the changes in cost on
         the full Accepted Contract Amount or such other amount as may be
         arrived at after amendment of Contract and in currencies both, Tanzanian
         as well as Foreign."

 81. The Claimant asserts that there can be no doubt about the effect of these
      provisions Price Escalation was to be paid on dollars and in dollars. The
      Claimant denies that the payment of Price Escalation in dollars as opposed
      to Tanzanian Shillings would have caused any extra windfall. Because the

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        contractual rate is used to get both from the initial dollars to Tanzanian
         Shillings in order to apply the formula, and then applied again to bring it
        back to dollars, there is no additional gain from the conversion. An
        additional gain would only arise if at the beginning of the process the dollars
        were converted into Tanzanian Shillings at the prevailing rate rather than the
        contractual rate. This is not what happened.




Analysis and Conclusions of the Tribunal on Price Escalation

Was the Addendum Approved by the Tender Board?

        The facts are that Mr Chambo (the Deputy Permanent Secretary of the
        MolD) for the Respondents proposed negotiations between the GNT and the
        Claimant and requested the Claimant to present all its claims as the basis for
        negotiations IGI/100/5151. The Claimant submitted a report entitled "the
        Contractor      minimum position for negotiations-without-prejudice"
        1G2/101/5171 which served as the basis for the subsequent discussions.

        The GNT included the persons who held the positions set out above.

        It is clear from the positions of the members of the ONT that the ONT was
        composed of senior members of relevant government departments, some or
        all of whom would or should have been aware of the Respondents'
        procurement requirements. Mr Chambo as Deputy Secretary of MolD, in
        particular must have been aware of such requirements as can be seen from
        the Record of Discussions [G21122/8551 described in Section II.

        The negotiating process involved a series of nine meetings in respect of
        which Minutes were signed by both Parties. These Minutes were
        incorporated in the MoU which was dated 30 January 2007. Although the
        Minutes of the third meeting and the consolidated Minutes of the fourth to
        ninth meetings are dated 29 January 2007, Mr McCormick, a consultant at
        the time to the Claimant and who was involved in the negotiations gave




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      evidence that these Minutes were in fact signed on 31 January 2007
      1C4/1/201. The Tribunal accepts Mr McCormick's evidence on this point.

      On 14 March 2007, the Parties entered into the Addendum. The MoU and
      the MoU Minutes were attached to the Addendum. On 15 March 2007, the
      Parties executed the Deed of Settlement.

      The Respondents, acting in accordance with the terms of the Addendum,
      caused sums to be certified and paid to the Claimant in respect of Price
      Escalation, pre-Addendum disruption and Additional Design costs. The
      Respondents now seek to recover such sums.

      The Respondents, having negotiated and executed the MoU, Addendum and
      Deed of Settlement and having made such payments pursuant to the
      Addendum, now adopt the relatively unattractive position that the
      Addendum was not submitted to a Tender Board for approval contrary to
      section 44 of the Tanzanian Public Procurement (Goods, Works, Non-
      Consultant Services and Disposal of Public Assets of Tender) Regulations
      2005. The Claimant submits that this position is not pleaded, having first
      been raised by the Respondents during their opening submissions
      [T14/30/1013].

     The Respondents contend that as the Addendum varied the value of the
      Contract (e.g. by way of Price Escalation) it should have been reviewed and
     approved by the appropriate Tender Board and it was not.

     The Respondents accept that the burden is on the Respondents to
     demonstrate that the approval had not been granted [T15/69/25-T15/70/41.
     In the Tribunal's view, the Respondents have failed to discharge this burden
     for the following reasons:

    a. A meeting took place between the Claimant and the MolD on 3 February
        2007—that is, after the signature of the MoU and prior to the execution of
       the Addendum. The Record of Discussions of this meeting (prepared by
       the Claimant) records that the Minister for the MolD explained that an
       Addendum would be prepared, ratified by the Attorney General's office




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        and passed through the ministerial Tender Board. Once agreed and signed
        by both Parties, the Addendum would become effective 1G2/12218551.
        The Addendum was signed on 14 March 2007. and the Respondents acted
        upon it.

        It is now clear from the Minutes of the Tender Board meeting on 21
        February 2007 (submitted by the Respondents by letter dated 2 September
        2015) that the Tender Board did consider and approve the Addendum.
        The Arbitral Tribunal does not consider that the Respondents' submission
        that it is "not clear whether the Board was presented with (or purported
        to approve) the second "Addendum No 1" dealing with price
        escalation..." carries any weight. It is clear from paragraph 5.3 of the
        Minutes that the Tender Board discussed each of the "5 main categories"
        of claims including Price Escalation, and agreed them.

        The MoU provided at paragraph 10.1.1 that those areas that require
        amendment of the Contract would be implemented in accordance with the
       mandatory procedure of the Public Procurement Act Number 21 of 2004
        and Regulations UN 97 of 2005. Paragraph 10.1.2 of the MoU stated that
       the areas which did not need amendment of the Contract would be
        implemented immediately by the Employer. It is clear from the MoU that
       the Respondents and the UNT on its behalf were aware of and addressed
       the need for compliance with the Regulations.

       In his letter of 13 March 2007 1G2/129/9141, Mr Chambo stated that the
       settlement of certain of the claims was a change to the Contract and this
       required compliance with the procedure under the Procurement Act.
       Mr Chambo further stated: "An Addendum for that purpose has already
       been cleared by the Attorney General and the other procurement
       machinery has been complied with. You may wish to sign the Agreement
       as finally approved". The Addendum was signed the following day.

       Mr Matupa, who was a member of the GNT, gave evidence in relation to
       Price Escalation that the GNT intended the Contractor to be paid price
       escalation on the entire contract price IT5/170/21-241.

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        £ The Respondents did not provide any documentary or witness evidence
            that demonstrated that approval had not been given to the Addendum by
            the relevant Tender Board to displace the evidence suggesting that the
            relevant approval had been given. On the contrary, the documentary
            evidence, in particular the letter of 13 March 2007 from Mr Chambo
            1G2112919141, confirms that the necessary approval was given.
            Mr Chambo was the Deputy Permanent Secretary of MolD and had been
            closely involved in the negotiations leading to the Addendum. The
            Claimant was entitled to rely upon Mr Chambo's letter.

         Accordingly, the Tribunal finds that the Respondents have failed to
          demonstrate that approval of the Addendum by a Tender Board was not
         granted. It follows, and the Tribunal so finds, that pursuant to paragraph
          1.0(i) of the Addendum (and also stated in the Deed of Settlement) the
         Claimant is entitled to be paid Price Escalation in US Dollars on the foreign
         currency element of the Adjusted Contract Price from the date of the
         Addendum.

         The Tribunal will now consider the other issues in relation to Price
         Escalation. Before dealing with the issues relating to Price Escalation under
         the Addendum, the Tribunal addresses how Price Escalation is addressed
         under the original Contract.

Does the original Contract limit the application of Price Esca]ation to local currency
only (prior to the Addendum)?

         In summary the Claimant's position is that Price Escalation was payable in
         Tanzanian Shillings on the whole of the Accepted Contract Amount after the
         first 18 months of the Contract, whereas the Respondents contend that Price
         Escalation was due only on the local currency portion of the Accepted
         Contract Amount and that in addition the amount of Price Escalation was
         capped at TZS 1.5 billion. The Claimant disputes the application of such a
         cap. The Tribunal addresses the issue of the cap below.




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        Pursuant to Sub-Clause 14.1(a), the Contract Price is defined as the lump
        sum Accepted Contract Amount and is subject to adjustments in accordance
        with the Contract. The term "Accepted Contract Amount" is defined in
        Clause 1.1.14 as being the amount accepted in the Letter of Acceptance for
        the execution and completion of the Works and the remedying of any
        defects.

        The Letter of Acceptance defines the contract sum in Tanzanian shillings
        payable in specified proportions of Tanzanian shillings and US dollars. The
        relevant part of the Letter of Acceptance is set out above [E2/6/2741.

        The Contract provides at Clause 13.8 that the Accepted Contract Amount is
        to be adjusted for the rises and falls in certain costs and that price escalation
        shall be calculated in accordance with a specified formula. This formula
        provides that the "sums payable by the Employer to the Contractor" shall be
        increased or decreased "by an amount of 'F' Tanzanian Shillings" in
        accordance with the application of the formula in the event of change in the
        NCC Index (see sub-Clauses 13.8(b) and (c)).

        In the Tribunal's view, it is clear from the foregoing that the original
        Contract provided for Price Escalation to apply (after the first 18 months of
        the Contract) to the whole of the Accepted Contract Amount including the
        proportion payable in US Dollars, but that the amount of Price Escalation on
        both currencies is payable in Tanzanian Shillings.

The Pre-Bid Meeting Minutes

        The Respondents contend that the Pre-Bid Meeting Minutes demonstrate
        that Price Escalation was not applicable to the foreign currency portion of
        the Accepted Contract Amount and that these minutes were included by the
        Claimant in their Tender. The Minutes set out question and answer 16
        which interprets sub-Clause 13.8 as meaning that there will be no
        adjustment for change in price in respect of the foreign currency element of
        the Accepted Contract Amount.




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      The Claimant submits and the Tribunal agrees that in accordance with
      paragraph 18.4 of the Instructions to Bidders any modification to the
      Contract arising through the Pre-Bid Meeting is to be made by the issue of
      an addendum. No such addendum was issued by the Respondent or the
      Engineer and the incorporation of the Pre-Bid Minutes in the Claimant's
      tender is insufficient to amend the Contract. In any event the answer to
      question 16 in the Pre-Bid Minutes interprets Sub-Clause 13.8 as meaning
      that there will be no adjustment for change in price in respect of the foreign
      currency element of the Accepted Contract Amount and the Tribunal does
      not agree with this interpretation of Sub-Clause 13.8.

      Secondly the Pre-Bid Minutes if applicable are inconsistent with Sub-
      Clauses 13.8 and 14.1 of the Contract which take priority under Sub-Clause
      1.5 of the Contract.




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The effect of the Schedule of Costs and Percentages of Listed Elements in the
Contract

   101. The Schedule is as follows:



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           The Respondents rely upon the Schedule for two contentions: first, that the
           sum of TZS 1.5 billion was inserted in the Tanzanian Shilling column with
           zero in the corresponding foreign currency column under the heading
           "Provisional Sum to cover price escalation". Second, that the amount of
           TZS 1.5 billion was a contingency from which all price escalation under the
           Contract was to be paid and that it operated as a cap.

       In relation to the first contention, the sum of TZS 1.5 billion was inserted by
       the Respondents and then incorporated by the Claimant in its Tender.
       Notwithstanding the Respondents' reliance on the Instructions to Bidders in
       relation to the lack of a percentage or amount being entered, the Tribunal

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      agrees with the Claimant's contention that at the time of the original
      Contract it could not include any sums for Price Escalation in the foreign
      currency column of the Schedule because under the formula in Sub-Clause
      13.8(c) any price escalation on the foreign currency portion was at the time
      of the Contract to be paid in Tanzanian shillings.

      The Claimant was simply recording that no Price Escalation was payable in
      foreign currency under the original Contract which is entirely consistent
      with the terms of the Contract as the Tribunal has found.

      In relation to the second contention that the sum of TZS 1.5 billion operates
      as a cap on the amount of Price Escalation that can be paid under the
      Contract, the Respondents rely upon Sub-Clauses 13.5, 13.8 and 14.4.

      In the Tribunal's view, the provisions upon which the Respondents rely
      primarily set out the basis on which the contingencies elements are to be
      utilised and do not limit in any way the amount that may be payable for
      Price Escalation on the Accepted Contract Amount. In any event, the
      column in which the sum of TZS 1.5 billion was inserted by the
      Respondents is entitled "Provisional Sum to cover price escalation".       A
      provisional sum is exactly that. It is a sum that may increase or decrease in
      accordance with the Contract and, in this case, as a consequence of the
      application of the formula set out in Sub-Clause 13.8. In circumstances
      where Price Escalation is to be calculated in accordance with a formula
      which in turn reflects an index based on ftiture changes in various elements
      of cost, it is obvious that at the time of the Tender the amount of Price
      Escalation could only be provisionally estimated. Such a provisional sum
      cannot be and does not operate as a cap on the amount of Price Escalation
     which may or may not become due depending on the operation of the
     contract formula.

     Accordingly the Tribunal finds that:

    a. Under the original Contract, after the expiry of the first 18 months of the
       contract period, the Claimant is entitled to payment of Price Escalation in


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            Tanzanian shillings on both the local currency and the foreign currency
            elements of the Accepted Contract Amount.

            The Pre-Bid Minutes do not alter this finding.

            The fact that the Claimant did not insert a figure in the foreign currency
            column of the Schedule does not alter this finding.

            The figure of TZS 1.5 billion inserted in the Schedule is a provisional sum
            and does not operate as a cap on the amount of Price Escalation payable
            under the original Contract in Tanzanian shillings on both the local and
            foreign currency elements of the Accepted Contract Amount.

Does the Price Escalation agreement in the Addendum result in an Unreasonable
Windfall?

         The Respondents contend that even if their contention that the agreement in
        relation to Price Escalation in the Addendum was not approved by the
        Tender Board is rejected (as it has been by the Tribunal), this agreement is
        in breach of section 23(l) of the Regulations which provides in relation to
        price adjustment "in the event of inflation a price adjustment formula shall
        apply in order to arrive at a reasonable price."

        The Parties' respective contentions are summarised above.

        The Parties agreed a specific price adjustment formula in the Contract,
        which, as the Tribunal has found, applies to the local and foreign currency
        elements of the Accepted Contract Amount but with the price escalation on
        those elements payable in Tanzanian shillings. The Tribunal has found that
        under the Addendum Price Escalation on the foreign currency element of the
        Adjusted Contract Price is payable in US Dollars.

   Ill. In the Tribunal's experience, it is not uncommon for a formula reflecting an
        index based on costs in one country to be applied to costs that might be
        incurred in another country. The organisation responsible for the index - the
        National Construction Council - confirmed that this was the practice in
        Tanzania [G1155/240].

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         The original Contract was approved under the relevant procurement
         Regulations and the Tribunal has found that the Respondents have failed to
         demonstrate that the Addendum was not so approved. Section 23(1) of the
         Regulations siniply provides that where there is inflation a price adjustment
         formula is to apply in order to arrive at a reasonable price. At the time of
         the original Contract, and also at the time of the Addendum, this issue would
         have been addressed by the relevant procurement authorities, and the
         Respondents have failed to demonstrate that at these respective times there
         was any suggestion that the application of the formula in this case would
         result in an unreasonable price. In the Tribunal's view, the purpose of
         section 23(l) is to ensure that where there is inflation there is the application
         of a price adjustment formula to achieve a reasonable price, since, if there
         was no such formula, the price would be unreasonable because of the lack of
         any adjustment.

         In any event, having agreed a price adjustment formula with the relevant
         approvals under the Regulations, the Respondents are bound by that
         agreement and the result of the formula. when that result is the consequence
         of the application of an agreed Tanzanian index applicable to projects in
         Tanzania. In the Tribunal's view, this is the sensible commercial approach
         to be adopted.

         In view of this conclusion, it is not necessary to address other issues raised
         by the Parties. including the Law of Contract Act and the contention that the
         price escalation formula compensates for only fifty percent of the actual cost
         increases.

         Accordingly, the Tribunal finds that the agreement in respect of Price
         Escalation in the Addendum does not result in an unreasonable windfall to
         the Claimant.

Is the agreement in respect of Price Escalation in the Addendum void for Mistake?

         The Parties' respective submissions on this issue are set out above in this
         Section III.


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      The Respondents rely upon the Minutes of the second negotiation meeting
      on 20 December 2006 [G2/104/667] to contend that the Price Escalation
      provision of the Addendum was premised on a mistaken agreed fact that the
      procedure for including the minutes of a pre-bid meeting was not properly
      followed. In fact, the Minute at paragraph 4.1.1 states:

            "ISSUES OF ESCALATION OF PRICE

            The following issue was agreed by the parties

                  o Whether the pre-bid meetings were properly incorporated
                     into the contract




           Arguments for issue determination

           (i)     The parties agreed that since the clear wording of clause 13.8
                   allows escalation of price on the whole contract sum and the
                   pre bid meeting was not effectively incorporated in the
                   contract, the price escalation clause should apply to the whole
                   contract sum payable both in local andforeign currency.

                   The Employer in princzpal agrees that the escalation clause
                   applies to the whole contract amount."




      It is clear from the Minutes that the primary reason for agreeing that price
      escalation in both currencies is payable was "...the clear wording of clause
      13.8 allows escalation ofprice on the whole contract sum...".

     The Minute states "the Employer in principal [sic] agrees that the
     escalation clause applies to the whole contract amount."

     The Parties were correct in believing that the Pre-Bid Minutes were not
     correctly incorporated into the Contract. There was no addendum as
     required by paragraph 18.4 of the Instructions to Bidders, and in any event


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          Sub-Clauses 13.8 and 14.1 take priority pursuant to Sub-Clause 1.5 of the
          Contract.

          It follows that the Respondents' submission that the Addendum was entered
         into based upon a mutual mistake of fact is misconceived. There was no
         mistake. The Pre-Bid Minutes were not properly incorporated into the
         Contract, and the Minutes of the second negotiation meeting reflect this.

         Secondly, the Pre-Bid Minutes express a view as to the meaning of Sub-
         Clause 13.8 and whether Price Escalation is payable on the foreign currency
         element of the Accepted Contract Amount. The Minutes of the second
         negotiating meeting make clear that the Parties took the view that Sub-
         Clause 13.8 allowed price escalation on the whole contract sum and there
         was no mistake about the terms of the Contract.

         As the Tribunal finds that the Addendum is not void on the basis of mutual
         mistake of fact the Tribunal concludes that it is not necessary to consider
         any of the other submissions of the Parties on the issue of mistake.

         Accordingly, pursuant to the Addendum, the Claimant is entitled to the sum
         of TZS 3,825,541,246.28 and USD 9,167,298.07 for Price Escalation,




Pre-Addendum Disruption Costs

The Parties' Principal Submissions

         The Respondents contend that they are entitled to claw back sums paid to
         the Claimant in respect of Pre-Addendum Disruption costs, due to the
         Claimant's failure to provide substantiation. The Claimant contends that a
         liquidated sum was agreed, and that substantiation was deemed to be
         adequately provided. Furthermore, Price Escalation is payable on the sums
        due.

        The Claimant contends that the natural reading of the Addendum and
        attached MoU and Minutes is that TZS 10 billion was an agreed liquidated


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      sum of money that was to be paid. Substantiation was deemed to be
      adequately provided. The Claimant relies on the following:

        The Parties agreed in the Addendum that the contract price would be
        revised to the "Adjusted Contract Price" of TZS 86,228,583,586 which
        was expressly recited to include "Disruption and Loss of Productivity."
        The figure of TZS 10 billion was included in the amended Schedule of
        Costs and Percentages of Listed Elements which applied following the
        Addendum at Appendix 2 1G2/130/9351.

        The Minutes of the meetings demonstrate that the Parties reached an
        agreement on a compromise lump sum, in particular:

           • Paragraph 4.3 of the Minutes of the Second Meeting held on 20
               December 2006 [G21104/667].

           • Paragraph 14 of the Minutes of the Sixth Meeting on 5 January
               2007 [G21107/726].

          • Paragraph 26 of the Minutes of the Eighth Meeting on 9 January
              2007.

          • Paragraph 27 of the Minutes of the Ninth meeting on 10 January
              2007 1G2110717301.

       Paragraph 27 of the Minutes of the Ninth Meeting on 10 January 2007
       record that:

          "Eventually it was agreed that the disruption costs be Tshs 10.0 billion
          and the Contractor was inclined to discount the balance of the claim.
          The final agreed Contract Lump Sum amount now will be Tshs 86.2
          bIn. It was agreed that the disruption had been adequately
          substantiated."

       Clause 1(iv) of the Addendum states that:

          "The Addendum provides extra costs required to successfully complete
          the project... The extra costs are the result of the negotiations held

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            between the Employer and the Contractor on pertinent contract terms
            and are agreed The agreed negotiated items are, namely:




            (iv) Costs due to Disruption and Loss of Productivity amounting to
            Tshs 10, 000, 000, 000. 00. "

      To the extent that there is any conflict between the MoU suggesting that
      substantiation was to be provided and the minutes of the Ninth Meeting
      suggesting that it had already been given, the latter prevail as they are later
      in time and in effect answer the MoU wording.

      Alternatively, paragraph 27 of the Minutes of the Ninth meeting was
      expressly incorporated at paragraph 11 of the MoU and so when read
      together any requirement for substantiation was agreed as fUlfilled.

      Further, the B2 bills are attached to the MoIJ as well as the Addendum. The
      B2 bills show a total of TZS 76 billion plus TZS 10 billion added for
      disruption, making a total of 86 billion, which is the amount of the new
      adjusted contract sum [T14/46/416].

      The Claimant points out that Mr Richards has carried out an assessment of
      the approximate valuation of pre-Addendum disruption based on the
      methods and rates used for post-Addendum disruption.                   As such,
      substantiation has in fact been provided. The delay in providing this is
      irrelevant. During the negotiations, it would have taken considerable time
     and cost to undertake such an exercise in circumstances where the Claimant
     was in severe financial difficulties as a result of the Respondents' failure to
     pay sums due to it.

     The Ciaimant denies that the Minutes record that disruption was limited to
     Claims 1, 2, 8, 12 and 13. The Claimant claimed the additional payment in
     relation to all matters set out in its Minimum Position for Negotiations Paper
     [G2/101/517].




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 132. The Claimant also contends that it was entitled to be paid Price Escalation
      on the pre-Addendum disruption costs:

        Under Clause 1.0(i) of the Addendum, Price Escalation was payable on
        the entirety of the Adjusted Contract Price. The Adjusted Contract Price
        was defined at page 1 of the Addendum and included the sum of TZS 10
        billion for Disruption.

        This was clearly the intention of the Parties as evidenced by the fact that
        the Engineer in fact certified such sums in IPC 20A which was paid by the
        Respondents.

        Furthermore, pre-Addendum Disruption was in fact calculated by
        reference to a comparison between planned and actual productivity as can
        be seen from the Contractor's Minimum Position for Negotiation Paper
        dated 14 December 2006 prepared for the Addendum Negotiations
        [G21101/157-644]. Consequently, there can be no objection to seeking
        Price Escalation on this sum.

 133. The Respondents rely on:

        Paragraph S of the MoU:

            "The parties have agreed that any disruption that has sustained the
           Contractor loss of productivity shall be compensated upon reasonable
           and fair substantiation of related costs." [G2/118/811]

        The Minutes of the Second Negotiation Meeting:

           "The Contractor undertook to provide a cost buildup for the
           claim.., relating to the descriptions [sic] causing loss of productivity."
           1G2/104/6711

        Mr McCormick's evidence, which is accepted by the Tribunal, is that the
        UNT had made the request for substantiation and the Claimant had given
        such an undertaking [T3/149/3-8].




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    134. The Respondents reject the suggestion that the GNT included the
         substantiation requirement in the MoU simply to save face, or that the
         timing of the signing of the Minutes of the Fourth to Ninth negotiation
         meetings one day after the MoU has any relevance.

   135. The Respondents also reject the purported subsequent substantiation of pre-
         Addendum disruption contained in Mr Richards' report on the basis that:

           It was provided seven years after the event, rather than at the correct time.

           Mr Richards has not investigated the cause of the discrepancy between the
           Claimant's actual productivity and the measured mile on the erroneous
           assumption that liability was accepted by the GNT during the Addendum
           negotiations. In fact, only Claims 1, 8, 12 and 13 were acknowledged to
           have caused disruption.

   136. The Respondents further deny that Price Escalation is payable on any
        amount claimed for Pre-Addendum disruption:

           The Contract's Price Escalation formula at Sub-Clause 13.8 explicitly
           precludes Price Escalation on any amount that is quantified by reference
           to actual cost.

           The Claimant cannot be entitled to a Price Escalation adjustment on a
           liquidated sum, which it has presented as a negotiated bargain between the
           Parties for payment of a sum certain. The Respondents submit that the
           Claimant cannot have it both ways. The amount is either liquidated, as the
           Claimant alleges, or it is not. The amount cannot be liquidated only to the
           extent that it benefits the Claimant (i.e. no substantiation required) but not
           where it does not (i.e. Price Escalation still owed).

Analysis and Conclusions of the Tribunal on Pre-Addendum disruption costs

   137. The Parties' respective submissions are set out above.

   138. In support of the contention that the pre-Addendum disruption costs require
        substantiation by the Claimant, the Respondents rely upon paragraph 5 of


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      the MoU [G2/118/8111, the Minutes of the second negotiating meeting
      1G2/104/6211 and Mr McCormick's evidence 1T3/149/3-81.

      However it is necessary to construe these provisions (and evidence) in the
      context of the fill terms of the Minutes, MoU and Addendum, and the
      timing of the execution of each document is also relevant.

      The Minutes and MoU are annexed to the Addendum and form part of it.

      The Minutes of the second meeting (held on 20 December 2002) were
      signed on 20 December 2006; the minutes of the sixth meeting on 5 January
      2007; the minutes of the eighth meeting on 9 January 2007.

      The MoU was signed on 30 January 2007.

      The Minutes of the fourth to ninth meeting were dated 30 January 2007 but
      in fact signed on 31 January 2007 after the date of the MoU. Apart from Mr
      McCormick's evidence on this point 1C4/1/201 in the Tribunal's view it is
      clear from the email chain between the Parties at the time [G2/119/2013;
      G21119/8291 that the minutes were not signed until 31 January 2007.

      The Addendum was signed on 14 March 2007.

      The negotiations on the Pre-Addendum Disruption Costs claim progressed
      as follows:

        At the second meeting, the Claimant agreed to provide a cost build up for
        the disruption claim (paragraph 4.3).

        At the sixth meeting, the Parties agreed to continue to scrutinise the
        claims including the disruption claims (paragraph 14).

        At the eighth meeting, the Claimant offered to reduce the disruption claim
        from TZS 14 billion to TZS 10 billion to result in a total claim of TZS
        86.2 billion (paragraph 26). The Respondents asked the Claimant to
        reconsider an offer of TZS 5 billion.

        The MoU provided at paragraph 5:


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             "5.0 DISRUPTION CA USING LOSS OF PRODUCTIVITY

            5.1 The Parties have agreed that any disruption that has sustained the
            Contractor loss of productivity shall be compensated upon reasonable
            and fair substantiation of related costs."

         At the ninth meeting on 10 January 2007 1G2111918371 the Parties agreed:

            "27.3 Eventually it was agreed that the disruption costs be Tshs 10.0
            billion and the Contractor was inclined to discount the balance of the
            claim. The final agreed Contract Lump Sum amount now will be Tshs.
            68.2 bln. It was agreed that the disruption had been adequately
            substantiated




            27.6 The Parties settled with the sum of Tshs. 86,228,585,586.00 as an
            adjusted Contract Price, which excludes amounts for Adjustments for
            Changes in Costs, VAT, and all Provisional Sums and Contingencies."

         Clause 1(iv) of the Addendum provides:

            "INTRODUCTION

            The Addendum provides extra costs required to successfully complete
            the project for THE DESIGN AND CONSTRUCTION OF THE
            DODOMA-MANYONI ROAD.              The extra costs are the result of the
            negotiations held between the Employer and the Contractor on
           pertinent contract items are agreed The agreed negotiated items are,
            namely:




            (iv) Costs due to Disruption and Loss of Productivity amounting to
            Tshs. 10,000,000,000.00..."

 146. In the Tribunal's view, it is clear from the documents referred to above that
      the negotiations regarding the pre-Addendum disruption started with a
      requirement for substantiation but that a settlement was reached at TZS 10
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         billion as recorded in the Addendum which was signed after the MoU.
         Clause 1 (iv) of the Addendum, which was the final approved document
         concluding the negotiations, prevails over paragraph 5 of the MoU. This is
         supported by the fact that the Minutes of the ninth meeting were signed on
         31 January 2007, after the date of the MoU.

         The wording of Clause 1 (iv) of the Addendum makes clear that this was an
         agreed liquidated figure of TZS 10 billion for costs due to Disruption and
         Loss of Productivity (see Section III (paragraph 14.5(f)).

         This figure was included in the Adjusted Contract Price of TZS
         86,228,583,586 in the Addendum and in the amended Schedule of Costs and
         Percentages of Listed Elements at Appendix 2 [G2/13019351.

         Accordingly, the Tribunal finds that the Parties agreed a liquidated sum of
         TZS 10 billion in respect of the Pre-Addendum Disruption costs and that no
         further substantiation is required. This was paid to the Claimant in IPC 19
         and was not subsequently deducted.

         The Tribunal also notes that the Respondents' Engineer (Mr Ntensibe) wrote
         on 25 October 2008 to Tanroads making clear that the Addendum as the
         record of the final agreement between the Parties made no mention of a
         requirement for substantiation and that the Employer's instruction to deduct
         the disruption costs may not be justified.

Is the Claimant entitled to Price Escalation on the amount of pre Addendum
Disruption?

         The first page of the Addendum at clause (i) defines the Adjusted Contract
         Price as including the additional costs payable to the Claimant for the settled
         claims including "Disruption and Loss of Productivity". Addendum No. 1
         1E5/2/13131 to the Addendum (also headed "Addendum No 1") provides at
         Clause I .oi) that Sub-Clause 13.8 "shall be correctly interpreted i.e. Price
         Escalation shall be paid on the whole of the works covered by the Adjusted
         Contract Price in both Tanzanian Shillings and US Dollars."



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   152. Accordingly, the Tribunal finds that pursuant to the Addendum the Claimant
         is entitled to be paid Price Escalation on the pre-Addendum disruption as it
         was included in the Adjusted Contract Price upon which the Claimant is
         entitled to be paid Price Escalation.

    153. It is also noteworthy that the Engineer certified payment of price escalation
         on the pre-Addendum disruption costs in IPC 20A which was paid by the
         Respondents at the time.

   154. Accordingly, the Claimant is entitled to TZS 593,370,920 and USD
         5,630,448.83 for Price Escalation on Pre-Addendum disruption.

Additional Design Costs

The Parties' Principal Submissions

   155. The Respondents contend that they are entitled to claw back sums paid for
         Additional Design Costs as the Claimant has failed to provide substantiation.
         The Claimant contends that a liquidated sum was agreed in the Addendum
         and the Respondents are simply seeking to renege on this agreement.

   156. The Claimant contends that:

           The Parties agreed in the Addendum that the contract price would be
           revised to the Adjusted Contract Price of TZS 86,228,583,586.00. This
           was expressly stated to include Additional Designs.

           By the express wording of Clause 1 of the Addendum, "costs due to
           Additional Designs amounting to Tshs 1,813,008,129.00" were agreed.

           The amount due for variations at Clause 1(H) of the Addendum was
           expressly described as an estimate whereas the figure for Additional
           Design was not.

           Appendix 2 to the Addendum shows Design of the Works as a line item in
           the breakdown of the Adjusted Contract Price.

   157. The Claimant contends that although Mr McCormick's evidence was that
         the Claimant initially agreed to provide more detail in relation to the
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      Additional Design Costs, the position changed as with Pre-Addendum
      Disruption such that the Parties ultimately agreed to a liquidated sum
      [C411/26-27]. It is inconceivable that IPC 19 would have been certified and
      paid without substantiation having been provided if such had been agreed.

      Whether the Additional Design took 18 or 21 months is irrelevant as the
      Claimant's proposal, which was accepted by the Respondents, was limited
      to doubling the original allowance for 6 months of design costs. This
      effectively compensated the Claimant for approximately 12 months' design
      costs which are still substantially less than 18 months. In any event, the
      design did take 21 months to complete.

      Contrary to what the Respondents allege, the Claimant states that there is in
      fact a note on the record of the additional design figure, because it is
      included in the B2 bills, attached to the MoIJ and the Addendum [T1414713-
      13].

      As is the case with pre-Addendum Disruption, the Respondents contend that
      the effect of the Addendum was that the Parties agreed to provisionally set
      aside TZS 1,813,008,129.00 for payment to the Claimant, on the condition
      that the Claimant substantiate its claimed costs. The Engineer certified
      payment for the additional design costs on an interim basis, on the
      understanding that substantiation would be forthcoming.

      It was agreed that the Claimant would be entitled to compensation for its
      purported design costs only if it could be shown that such costs were
      incurred as a result of the instructions given by the Employer or the
      Engineer. The express wording of Clause 4 of the MolJ states that:

        "The Parties agreed that the design work was part of the Contractor's
       obligations. Accordingly, if at all the Contractor has incurred any
       additional costs as a result of any extra designs, these costs shall be borne
       by the Contractor. However, if any extra design(s) is or was in any way
       due to the instruction(s) or additional requirement(s) of the Employer




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          and/or the Engineer, then the cost(s) of executing such designs shall be
          borne by the Employer." [E5/3/13231

        The minutes of the Second Meeting record: "The Contractor undertook to
        prepare a realistic proposal explaining the increase in costs." 1G2/104/6671

        The Respondents contend that it is significant that the final draft of the MoU
        that was ultimately executed originated from the Claimant, not the
        Employer.

        The formulation of the Claimant's proposed amount for Additional Designs
        - the "double up" method is arbitrary and emphasises why it should not be
        considered to have been understood as a liquidated sum. Reliance is placed
        on Mr McCormick's evidence on Day 3 [T3/199/21 - T4/200/41.

        The Claimant does not claim Price Escalation on the Additional Design
        costs as recorded in the Claimant's comments at item 3 of the Respondents'
        list of issues. Mr Sakamoto also confirmed that he did not consider Price
        Escalation should be applied to the Additional Design costs IC1/2/3].

Analysis and Conclusions of the Tribunal on Additional Design Costs

        The position with regard to the Additional Design costs is similar to that
        relating to pre-Addendum disruption costs.

        Pursuant to Clause i of the Addendum the Adjusted Contract Price of TZS
        86,228,583,586.00 is expressly stated to include TZS 34,238,583,581.00
        "being the additional costs payable to the Contractor due to . . .Additional
        Designs..."

        Clause 1.0 of Addendum No. 1 [E5/2/1313] to the Addendum provides:

         "The Addendum provides extra costs required to successfully complete the
        project for THE DESIGN AND CONSTRUCTION OF THE DODOMA -
        MANYONI ROAD. The extra costs are the result             of negotiations held
        between the Employer and the Contractor on pertinent contract items and
        are agreed. The agreed negotiated items are, namely:


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         (iii) Costs due to Additional Designs amounting to Tsh 1,813,008,129.00;

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         Item 13.01 of the Bills for the Final Approved Designs in Appendix 3 to the
         Addendum includes a lump sum of TZS 1,813,008,129 for "Additional
         Design Costs".

         To the extent that there is any conflict between the MoU and the Minutes of
         Meetings, the Tribunal considers that the Addendum prevails and that its
         terms are clear.

         Accordingly, the Tribunal finds that the Claimant is entitled to recover TZS
         1,813,008,129.00 for Additional Design costs without further substantiation
         of this figure. This sum was paid in IPC 19 and was not subsequently
        deducted.

        The Claimant does not claim Price Escalation on the Additional Design
        costs.

Extension of Time and Sectional Completion

        Although not an issue in dispute, this is a convenient place to record that in
        the Addendum fG2/118/815-816] the Parties agreed an extension of time of
        24 months (231 days) from 30 September 2006 for completion of the work,
        and that Section 1 was completed by 30 November 2006 (Sub-Clause (viii)
        of the Addendum) [E5/2/1300].

        The Parties also agreed fG2/130/917] the following sectional completion
        dates:

        Section 2           31 December 2007

        Section 3           30 April 2008

        Section 4           29 September 2008




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      The completion date for Section 4 was also the date for completion of the
      contract works [CCSI4.1].

      Section 3 was taken over on 1 November 2008, 184 days late [G4/529/2086;
      S3/l/114].




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SECTION IV: SUSPENSION CLAIMS

Overview of Claims

        The Claimant contends that as a result of the Employer's failure to make
        payments, it was entitled to suspend the Works on three occasions:

          September 2006 — mid 2007 ("the First Suspension");

          April 2008— June 2008 ("the Second Suspension");

          November 2008 - March 2009 ("the Third Suspension").

        On the basis of the above, the Claimant submits that it is entitled to
        additional costs plus reasonable profit/damages and an extension of time. In
        the alternative, the Claimant seeks a declaration that time is at large and/or
        that the Employer is precluded from collecting liquidated damages.

        As an initial threshold issue, the Respondents submit that the Claimant is
        barred from bringing these claims due to its failure to comply with the
        notice and/or particularisation provisions contained in Sub-Clause 20.1.

        The Respondents further contend that in any event, the suspension claims
        fail on their substantive merits. Additionally, as the Claimant had no excuse
        for the critical delay to progress, the Employer is entitled to liquidated
        damages for late completion pursuant to Sub-Clause 8.7 [E3/1/632-633].

        In the Partial Award, the Tribunal decided in relation to Preliminary Issue
        No. 6 that compliance with the notice provisions of the first paragraph of
        Sub-Clause 20.1 of the Contract is a pre-condition to the pursuit of a claim
        for an extension of time or additional payment under the Contract
        1B2/2.1/291. The Tribunal did not make findings on (i) what the contractual
        provisions require for the purpose of compliance; (ii) when the Claimant
        became aware or should have become aware of the relevant event or
        circumstance; (iii) whether Sub-Clause 20.1 applies to claims for damages
        for breach of contract; (iv) the application of the prevention principle. The
       Tribunal did not, in the Partial Award, decide whether any Contract notice
       provisions had or had not been complied with in respect of any relevant
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        claim. This issue is addressed in this Section in relation to the Suspensions
        claims.

        In the following Sections, the Tribunal sets out the relevant contractual
        provisions, the factual background in relation to each suspension, a
        summary of the Parties' principal submissions and its analysis and
        conclusions in relation to each Suspension.

Relevant Contractual Provisions

        The relevant contractual provisions are outlined below.

        Sub-Clause 16.1 Contractor's Entitlement to Suspend Work:

         "Sub-Clause 161 - Contractor's Entitlement to Suspend Work

        If the Engineer fails to certj5 in accordance with Sub-Clause 14.6 [Issue of
        Interim Payment CertUlcates] or the Employer fails to comply with Sub-
        Clause 2.4 [Employer s Financial Arrangements] or Sub-Clause 14.7
        [Payment], the Contractor may, after giving not less than 21 days' notice to
        the Employer, si ispend work (or reduce the rate of work) unless and until
        the Contractor has received the Payment Certjflcate, reasonable evidence
        or paymen4 as the case may be and as described in the notice.

        The Contractor's action shall not prejudice his entitlements to financing
        charges under Sub-Clause 14.8 [Delayed Payment] and to termination
        under Sub-Clause 16.2 [Termination by Contractor]

        If the Contractor subsequently receives such Payment CertUicate, evidence
        or payment (as described in the relevant Sub-Clause and in the above
        notice) before giving a notice of termination, the Contractor shall resume
        normal working as soon as is reasonably practicable.

        If the Contractor szy'jfers delay and/or incurs Cost as a result of suspending
        work (or reducing the rate of work) in accordance with this Sub-Clause, the
        Contractor shall give notice to the Engineer and shall be entitled subject to
        Sub-Clause 20.1 [Contractor's Claims] to:


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      An extension of time for any such delay, if completion is or will be delayed,
      under Sub-Clause 8.4 [Extension of Time for Completion], and

      Payment of any such Cost plus reasonable profit, which shall be included in
      the Contract Pricc. " [E3/116531

 9.   Sub-Clause 20.1 - Contractor's Claims

       "If the Contractor considers himself to be entitled to any extension of the
      Time for Completion and/or any additional payment, under any Clause of
      these Conditions or otherwise in connection with the Contract, the
      Contractor shall give notice to the Engineer, describing the event or
      circumstance giving rise to the claim. The notice shall be given as soon as
      practicable, and not later than 28 days after the Contractor became aware,
      or should have become aware, of the event or circumstance.

      If the Contractor fails to give notice of a claim within such period of 28
      days, the Time for Completion shall not be extended, the Contractor shall
      not be entitled to additional payment, and the Employer shall be discharged
      from all liability in connection with the claim...

      Within 42 days after the Contractor became aware (or should have become
      aware) of the event or circumstance giving rise to the claim, or within such
      other period as may be proposed by the Contractor and approved by the
      Engineer, the Contractor shall send to the Engineer a fully detailed claim
      which includes full supporting particulars of the basis of the claim and of
      the extension of time and/or additional payment claimed...

      Each payment cert?/icate shall include such amounts for any claim as have
      been reasonably substantiated as due under the relevant provision of the
      Contract...

        If the Contractor fails to comply with this or another Sub-Clause in
      relation to any claim, any extension of time and/or additional payment shall
      take account of the extent (f any) to which the failure has prevented or




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      prejudiced proper investigation of the claim, unless the claim is excluded
      under the second paragraph of this Sub-Clause.   "   1E3/1/6841

      Sub-Clause 1.3 —Communications:

      "Wherever these Conditions provide for the giving or issuing of approvals,
      certificates consents, determinations, notices and requests, these
      communications shall be:

      in writing and delivered by hand (against receipt), sent by mail or courier,
      or transmitted using any of the agreed systems of electronic transmission as
      stated in the Appendix to Tender; and

      delivered, sent or transmitted to the address for the recipient's
      communications as stated in the Appendix to Tender. However:

      if the recipient gives notice of another address, communications shall
      thereafter be delivered accordingly; and

      if the recipient has not stated otherwise when requesting an approval or
      consent, it may be sent to the address from which the request was issued.

      Approvals, certUlcates, consents and determinations shall not be
      unreasonably withheld or delayed When a certjficate is issued to a Party,
      the certj/Ier shall send a copy to the other Party. When a notice is issued to
      a Party, by the other Party or the Engineer, a copy shall be sent to the
      Engineer or the other Party, as the case may be."

      Paragraph 1230 of the Standard Specification:

      "1230 RECORDING OF INFORMATION RELA TING TO CLAIMS FOR
      ADDITIONAL COMPENSATION OR EXTENSION OF TIME

      Should any circumstances arise or order be given by the Engineer which
      the Contractor considers may fairly entitle him to additional compensation,
      or extension of time for completion of the Contract, then the Contractor
      shall at the earliest practicable opportunity inform the Engineer of these
      circumstances so that he may have the opportunity to investigate the

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         circumstances and take such action as he considers desirable in order to
         reduce possible costs to the Employer. The Contractor shall at the same
         time inform the Engineer of his intention either to claim additional
         compensation or extension of time, or to reserve his rig/it to claim at a later
         stage. The Contractor shall also state on which clause or clauses of the
         Conditions of Contract, the Special Specifications or other parts of the
         Contract Documents his claim is based

         In order that the extent and validity of such claims may be properly
         assessed when they are submitted at a later date, all circumstances relating
         to claims must be investigated, recorded and agreed upon as far as possible
         between the Contractor and the Engineer as and when they occur. For this
        purpose the Contractor shall furnish the Engineer from day to day with
         records, in a form approved by the Engineer, of all the facts and
         circumstances that the Contractor considers relevant and may wish to rely
         upon in support of his claims. The Engineer may in turn record such other
        facts and circumstances as he considers relevant and the Contractor shall
        for this purpose, supply him with all the information that he may require in
         this respect.

         The Engineer and the Contractor shall, at the time of recording indicate in
        writing and by signature, their agreement or disagreement as to the
         correctness of the information recorded Additional compensation shall for
         the purposes of this Clause be taken to mean compensation over and above
         the payments at unit rates and prices bid or agreed upon for work ordered
         by the Engineer." 1E4/219491

Factual Background to the Suspensions




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          The First Suspension concerns the slow down from 5 September 2006 until
          mid-2007' as a result of the alleged late payment of IPC 15. The Claimant
          also contends that a second ground for suspension arose in 2007, due to the
          late payment of the Outstanding Amount (the sum of USD 10,602.746.36
          allegedly owed to the Claimant as Price Escalation on the foreign currency
          component of JPCs 7 -16).

          The key events are set out in further detail in the table below.




        DATE                                     EVENT




        6 June 2006                              JPC 15 issued.




       27 June 2006                              TZS portion of IPC 15 paid in full.




        14 August 2006                           Sub-Clause 16.1 notice served in
                                                 respect of IPC 15 [GI/66/3181.




       5 September 2006                          Claimant notified MolD that it was
                                                 slowing down progress and gave
                                                 notice under Sub-Clause 20.1          in
                                                 respect of IPC 15 [G1/72/375}. The
                                                 Claimant reduced the rate of working.




 Mr Sakamoto's evidence is that the slowdown lasted until May 2007 [Cl/1/11]. The
Claimant's Closing Submission states that the reduced rate of working lasted until
12 July 2007 [S3/1/115J.

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     8 September 2006               USD 1.252 million paid to Claimant -
                                    leaving USD 25,000 unpaid on IPC
                                    15.




     10November2006                 USD 1,458,399.75 paid to Claimant
                                    and allocated to IPC 16.




     22 December 2006               USD 900,000 paid to Claimant:
                                          •   USD 6,729 allocated to IPC
                                              15,   leaving     USD       18,000
                                              unpaid.
                                          •   USD 20,000 allocated to clear
                                              small balances on IPCs 13 and
                                              14.




     10 January 2007                Ninth Meeting between GNT and the
                                    Claimant.       Minutes      record     that
                                    Outstanding Amount would be paid
                                   "now".




     15 January 2007               IPC 17 submitted but not certified.




     17 January 2007               IPC        17        re-submitted      minus
                                   Outstanding Amount 1G2/112/7711.
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     30 January 2007                MoU signed.




     6 February 2007                Claimant      letter    to      Respondents
                                    seeking      payment      of     Outstanding
                                    Amount 1G211 23/86O.




     19 February 2007               Claimant letter to Respondents again
                                    seeking      payment      of     Outstanding
                                    Amount [G2/124/8611.




     16 March 2007                  Deed of Settlement signed.




     19 March 2007                  Outstanding Amount certified in TPC
                                    18 1G2113219581.




     10 April 2007                  Limited       remobilization            begins
                                    [C1/1/21].




     12 July 2007                  Full payment of IPC 18 (Outstanding
                                   Amount)         received         and       full
                                   remobilization.




    4 August 2007                  Sub-Clause        20.1          notice      for
                                   Outstanding Amount.




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     2 November 2007                            IPC 15 paid in full.




  14. The Second Suspension occurred during 19 April 2008 to 21 June 2008 due
       to the purported late payment of IPCs 19, 20, 20A and 23. The key events
       are set out in the table below:




      DATE                                     EVENT

       16 June 2007                            JPC 19 submitted.




      26 June 2007                             JPC 19 certified.




      16 August 2007                           IPC 20 submitted.




      22 August 2007                           Sub-Clause 16.1 notice given in
                                               relation to JPC 19 [G3/189/1217].




      7 September 2007                         Revised IPC 20 certified.




      2 November 2007                          USD 182,000 still outstanding on
                                               IPC 19.




      6 November2007                           Sub-Clause 16.1 notice served in


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                                   respect of IPC 20 [G3/230/13331.




      26 January 2008              JPC 23 submifted.




       12 February 2008            Meeting between Tanroads and
                                   Claimant   -   agreed to resubmit IPC
                                   20 as IPC 20A [G3/302/1 475].




      15 February 2008             IPC 20A submitted.




      19 February 2008             IPC 20A certified.




      23 February 2008             IPC 23 submitted.




      26 March 2008                Claimant wrote to Tanroads stating
                                   that its Sub-Clause 16.1 notice in
                                   respect of IPC20 applied to IPC20A
                                   [G3/33011569].




      16 April 2008                Sub-Clause 16.1 notice served in
                                   respect of IPC 20A rG3/349/15971.




      18 April 2008                Claimant informs Respondents of
                                   Second Suspension 1G3/353/16091.




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       19 April 2008                  Claimant commenced Second
                                      Suspension.




      21 April 2008                  Sub-Clause 16.1 notice served in
                                     respect of IPC 23 tG3/356/16131.




      25 April 2008                  Letter from Claimant to Tanroads
                                     stating that its financial situation has
                                     deteriorated and that it will be
                                     suspending the structure works and
                                     ancillary works from 291h April 2008
                                     1G3/357/16141.

      1 May 2008                     Letter from Claimant to Tanroads
                                     giving notice of claim for extension
                                     of time and associated costs in
                                     relation to IPC 20 [G31361/1621].

      8 May 2008                     Minutes of Progress Meeting 52
                                     [A2/13/5].

      9 May 2008                     Letter from Claimant to Tanroads
                                     notifying suspension from 10th May
                                     2008 1G3/367/16291.

      14 May 2008                    Letter from Claimant to Tanroads
                                     acknowledging payment of TZS 8
                                     billion but stating that this amount is
                                     enough to pay sub-contractors and
                                     suppliers for services rendered in



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                                      March and April 2008 only, and not
                                      for resuming works in full capacity.
                                     Notes that the amount of
                                      outstanding payments for the IPCs,
                                     after the aforementioned part
                                     payment, is in excess of USD 22
                                     million [G3/371/16361.

       23 May 2008                   High-level meeting at Konoike
                                     headquarters in Osaka, Japan
                                     1G3/387117021.

      24 May 2008                    Sub-Clause 20.1 notice provided in
                                     respect of IPC 23 [G4/390/17111.




      29 May 2008                    JPC 19 paid in full [G4/393117151.




      21 June 2008                   Claimant resumed Works.




      12 July 2008                   Full remobilisation.




      16 September 2008              IPC 20A paid.




      20 September 2008              Particularisation provided
                                     1G41463/19271.



      22 September 2008              IPC 23 paid.



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  15. The Third Suspension began on 6 November 2008 as a result of the alleged
       non-payment of IPCs 24 and 25 and continued up until termination (the date
       of which is disputed). The key events are set out below.




      DATE                                  EVENT

       16 May 2008                          IPC 24 certified.




      5 August 2008                          Sub-Clause 16.1 notice for IPC 24
                                             [G4/430/1836].




      18 August 2008                        IPC 25 certified.




      2 September 2008                      Local currency element of IPC 24
                                            paid (TZS 2,182,176,813)
                                            [G4/44711865].

      17 September 2008                     Claimant letter to Tanroads stating
                                            entitlement to suspend works
                                            [C4/455/19061.


      22 September 2008                     USD 4 million paid, of which USD
                                            3.49 million was allocated to JIPC 24
                                            [G41464/1929].




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       15 October 2008                Claimant submitted a Sub-Clause
                                      16.1 notice based on non-payment
                                      of IPC 25. In the same letter, the
                                      Claimant asserted that it would be
                                      entitled to terminate the Contract
                                      120 days after IPC 24 was due, on
                                      11 July 2008 FG4/498/20051.

                                      The Employer responded that it was
                                      reviewing the prior payments made
                                     under the Addendum and asked the
                                      Claimant to withdraw its intention
                                     to suspend the works
                                      fC4/523/20701.

      3 November 2008                Claimant wrote to Tanroads stating
                                     that works would proceed at a
                                     reduced rate from that day forward,
                                     pursuant to the Sub-Clause 16.1
                                     notice for IPC 24, and that
                                     suspension of the works for non-
                                     payment of IPC 25 would begin on
                                     6 November 2008 [G41527120841.

      6 November 2008                Claimant confirmed the Third
                                     Suspension [G4/534/2096].

      2 December 2008                Claimant issued a "Notice of
                                     Entitlement to Terminate Pursuant
                                     to Sub-Clause 16.2" alleging
                                     various grounds including that
                                     payment for IPC 24 was 144 days
                                     late, the Engineer had not certified
                                     JPC 26 within the required time, as


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                                                well as that the Employer had
                                                refused to issue Taking Over
                                                Certificates and had interfered with
                                                the Engineer's determination of
                                                claims 1C4/559/21421.

           15 December 2008                     Tanroads informed the Claimant
                                                that the Contract was at an end and
                                                instructed the Claimant to vacate the
                                                Site.

           11 March 2009                        Claimant purportedly terminated the
                                                Contract [G5/645/2325}.




Parties' Principal Submissions

First Suspension

Overview

           As set out above, the Claimant submits that it was entitled to suspend and
           did so from 5 September 2006 on the basis of the delayed payment of IPC
           15, which was not paid in fill until 2 November 2007. It maintains that an
           additional ground for suspension arose in 2007 as a result of the non-
           payment of the Outstanding Amount.

           It is accepted by the Parties that a Sub-Clause 16.1 notice was given on 14
           August 2006 IG1/66/3181, and a Sub-Clause 20.1 notice on 5 September
           2006 IG1/72/3751. It is also accepted that particularisation was provided on
           14 September 2007. The Respondents however deny that the Claimant's
           claim can succeed as (i) the Claimant was not substantively entitled to
           suspend on the basis of IPC 15 when it purported to do so; and (ii) no Sub-
           Clause 16.1 notice was given in respect of the Outstanding Amount, which
        is a condition precedent.



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Claimant's principal submissions

   18. The Claimant asserts that:

           Sub-Clause 16.1 provides no restrictions on a Contractor's right to
           suspend for non-payments. The Claimant was entitled to suspend even if
           the amount outstanding could be described as de ininimis.

           There is no foundation in law or fact for the Respondents' argument that it
           should be treated as having allocated finds from the 10 November 2006
           and 22 December 2006 payments to IPC 15 with the result that the right to
           suspend work ended. The Claimant relies on section 60 of the Tanzanian
           Law of Contracts Act [F2/2.29/221. Even if the Claimant had allocated the
           sums paid in respect of IPC 16 as against IPC 15, sums would then have
           been outstanding on IPC 16, which would have entitled the Claimant to
           suspend Works. The Claimant expressly clarified that it had not
           recognised that the whole of IPC 15 had been paid [H2/1.40/821
           EG1/90/4861 jG2/104/6711 IH1/1.55/11 fG2/113/772J.

           In any event, the claim relates to delayed remobilisation in April-August
           2007 due to lack of funds. The Respondents had additionally failed to pay
           the Outstanding Amount in the sum of USD 10.6 million until 12 July
           2007.

   19. The Claimant submits that even if is wrong on IPC 15, it was nevertheless
         entitled to continue the reduced rate of working by reason of the
         Employer's failure to pay the Outstanding Amount, which was due
         following the meeting on 10 January 2007, alternatively when the MoU was
         signed on 31 January 2007, alternatively at the date of the Deed of
         Settlement on 14 March 2007, alternatively 14 May 2007, the due date of
         IPC 18. The Claimant was not required to follow the contractual payment
         mechanism again in respect of this sum. To the extent that a further
         certificate was required, it was for the Employer to inform the Engineer
         immediately of the agreement reached so the Engineer could effect
         certification.


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  20. As to the notice provided in respect of the Outstanding Amount:

          It was agreed as part of the Addendum by Minute 4.5.0 of the meeting on
          20 December 2006 [62/104/671] that work would not commence until
          some payment had been made. Given the contractual force of that
          agreement, further notices under Clauses 16 and 20 were not required.

          Failure to pay the Outstanding Amount was a "delay, impediment or
          prevention" on the part of the Employer, entitling the Claimant to an
          extension of time pursuant to Sub-Clause 8.4(e). Entitlement under this
          clause does not require the service of a Sub-Clause 16.1 notice.

          However if and insofar as necessary, notice was given under Sub-Clause
          16.1 and 20.1 in respect of the non-payment of the Outstanding Amount
          by:

                 • Minute 4.5.0 of the above meeting on 20 December 2006,
                     which was restated and agreed by inclusion in the MoU and the
                     Addendum;

                 • Letter dated 6 February 2007 162/12318601;

                     Letter dated 19 February 2007 162/124/8611.

          In the circumstances of Works already being subject to a reduced rate of
          working, notice that they would not be re-commenced until payment was
          made was sufficient description of the event or circumstances giving rise
          to an extension of time.

          Notice provisions such as Sub-Clauses 16.1 and 20.1 are to be construed
          broadly - Obrascon Huarte Lain SA v Her Majesty's Attorney General
         for Gibraltar [2014] EWHC 1028 (TCC).

          The Respondents have waived their right and/or are estopped from relying
          upon any failure by the Claimant to comply with the notice provisions.

  21. If the Claimant was entitled to suspend or reduce the rate of working, it was
        entitled to do no work at all and consequently cannot be criticized for

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         remobilizing slowly when it was not obliged to start remobilising at all until
         12 July 2007. In any event, the Employer is estopped from withholding
         payments which have been approved (certified) by the Engineer acting as
         its agent. Regulation 123(3) creates no additional powers to those contained
         in the Contract.

Respondents' Principal Submissions

   22. In respect of IPC 15, the Respondents contend that the Claimant:

           Suspended prematurely before it had any entitlement to do so; and

          Maintained its slowdown after it had received payment of all, or
           alternatively, all but a de ininitnis part of IPC 15.

   23. It was only on 14 August 2006 that the Claimant gave notice of its alleged
         entitlement to slow down the Works. However, the slowdown in fact began
         on or before 1 August 2006 and in any event prior to the expiration of the
         21 day notice period on 7 September 2006. Reliance is placed on the
         Engineer's letter of 31 August 2006 IG1/69/3241 and Mr Sakamoto's
         evidence [T5/19/131 [T5/23120-241. Therefore even if the Claimant is
         correct that it was entitled to suspend on the basis of IPC 15, which is
         denied, the suspension was still in breach of contract, as the Claimant had
         already started slowing down the work before it had any arguable
         entitlement to do so 1T14/128/24 - T14/129/41.

   24. In any event, the Claimant could not start nor continue a suspension after
         the Employer paid TPC 15 in full on 8 September 2006. The Claimant
         admitted this at the time [G1184/394} and subsequently [G5/678/2478]. At
        this point, a de ininimis amount remained outstanding. Thereafter, the
         Claimant held unallocated funds received from the Employer without
        crediting them against outstanding certified sums, contrary to section 59 of
        the Tanzanian Law of Contracts Act fF2/2.29/22j.

  25. Nor was the Claimant entitled to suspend on the basis of the Outstanding
        Amount. The Claimant applied for payment of this in IPC 18, which was


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       not due until 14 May 2007. The Claimant was required to follow the
       contractual payment mechanisms. The Contract does not allow for
       payments to be made by the ad hoc mechanism now suggested by the
       Claimant. The Claimant acknowledged at the time that payment was to be
       processed under the contractual payment provisions by requesting payment
       in IPC 17 on 15 January 2007. The Engineer certified the Outstanding
       Amount in TPC 18 on 19 March 2007 and thus it was only due for payment
       on 14 May 2007.

       The Claimant did not issue a Sub-Clause 16.1 notice of entitlement to
       suspend on the basis of the Outstanding Amount, a condition precedent to
       any valid suspension. The purported notices relied upon as set out above
       cannot function as Sub-Clause 16.1 or 20.1 notices. They were written
       months before the Outstanding Amount was due, on 14 May 2007.
       Obrascon is not binding. Under Tanzania law, specifically Regulation
       118(3), contractual notice provisions (both Sub-Clauses 16.1 and 20.1) must
       be construed strictly.

       Furthermore, no Sub-Clause 20.1 notice was issued. The letters relied on by
       the Claimant of 6 and 19 February 2007 cannot be considered as either Sub-
       Clause 16.1 or Sub-Clause 20.1 notices. The Claimant also failed to comply
       with the particularisation requirements.

       In any event, the claimed delay was not caused by late payment of IPC 15
       or the Outstanding Amount. At the time, the Claimant's subcontractor
       Estim was executing major works and was obliged to supply its own fuel.
       There is no evidence that the timing of the Claimant's receipt of the
       Outstanding Amount affected Estim's ability to advance the works. The
       Claimant did spend money and do work during this period but chose to
      progress non-critical works.

      Once the Claimant started to remobilise. it only started to remobilise
      slowly, causing delay. Under Tanzanian law (Regulation 123(3)) the
      Employer was released from its payment obligations until the Claimant had



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           achieved full mobilisation and made good any delay caused due to the slow
           remobilisation.

Second Suspension

Overview

    30. The Second Suspension relates to the alleged late payment of IPCs 19, 20,
           20A and 23. In outline, the Claimant avers that:

            A Sub-Clause 16.1 notice was given in relation to IPC 19 on 22 August
            2007 [G3/189112171. The Claimant was therefore entitled to suspend on
            this basis from 12 September 2007. However, the Claimant did not
            exercise this right immediately and kept working.

            A Sub-Clause 16.1 notice was served in respect of IPC 20 on 6 November
            2007 [G3/230/1333].

            On 26 March 2008, the Claimant wrote to Tanroads asserting that its Sub-
            Clause 16.1 notice in respect of IPC 20 applied to IPC 20A
            [G3/33911569].

            A further Sub-Clause 16.1 notice in respect of IPC 20A was served on 16
            April 2008 jG31349115971.

            The Claimant eventually suspended on 19 April 2008.

            A Sub-Clause 16.1 notice for IPC 23 was given on 21 April 2008
            [G3/35611613].

            On 29 May 2008, IPC 19 was paid in full. [G4/393/1715]. However the
            Claimant's entitlement to suspend continued as a result of the non-
            payment of IPCs 20, 20A and 23.

Respondents' principal submissions

   31. The Respondents contend that:




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        The only IPCs of relevance to this suspension are IPCs 20A and 23. IPC
        19 was paid in full and IPC 20 was withdrawn and so neither could found
        a Sub-Clause 16.1 suspension.

            • By 2 November 2007, all but USD 182,000 had been paid on IPC
                19.

            . When the Contractor received payments totalling nearly USD 8
                million on 16 January, 23 January 20 February and 26 February
                2008, it allocated the entire sums to IPCs 21 and 22, although
                those were not due for weeks. The exercise of discretion under s
                60 of the Law of Contracts Act must be used reasonably

                Therefore when the Claimant suspended on 19 April 2008, nearly
                eight months after its Sub-Clause 16.1 notice for IPC 19, any
                outstanding balance was c/c minim/s and could not justit3' the
                suspension.

        Furthermore, the Claimant never purported to suspend on the basis of IPC
        19. The Claimant announced the Second Suspension by its letter of 18
        April 2008 [G31353/1609] referring only to IPC 20 and the Sub-Clause
        16.1 notice given in respect of IPC 20. It did not invoke IPC 19 as a basis
        for the suspension. On 20 September 2008 when the Claimant submitted
        its particularised claim in respect of the Second Suspension
        1G4/463/19271 IPCs 20, 20A and 23 are listed but not IPC 19.

        The Sub-Clause 16.1 notices upon which the Claimant relies in relation to
        IPC20A and IPC 23 were not effective until 21 days after they were
        given. Accordingly, the earliest the Claimant could have reduced the rate
        of progress or suspended the Works was 7 May 2008 (and 14 May 2008
        for IPC 23). Any suspension prior to this time was in breach of contract.

        The Sub-Clause 16.1 notice that was issued in respect of IPC 19 cannot be
        left open for 10 months as the Claimant alleges. Sub-Clause 16.1 notices
        cannot reasonably be construed to give a perpetual right to suspend.



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        e. Irrespective of the issues on Sub-Clause 16.1 notices, the claim must fail
           as no Sub-Clause 20.1 notice was given in respect of the Second
           Suspension within the required time. Additionally, particularisation of the
           claim was not given until 20 September 2008.

        fi In any event, on a proper analysis of the balance of payments made, no
           monies were due to the Claimant during the period 19 April 2008 to 12
           July 2008, as set out in the Respondents' Schedule of Balance of
           Payments Against Revised IPCs at Appendix A to the SoDC.

        g. As a matter of Tanzanian law, the Respondents were under no obligation
           to make payments to the Claimant due to its alleged failure to recover the
           delay to progress caused by its purported slow remobilisation of work
           following the previous suspension in 2007.

Claimant's principal submissions

   32. The Claimant submits that:

           Despite the part payments, a sum of USD 182,000 remained outstanding
           on IPC 19 until the 29 May 2008 and the Claimant was therefore entitled
           to suspend work on 19 April 2008. There is no tie rn/n/mis restriction on
           the Claimant's right to suspend under Sub-Clause 16.1.

           The Respondents never questioned the Claimant's reliance on its Sub-
           Clause 16.1 notice for IPC 20 in relation to IPC 20A or its right to
           suspend. By their conduct, the Respondents have waived their rights or
           are estopped from contending the contrary. The Respondents have not
           shown that there was any agreement made that there should be a thrther
           56 days for the payment of IPC 20.

           The Respondents' reliance on the table in Appendix A is misplaced.
           Appendix D to the Reply records the actual, contemporaneous payment
           situation with regard to certified amounts, with allocation of sums
           received from the Respondents by the Claimant taking into account any
           intimation from the Respondents as to how the sums should be attributed.


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      d. The Claimant states that Sub-Clause 20.1 notices were given as set out in
         the table below:



                   IPC                      20.1 Notice

     e. 1                       •   Letter dated 18 April 2008 1G3/357/16141
                   19
         n                      .   Minutes of Progress Meeting 52 on 8 May
                                    2008 [A2/13/5]
         a                      .   Letter dated 14 May 2008 [63/371/1636]
         n                      •   Minutes of the meeting on 23 May 2008
         y                          163/387/17021
                                •   Alternatively, the Sub-Clause 16.1 notice of
         e                          22 August 2007 163/189/1217] was also a
         v                          notice under Sub-Clause 20.1
         e                      •   Letter dated 1 May 2008 [G3/361/1621]
                   20
                                •   Minutes of Progress Meeting 52 on 8 May
                                    2008 [A2/13/5-6]
                                •   Letter of 14 May 2008 163/371/16361
                                •   Minutes of the meeting on 23 May 2008
         t                          [G3/387/1702]
         h
                                •   Further or alternatively, the Sub-Clause 16.1
         e
                                    notice dated 6 November 2007 [63/230/1333]
                                    was also a notice under Sub-Clause 20.1
         R
         e
                                •   Letter of 1 May 2008 163/361/16211
                  20A
        p                       •   Letter of 9 May 2008 [G3/367/1629]
        o                       •   Alternatively, Sub-Clause 16.1 notice dated 6
        n                           November 2007 [63/230/1333] was also a
        d                           notice under Sub-Clause 20.1
        e
        14
                               •    Letter of 24 May 2008 [G3/390/1711]
        t         23


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            s cannot rely on any alleged failure to notit' the claim under Sub-Clause
            20.1 to their advantage by virtue of the prevention principle - Gayinark
            Investments Pty Ltd v Walter Construction Group Ltd [1999] NTSC 143
            [F1/1.1/1]. Furthermore, the notice provisions do not apply to the
            Claimant's claims for breach of contract.

         f. The failure to particularise within the time limits prescribed by Sub-
            Clause 20.1 is not a condition precedent and therefore not fatal to the
            Claimant's claim.

Third Suspension

Claimant's principal submissions

   33. The Claimant contends that the Employer's breach of its payment
          obligations in respect of IPCs 24 and 25 caused the Claimant to suspend the
          Works in accordance with Sub-Clause 16.1 between 6 November 2008 and
          Il March 2009, ultimately forcing the Claimant to terminate on that date.

   34. IPC 24 was certified on 16 May 2008 in the amounts of TZS 2,182,176,813
          and USD 6,209,459.41. Payment was due on 11 July 2008. It is accepted
          that on 5 August 2008, the Claimant submitted a Sub-Clause 16.1 notice,
          effective on 26 August 2008 jG4/430118361.

   35.    IPC 25 was certified on 18 August 2008 in the amounts of TZS
          5,072,376,217.00 and USD 7,936,978.24. Payment was due on 13 October
          2008.

   36. The Employer subsequently made the following payments:

            2 September 2008: local currency element of IPC 24 (TZS 2,182,176,813)
            [G4/447/18651;

            22 September 2008: USD 4 million, of which USD 3.49 million was
            allocated to IPC 24 1G4/464/19291.

   37. The Claimant avers that at this stage the following sums remained
          outstanding:

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           USD 2,719,809.57 on IPC 24;

           The full amount on IPC 25.

         On 17 September 2008, the Claimant wrote to Tanroads affirming its
         entitlement to suspend the Works [G4/455/1906].

         It is accepted that on 15 October 2008, the Claimant submitted a Sub-
         Clause 16.1 notice based on non-payment of IPC 25. In the same letter, the
         Claimant asserted that it would be entitled to terminate the Contract 120
         days after IPC 24 was due, on 11 July 2008 [G4/49812005]. The Employer
         responded that it was reviewing the prior payments made under the
         Addendum and asked the Claimant to withdraw its intention to suspend the
         works 1G4/523120701.

         On 3 November 2008, the Claimant wrote to Tanroads stating that works
         would proceed at a reduced rate from that day forward, pursuant to the Sub-
         Clause 16.1 notice for IPC 24, and that suspension of the works for non-
         payment of IPC 25 would begin on 6 November 2008 1C41527120841. The
         Claimant confirmed the suspension on 6 November 2008 1G4/534/20961.

   41, On 2 December 2008, the Claimant issued a "Notice of Entitlement to
         Tennination Pursuant to Sub-Clause 16.2" alleging various grounds
         including that payment for IPC 24 was 144 days late, the Engineer had not
         certified IPC 26 within the required time, as well as that the Employer had
         refused to issue Taking Over Certificates and had interfered with the
         Engineer's determination of claims 1G4/559121421. The Claimant stayed on
         site until mid-March, at which point it alleges that it terminated the Contract
         on 11 March 2009 [G5/645/2325].

Respondents' Principal Submissions

   42. The Respondents accept that the Claimant notified the suspension under
         Sub-Clause 16.1 and gave a Sub-Clause 20.1 notice for the additional time
         and money now sought. However, they contend that:




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         They are discharged from liability as a result of the Claimant's failure to
         particularise the claim until submission of its Final Account on 26 June
         2009 [A3/1.1/109].

         In any event, no monies were due to the Claimant during the period of
         suspension from 6 November 2008 to 11 March 2009 due to the invalidity
         of prior amounts paid previously under the Addendum, as set out in the
         Respondents' Schedule of Balance of Payments Against Revised IPCs at
         Appendix A. The Claimant had been substantially overpaid and therefore
         was not owed the monies covered by IPCs 24 and 25 and could not
         suspend. Under Sub-Clause 20.6, the Tribunal is entitled to open up,
         review and revise any IPC.

         On 15 December 2008, Tanroads informed the Claimant that the Contract
         was at an end and instructed the Claimant to vacate the Site. That the
         Claimant decided to wait until 11 March 2009 until it commenced
         demobilizing is a matter for its own account, and cannot found an
         entitlement to additional time and money. Even if the Claimant i correct
         about anything else in relation to the final suspension, the maximum
         Extension of Time that could be sustained is 40 calendar days: 6
         November 2008 to 15 December 2008 inclusive.

         As set out above, the Employer was entitled to refuse to authorize further
         payments to the Contractor given that the Contractor had not yet
         recovered the unexcused delay to the schedule, nor remedied the other
         shortcomings notified to it pursuant to Regulation 123(3).

  43. The Claimant accepts that particularisation was provided on 26 June 2009
       however failure to particularise within 42 days is not a bar to the Claimant's
       right to claim. The only sanction for failure to particularise is that contained
       in the final paragraph of Sub-Clause 20.1, which states that if the Contractor
       fails to comply, any extension or additional payment will take account of
       the extent (if any) to which the failure has caused prejudice to the
       Employer. No prejudice has been demonstrated by the Respondents.



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          Even if the Tribunal were to find that the sums certified in IPCs 24 and 25
         were not in fact due to the Claimant, the fact remains that they were
          certified but not paid. This cannot defeat the Claimant's claim.

Analysis and Conclusions of the Tribunal

         The first issue which the Tribunal must consider is whether in respect of
         each suspension an appropriate notice was given by the Claimant under
          Sub-Clause 16.1.

         Although helpful in relation to the Claimant's consequentially asserted
         rights to relief from liquidated damages and costs, an analysis of
         compliance with the notice provisions of Sub-Clause 20.1 does not assist in
         determining whether the notice requirements of Sub-Clause 16.1 have been
         satisfied (save perhaps insofar as it is alleged that notice is given under Sub-
         Clause 20.1 constituted valid notices under Sub-Clause 16.1).

         It is therefore necessary to extract from the Parties' submissions their
         respective contentions in respect of compliance with Sub-Clause 16.1. It is
         helpful to do so in relation to each Suspension.

First Suspension

   48, On 14th August 2006 the Claimant gave a notice under Sub-Clause 16.1
         [G1166/3181. This notice related to IPC 15.

         Be that as it may, a very substantial portion of IPC 15 was in fact paid on 8
         September 2006 [G1/741377], leaving an amount of approximately only
         USD 25,000 unpaid - an insignificant percentage of the amount which was
         the subject of the notice.

         The Claimant seeks to justify the First Suspension by referring not just to
         the fact that an insignificant percentage of IPC 115 remained unpaid, but that
         the Outstanding Amount (the sum of USD 10,602,746.36 allegedly owed to
         the Claimant as Price Escalation on the foreign currency component of IPCs
         7 -16) which was allegedly due to be paid immediately following the MoU
         negotiations in early 2007 but was not in fact paid until 12 July 2007. The

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       Claimant argues that its letters of 6 February 2007 [62/123/860] and 19
       February 2007 [G2/12418611 and the Minute recorded at paragraph 4.5.0 of
       the meeting on 20 December 2006 [62/104/6711 constitute notices under
       Sub-Clause 16.1 for the purpose of paying the amounts alleged to be
       immediately payable under the MoU.

       The Tribunal does not accept these submissions. A notice under Sub-Clause
       16.1 needs in terms to warn the Employer that unless an amount specified is
       paid, rights to suspension and/or slowing down of work will be exercised by
       the Contractor. None of the material identified by the Claimant does this.
       Accordingly, the Tribunal has reached the view that the Outstanding
       Amount was not the subject of a Sub-Clause 16.1 notice.

       In the Tribunal's view, in order for the First Suspension to be maintained
       after the payment of virtually all of the IPC 15 amount which was the
       subject of the 14 August 2006 notice, to ensure that the Respondents were
       aware that there was a small remaining sum still outstanding, it would have
       been necessary for a fresh (21 day) notice to have been given, setting out
       the amount then alleged to be unpaid and advising the Employer of its
       intention to suspend in accordance with Sub-Clause 16.1 if the amount
       specified is not paid within the period set out in the notice.

       The Tribunal is not persuaded that there is any right to slow down or
       suspend work under the Contract other than in reliance upon the right to be
       found in Sub-Clause 16.1.

       The Tribunal therefore finds that:

     a. As set out in paragraph 52 above, the Claimant was not entitled to
        maintain its suspension on the basis of the Sub-Clause 16.1 notice given
        on 14 August 2006 following the payment made by the Respondents on 8
        September 2006. In the absence of further notice it is not commercially
        sensible for a suspension notice to be able to continue when after such a
        payment, a de minimis sum remains outstanding.




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           There is thus no significant period of time during which the Claimant was
           entitled to suspend or slow down the work given that the 21 day period
           specified in its notice of 14 August 2006 was overtaken virtually
           immediately by the substantial payment of almost all of the amount the
           subject of the notice on 8 September 2006.

          The suspension cannot be justified on the basis of the non-payment of the
          "Outstanding Amount" which was not the subject of a Sub-Clause 16.1
          notice.

         Accordingly, the Tribunal finds that the Claimant was not entitled to slow
         down or suspend work for what is referred to as the First Suspension. It is
        thus unnecessary to consider the Respondents' arguments regarding the
         alleged non-compliance by the Claimant under Sub-Clause 20.1 in respect
         of periods of delay and costs relating to the First Suspension.

Second Suspension

        The Sub-Clause 16.1 notices relied upon by the Claimant to justify the
        Second Suspension were given on 22 August 2007 [G3/189/1217] for IPC
         19, 6 November 2007 [G3/230/1333] for IPC 20 and 16 April 2008
        fG3/349115971 for IPC 20A; and 21 April 2008 in respect of IPC 23
        [G3/35611613]. The period of suspension or reduction in the rate of work
        commenced on 19 April 2008.

        In the Tribunal's view a variety of issues arise in connection with this
        Second Suspension claim.

        The first is that the Tribunal does not consider that notice of intention to
        suspend under Sub-Clause 16.1 remains alive indefinitely. If not acted upon
        within a reasonable period of time, and assuming that the amount the
        subject of the notice remains outstanding, it is necessary in the Tribunal's
        view for there to be a fresh notice enabling or alerting the Employer to the
        Contractor's intention to suspend.




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         The position here is more complicated because the notices given in 2007
         were in respect of the non-payment of IPCs 19 and 20. The 16 April 2008
         notice was given in relation to IPC 20A (which replaced IPC 20). The 21
         April 2008 notice was given in respect of IPC 23.

         Thus although in the Sub-Clause 16.1 notice of 16 April 2008
          [G3/349/15971 the Contractor placed reliance upon the Sub-Clause 16.1
         notice of 6 November 2007, the position with respect to the Contractor's
         assertion regarding rights arising from non-payment had changed in the
         period between 6 November 2007 and 16 April 2008.

         In the Tribunal's view, the notices given in August and November 2007
         cannot be relied upon by the Claimant to justif' the suspension or slow
         down commencing on 19 April 2008, which is the subject of the Claim, as
         the periods between the dates of the notices and 19 April 2008 are beyond
         the reasonable period of time within which the suspension should
         commence in the absence of a further notice.

         Furthermore, it is obvious from the facts stated in paragraph 56 above that
         the suspension commenced before the notice of 21 April 2008 and within
         the notice period of 21 days required by clause Sub-Clause 16.1 following
         the notice of 16 April 2008. If this occurs, in the Tribunal's view, the
         suspension does not then become valid once the notice period of 21 days
         has expired. The reason for this is that Sub-Clause 16.1 provides that the
         Contractor may suspend after giving not less than 21 days' notice. By
         conmiencing suspension before the 21 day notice period has expired the
         Contractor is in breach of Contract (invalidating the suspension) and this is
         not rectified by the 21 day notice period subsequently expiring while the
         work is still suspended.

         The Tribunal is therefore of the view that compliance with the requirements
         of Sub-Clause 16.1 was not satisfied for the purposes of the Second
         Suspension or slow down.

Third Suspension


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  64. The position in relation to the Third Suspension is different.

  65.    So far as the giving of the period of notice required by Sub-Clause 16.1 is
         concerned, the Claimant took a different course of action to that taken in
         respect of the two previous claims for suspension or slow down of work:

          A Sub-Clause 16.1 notice was given in respect of IPC 24 on 5 August
          2008 [64/430/18361.

          The Claimant's letter of 17 September 2008 164/455/1906] reactivates the
          notice of 5 August 2008 and expressly refers to Sub-Clause 16.1.

          A Sub-Clause 16.1 notice is given in relation to IPC 25 on 15 October
          2008 jG4/498/20051 which also reactivates the notices in respect of IPC
          24 of 5 August2008 and 17 September2008.

          By the letter of 3 November 2008 [64/527/2084] further referring to and
          reactivating the notice of 5 August 2008, a suspension was advised
          commencing that day. This letter also referred to the separate notice that
          had been issued on 15 October 2008 in relation to ]PC 25 indicating that
          when its due period had lapsed, a suspension based on that notice would
          begin on 6 November 2008.

  66. In these circumstances, the Tribunal need not be concerned about the expiry
        of long periods of time between notification under Sub-Clause 16.1 and the
        suspension or slow down of work. Thus from a formal notice requirement
        perspective, this claim complies with Sub-Clause 16.1.

  67. This being the case, the issue arises as to whether the claim for payment
        (the subject of the notice) was one which could validly be made by the
        Claimant for the purpose of exercising a right of suspension or slow down
        of work.

  68. In this regard, the starting point is that the amounts which were the subject
        of the notices were amounts certified by the Engineer, the payment of
        which was resisted by the Employer on the basis that amounts previously
        certified and paid by the Employer should not have been paid. In particular,

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       the Employer was asserting that the amounts for Additional Design costs
       and pre-Addendum disruption costs which were the subject of the
       Addendum should not have been paid.

       The Tribunal has found in this Award that these amounts were properly
       payable by the Employer under the Addendum.

       However, this was at the time of suspension a matter in dispute between the
       Parties. The entitlement to suspend or slow down under Sub-Clause 16.1
       arises in respect of a breach by the Employer of Sub-Clause 14.7 regarding
       payment, requiring payment within the time specified of amounts certified.
       In the Tribunal's view, irrespective of the conclusion it has now reached
       that the Employer's objections to payment were without legal foundation,
       the amount certified was payable and the Employer was in breach of its
       obligation under Sub-Clause 14.7 in not making that payment.

       Accordingly, the Tribunal concludes that the Contractor was entitled to
       suspend or slow down the work in respect of the Third Suspension and now
       turns to consider in relation to the Contractors' claims in respect of this
       Suspension, whether the other defences raised by the Respondents should
       disentitle the Contractor to recovery.

       In respect of the Third Suspension, the Respondents concede that there has
       been adequate formal notice under Sub-Clause 16.1 and adequate notice of
       intention to claim under Sub-Clause 20.1. 1A3/1.111091

       The Respondents say however that the Claimant has failed to provide the
       particulars of claim required by Sub-Clause 20.1 within the time specified
       in that Sub-Clause. They assert that the requirement for the provision of
       particulars is a condition precedent to the right to recover amounts the
       subject of validly given notices of claim under Sub-Clause 20.1. In its
       Partial Award, the Tribunal found that notice of intention to claim under
       Sub-Clause 20.1 is a condition precedent to the right to claim but did not
       find that the provision of the particulars required was a condition precedent




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          to the right to recover amounts the subject of valid notices of intention to
          claim under the Sub-Clause.

          Indeed, any such conclusion would fly in the face of the last paragraph of
          Sub-Clause 20.1 which provides:

           "If the Contractor fails to comply with this or another Sub-Clause in
          relation to any claim, any extension of time and/or additional payment shall
          take account of the extent (jf any) to which the failure has prevented or
          prejudiced proper investigation of the claim, unless the claim is excluded
          under the second paragraph of this Sub-Clause." [E3/1/663]

          It seems clear that the remedy for non-compliance with the time limits for
          provision of "a fully detailed claim" is to take into account in respect of that
          claim the extent (if any) to which the failure to comply has prejudiced the
          proper investigation of the claim.

          The only condition precedent to be found in the clause (as determined by
          the Tribunal) is the requirement for notice in the second paragraph of the
          Sub-Clause.

Did the Claimant fail to provide a fully detailed claim in accordance with Sub-Clause
20 and, if so, has it prejudiced the proper investigation of Claim 22?

          The Respondents contend that Claim 22 in relation to the Third Suspension
          was not particularised until June 2009 [A3/1.1/1091 which is when the Final
          Account was submitted.

          Sub-Clause 20.1 requires the Contractor to submit "a fully detailed claim
          which includes full supporting particulars of the basis of the claim and the
          extension of time and/or the additional payment claimed" within 42 days
          after the Contractor became aware or should have been aware of the event
          or circumstance giving rise to the claim. Paragraph 1230 of the Standard
          Specification also sets out requirements in relation to records to be kept in
          relation to claims.




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       In the Tribunal's view the period of 42 days would have commenced at the
       latest on or about 3 November 2008 when the Contractor served notice that
       a suspension was to commence [G41527/2084].                  Consequently the
       Contractor did not comply with the 42 day notice period.

       The Third Suspension culminated in termination of the Contract on 11
       March 2009, as the Tribunal has found. Prior to this date, the Contractor
       served a notice of its entitlement to terminate on 2 December 2008
       [G4/559/21421. Following this notice there were meetings between the
       Parties and a disagreement between them as to the effect of the Contractor's
       notice. The Parties' respective positions are set out at Section VIII. It is the
       Tribunal's view that the delay in submitting the particularised claim for the
       Third Suspension has not "prevented or prejudiced proper investigation of
       the claim" by the Respondents for the following reasons:

        The basis for the Third Suspension was non payment by the Respondents
        of certain IPCs. The Respondents were fully aware of this and also knew
        that the solution would have been to pay such IPCs as required by the
        Contract.

        The Respondents also knew that a suspension would result in delay to
        completion of the Works by the period of any such suspension plus a
        remobilisation period.

        The Respondents chose in December 2008 to treat the Contract as
        terminated (wrongfully) and the Tribunal has found that the Contract was
        terminated on 11 March 2009 when the Contractor accepted the
        Respondents' conduct as repudiatory (see Section 8).

        These circumstances in December 2008 overlapped with the period of 42
        days under Sub-Clause 20.1 for particularising the claim in respect of the
        Third Suspension and effectively superseded this requirement because:

        • In the context of a purported wrongful termination of the Contract by
            the Respondents in December 2008 (followed by actual termination of
            the Contract in March 2009) the Respondents' contention that

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             consideration of the Third Suspension claim was prevented or
             prejudiced is not sustainable.

         . In the context of the various steps leading to termination of the
             Contract it was reasonable for the Contractor to include the
             particularisation of Claim 22 in the Final Account in June 2009.

             In addition, the Respondents have not demonstrated that they were
             prejudiced by this particularisation and the experts have on
             consideration of the evidence and records agreed that there is at least
             118 days of critical delay arising from the Third Suspension.

  81. Accordingly the Claimant is entitled to an extension of time for the Third
        Suspension and to recover prolongation costs arising therefrom, which are
        addressed in Sections VI and VII.




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SECTION V: OTHER DELAY AND DISRUPTION CLAIMS (CEMENT,
CHOLERA,    EMERGENCY    REPAIR    WORKS,   RAINFALL,
WATERLOGGED GROUND)

Overview

    1. In this Section the Tribunal addresses the claims for delay and disruption
       arising from the cement shortage; cholera outbreak; emergency repair works;
       rainfall; and waterlogged ground.

Cement Shortage (Claim 7)

Background

   2. The Claimant alleges that there was a national shortage of cement in Tanzania
       in the second half of November and December 2007 caused by the
       introduction of import tariffs by the Government of Tanzania. It was not until
       the imposition by the Government of restrictions on the export of cement that
       supplies improved in late December 2007 FC1/I/36.I Further knock on delays
       occurred to the Claimant's works in February 2008 due to shoulder repairs
       which the Claimant alleges were required as a result of the earthworks being
       left exposed in late 2007 due to the cement shortages.

   3. The Claimant therefore seeks:

              An extension of time of 42.5 days for Section 3 and 46.5 days for
              Section 4 (Claim 7) pursuant to Sub-Clause 8.4(d) and Sub-Clause
              8.4(e); and/or

              An extension of time and cost pursuant to Sub-Clause 19.4; and/or

              Damages for breach of paragraph 6.3 of the MoU.

Summary of Parties' Principal Submissions

   4. The Respondents contend that:

           a. The Claimant failed to notify and particularise its claim in accordance
              with Sub-Clause 20.1 and Sub-Clause 19.2. The Claimant knew of

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            actual delays resulting from the cement shortage by 5 September 2007,
            therefore any notices served by the Claimant were out of time.

         b. There was no shortage of cement during the relevant period. The issue
            was simply one of increased price.

         e. The shortage of cement was the Claimant's risk under the Contract.
            The cement shortage was not unforeseeable, caused by government
            actions or a Force Majeure event. The Claimant could have avoided or
            overcome the shortage by paying the higher market prices or sourcing
            cement from abroad. A Tanzanian court observed in Chapakazi
            Building Contractor v Farokia Ya Kiwanja Cha Ndege [1983] TLR
            252 fF3/3.3/61 that the shortage of building materials in Tanzania is a
            "notorious fact."

            The Claimant's cement manufacturer, Tanga, had factory problems
            unrelated to market conditions. This was the cause of the cement-
            delivery shortages and unrelated to either government action or market
            forces.

  5. The Claimant submits that:

            The Claimant first gave notice under Sub-Clause 20.1 on 8 October
            2007 [G3/212/1273]. Alternatively, Mr Sakamoto only became aware
            this was not a passing shortage around the beginning of November
            2007, after which he gave notice on 15 November 2007
            [G3/217/1282]. In any event, the time period for giving notice only
            starts when the Contractor actually incurs critical delay - Obrascon
            Huarte Lain £4 v Her Majesty's Attorney General for Gibraltar [2014]
            EWHC 1028 TCC fF212.24/11.

            Furthermore, the Respondents are estopped and/or have waived their
            right to argue that valid notices were not served.

            Whether or not the shortage was attributable to the manufacturer's
            problems does not affect the Claimant's entitlement because this


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             manufacturer was only one of three manufacturers of cement in
             Tanzania. This cannot explain the overriding national shortage of
             cement that existed.

             There was a real shortage of cement amongst all suppliers in Tanzania,
             the issue was not simply an issue of an increase in prices. No cement
             was available from neighbouring countries due to high demand. The
             importation of bulk quantities from further afield would not have been
             a practicable solution as due to the sophisticated quality control
             required for the Cl/C2 sub-base layers, it was critical to keep the
             cement as fresh as possible.

             The shortage of cement was unforeseeable. The statement relied upon
             in the Chapakcizi case is at its very highest a finding of fact restricted
             to that specific case. After 1986 there was a liberalization of the
             economy and easing of import restrictions, together with the opening
             of two further cement plants, increasing the general availability of
             cement in Tanzania.

Analysis and Conclusions of the Tribunal

      In considering this claim, the Tribunal has taken into account that the inability
      of the Claimant to obtain adequate supplies of cement was caused by a number
      of factors. One of these factors was the inability for a period of the cement
      manufacturer (Tanga) from whom the Contractor's supplier (Highland Estates
      Limited) obtained its supplies of cement to produce for the Claimant adequate
      quantities of 42.5N cement due to a problem with the manufacturer's clinker
      machine.

      This position is established by a letter from Tanga to the Claimant dated 28
      November 2007 [G3/248/1375]. In-cross examination Mr Sakamoto admitted
      that Tanga cement was having substantial difficulty producing 42.5N cement
      from late November until mid-December, a period which overlapped with
      periods of the delay claimed by the Claimant in respect of the shortage of
      cement 11T6/87/22 - T6/88/8]; [T6/89/23 - T6/90/141.


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       It is of course for the Claimant to establish its claim.

       A shortage of cement due to the manufacturer's kiln difficulties (albeit due
       initially to a power shortage) does not in the Tribunal's view constitute either
       an event which satisfies the requirements of Sub-Clause 8.4(d) or (e), or the
       definition of Force Majeure in Sub-Clause 19.4 because the manufacturer's
       kiln difficulties are a risk for which the Claimant is responsible under the
       Contract.

       Accordingly, where at least a substantial cause of the cement shortage arose
       from the manufacturer's plant break down, the Tribunal is unable to conclude
      what if any contribution to the shortage of cement was made by Tanzanian
       government policy regarding the introduction of import tariffs.

      Accordingly, this Claim 7 fails as to its merits and the Claimant is not entitled
      to an extension of time in relation to Section 3 or Section 4, or to prolongation
      costs or disruption costs. This conclusion means that the Tribunal does not
      need to consider the Respondents' arguments regarding the Claimant's failure
      to provide adequate notice of this claim.

Cholera (Claim 8)

Background

      In December 2007 a cholera outbreak occurred in Chukuyu, the area of the
      Claimant's main camp. On 5 December 2007, the Claimant wrote to the
      Engineer stating that in light of the outbreak the Works would be suspended
      and it considered this outbreak to be a Force Majeure event [G3/253/1384].
      On 14 December 2007 the Claimant gave notice pursuant to Sub-Clause 19.2
      of its claim for an extension of time and costs [G3/264/1403]. Particulars were
      submitted on 6 August 2008 1G41432/1838]. The claim was later re-submitted
      as Claim 8A on 14 October 2008.

      On 17 December 2008 the Engineer awarded a 7 day extension in respect of
      the cholera claim but without any additional cost [G41582121881. The
      Claimant disagreed with this determination on 2 January 2009 and served a


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       notice of intention to refer the same to the DAB on 5 February 2009
       [64/623/22791.

       The Claimant now seeks disruption costs in respect of the cholera outbreak.
       Although the Engineer awarded an extension of time the Claimant now seeks
       only disruption costs. The causes of delay upon which the Claimant relies for
       an extension of time for Section 3 and 4 of the work are stated at paragraphs
       4.4 and 4.7 of the CCS. The cholera outbreak is not included. At paragraph
       6.1, CCS the Claimant states that the causes relied upon for the disruption
       costs claim are the same as for the extension of time and prolongation costs
       claims with one addition - the outbreak of cholera in December 2007,

       The cholera outbreak is not included in the Claimant's List of Issues at item
       39, Appendix A, CCS, as an event justifying an extension of time, but it is
       included at item 12(c) in the list of issues as an event in respect of an
       extension of time for Section 4 and the Works.

       Consequently, the Tribunal considers that the Claimant's position is as stated
       in the CCS and that only one day's extension of time for Section 4 is sought
       for Claim 8 in respect of the emergency repairs.

Summary of Parties' Principal Submissions

       The Respondents contend that:

              The Claimant lost any entitlement to claim additional time or money as
              it failed to particularise the claim until 6 August 2008.

              The circumstances of the cholera outbreak do not justify relief in that
              the delay suffered was due to the Claimant's failure to provide shading
              and concreting around the food vendors, temporary toilets and clean
              water and appropriate catering facilities for its workforce. The risk of a
              persoimel shortage due to cholera was not unforeseeable and the
              Claimant could have mitigated or entirely avoided the problem by
              providing clean food and water for its workers, as required by the
              Contract.


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   18. The Claimant submits that:

               No prejudice has been caused to the Respondents as a result of any
               delay in particularisation, which is denied. In the alternative the
               Respondents have waived alternatively are estopped from arguing that
               the late provision of particulars is a bar to the Claimant's claim.

               The Respondents are incorrect to suggest that the Claimant was
               somehow responsible for the delay caused by the cholera outbreak. In
               relation to the local villages, the Claimant was under no obligation to
               provide public health services unless instructed by the District Medical
               Officer. As to the facilities on site, the Claimant did provide sufficient
               and hygienic on-site catering facilities for its workforce. It also
               provided toilets and clean water.

Analysis and Conclusions of the Tribunal

   19. In the Tribunal's view the Respondents' submissions are not persuasive. To
       suggest that the Claimant should have foreseen an outbreak of cholera is in the
       Tribunal's view unreasonable as are the criticisms which the Respondents
       make of the Claimant's response to the cholera outbreak.

   20. Further, any delay in particularisation of the claim has not been established by
       the Respondents to have caused prejudice as required by Sub-Clause 20.1.
       Contrary to the Respondents' submissions, a claim under Sub-Clause 20.1
       does not fail for lack of timely particularisation. It is for the Respondents to
       establish prejudice as a consequence of any late particularisation.

   21. In the Tribunal's view the Claimant is entitled in principle to recover its direct
       costs on the basis that the cholera outbreak constitutes an event of Force
       Majeure. Accordingly the Tribunal finds that the Claimant is entitled to
       recover TZH 10,282,899; USD1,330 and JPY 234, 478 in respect of the direct
       costs in relation to the cholera outbreak.




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       The Tribunal is not however satisfied that the circumstances surrounding the
       cholera outbreak establish any breach by the Respondents of paragraph 6.3 of
       the MoU as alleged by the Claimant.

Emergency Repairs (Claim 8)

Background

       On 10 December 2007, Mr Mrema of the Employer wrote to the Engineer
       noting that due to rain, a section of the Manyoni-Issuna road (forming part of
       another contract) had deteriorated and required him to instruct the Claimant to
       carry out the necessary repairs [G3/256/13891. It was agreed on 13 December
       2007 that the works were to be paid on a dayworks basis and were urgent
       [631261113981.

       The Claimant carried out the emergency repair works between 16 December
       2007 and 1 January 2008. Dayworks records were submitted on 22 January
       2008 [63/290/1451].

       Shortly before 6 August 2008, the Claimant submitted particulars of Claim 8
       (which included both the claim for cholera and emergency repairs)
       [64/432/1838]. The Employer responded on 29 September 2008 stating that
       whilst it accepted that the Claimant was entitled to an extension of time as a
       result of the cholera, no extension was due for the emergency repairs on the
       basis that they were unrelated to the Contract 1G4/469/19421.

       The Claimant therefore claims:

              An extension of time of one day (Claim 8) pursuant to Sub-Clause
              8.4(a); and/or

              An adjustment to the Contract price pursuant to Sub-Clause 13.3;
              and/or

              Damages for breach of paragraph 6.3 of the MoU.




Summary of Parties' Principal Submissions
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   27. The Respondents aver that:

              The Claimant has lost any entitlement to claim any additional time and
              money as a result of its failure to particularise its claim until 6 August
              2008.

              In any event, Ms McLaughlin and Mr Richards are in agreement that
              the emergency repairs caused no critical delay to Section 3 and only
              one day of delay to Section 4. [D3/3.1/12-13]

   28. The Claimant contends that:

              No prejudice has been caused to the Respondents as a result of any
              delay in particularisation, which is denied. In the alternative the
              Respondents have waived or alternatively are estopped from arguing
              that the late provision of particulars is a bar to the Claimant's claim.

              The experts agree that one day of critical delay was caused to Section 4
              for the repair works to the Manyoni-Issuna road.




Analysis and Conclusions of Tribunal

   29. The Respondents' arguments in opposition to this claim are without merit. The
       emergency repairs were undertaken at the specific direction of the Employer,
      who agreed that the Contractor would be reimbursed on a dayworks basis for
      this work. To suggest as the Respondents now do that a lack of timely
      particularisation of this claim should bc allowed to defeat it lacks merit. No
      prejudice as a result of the alleged late particularisation has been established
      by the Respondents. The delay experts agree that this event caused one day of
      critical delay to Section 4 in December 2007 [CCS/Appendix F; P3/3.1/13].

   30. Accordingly the Tribunal finds that the Claimant is entitled to an extension of
      time of one day for Section 4 and to recover the costs of TZS 72,258,670
      being the cost of the execution of this requested work and prolongation costs.
      This day of delay as a result of the emergency repairs is concurrent with the
      period of delay for which an extension of time was agreed in the Addendum
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       (30 September 2006 to 29 September 2008). Consequently the prolongation
       costs cannot be recovered twice. This issue is addressed in Section VII.




Rainfall

Background

   31. The Claimant avers that it suffered delays in early 2008 as a result of
      exceptional rainfall in Sections 3 and 4 and consequently seeks an extension
      of time pursuant to Sub-Clause 8.4(c).

Summyof Parties' Principal Submissions

   32. The Respondents contend that:

              The rain was not exceptionally adverse. Mr Sakamoto admitted on
              cross examination [T6/106/22] that he had never claimed that the rain
              was exceptional. The delay due to rain in 2008 was not unique - the
              Claimant's own reports show that delay from rain in the rainy season
              was a recurrent issue, year after year [P2/15/4]; [P2/21/6]; [P2/18/2].
              Mr Richards has no first-hand experience of working in Tanzania and
              did not undertake a comparison of the rainfall in 2008 to previous
              recorded weather.

              The Claimant has lost any entitlement to claim as (i) notice of the
              claim was never given - Mr Sakamoto accepted in cross-examination
              that no written Sub-Clause 20.1 notice was ever given [T6/107/181; (ii)
              particularisation was not provided until 2013, at the time of the
              arbitration.

  33. The Claimant submits that:

           a. Notice was given pursuant to Sub-Clause 20.1 at the monthly site
              progress meetings with the Engineer in January-April 2008 [A2/9/4];
              [A2/I 0/4]; 1A2/1 1/4]; [A2/12/5]; [A2/9/4]; [A2/10/4]; [A2/1 1/4];
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               [A2125]. Any delay in particularisation does not bar the Claimanfs
               entitlement to claim.

               The rain was exceptionally adverse. The Engineer recorded this
               himself in his March Report to the Employer [H2/1.57/4]. Historical
               data on rainfall is informative but not definitive. Mr Richards'
               experience that it is exceptional for work to be stopped for a whole day
               by rain in this part of Tanzania is therefore more relevant to the
               assessment [T81118/10]; [T10/36/19].

               The Claimant is entitled to an extension of time of 10 days for Section
               3 and 24 days for Section 4.

Analysis and conclusions of the Tribunal

       The Tribunal is not satisfied that the weather conditions experienced by the
       Claimant and the subject of this claim constitute exceptionally adverse rain.
       The evidence of Mr Sakamoto, suggests the opposite is the case.

       The only evidence in support of this claim is that of Mr Richards who, despite
       his experience contracting in Africa did not in the Tribunal's view provide
       reliable evidence enabling the Tribunal to conclude that the rainfall
       experienced was in anyway unique or exceptional.

       Accordingly the Claimant's claim fails and it is not necessary for the Tribunal
      to address the Respondents' submissions as to lack of notice under Sub-Clause
       20.1.




Waterlogged Ground (Claim 20)

Background

      The Claimant undertook works in relation to the waterlogged ground between
      20 September 2008 and 23 October 2008. A notice of claim was issued on 8
      November 2008 with particulars on 26 June 2009 as part of the Final Account
       [G5/66912451]. To date the Engineer has not made an evaluation of this claim.

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   38. The Claimant accordingly seeks:

              An extension of time of one day for Section 4 pursuant to Sub-Clause
              8.4(a); and/or

              An adjustment to the contract price pursuant to Sub-Clause 13.3;
              and/or

              An extension of time and cost pursuant to Sub-Clause 4.12; and/or

              Damages for breach of paragraph 6.3 of the MoU.

Summary of Parties' Principal Submissions

   39. The Respondents submit that:

              The Claimant has failed to notify and particularise the claim within the
              time required by Sub-Clause 20.1. The Claimant knew or should have
              known of the nature of the situation and the scope of the required
              works by 20 September 2008 at the latest, after the Engineer had
              approved the Claimant's method statement and it had commenced
              works. The Claimant therefore was required to give a Sub-Clause 20.1
             notice by 18 October 2008. In any event, particularisation was not
             provided until 26 June 2009.

              The work to treat the waterlogged ground was not a Variation because
             it was the Claimant's responsibility to put forward a design that was
             appropriate for the actual conditions on site. What Mr Sakamoto seeks
             to class as "variation instructions" were actually the Resident Engineer
             performing the routine task of approving activities proposed by the
             Contractor pursuant to Sub-Clause 4.9 jE3/1/6181. The Contract
             required the Claimant to submit a method statement for approval prior
             to carrying out works on site which it did on 18 September 2008 and
             there was no change in the Employer's Requirements.

             The situation is not one that was unforeseeable and entitling the
             Claimant to relief under Sub-Clause 4.12. The Resident Engineer
             described the watery stretch as "relatively small" and stated that "many
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               more such holes" were encountered and dealt with by Estim when it
               took over as contractor, without complaint [C8/216]. Mr Ntensibe was
               not cross-examined on this point at the hearing.

   40. The Claimant contends that:

               The works were carried out between 20 September 2008 and 23
               October 2008. On completion, the Claimant was able to assess the
               delay caused as a result and put in its notice on 8 November 2008. The
               notice was therefore given within 28 days of the Claimant appreciating
               that the Works were or would be delayed. Any delay in
               particularisation has caused no prejudice and does not bar the
               Claimant's entitlement to claim under Sub-Clause 20.1. The Claimant
               ftirther relies on its arguments as to waiver and estoppel.

               The works did amount to a Variation - there was no requirement in the
               Employer's Requirements for the Contractor to carry out the ground
               improvement and drainage work that the Claimant was instructed to
               carry out and it was only required under the Contract to carry out what
              was specified in those Requirements.

              The problem with the waterlogged section was unforeseeable as there
              had been no rainfall in the area, it was not prone to flooding and the
               site visits and inspections undertaken by the Claimant had not revealed
              any issues.

Analysis and Conclusions of the Tribunal

   41. The Tribunal is satisfied on the evidence of Mr Sakamoto that the physical
       conditions encountered because of the waterlogged ground the subject of this
       claim were unforeseeable conditions entitling the Claimant to relief under
       Sub-Clause 4.12. Mr Sakamoto's evidence is that the waterlogged ground was
      encountered during a dry time of year and that there was nothing in the
      hydrological investigation to suggest that a problem might be encountered.
       [C 1/1/52]



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     Further, the Tribunal accepts the Claimant's submissions that notice of
     intention to claim under Sub-Clause 20.1 was given within the requisite
     period, when measured from the date of completion of the Work which was
     carried out up to 23 October 2008. The notice of intention to claim was
    provided on 8 November 2008 and therefore was within 28 days of the
     Claimant becoming aware of the delay.

    The Tribunal does not accept the Respondents' submissions regarding the
     Claimant being disentitled to make this claim for delayed particularisation.
    Delayed particularisation does not bar the Contractor's entitlement to recover
    under Sub-Clause 20.1 and no prejudice arising from the alleged late
    particularisation has been established by the Respondents.

    The delay experts agree that this event caused critical delay of one day in
    October 2008 [CCS/Appendix F; D3/3.1/141.

    Accordingly the Claimant is entitled to an extension of time of one day for
    Section 4 and its Costs pursuant to Sub-Clause 4.12 of TZS 40,348,543; USD
    28,378; JPY 4,193,472.




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SECTION VI: EXTENSiONS OF TIME AND LIQUIDATED DAMAGES

The Claimant's entitlement to extensions of time in relation to the Suspension
claims

The First and Second Suspensions (Claims 6 andjj)

         The Tribunal has found that Claim 6 in respect of the First Suspension for 97
         days extension of time to the Section 3 completion date of 30 April 2008 and
         for an extension of time of 86 days to the Section 4 completion date of 29
         September 2008 fails for lack of a valid notice under Sub-Clause 16.1.

         The Tribunal has found that Claim 13 in respect of the Second Suspension for
         an extension of time of 67 days to the Section 3 completion date and an
         extension of time of 75 days to the Section 4 completion date fails for lack of
         a valid notice under Sub-Clause 16.1.

         Accordingly, the Claimant has no entitlement to extensions of time,
         prolongation costs or disruption costs in respect of Sections 3 and 4 arising
         from the First and Second Suspensions.

The Third Suspension (Claim 22)

   4, The Tribunal has found that Claim 22 in respect of the Third Suspension in
         respect of an extension of time of 118 or128 days to Section 4 is valid.

         The delay experts are agreed that, depending upon which of their respective
         methodologies is adopted, the critical delay to Section 4 resulting from the
         Third Suspension is 118 or 126 days [Joint Statement, Appendix B;
         P3/3.1/I 4}.

         Ms MacLaughlin finds 126 days of critical delay by a count of the calendar
         days from the date of suspension (6 November 2008) to the date of
         temiination (11 March 2009). Mr Richards uses the same approach but
         deducts eight days which he includes in Claim 7 (Cement Shortage). In Claim
         7 Mr Richards allows 22.5 days delay in December 2007, which includes eight
         days' delay being the knock-on effect of the Cement Shortage in December
         2008. The Tribunal have found in Section V that Claim 7 fails on its merits.
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   7. The difference between 118 and 126 days arises as a result of Mr Richards'
       delay analysis methodology. In the context of an extension of time resulting
       from a suspension the Tribunal considers that it is preferable to calculate the
       effect of a suspension by reference to the actual calendar days for which the
       work was suspended. Clearly suspension would have been the critical cause
       of delay at the time as no work was being carried out during the suspension
       period.

   8. Accordingly the Tribunal finds that the Claimant is entitled to an extension of
       time to Section 4 of the work and for the whole of the work of 126 days for
       the period from 6 November 2008 to 11 March 2009 which is the date the
       Contract was terminated.

The Claimant's entitlement to other extensions of time

Section 2

   9. Section 2 of the Road was completed on time on 23 December 2007
       [G31271/1417; CCSJ42] so there are no issues for the Tribunal to address.

Section 3

   10. At paragraph 4.4 of the CCS the Claimant summarises its claim for an
       extension of time of 216.5 days in respect of Section 3 of the works for the
       following events:

            First Suspension (Claim 6);

            Cement Shortage (Claim 7);

            Exceptionally adverse rain;

            Second Suspension (Claim 13)

   11. The Tribunal has dismissed these events as entitling the Claimant to any
       extension of time for completion of Section 3.

   12. The completion date for Section 3 was agreed in the Addendum as 30 April
       2008 1C2/130/917; CCSI4I.1.

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   13. Section 3 of the Road was opened to the public on 1 November 2008
       1G4/519/20591 184 days late. Under the Contract as amended by the
       Addendum this constituted taking over of the section by the Respondents.

Section 4 and the Works

   14. The completion date for Section 4 and the whole of the work was agreed in the
       Addendum as 29 September 2008.

   15. At paragraph 4.7 of the CCS the Claimant summarises its claim for an
       extension of time of 351.5 days for the following events:

           First Suspension (Claim 6);

           Cement Shortage (Claim 7);

           Emergency repairs to Manyoni - Issuna Road (Claim 8);

           Exceptionally adverse rain;

           Second Suspension (Claim 13);

           Waterlogged ground (Claim 20);

           Third Suspension (Claim 22)

   16. The Tribunal has found in the Claimant's favour in respect of:

      Claim 8        Extension of time of 1 day

      Claim 20       Extension of time of 1 day

      Claim 22       Extension of time of 126 days

   17. The Tribunal has dismissed the other claims.

   18. Consequently the Claimant is entitled to an extension of time of 128 days for
      completion of Section 4 and for the whole of the work. This extension of time
      partially covers the period from 29 September 2008 (the date for completion
      of Section 4 and the whole of the work) to 11 March 2009 (the date of
      termination of the Contract).

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The Respondents' entitlement to liquidated damages in respect of Section 3;
Section 4; and the whole of the Works

       As set out above, there was a delay of 184 days by the Claimant in completing
       Section 3.

       In relation to Section 4 there were delays for which the Claimant was
       responsible but the Contract was terminated on 11 March 2007 when the
       Claimant accepted the Respondents' repudiation of the Contract, as found by
       the Tribunal in Section 8 (Termination).

Provisions of the Contract and the Addendum relating to Liciuidated Damages

       Under the original Contract, there was one period of 1278 days for completion
       of the work from the date of commencement and pursuant to Sub-Clause 10.1
       of the Conditions of Particular Application 1E216 1272] undefined sections of
       the work of less than 20 1cm could be taken over. Under Sub-Clause 10.2 of
       the Conditions of Particular Application jE21612721 use of the Road by the
       public was expressly stated not to constitute taking over by the Employer.

       The Appendix to Tender of the Contract defined delay damages, i.e.,
       liquidated damages, as "Zero Point One Five Percent (0.15%) per day of the
       Contract Price on value of works not taken over in the currency proportions in
       which the Contract Price is payable." 1E2/5/2571 but there is no allocation of
       delay damages by reference to defined or any sections of work.

       In the Addendum the Parties agreed four defined Sections with dates for
       completion of each. Sub-Clauses 10.1 and 10.2 of the Conditions of Particular
       Application were removed from the Contract so that the Sub-Clauses 10.1 and
       10.2 reverted to the standard FIDIC wording. By Sub-Clause (viii) of the
       Addendum [E5/2/1311] the Parties agreed that use of the Road by the public
       would constitute taking over by the Employer, in the following manner: "Sub-
       Clause 10 on Employer's Taking Over, the "minor outstanding work" may
       include, but not be limited to, clearing away materials outside the actual road
       surface and ancillary works including marker posts, guardrails, road signs,
       road markings, a weighbridge and landscaping The procedure for Taking-

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     Over may be backdated for Section 1, which is confirmed as being completed
     by 30" November 2006. The Employer c use of a Section is deemed to
     commence when used by vehicles of the general public."

    However, the provisions for delay damages were not amended to apply to the
    four Sections of the work defined in the Addendum so that the delay damages
     continued to apply only to the completion of the work as a whole. The date
    for this became the same as for Section 4 of the work by agreement by the
    Parties pursuant to the Addendum [E5/2/1310].

    Because the Parties did not in the Addendum amend the prbvisions for delay
    damages so that delay damages became applicable expressly to the Sections as
    well as the whole of the work, in the Tribunal's view there are no liquidated
    delay damages which can apply to Sections 3 or 4 in respect of the periods of
    delay for which the Contractor is responsible.

    As far as the completion of the whole of the work is concerned as at the date
    of termination of the Contract (11 March 2009) the Contractor was responsible
    for some delay at that point. However the termination resulted from the
    repudiation of the Contract by the Respondents which had the effect of
    preventing the Contractor from completing the work, in circumstances where
    the work had been suspended justifiably by the Claimant since 6 November
    2008, and in respect of which the Claimant is entitled to an extension of time
    (see Sections IV and VI).

    The Tribunal concludes that in these circumstances the Respondents cannot
    recover liquidated delay damages for any delay by the Claimant in completing
    the whole of the work due to the Respondents' own default in repudiating the
    Contract, resulting in the termination on 11 March 2009. The Contractor was
    deprived wrongfully of the opportunity to complete the whole of the work at
    this point.

    For completeness the Tribunal records that the Respondents did not produce
    any evidence of actual loss suffered by the Respondents.




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      SECTION VII: PROLONGATION AND DISRUPTION COSTS

        1. The issues to be addressed in respect of prolongation and disruption costs are
           set out in the List of Issues at item 12. The Parties adopt differing approaches
           to some of the questions to be addressed. The Tribunal prefers Konoilce'             5

           approach to the specific questions to be addressed in relation to prolongation
           and disruption costs, but consider that these questions fall within the issue
           raised by the Respondents at item 12:




NO.     ISSUE                                            KONOIKE'S COMMENTS


12.     What additional time and/or money (if Not agreed as an issue. These should be
        any) is the Contractor entitled to in relation   separated into Konoike's entitlement to (i)
        to prolongation and disruption of the            extensions of time, (ii) prolongation costs
        Works allegedly caused by the following:         and (iii) disruption costs (as below with
                                                         new Issues 12A and 1213). In addition,
                                                         Konoike's entitlement to extensions of
                                                         time will need to be determined for the
                                                         different Sections.

                                                         The relevant issue on extension of time to
                                                         be determined by the Tribunal is:

                                                         What extensions of time (if any) is the
                                                         Contractor entitled to in respect of

                                                            (i)       Section 3 (for (a), (b), (e) & (f)
                                                                      below only); and

                                                            (H)       Section 4 and the Works

                                                         in relation to delay caused by each of the
                                                         following:


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          The alleged late payment of IPCI5 and the     The first suspension (Claim 6).
          Outstanding Amount.


          The short delivery of cement to the Site in   The cement shortage (Claim 7).
          November and December 2007.


 C.       The cholera outbreak in December 2007.        Agreed (Claim 8).


d.        Emergency repair works to the Manyoni-        Agreed (Claim 8)
          Issuna Road


C.        Exceptionally adverse rain                    Agreed.


          The alleged late payment of IPCs 19, 20,      The second suspension (Claim 13).
          20A and 23.


          The treatment of waterlogged ground at        Agreed (Claim 20)
          km 115+600


          The alleged late payment of IPCs 24 and       The third suspension (Claim 22)
          25.


1 2A.                                                   What additional money (if any) is the
                                                        Contractor entitled to for prolongation
                                                        caused by each of the following:


                                                        The first suspension (Claim 6)


                                                        The cement shortage (Claim 7)


C.                                                      The second suspension (Claim 13)




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                                             The treatment of waterlogged ground at
                                             km. 115+600 (Claim 20)


                                             The third suspension (Claim 22)


12B.                                         What additional money (if any) is the
                                             Contractor entitled to for disruption caused
                                             by each of the following:


                                             The first suspension (Claim 6)


                                             The cement shortage (Claim 7)


C.                                          The cholera outbreak in December 2007
                                             and the Emergency repair works to
                                            Manyoni-Issuna Road (Claim 8). The
                                            cholera outbreak is not included in the
                                            CCS     Appendix     A   as justif'ing     an
                                            extension of time.


                                            The second suspension (Claim 13)


                                            The third suspension (Claim 22)




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    2. The Tribunal has addressed the issues relating to extensions of time in the
       Sections IV, V and VI of this Award. Accordingly the Tribunal now
       addresses the issues of prolongation and disruption costs.

Prolongation Costs

   3. What additional money (if any) is the Contractor entitled to for prolongation
       for each of the following claims of the Claimant:

               the First Suspension (Claim 6);

               the cement shortage (Claim 7);

               the emergency repairs (Claim 8);

               the Second Suspension (Claim 13);

               the treatment of waterlogged ground (Claim 20);

           f'. the Third Suspension (Claim 22).

   4. The Tribunal has rejected Claims 6, 7 and 13 in Sections IV and V so the
       Claimant cannot recover prolongation costs in respect of these Claims. Before
       addressing Claims 8, 20 and 22 specifically the Tribunal will address the
       Parties' general submissions in relation to prolongation costs.

The Parties' general submissions on prolongation costs

   5. At CCS/5.1 the Claimant submits that "Cost" is defined in Sub Clause 1.1.4.3
       [E5/3/1324] as "all expenditure reasonably incurred (or to be incurred) by the
       Contractor, whether on or off the Site, including overhead and similar charges
       but does not include profit"

   6. At CCS/5. 1 the Claimant submits that to the extent the works were delayed it
       is entitled to claim costs incurred as follows:




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                Sub-Clause 16.1: "Cost plus a reasonable projit' in respect of costs
               incurred as a result of suspension of the works or a reduced rate of
               working.

                Sub-Clause 19.1: payment of "Cost" incurred as a result of Force
               Majeure.

               Clause 13: an adjustment to the contract price in respect of Variations.

               Sub-Clause 14.12: the payment of cost in respect of unforeseeable
               physical conditions.

       The Respondents contend firstly that the Claimant did not incur any additional
       costs due to prolongation as at the date of termination [A3/1.1/164; A3/1.1/81
       and the Respondents' quantum expert assesses the prolongation costs at nil on
       this basis at item 2 in the first joint report [P3/3.4/4]. The Respondents' case
       is that the Claimant was not on site for longer than it would have been but for
       the delays.

       In response the Claimant submits that it was entitled as at the date of
       termination of 11 March 2009 to 351.5 days' extension of time to Section 4
       and so it would not have completed until 15 September 2009.

       Secondly the Respondents contend that prolongation is to be valued on the
       basis of a monthly amount agreed in the Addendum (RCS 131-1421.

       The Claimants response to this contention is that the lump sum paid to the
       Claimant for the cost of time related preliminaries incurred over the 24 month
       extension of time agreed in the Addendum did not take into account
       prolongation of production or overhead equipment, labour or fuel. The
       Claimant submits that the Claimant's true entitlement is to be paid the Cost
       that it incurred as a result of prolongation plus profit.

Analysis and conclusions of the Tribunal in relation to the general submissions
on prolongation costs

       In the Tribunal's view the Respondents first submission that the Claimant did
       not incur any additional costs due to prolongation as at the termination of the
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     Contract is simply incorrect as a matter of analysis. In the context of the third
     suspension which commenced on 6 November 2008 and ended on 11 March
     2009 (the date of termination) the work was not complete at that date and but
     for the termination which the Tribunal have found was the fault of the
     Respondents the Claimant would have continued working until completion of
     the work. In the Tribunals view it cannot be correct as a matter of analysis to
     contend that delay for which the Respondents are responsible and which
     occurs prior to the date of termination does not attract prolongation costs if
     recoverable under the Contract. Put another way prior to the date of
     termination the Contractor was entitled to suspend the Contract under its terms
     which also entitled the Contractor to recover prolongation costs in respect of
     the period of delay resulting from the suspension.

     The Tribunal has used the third suspension for the purpose of the analysis but
     similar arguments apply in respect of the other claims such as Claim 20 for
     water logged ground which the Tribunal has found to constitute unforeseeable
     physical conditions and to Claim 8 where the emergency repairs are to he
     treated as Variations.

     In relation to the Respondent's second contention that prolongation is to he
     valued on the basis of the monthly amount agreed in the Addendum as the
     "Additional Indirect Cost" the Claimant contends that it can be seen from the
    Addendum that no account was taken of prolongation of production or
    overhead equipment labour or fuel.

    Even if the Claimant's submission is correct, the first question to he
    considered, in the Tribunal's view, is why the compensation agreed in the
    Addendum for the 24 month extension of time agreed in the Addendum
    should apply in respect of the claims for prolongation costs arising as a result
    of events occurring subsequently to the Addendum,

 15, The Addendum itself provides that the Adjusted Contract Price includes "costs
    due to Extension of Time for Completion up to Km 127". Addendum No
    1 [E5/2/1313] at clause v) provides that these costs are TZS 9,908,094,816.00.



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       The MoU [E5/3/1319] which is Appendix 1 to the Addendum, provides at
       clause 6.1 that "The Parties have agreed that the Extension of time shall be
       compensated under time related preliminary and general costs."

       The "Bills for the Final Approved her Designs" are contained in Appendix 3
       to the Addendum and "Bill] General" contains the item "Additional Indirect
       Cost" of TZS      9,908,094,816 for 24 months at a monthly rate of TZS
       412,837,284.

       In the Tribunal's view there is nothing in the Addendum and the attached
       documents which suggests that the agreed monthly figure for the Additional
       Indirect Cost is to apply to the calculation of prolongation costs to which the
       Claimant may become entitled in respect of events occurring afler the date of
       the Addendum. The figure for Additional Indirect Cost was agreed following
       negotiations between the Parties as the compensation for time related
       preliminary and general costs in relation to the agreed extension of time of 731
       days for events occurring prior to the date of the Addendum. The Addendum
       represents a settlement by the Parties of the disputes described therein and was
       not expressed to have any application to ftu'ther disputes in the future.

       Accordingly the Tribunal finds that there is no agreement between the Parties
       in the Addendum or otherwise that the monthly amount for Additional Indirect
       Cost stated in the Addendum is to be applied to the calculation of prolongation
       costs claimed in this arbitration by the Claimant. The amount of the Additional
       Indirect Cost operates as a full and final settlement agreed between the Parties
       in respect of prolongation costs related to the extension of time of 731 days
       agreed in the Addendum.

Calculation of Prolongation Costs

       The starting point for calculating prolongation costs under the Contract is the
       definition of Cost which is set out above. In the Tribunals view the Claimant
       is entitled to recover Cost as defined in clause 1.1.4.3. Consequently profit is
       excluded except in respect of Cost arising as a result of a suspension or
       reduced rate of working pursuant to Sub -Clause 16.1.


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     Alternatively the Claimant submits it is entitled to recover its costs as a result
     of delays caused by breaches by the Respondents of Clause 6.3 of the MoU.
     This clause provides:

     "The Employer (and the Engineer on his behalf) has undertaken to
     henceforth, accord the Contractor every support and assistance to ensure
     smooth implementation of the Contract, early completion of the project,
     reduction of the extended Time for Completion and the cost of the Project"

     The MoU forms part of the Addendum which provides at Clause xiii that the
     other terms and conditions are to remain as set out in the Contract. In addition
     the Addendum provides that it forms part of the Contract and that its content is
     to prevail over the relevant provisions contained in the Contract wherever
     there is a contradiction between the Contract and the Addendum.

     In the Tribunal's view Clause 6.3 of the MoU supplements the provisions of
     the Contract but there is no contradiction between Clause 6.3 and the relevant
     provisions of the Contract pursuant to which the Contractor claims
     prolongation cost. The Tribunal concludes that prolongation costs are to be
     recovered pursuant to the relevant provisions of the Contract agreed between
     the Parties for this purpose in respect of those claims which the Tribunal has
     accepted.

     The Tribunal now turns to consider the issues between the experts in relation
     to the calculation of prolongation costs. In order to establish a daily rate of
     prolongation cost for each month of the Project the experts have considered
     nine heads of cost [D6/16/2] and their respective positions are set out in
     Appendix H to the CCS which is an updated version of Exhibit C 11. The
     heads of cost are:

            owned equipment ownership costs;

            hired equipment costs;

            Claimant owned overhcad equipment operation costs;

            hired equipment overhead operation costs (agreed);

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              overhead equipment fuel (agreed);

              overhead equipment operatives (agreed);

              equipment sundry costs;

              overhead labour costs (agreed);

              site expenses (yen element agreed).

Owned Equipment ownership Costs

   25. The experts primary positions are reflected in Exhibit C 10:




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    Exhibit ClO was produced by Mr Richards and agreed in principle by Mr Kyte
    [T13/56-58]. Mr Richards contends that maintenance spending on heavy
    machinery falls into two categories. The first is normal maintenance spending
    and the second is investment or capital maintenance. The saw tooth line in
    exhibit ClO reflects Mr Richard's position and the fact that there must have
    been some investment or capital spending on a machine because it is operating
    beyond its original economic life. Consequently the rate of depreciation will
    be steeper than calculated using a straight line depreciation from purchase to
    sale which is reflected in the green line in exhibit ClO and is the method used
    by Mr Kyte who accepted that the saw tooth line on ClO is closer to reality
    than his own method shown by the green line [T13/58/1-13]. Mr Kyte agreed
    that if investment spending is known it should be taken into account [T13/48-
    50].

    Only the total amount spent on all maintenance and repair is known.
    Separation of normal maintenance costs and investment maintenance is not
    possible; and the spending on each machine is not known. The agreed
    information in relation to the owned equipment is set out in exhibit C 11.

    Mr Kyte has utilised the known sale prices of the equipment whereas Mr
    Richards has used a residual value to assess the rate of depreciation taking
    account of capital spending and investment spending. The difficulty with Mr
    Richards approach is that he has assumed as new purchase prices from the
    2001 Japanese Green Book and economic lives from the Caterpillar Handbook
    and calculated a depreciation rate.

    Mr Kyte, on the other hand prefers to use a fact-based approach but the only
    relevant known fact is the sale price.

    The Tribunal is not attracted to either approach. Mr Richards' approach is
    over theoretical in its use of the Japanese Green Book and the Caterpillar
    Handbook particularly where the equipment purchased by the Claimant was
    mostly second-hand and at least a third of the items were more than five years


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     old when the Claimant commenced work in 2004. In addition it is not
     possible to be certain that investment maintenance took place although it is
     likely given that much of the equipment was second-hand.

     Mr Kytes approach is to calculate ownership costs on a straight line
     depreciation basis using the agreed purchase and sale prices and actual length
     of, the Claimant's ownership. This takes no account at all of any maintenance
     spending on the production equipment [T13162-64]. In addition Mr Kyte has
     only included equipment that was reported in the monthly progress reports as
     idle during periods of prolongation [D5/5.8/173]. The Tribunal accepts the
     Claimant submission, supported by Mr Richards, that whether equipment is
     working or not during a period of critical delay it would be held on site for
     longer than it would have but for the delay and that the additional ownership
     costs are attributable to the period of critical delay. It is also clear that there
     are errors in Mr Kyte figures for idle plant due to a lack of an idle time colunm
     in some monthly progress minutes.

     Accordingly, the Tribunal is not satisfied with Mr Richards' primary
     assessment or with Mr Kyte's assessment although it recognises that both
     experts have attempted to address the issue of depreciation of owned
     equipment against the background where much information is missing.

     The Tribunal prefers Mr Richards' alternative approach in which he continues
     to use the project records of actual costs spent on maintenance but in which he
     uses actual purchase and actual sale information as used by Mr Kyte. The
     Tribunal considers that this approach addresses the depreciation of owned
     equipment in the most balanced way utilising actual information in so far as it
     is available. The Tribunal is also satisfied that it is appropriate to include
     freight charges, finance costs and a 5.26% uplift for petty theft and vandalism
     for the reasons which are summarised at paragraphs 5.27 (v), (vi) and (viii) of
     the CCS.

     The Claimant submits that this alternative approach does not sufficiently
     represent the ownership costs incurred by the Claimant because it takes no
     account of the restoration in value of the equipment due to capital spending on

                                         '55




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       investment maintenance. However in the Tribunal's view because there is no
       actual information in relation to investment maintenance the alternative
       approach of Mr Richards is preferable to his primary approach where his
       depreciation depends upon the Japanese Green Book and the Caterpillar
      Handbook which the Tribunal consider were not designed to be applied in the
       circumstances of this case. It is also the Tribunal's conclusion that Mr
      Richards' alternative approach is preferable to Mr Kyte' s approach for the
      reasons set out above.

Hired Equipment Costs

      The Parties' experts have agreed the applicable daily rates [D615.3138] but Mr
      Kyte utilized the same approach to identi'ing idle plant which the Tribunal
      has found is not appropriate in relation to owned equipment.

      In cross examination Mr Richards was challenged on certain invoices as
      having included costs on days for which the Claimant was not being charged
      [T13/11-22]. This was the first time this issue had been raised as Mr Kyte had
      previously agreed the hired plant rates .Since the Hearing Mr Richards has
      reviewed the invoices and prepared an alternative assessment of hired plant
      prolongation costs lAppendix J and paragraph 5.42 CCS]. The Tribunal
      would have adopted Mr Richards' primary assessment but in the light of the
      cross examination on these invoices has now decided to adopt the alternative
      assessment of Mr Richards on the basis that it produces a more accurately
      calculated figure.

Owned Equipment Operation Costs

      These costs represent the cost of operating owned equipment which is engaged
      in overhead activities. The experts agree that this is appropriate and the costs
      represent cost of normal maintenance.

      Mr Richards has utilised for his primary assessment of normal maintenance
      costs the same method that he used for his primary assessment of ownership
      costs. The Tribunal has rejected this approach. However Mr Richards'
      alternative approach is an assessment of nil [112/20].

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       Mr Kyte has assessed the costs on the basis of actual maintenance costs and
       overhead equipment ownership costs utilising a backward rolling average
       which reduces the monthly maintenance cost amounts because of the fact that
       the contract was terminated.

       Notwithstanding this criticism of Mr Kyte's approach by the Claimant as the
       experts agree that equipment operation costs in respect of overhead activities
       should be included in prolongation costs the Tribunal adopts Mr Kyte's
       assessment

Equipment Sundry Costs

       As the Tribunal have adopted Mr Richards' alternative assessment in respect
       of Owned Equipment Ownership Costs there is nothing to add in respect of
       this item because the Equipment sundry Costs are included in that alternative
       assessment [CCS/5.49].

Site Expenses

       This item relates to the Claimant's costs in running the site and the Project.
       The time related element of these costs has been audited by Mr Richards and
       agreed by Mr Kyte as figures. However Mr Kyte does not accept that all the
       figures in Mr Richards audit are prolongation costs. The difference between
       the experts is small and the Tribunal accepts Mr Richards' explanation of why
      the costs in his audit should be included in the prolongation costs at paragraph
       7.11 of his Side Report [D6115152].

The Tribunal's Findings as to the Quantum of Prolongation Costs in respect of
Claims 8,20 and 22

       Claim Period

      Claim 8 (emergency repairs)              I day in December 2007

      Claim 20 (waterlogged ground)            I day in October 2008

      Claim 22 (Third Suspension)              126 days split as follows

                                             25 days in November 2008
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                                                                                                             31 days in December 2008

                                                                                                             31 days in January 2009

                                                                                                             28 days in February 2009

                                                                                                             11 days in March 2009

                                                                                                             126 days




               The table below reflects the Arbitral Tribunal's findings set out above in
               relation to equipment costs.
                                                                                                                                       :              •
Richards Alternative Valuation


                                        Ke&ke          Hired                       Overhead
          E
                 .
            Konoihe          .
                            Hired
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                                      [qupprnent
                                                        .
                                                Equipment      ,         Equ,pmen
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           qu Ipmefl C                                           Pr h d
                          [qwpenent   Ovei1ead Oerhead                       t                       EqtiprnrcitSandryCosls                                LbourCosts                              Ste Ecpenses
          Ownership
                            Costs
                                            -
                                      Operatron Operatron
                                                              -
                                                          Equtpmsnt rue?
                                                                         Operairve
                                                                                           -
             Co B
                                        Costs          Costs


             813,1         3t3.2o       11,4a          3t4a            USa          2362        n_tinill,ia             lItia               911,33         U.tlo        811,1a        Ittia        jElls          li-tin
 Month        Yen            55$         Yen           uS$              125          Yea           Yen                      125              Yen            556           125          Yen     U5$         725
.SF:Pl3.b& ..                               2!..LJn.,2??-23                                                           325         .,,: .!19,Q3                    2 . 1253,295,3,88 - 611,672 . 349--4TZS 2,498556
 Mo tO 1           I .72Pl I 3,di..                                                                                                         I9?     3'W5...t..2.'.. i..3I 325 2,324,486
  Joo'07 11,642,743 $17,766.71 1 82,S24 $ 239.44 175 3,112,542                       4,615 1             -     $ -    17512,144 1437,695 $54442 125 3,514,088 1 3,450 $ 545,77 725 2,407,053
   Jul-07 11,515,459 118,059,57 8121,146 $ 189.26 175 4,067,265                    314,442     1         -     $ -    '17$ 5,430 3425,605 $52686 '87$ 3,2826       5,896                       $ 780.91 17$ 2,192,213
          61O $$$ 523,420232 8165,065 L3a,        E5S5                                         6-              5-     125194              $526.65 325j,397,101       4S4                            932.25 125 2,427,509
                                                                                          $38 8-               5-     125 51,139 1479,027 $54442 3256 !J9                                      $50813 IZS 2,079,885
L.ioei 81,559,087 $24209.82 !fl&1          299A3 12S7,5%233
  OCt'O7 11,626,139 $24,036.82 8170,571 $ 753,11 175 5,418,944                     825,906        -            $ -    12$        3449,715 $526.86 1253,223,590 351568
                                                                                                                                           $ 754,03 125 1,526,381
 Nov-07 13,555,343 $26,765.57 8 54,359 $ 503,06 '075 5,361,346                   - 823,538     1               $ -                         $ 560,83 '17$ 2,166,989
                                                                                                                      uS 13,162 3441,094 $ 544,42 '17$ 3,337,426 814,550
 Dec-63 11,631,118 $26,519.35 3102,597 $ 428,97 '17$ 5,862,634         839,603 1 -                             $ -
                                                                                        '82,518,617 8431,682 $507.57 17S 3,481,848 331,344 $1,140,79 17S 1,487,360
 Jon-OS 81,608,210 $2668035 3183,736 $1,258.31 17$ 6,768,667 167,503 1 -                                       $ -
                                                                                        125 34,624 1421,027 $262.80 125 4,788,433 346,735 $ 487,87 125 1,860,423
_!3ia-4 $ 262 a5. M5 !!$3,!2.t2'. E5_?drTh1 12aV..... $.... ---- 32jI2!P, I 2! .1 12L32!,S!1322L ,U1~. 23223d!.
                               !!?3,!!5. .5..IJ3. .111 93,449014,739 ........S........ .32J? 6I ...L       IJ2!I2 2iM12?! IIM3L $ 450,55                   &!!I
 $p.i1? Y1,SS S 259              107,!64 ...k.. 9328         ,379,323 .p9,513 ..3,3,5:..BI1$° SVLSG 37$. I,Th.5 9 °.. 5$91 ...
           r,$$4... 25!Q1 21 ..$ 28.67                ..   3,630,278 .1,8 .. 50,426                 . 36L576 .S.?1!P...              2,632 $    3, 4..132.k7,.l"
 Jun-08 11,511,171 $28,884.21 1 24,076 $         18,58 125 3,929,795 811,231 1 -   $ - 12560,301 1325,336 $394,93 12$ 4,218,051 1 3,546 $160843 1251,625,941
  Jul-08 11,464,237 $29,355.21
                    $          8127,572 $ 813.64 '17$ 8,583,546 137,519 8 -        $ - '17557,215 1361,478 $389.51 175 4,513,720 125,286 $ 313.88 125 1,878,193
                                                                               1-  5- 12510,645 fl,2l $89S1rfl$,$1,62!                     $t,323, 12S232
.JsI E4$5A83 $301021 1113,558 S 3,08189 125 8,316117 .815,523 8                    t.n 12594922 1375          $40149 ,]32j1545       $l        54014 125 2,210,182
  Oct-08 81,419,081      $36,523.21                      U S. . 5,309,712 1 9,677 1
                                      1 99,779 $ 853,43 12                                           -        $   -   17$          -       1376,714       $38351 '175 5,552,838 136,515 $ 460,12 725 9,915,638
 Nov-68 01,494,305       $33,370.34   8 45,552 $ 117.83 '875 5,124,109 151,231 8                     -        $   -   125 13,667                                143,435 $ 271,37 125 1,792,681
                                                                                                                                           1393,268 $404.03 T2S 4,653,122
 Dec-58 81,465,266       $20,378.34 I        '     5        31,49 '175 3,768,662   155 ,533 1        -        $   -   125 56,786 1357,549 $488.16 125 4,571,212 841,288 $ 718.08 125 1,587,424
 Jan-09 11,459,233       $2624916 I          -     $         -    125 3,733,848    175,079 8         -        $   -   725 8,684 13351 237 $   -   125 3,851,429 133,970 $ 426.85 125 1,254,385
  Feb-09 11,505,103      $ 6,402.82 1        -     $         -    '025 2,305,075   130,989                            175 62,813           1355,549 $        -      '075 3,887,135   149,792   5    526,71 125 1,974,333
 Mar-65 91,448,518       $ 6,402.82 0        -     $        20,77 1252,821,132     839,603     1     -        $   -   175 24,132           1107,638 $        -      '17$ 3,444,013   6 3,707 $ 476,84 725 1,246,820




      44. The Tribunal finds that the Claimant is entitled to prolongation cost of:




                         a. Claim 8 (Emergency Repairs):                                                                                                          TZS 351,293

                                                                                                                                                                  USD 286

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                                                                   JPY 68,710

              Claim 20 (Waterlogged Ground):                       TZS 444,738

                                                                   USD 635

                                                                   JPY 60,388

              Claim 22 (Third Suspension):                        TZS 39,638,528

                                                                  USD 12,511

                                                                  JPY 7,827,373




       The period of delay for Claim 8 is one day in December 2007. This period
       falls within the period of 30 September 2006 to 29 September 2008 for which
       an extension of time was agreed in the Addendum. The Addendum also
       recorded prolongation costs for this period of TZS 9.9 billion or TZS
       13,572.73 per day.

       At 3/1 17/CCS the Claimant accepts that there should be a deduction of TZS
       13,572,73 per day from the prolongation costs agreed in the Addendum for
       any day of extension of time granted by the Tribunal which overlaps with the
      period of 30 September 2006 to 29 September 2008. Accordingly the
      Tribunal finds that the amount of TZS 9,908,094,816 found by the Tribunal to
      be recoverable by the Claimant pursuant to the Addendum for prolongation
      costs is to be reduced by the amount of TZS 13,572.73.

      The extensions of time granted by the Tribunal for claims 20 and 22 are for
      periods which fell outside the period of 30 September 2006 to 29 September
      2008 agreed in the Addendum.

      The Tribunal now addresses the issue of disruption costs.

Disruption Costs

      The Claimant submits [CCSI6.1; 6.3] that it is entitled to disruption costs for
      the same events that it relies upon to recover extensions of time and
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     prolongation costs with the addition of the cholera outbreak (Claim 8) as a
     Force Majeure event. Accordingly given the Tribunals earlier findings on the
     basis of this submission, the claim for disruption costs applies to claims 8, 20
     (waterlogged ground) and 22 (third suspension). However it is questionable
     whether the Claimant's submission is correct.

     Claim 22 is referred to by the Claimant at item 12B of the List of Issues as
     being a cause of disruption. It is not referred to in section 61CCS as being a
     cause of disruption where the last period of disruption referred to ends at
    November 2008. Claim 22 does not fall within the disruption events listed at
     item 43 of the Claimants list of issues appearing at Appendix A/CCS. It is
     logical that the Third Suspension which is the subject of Claim 22 did not
     cause disruption. The work was suspended on 6 November 2008 and never
     restarted because the Contract was terminated on 11 March 2009.
     Accordingly although the Claimant is entitled to prolongation costs in respect
     of the Third Suspension disruption would only have occurred if the work had
    restarted. Accordingly the Tribunal concludes that in any event Claim 22
     would not result in recovery of disruption costs.

    In relation to Claim 20 this is not referred to by the Claimant at Section 6/CCS
    dealing with disruption nor is it referred by the Claimant at item 12B of the
    List of Issues. Accordingly the Tribunal concludes that disruption in relation
    to Claim 20 is not recoverable.

    Accordingly given the foregoing and the Tribunals earlier findings the only
    claim in respect of which the Tribunal needs to consider the entitlement to
    disruption costs is Claim 8.

    The claims for dismption costs are made by the Claimant pursuant to the same
    contract provisions as for prolongation costs and alternatively as damages for
    breach of clause 6.3 of the MoU.

    The Claimant asks the Tribunal to assess appropriate compensation in respect
    of disruption costs using, as an aid, the assistance of the analysis is carried out
    by Mr Richards and Ms MacLaughlin on the basis of ffiel use. The Claimant


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          recognises that the figures resulting from these analyses are of questionable
          value at least when considered over the short term and, secondly, the difficulty
          of finding appropriate measured miles to be the benchmark.

          There are two issues in relation to Ms MacLaughlin's analysis which the
          Tribunal needs to address. The first is that she has excluded the 55 borrow pits
          from her analysis. The Tribunal considers this to be incorrect as the borrow
       pits were an integral part of the works and the rate of fill progress is capable of
       having an impact on the rest of the works [D5/5.7/23;T101103 AND 107].

          Secondly Ms MacLaughlin in addition to using the measured mile approach
       which is largely objective (although the selection of the measured mile can
       involve subjective issues) has made assessments of the extent to which
       individual items of equipment within the overall measured mile pools of
       equipment were affected. There are not sufficient records to support such an
       approach [D5/5.2115] which means that it is subjective. Such a subjective
       approach in addition to the existing difficulties with assessing appropriate
       measured miles leads the Tribunal to consider that this qualitative assessment
       should not be adopted.

Claim 8

       Claim 8 is addressed by the Claimant at paragraphs 6.20-6.27 of the CCS
       [S3/11162 - S311/1631 and by the Respondents at paragraphs 94 - 114 of
      Appendix 3 of the RCS [S4/1/237 - S4/11247].

The Cholera Outbreak

      The Tribunal have found that the cholera outbreak constitutes an event of
      Force Majeure and the Tribunal further finds that the Claimant is entitled to
      recover its disruption costs under Sub-Clause 19.4 of USD 11,354,740.25
      applying the disruption percentages established below by the Tribunal in
      addition to its direct costs via Variation 9.8 of TZS 10,282,899; USD 1,330;
      JPY 234,478.

Emergency Repairs


                                            Jo]


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      The Tribunal have found that the emergency repairs are to be compensated as
      a variation pursuant to Clause 13. The Claimant is entitled to its costs of TZS
      72,258,670 plus disruption costs of USD 11,354,740.25 applying the
      disruption percentages established below by the Tribunal.




Disruption cost percentages in December 2007

      The Parties' submissions on the calculation of disruption costs are addressed
      in their closing submissions at paragraphs 6.4-6.8 CCS and paragraphs 171-
      177, Chapter 4, RCS.

      The Tribunal is required to determine a percentage to be applied to the base
      cost in respect of disruption for December 2007 in respect of the cholera
      outbreak and the emergency repairs forming Claim 8.




      The Respondents effectively submit that the evidence provided by the delay
      and disruption experts is not capable of quantif'ing actual disruption and that
      there were significant deficiencies in Mr Richards' evidence in particular. The
      Claimant and both experts accepted that it was difficult to find appropriate
      measured miles but that in the case of the Claimant it is suggested that the
      experts' exercises are of some value to guide the Tribunal in assessing either
      an overall disruption percentage or disruption percentages for the periods that
      it considers relevant.

      The Tribunal is of the view that it is possible to assess a percentage for
      disruption costs in December 2007 reflecting the experts' views in relation to
      the earthworks and Cl/C2.

      In respect of the earthworks in December 2007, Mr Richards has assessed a
      disruption percentage of 62% and Ms MacLaughlin has assessed a percentage
      of 42%. Given the difficulties with making the percentage assessments the
      Tribunal concludes that it is fair and reasonable to assess a disruption
      percentage for earthworks of 52% reflecting the range between the experts.

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  65. In respect of C1IC2 in December 2007 Mr Richards assesses disruption costs
     ranging from 40% to 100% and Ms MacLaughlin assesses the range as 47% to
     100%. Given the lowest percentage is that of Mr Richards at 40% the Tribunal
     concludes that it would be fair and reasonable to apply a percentage of 70%
     for C1/C2 in December 2007 reflecting Mr Richards' range which produces a
     lower disruption percentage than if the percentage is based upon Ms
     MacLaughlin's range.




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SECTION VIII: TERMINATION

Overview

   1.     In this Section, the Tribunal addresses the dispute over which party validly
          terminated the Contract. Both the Contractor and the Employer claim to
          have terminated the Contract and to be entitled to recover damages as a
          result.

                The Respondents aver that the Contract terminated on 16 December
                2008, either (i) automatically due to the passage of 14 days from the
                Contractor's 16.2 notice; or (ii) by acceptance of the Claimant's
                repudiatory breach.

                The Claimant contends that it correctly terminated the Contract on 11
                March 2009 either (i) in accordance with Sub-Clause 16.2; or (ii) by
                accepting the Respondents' repudiatory breaches.

   2.     The Tribunal will address as a preliminary matter the issue of the correct
          procedure for termination of the Contract under Sub-Clause 16.2; followed
          by an analysis of the validity of the Employer's alleged termination and that
          of the Claimant.

The Correct Procedure for Termination under Sub-Clause 16.2

Background

   3.     Sub-Clause 16.2 of the Contract provides for a notice to be served before
          termination as follows:

        "The Contractor shall be entitled to terminate the Contract if

         in any of these events or circumstances, the Contractor may, upon giving 14
        days' notice to the Employer, terminate the Contract..." 1E31116541

   4,    The Claimant served a notice under Sub-Clause 16.2 on Tanroads on 2
         December 2008 fG4/559/21421 which stated:

        "Dear Sir

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     Re: DESIGN & CONSTRUCTION OF DODOMA - MANYONI ROAD

     SUB: NOTICE OF ENTiTLEMENT TO TERMINATE PURSUANT TO SUB-
     CLAUSE 162

     As of today date, we have still not received payment of the outstanding sum
     due under LPC-24 of US$ 2,719,809.75. Payment of the full amount of IPC-24
     was due under the Contract by 11 th July 2008. This payment is accordingly
     now 144 days late.

     The Engineer has also failed to issue IPC-26 within 56 days, or alternatively
     within 70 days (taking into account the extended period for certification of
     IPC-26 of 42 days agreed between us and the Engineer), after receiving our
     Statement and supporting documents on 13 rn September 2008 under cover of
     our letter ref KIG/DMP/BV/2441 dated IP September 2008.

     In addition, the Employer has substantially failed to perform his obligations
     under the Contract as a result of (but not limited to) the following:

            The Employer's persistent late payment of amounts due under Interim
            Payment Certificates, which payments are frequently only made
            significantly later than the required period of 56 days from the
            Engineer s certification.




            The Employer 's interference with the Engineer duty to certz)5 fairly
            JPC-26 and/or the Employer's wrongful instruction to the Engineer for
            the 'immediate correction' under the last paragraph of Sub-Clause
            14.6 of amounts previously certified for disruption and price
            escalation on this amount.




            The Employer unreasonable withholding of approval of the
            Engineer 's determination that we are entitled to an extension of Time
           for Completion in respect of our Claim No. 6 - Time Extension and
            Associated Costs.
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               The Employer's interference with the Engineer's duty , to make a fair
               determination of our claims, particularly in respect of Claim No. 6 -
               Time Extension and Associated Costs, Claims No. 7 - Shortage of
               Cement and Claim No. 8 - (1) Cholera Epidemic and (ii) Emergency
               Repair Work at Manyoni - Jssuna Road.




               The Employer s unreasonable withholding of approval for the
               Engineer to issue a Taking-Over Cerq,IIcate under Clause 10 of the
               contract in respect of Sections 1, 2 and 3 and/or the Employer
               Interference with the Engineer 's duty to issue such Taking-Over
               Certificates.




              Generally, the Employer 's failure to comply with the terms of
                                               14th March 2007.
              Addendum No. 1 to Contract dated

       Accordingly and without prejudice to our rights generally under the Contract
       or otherwise, ire hereby give you notice pursuant to Sub-Clause 16.2 that we
       have now acquired an entitlement to terminate the Contract under Sub-
       Clauses 162(b), 16 2(c) and/or 162(d) of the Conditions of Contract
       following a period of no less than 14 days from your receipt of this letter as a
       result of the events and/or circumstances listed above.

       We are presently, considering our position.

       Yours faithfully

       KONOIKE CONSTRUCTION CO. LTD."




  5.     Thereafter, the Parties disputed the effect of the notice.




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      By letter dated 4 December 2008 1G41560/21451 the MoTD wrote to both Mr
      Mrema of Tanroads and the Claimant stating that it had been advised on the
      notice to terminate and due to the importance of the project had arranged a
      meeting between the Contractor and Employer to discuss the way forward.

      The minutes of this meeting on 5 December 2008 [G4156112147] note that
      the Employer stated that under the conditions of contract once the 14 days of
      the notice expire the contract is automatically terminated.

      The Claimant's letter of 12 December 2008 1G41567/2156] states that the
      service of the notice of entitlement to terminate means that it is entitled to
      terminate the contract after 14 days and not that the contract is automatically
      terminated. It further states that the Claimant's openness to participation in
      amicable settlement cannot be construed as a waiver of its entitlement to
      terminate.

      On 15 December 2008, the Employer wrote to the Claimant acknowledging
      receipt of the notice and contending that the Claimant was required after 14
      days to proceed as per Sub-Clause 16.3 to cease further work, hand-over
      plant and materials for which it had received payment and remove all other
      goods from the site [G4/571/2164 and G4/576121791.

      This letter was followed by a further letter from the Employer on 16
      December 2008 which stated that the notice of termination would take effect
      from that day's date in accordance with Sub-Clause 16.2 1G4/577121801.

      By a further letter of 16 December 2008 the Respondents restated that there
      is no such thing as a notice of entitlement to terminate fG4/579/21831.

      The Claimant responded on 16 December 2008 pointing out that the notice
      was a notice of entitlement to terminate and not a notice of termination
      [G4/578/2182].

      The Employer replied on the same day, contending that any notice under
      Sub-Clause 16.2 was a notice of termination [G4/579/2183].




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  14. The Claimant wrote to Tanroads on 17 December 2008 noting that there had
       been a repudiatory breach by Tanroads in appointing another contractor
       1G4/583/21891. The letter stated, in part:

             "Dear Sir

            RE: DESIGN AND CONSTRUCTION OF DODOMA - MANYONI
            ROAD

            SUB: NOTICE OF ENTITLEMENT TO TERMINATE PURSUANT TO
            SUB-CLAUSE 16.2

            We refer to your letters ref TRD/CR/GEN 1071VoL 11018 and ref
            TRD/CE/GEN107/Vol. 11019, both dated J6" December 2008, and to
                                                        16th December 2008.
            our letter ref KIG/DMP/TANRD1041 also dated

            We restate our position as regards our notice of entitlement to
            terminate the Contract as set out in our letter ref
                                    16th December 2008. The service of this
            K10/DMP/TANRD/041 dated
            notice has given us the contractual right to terminate after 14 days
            from this notice. This notice does not automatically trigger
            termination of the Contract after the passing of this 14-day period.

            We will respond in due course to your comments in your letter ref
            7RD/CE/GEN10 7/VoL 11018 dated I6 December 2008. We
            nevertheless maintain that we were entitled to serve our notice of
            entitlement to terminate the Contract on 2' December 2008 and,
            pursuant to this notice, we remain entitled to terminate the Contract
            under Sub-Clause 162 after 14 days from this notice (i.e. on or after
             7ih December 2008). Such entitlement is strictly reserved.

            In any event, we note that you state that our 'notice of termination'
            too/c effect from 16" December 2008. However, the 14-day period
           from the service of our notice of entitlement to terminate had not yet
           passed on that date. We further note that you took the final steps to
            award the contract to another contractor on 15" December 2008 for


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                 the completion of the Works. Such actions by the Employer were
                 clearly premature and demonstrate that you have wrongly treated the
                 Contract as terminated This amounts to a repudiatory breach on the
                 part of the Employer and we expressly reserve our rights in this
                 respect..."

         During three days of meetings on 22,23 and 24 December 2008, Mr Mrema
         alleged that the Contract had already expired and there was no contract to
         discuss EG41592122161.

The Parties' Princthal Submissions

         The Claimant contends that the Respondents wrongftilly treated the Contract
         as automatically terminated from 16 December 2008 on the basis of the
         Claimant's service of the Sub-Clause 16.2 notice on 2 December 2008. It
         contends that the Employer's position in respect of the notice was plainly
         -   wrong: Sub-Clause 16.2 provides that a Contractor may upon giving 14
         days' notice terminate the Contract. Thus, the service of a notice does not
         result in automatic termination of the Contract on the expily of 14 days. It
         gives rise to an entitlement such that the Contractor may elect whether to
         terminate or to continue with the Works. The Claimant points to the fact that
         in the Obrascon decision, termination was effected well after the 14 day
         period [F2/2.24/1861.

         As to the Respondents' 'sword of Damocles' argument (meaning that there
         would be an open ended threat of termination hanging over the Respondents
         if the Claimant's argument is correct), this ignores the factual realities of
         what happened following service of the notice. In particular, the Claimant
         was asked to and did enter into negotiations with the MolD to try to resolve
         the issues between them. It continued to make clear that it was reluctant to
         bring the Contract to an end and wanted to engage with the Respondents in
         order to resolve the issues and complete the Project. However, by letter
         dated 5 March 2009 fG5/640123101 the Employer wrote to the Claimant
         advising that they had entered into a replacement contract with Estim on 27
         February 2009, and requesting the Claimant to leave the site immediately.

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       Therefore once it became clear to the Claimant that these negotiations could
       not succeed, it terminated the Contract.

       The Respondents state that the Claimant was not permitted under the
       Contract to serve a notice of "entitlement" to terminate. Either the relevant
       letter was a Sub-Clause 16.2 notice in which case termination would follow
       automatically, or it was not, in which case it had no legal effect and the
       Claimant's later termination, purportedly on the basis of that notice would
      have been invalid as well.

       The Respondents point to the difference of language in Sub-Clause 16.1 and
       Sub-Clause 16.2. Sub-Clause 16.1 refers to "after" while Sub-Clause 16.2
      refers to "upon". The use of those different words is informative of when the
      Contractor has to elect to take an action that must occur. The use of "after"
      in Sub-Clause 16.1 implies that the Contractor must elect to suspend or not
      suspend after the 14 days' notice: it gives 14 days' notice and at the end of
      those 14 days it has to decide what to do. However in Sub-Clause 16.2 the
      use of the word "upon" implies that the Contractor first decides/elects
      whether to terminate or not. If it has decided that it is going to terminate it
      then gives notice, initiating at that point an unstoppable countdown to
      automatic termination 14 days later, unless the Parties mutually agree to stop
      the clock [T1515118 - T15152 1231.

      The Respondents refer to an excerpt from the FIDIC contracts guide in
      relation to Sub-Clausel6.2: "If the contractor believes that the employer's
      failure of performance is sufficiently serious to merit termination.., the
      contractor should take legal advice before giving notice ... A notice of
      termination that is subsequently decided to be unjust jjled would constitute a
      breach of contract by the contractor. " Also: "If the contractor gives notice
      and then wishes to withdraw it, the parties may agree that the notice shall be
      of no effect and that the contract is not terminated" [F8/14/11

      The Respondents also contend that their position is not disavowed by the
      authors of "FIDIC Contracts: Law and Practice" who do not come down
      firmly on one side or the other jT15/54124 —T15/54/19].

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Analysis and conclusions of the Tribunal

        The Tribunal does not accept the Respondents' contentions regarding the
        interpretation of Sub-Clause 16.2.

        In the Tribunal's view a notice given by a Contractor advising of an
        intention to terminate as a result of the occurrence of the events set out in
        that clause is not self-executing and does not automatically bring the
        Contract to an end at the conclusion of the period of 14 days (or other
        specified period) after the giving of a notice of intention under the clause.

        To accept the interpretation advanced by the Respondents it would be
        necessary to conclude that the provisions of Sub-Clause 16.2 did not
        envisage an opportunity for the Employer to remedy the breaches specified
        in a notice given by the Contractor under that clause. Such an opportunity
        for the Employer to remedy alleged breaches the subject of a notice is in the
        Tribunal's view a necessary and logical step in the process of addressing the
        dispute arising from alleged breach.

        It is logical and sensible to interpret the sub-clause as enabling there to be a
        response by the Employer to a notice by a Contractor and consideration by
        the Contractor of any such response. It can be asked in aid of this view why
        any period after the notice contemplated by Sub-Clause 16.2 needed to be
        provided for, if the effect of the notice was to effect automatic termination at
        the end of the period specified. In the Tribunal's view if this sub-clause was
        intended to allow for a self-executing termination notice to be given,
        effective after the period of time of 14 days (or longer) referred to in the
        sub-clause, there would be no need to provide for any period of time after
        which the notice would be effective. Termination clauses providing for a
        right to terminate for default upon occurrence of an event are not
        uncommon. Thus the period of time to be allowed for after which
        termination may then occur must in the Tribunal's view have been intended
        to allow for a response by the Employer and consideration of that response
        by the Contractor before then proceeding to exercise the right created by the
        giving of the notice.

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      In the Tribunals view it is not sensible to conclude that the only option for
      the Contractor is to withdraw the notice within the period specified in it. It is
      a more common sense and commercial interpretation to regard the sub-
      clause as requiring a further notice of termination after the expiry of the
      specified period subject of course to the threat of termination not being able
      to be held over the head of the Employer indefinitely. For how long the
      option to terminate remains available will depend on the subsequent
      dealings between the Parties, subject to it being lost if the Contractor acts in
      a manner inconsistent with the preservation of an option to terminate.

      Indeed it can be seen from the letter written by the Permanent Secretary of
      the MolD to the Contractor upon receipt of the Contractor's notice under
      Sub-Clause 16.2 [G41560/21451 that this senior government officer viewed
      the notice in this light. This letter called for meetings between the Employer
      and the Contractor "to discuss the current situation of the Project and
      deliberate on the way forward". Meetings were then held.                         -

      Indeed one sees a willingness on behalf of the MolD to continue a dialogue
      to seek a solution to the issues between it and the Contractor in Mr
      Chambos letter to the Contractor of 15 December 2008 1G4/570121631 in
      which it is said:

            "Despite the clarjflcations you have offered, the Ministry would like to
            convene a meeting between the contractor's top management and the
            Ministry. The main objective of the meeting is to resolve the
            djfferences which have arisen including payment of interim certjflcates
            No. 24, 25 and 26"

      The interpretation of Sub-Clause 16.2 for which the Respondents contend
      was the one adopted by Mr Mrema, Chief Executive of Tanroads, without
      the benefit of legal advice 1T14/189/7 - 21] and despite the warning of the
      Employer's Engineer that this interpretation of the Contract was open to
      question [S311 .1/11.




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         The submissions of the Respondents are necessary because of the firmness
            with which Mr Mrema nailed his colours to the mast of his interpretation of
            Sub-Clause 16.2.

         It was in the view of the Tribunal a misconceived interpretation of the sub-
         clause.

         The Tribunal has therefore concluded that the notice given by the Contractor
         under Sub-Clause 16.2 did not of itself, at the end of the 14 day period
         specified result in termination the Contract at the instance of the Contractor.

The Respondents' Purported Tenninatioll

Backgr ou

         In addition to the alleged automatic termination of the Contract on the
         expiry of 14 days from the date of the Contractor's Sub-Clause 16.2 notice,
         the Respondents further contend that the Claimant's conduct in November
         and December 2008 amounted to an abandonment of the Works and a
         repudiatory breach of the Contract. As a result, Tanroads was justified in
         considering the Contract to be at an end in December 2008 and
         communicated this acceptance to the Claimant.

         The Claimant denies that it was in repudiatory breach and ifirther denies that
         the Respondents ever communicated acceptance of the repudiatory breach
         now alleged.

The Parties' Principal Submissions

         In support of their contention, the Respondents allege that the Claimant:

                 Suspended the Works on 6 November 2008 [G4/534/20961 and
                 concurrently on 24 November 2008 1G4/555/21361.

                Announced at Site Meeting No 58 on 13 November 2008 that it would
                not resume work even if Tanroads immediately paid all certified sums
                 [A2/1 9/6].



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            Repeated its repudiation during a meeting with the Permanent
            Secretary of the MolD on 5 December 2008 [G4/561/2146].

            On 2 December 2008, sent a termination notice under Sub-Clause 16.2
            [G4/559/2142-21431.

       The Claimant's behaviour amounted to an abandonment of the Works and
       left Tanroads and the MolD in no doubt that the Claimant did not intend to
      resume performance of its obligations. This entitled Tanroads to terminate
      the Contract pursuant to Sub-Clause 15.2 or by reason of the Claimant's
      repudiation.

      On 15 December 2008, Tanroads infonned the Claimant that the Contract
      was at an end and asked it to vacate the Site and put the necessary safety
      measures in place 1G4/571/2164 and G41576/21791 thereby accepting its
      repudiation. On the same day, the Engineer sent the Claimant a list of works
      that it was obliged to complete following the termination to protect lives and
      property and the safety of the Works. The Respondents deny that acceptance
      of repudiation has to be explicit 1T14/184/20 - 22].

      The Respondents contend that whether repudiation has occurred is a factual
      question based on words and conduct, seen through the eyes of a reasonable
      person. It is a matter of context. The Claimant made statements that it would
      continue to suspend the Works even if it received payment of IPCs 24 and
      25 and such statements, in the context of the rest of the Claimant's conduct
      over the second half of 2008, were reasonably understood by Tanroads as a
      reftsal by the Claimant to perform its contractual obligations. The
      Respondents deny that the Claimant's conduct was only anticipatory
      conduct - they rely on the fact that the Claimant stated it would not resume
      work, proceeded to give a Sub-Clause 16.2 notice, and then started to
      demobilise 1T14/187/13-15}.

      The Respondents deny that the Claimant's conduct post 15 December 2008
      is irrelevant. In a situation where the Claimant has attempted to explain cx
      post facto that its prior conduct was non-repudiatory, inconsistencies


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       between these explanations and the Claimant's post-termination conduct are
       informative as to the situation at the time that Tanroads brought the Contract
       to an end. The evidence shows that after its repudiation, the Claimant
       abandoned the Works and refused to resume its duties save upon the
       granting of terms onerous to the Employer and having no basis in the
       Contract.

  40. The Claimant submits that the Respondents' case on termination is an
       attempt to re-write history. The evidence demonstrates that the Respondents
       at the time did not purport to accept any repudiatory breach by the Claimant
       and had no basis to do so but instead proceeded on the basis that the
       Claimant had terminated the Contract on 16 December 2008 under Sub-
       Clause 16.2 by reason of its Notice of Entitlement to Terminate.

  41. The Claimant denies that it was in repudiatory breach of contract. For the
       reasons summarised in Section IV it was fully entitled to suspend when it
       did on the basis of the non-payment of IPCs 24 and 25.

  42. As to the statements purportedly made on 13 November 2008 and 5
       December 2008, the Claimant's position is that:

             It made no such statement at the meeting on 13 November 2008;

            It was entitled to make the statement it made on 5 December 2008.

  43. Regarding the meeting of 13 November 2008, paragraph 58.7.2 of the
       Minutes incorrectly records that the Claimant stated that it would not
       recommence the Works if IPCs 24 and 25 were paid because of the non-
       certification of IPC 26. Instead, the Minutes in fact record the position as at
       6 December 2008, being the date upon which the Minutes were issued by
       the Resident Engineer. The reason why the Claimant did not pick up the
       mistake, before the Respondents sought to rely on it for the first time in the
       SoDC, is that the Minutes were issued on 6 December 2008, three and a half
      weeks after the Site Progress Meeting. Mr Sakamoto was not on Site, but in
      Dar es Salaam at the time. The Minutes were signed off by Mr Maruyama
      whose English is not such that he would have identified the mistake.

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      In the alternative, it is denied that the wrongful exercise of a contractual
      right to suspend the Works would evince an intention to abandon the
      Contract and/or is capable of amounting to a repudiatory breach of contract
      as a matter of law.

      As to the meeting on 5 December 2008, it is agreed that the Respondents
      asked the Claimant whether it would recommence works if all outstanding
      sums apart from IPC 26 were paid and the Claimant said it would not. This
      was because the Claimant would have been entitled to suspend and had
      suspended the Works by reason of the Respondents' wrongful interference
      with the certification of IPC 26.

      In sum, the Claimant avers that it is plain that it neither abandoned the
      Contract nor was in repudiatory breach of the same. At the time of the so-
      called abandonment, the Claimant made clear on numerous occasions that it
      was reluctant to bring the Contract to an end and wanted to engage with the
      Respondents in order to resolve the issues and complete the Project. For
      example, in its letters of 6 November 2008 [G4/536/20981 [G41537/21001
      [G4/538/21021 [G4/539/2104]           and its letter of 12 December 2008
      1G4/56712156].

      Furthermore, the Claimant's conduct after 15 December 2008 cannot be
      used to justify the alleged termination. The purported termination was either
      valid as at 15 December 2008 or it was not. Later events cannot make an
      invalid termination valid. In any event, the Claimant's conduct after 15
      December 2008 did not demonstrate that it had no intention of performing
      its obligations under the Contract and recommencing the Works as alleged
      by the Respondents.

      Rather than accepting the Claimant's purported repudiation as they contend,
      in fact the Respondents were erroneously proceeding on the basis that the
      Claimant had terminated the Contract in accordance with Sub-Clause 16.2.
      This was confirmed by the Respondents in the meeting on 5 December 2008
      [64/561/2146]. Tanroads maintained their erroneous position in this regard
      in numerous letters to the Claimant throughout 2009 and in January and

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         February     2009       1G4/602122481       1G4/613122641       [G4/622/22781
         [G4/624/2280] [G4/62712285].

         Further, the Respondents' purported acceptance of a repudiatory breach by
         letter of 15 December 2008 [G4/571/2164] cannot credibly be read as an
         acceptance of repudiatory breach. The letter is simply seeking to say that
         termination on 14 days is automatic and the Claimant must follow Sub-
         Clause 16.3. Under Tanzanian law, the common law concept of repudiatory
         breach is found in section 39 of the Law of Contract Act. The acceptance of
         the breach must be unequivocal and must be communicated to the party in
        repudiatory breach. The acceptance of repudiation is only complete when it
        comes to the knowledge of the person to whom it is made [T15/31/1-14].

        Alternatively, even if the matters relied on by the Respondents amounted to
        a repudiatory breach of contract by the Claimant, the Respondents affirmed
        the Contract by virtue of the discussions, meetings and correspondence that
        occurred subsequently.

Analysis and conclusions of the Tribunal

        The Tribunal does not agree with the Respondents' submissions that an
        acceptance of repudiation does not need to be express. In the absence of any
        authority for this proposition it seems to the Tribunal to be quite inconsistent
        with the necessity for Parties to a contract to know with clarity the position
        of the other Party regarding the continued existence of the contract.

        Mr Mremas letter of 15 December 2008 cannot on any view be regarded as
        an express acceptance of any alleged repudiation [G4/571/2164]. It is the
        assertion by Mr Mrema of his misconceived interpretation of sub-clause
        16.2 and the consequent request for the Contractor to proceed "as per Sub-
        Clause 163 of the GCC."

        The Respondents' submission that it accepted any alleged repudiation of the
        Contractor thus cannot be sustained.




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         It is therefore unnecessary to consider whether the Contractor had engaged
         in conduct which could be interpreted as repudiatory as submitted by the
         Respondents.

         Although not needing to decide this question the Tribunal does not think that
         the conduct of the Contractor can be characterised as repudiatory. The
         assertion by the Contractor of entitlement to be paid and its continuation of
         what the Tribunal has held to be a valid period for suspension is not conduct
         which in the Tribunal's view can be properly characterised as repudiatory.




The Claimant's Purported Termination

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         On 5 March 2009, the Employer wrote to the Claimant stating that it had
         entered into a contract with Estim on 27 February 2009, engaging Estim to
         complete the Works and requesting the Claimant to leave the Site
         immediately [G51640/2310]. In response, the Claimant wrote to the
         Employer on 11 March 2009 [G51645/2325] giving notice of its election to
         terminate the Contract under Sub-Clause 16.2 with immediate effect and, in
         the alternative accepting the Employer's actions as a repudiatory breach of
         the Contract.

         The Claimant contends that it was entitled to termiiate either by virtue of
         Sub-Clause 16.2 or in accepting the Respondents' repudiatory breaches and
         bringing the Contract to an end by operation of law.

         The Respondents contend that the Claimant's arguments on termination are
         merely academic as the Contract had already been validly terminated by
         Tanroads in December 2008. In any event, the Claimant would not have
         been substantively entitled to terminate the Contract when it purported to do
         so in March 2009.

The Claimant's Principal Submissions



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    59. The Claimant contends that it correctly terminated the Contract on 11 March
         2009 either:

               In accordance with Sub-Clause 16.2 of the Contract as a result of the
               Respondents' failure to pay IPCs 24 and 25; alternatively

               By accepting the Respondents' repudiatory breaches and bringing the
               Contract to an end by operation of law. The Claimant relies on the
               grounds set out at Section 10 of the SoC IAII1.113091, including in
               particular the Respondents':

                        • Wrongful interference with the Engineer's performance of
                            his duties, including (i) requiring him not to certify IPCs 26
                            and 27; (ii) interfering with his determination of the
                            Claimant's claims for extensions of time and additional
                           payment; (iii) preventing him from issuing Taking-Over
                            Certificates in respect of Sections 1, 2 and 3.

                        • Persistent failure to pay certified sums either when they fell
                           due or at all.

                        . Wrongful treatment of the Contract as terminated from 16
                           December 2008, appointment of a replacement contractor
                           and ejection of the Claimant from the site.

Wrongful interference with the Engineer's performance of his duties

   60. The Claimant contends that the Respondents were in repudiatory breach of
         contract by wrongfully interfering with the Engineer's performance of his
         duties. In particular, by:

              Requiring him not to certify IPCs 26 and 27;

              Interfering with his determination of the Claimant's claims for
              extensions of time and additional payment;

              Preventing him from issuing Taking-Over Certificates in respect of
              Sections 1.2 and 3.

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  61. First, the Claimant alleges that under Sub-Clause 16.2(b) and (d), the
        Claimant was entitled to terminate the Contract if:

                 The Engineer failed within 56 days of receiving a Statement and
                 supporting documents to issue the relevant IPC;

                 The Employer substantially failed to perform his ob]igations under the
                 Contract.

  62. The Engineer failed to certify IPCs 26 or 27 on time or at all because the
        Employer insisted that the Engineer deduct the sums previously certified in
        respect of Pre-Addendum Disruption and Price Escalation and made clear
        that it would not approve any certificates if the Engineer failed to comply
        1G4/453/19041. Under Sub-Clause 3.5 the Engineer must make a fair
        determination whereas, in fact, the correspondence makes clear that
        deductions were made because the Employer insisted upon them and not
        because the Engineer formed an independent view [G41515/2052}. Thus,
        any determination made cannot be said to be a fair determination of the
        Engineer 1G4/531120891.

  63. In any event, Sub-Clause 14.6 does not confer authority on the Employer to
        insist that the Engineer deduct sums which he considered were properly due
        and had certified accordingly. Furthermore, the FIDIC Contracts Guide
        within its commentary on this Sub-Clause makes clear that an Employer is
        bound by a Certificate and should not deduct against it but should submit a
        claim in accordance with Sub-Clause 2.5 if he considers himself entitled to
        do so.

  64. In light of the above, Tanroads wrongly interfered with the Engineer in the
        exercise of his duties, alternatively the Engineer wrongly failed to issue
        IPCs 26 and 27. As a result, the Claimant was entitled to terminate the
        Contract pursuant to Sub-Clause 16.2(b) and 16.2(d) and by operation of
        law.

  65.   Second, the Claimant contends that the Employer's failure to approve the
        Engineer's proposed extensions of time without proper explanation and

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      justification was unreasonable and/or amounted to interference with the
      Engineer in the carrying out of his duties. They rely on the following:

             Under Sub-Clause 3.1, the Engineer was obliged to obtain approval
             from the Employer before determining any extension of time
             fE2/612681.

             By virtue of Sub-Clause 1.3 of the Contract, the Employer's approval
             was not to be unreasonably withheld fF3111608].

             Under Paragraph 6.3 of Appendix 1 to the Addendum, the Employer
             undertook to give the Claimant every support and assistance to ensure
             smooth implementation of the Contract.

             Pursuant to implied terms of the Contract, the Employer would not
             interfere with the Engineer when carrying out his duties and exercising
             his authority.

             Under Sub-Clause 16.2(d), the Claimant was entitled to terminate the
             Contract if the Employer substantially failed to perform his obligations
             under the Contract [E3/11654].

      In respect of Claims 6, 7, 8, 12 and 13 the Engineer sought the approval of
      the Employer both in respect of the Claimant's claims for extensions of time
      and additional payment. This was so despite the fact that the Employer had
      no contractual right to grant or withhold approval in respect of the
      Claimant's applications for additional payment.

      Tanroads unreasonably withheld approval in respect of those determinations
      contrary to Sub-Clauses 3.1 and 1.3 and/or the implied terms of the Contract
      and/or paragraph 6.3 of Appendix 1 to the Addendum. This amounted to a
      substantial failure to perform its obligations under the Contract, entitling the
      Claimant to terminate pursuant to Sub-Clause 16.2(d) and by operation of
      law.

      Third, the Claimant submits that the Respondents wrongfully interfered with
      the Engineer's issuance of Taking-Over Certificates.

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          Under paragraph (iii) of the Addendum, the Parties agreed sectional
          completion in respect of the four sections of the road [E5/211310].
          Additionally, the procedure for taking over of sections was relaxed under
          paragraphs (vii) and (viii) of the Addendum such that completion of a
          section was deemed to have occurred when the road was used by vehicles of
          the general public [E5/2/13101.

          Pursuant to Sub-Clause 3.1 as amended, the Engineer was obliged to obtain
          approval from the Employer before issuing a Taking Over Certificate
          [E311/613]. Under Sub-Clause 1.3 this approval was not to be unreasonably
          withheld [E3/1/608]. Under Sub-Clause 16.2(d), the Claimant was entitled
          to terminate the Contract if the Employer substantially failed to perform his
          obligations under the Contract [E3/1/654].

          By paragraph (viii) of the Addendum, Section 1 was agreed to have been
          completed on 30 November 2006 1E5/2/13111. This was opened to traffic on
          31 October 2006. Sections 2 and 3 were opened to traffic on 23 December
          2008 [G3/276/1423] and 1 November 2008 [G41519120591 respectively, as
          recorded in the contemporaneous correspondence at the time. These dates
          were unchallenged by the Respondents at the hearing.

          Tanroads refused to agree that any of the Sections had been completed and
         to date no Taking Over Certificates have been issued in respect of Sections
          1-3 despite the fact that all three sections have been in use for many years.

         The Employer's behaviour amounted to a substantial failure to perform its
         obligations under the Contract which entitled the Claimant to terminate the
         Contract pursuant to Sub-Clause 16.2(d) and by operation of law
         [E3/1/654].

Persistent failure to pay sums due

         The Claimant alleges that it was entitled to terminate the Contract under
         Sub-Clause 16.2(d) if:




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                 It did not receive the amount due under an IPC within 120 days after
                 the expiry of the 56 day period referred to in Sub-Clause 14.7;

                 The Employer substantially failed to perform his obligations under the
                 Contract.

      75.   The Claimant's position on persistent late payments is summarised in the
            following table:




IPC No.            Certified          Payment Due        Full Payment Days Late
                                                         Received


18                 19March2007        10      January,   12July2007         183,
                                      alternatively 30                      alternatively
                                      January,                              161,
                                      alternatively 13                      alternatively 59
                                      May 2007


19                 26 June2007        22         August 29May2008           282
                                      2007


20                 7      September 2        November Re-issued             See 20A
                   2007               2007


20A                19      February   19      February   16     September 210
                   2008               2008               2008


23                 23      February   19 April 2008      22     September   156
                   2008                                  2008




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    76. The Claimant contends that even if it is ultimately determined that the
         Claimant has been paid in excess of the sums found to be due and payable
         on a re-determination of the value of the Works, this cannot amount to a
         defence to a failure to pay certified sums as and when they fell due for
         payment. This is because under Sub-Clause 14.7, the Employer "shall pay"
         to the Contractor the amount certified - it is bound by the certification. If the
         Employer considers that it has a claim against the Contractor, a mechanism
         is provided under Sub-Clause 2.5 whereby he must give the Contractor
         notice and particulars of that claim. If the Engineer determines pursuant to
         Sub-Clause 3.5 that the Employer has a valid claim and is entitled to
         payment then the amount can be deducted from the next interim certificate
         issued after the determination has been made. The Employer is only entitled
         to set off against or make deduction from an amount certified or to otherwise
         claim in accordance with this procedure.

   77. As a result of the persistent failure to pay the sums due, the Claimant was
         therefore entitled to terminate the Contract under Sub-Clause 16.2(d) and by
         operation of law.

Wrongfully treating the Contract as terminated from 16 December 2008

   78. As set out above, the Claimant contends that the Respondents wrongfully
         treated the Contract as terminated from 16 December 2008. The
         Respondents' actions amounted to:

              A denial of the Claimant's right of access to and possession of all parts
              of the site in breach of Sub-Clause 2.1; and

              A failure to accord the Claimant every support and assistance to ensure
              the smooth implementation of the Contract in breach of paragraph 6.3
              of Appendix 1 to the Addendum.

   79. The Claimant was thereby entitled to terminate the Contract under Sub-
        Clause 16.2(d) or by operation of law.

The Respondents' Principal Submissions


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         The Respondents contend that the grounds upon which the Claimant
         purportedly terminated the Contract are artificial, given that the Contract had
         already been validly terminated by Tanroads in December 2008. In any
         event, for the reasons set out below, the Claimant would not have been
         substantively entitled to terminate the Contract even if it had not already
         been terminated.

Allegations of wrongful interference with Engineer's performance of his duties.

         The Respondents deny the Claimant's allegations of wrongful interference
         with the Engineer's performance of his duties.

         In respect of the certification of IPCs 26 and 27, the Claimant was notified
         on 5 November 2008 that removing the sums claimed - but not substantiated
         - for Disruption and Price Escalation from the amount sought in JPC 26
         resulted in a negative figure, in respect of which no IPC was possible.
         Further, making the equivalent adjustment to the sums claimed for IPC 27
         resulted in a figure less than the minimum for a Payment Certificate, as
         notified to the Claimant on 20 December 2008.

         Under Sub-Clause 14.6 the Engineer is not bound to issue an IPC if the
         amount that would otherwise be certified is less than the amount stated in
         the Appendix to Tender, which is 2.5% of the Contract Price. This was not
         met with respect to either TPC 26 or IPC 27 once the incorrectly certified
         items had been removed. The Engineer was therefore correct to remove the
         sums claimed for reasons discussed summarised in Section 3. There is no
         dispute that the result of removing them was that the otherwise payable
         items in IPC 26 were completely offset, and those in IPC 27 offset to such
         an extent that left the balance below the minimum for which the Engineer
         could have issued an JPC. The Claimant therefore had no right to terminate
         the Construction Contract because of the Engineer's purported "failure."

         As to the allegations of interference with the Engineer's determination of the
         Claimant's claims for extensions of time and additional payment, the
         Respondents aver that Sub-Clause 3.1 of the Contract explicitly limits the


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      Engineer's authority to make certain determinations. The Engineer must
      obtain the Employer's approval before making the determinations that are
      enumerated in that Sub-Clause. The Engineer sought such approval when he
      was contractually required to do so and did not seek it when he was not. The
      Employer exercised its right to grant or withhold approval when the
      Contract gave it that right and did not purport to withhold approval when its
      approval was not required.

      In particular, Sub-Clause 3.1(c) provides that the Employer's approval is
      required before the Engineer may determine an Extension of Time. If the
      Contractor claims time-dependent costs that depend on an Extension of
      Time, those costs are also effectively subject to the Employer's approval.

      As to the issuance of Taking Over Certificates - this is one of the
      determinations for which the Engineer must obtain the Employer's approval
      pursuant to Sub-Clause 3.1, in particular Sub-Clause 3.1(f). There can
      therefore be no claim in respect of purported interference given the express
      limitation of the Engineer's authority.

      In any event, the Engineer's decisions not to issue Taking Over Certificates
      were substantively correct. Sub-Clause 10.1 states that the Employer shall
      take over the Works or a Section thereof when two conditions are met: (i)
      the Contractor has completed the Works or Section in accordance with the
      Contract, except for minor work and defects that will not substantially affect
      the use of the Works or Section (Substantial Completion); and (ii) a Taking
      Over Certificate has been issued, or is deemed to have been issued in
      accordance with that Sub-Clause. In determining whether the Contractor has
      achieved Substantial Completion, the Engineer refers to the Employer's
      Requirements.

      The Engineer declined the Contractor's requests for Taking Over
      Certificates in respect of Sections 1, 2 and 3 as Substantial Completion had
      not been achieved. The Claimant was thus never denied any Taking Over
      Certificate to which it was entitled. It applied repeatedly when it had not
      completed the Works that were necessary to achieve Substantial

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       Completion. When it was about to receive Taking Over Certificates for
       Section 2 and part of Section 1, it stopped working and repudiated the
       Contract. Furthermore, there was nothing improper in the process by which
       the Engineer reached his correct determinations regarding the Contractor's
       applications for Taking Over Certificates.

       As to the Claimant's argument that under Sub-Clause 13.2 a part of the
       Works is deemed to have been taken over if the Employer uses that part,
      paragraph (viii) of the Addendum adds a gloss to Sub-Clause 10.2 in
      specifying that "the Employer's use of a Section is deemed to commence
      when used by vehicles of the general public." This gloss cannot reasonably
      be construed to apply any time that a member of the public, without
      authorization, used a vehicle on even an unpaved and clearly incomplete
      part of the road. That would be commercially unreasonable and contrary to
      public policy. To take advantage of the gloss provided by paragraph (viii) of
      the Addendum, the Claimant must at least show that the Employer agreed to
      permit the general public to use the Works (or a Section thereof).

      In respect of Section 1, the Claimant argues that the parties agreed in
      paragraph (viii) of the Addendum that the Section had already been
      substantially completed and the Claimant was entitled to a Taking Over
      Certificate. Paragraph (viii) provides that 'the procedure for Taking Over
      may be backdated for Section 1, which is confirmed as being completed by
      30th
             November 2006" The Respondents submit that the most sensible
      reading of the passage is that the Engineer may backdate the Taking Over
      Certificate for Section 1. However the use of the word 'may' is telling. The
      Engineer retained discretion whether to backdate the Taking Over
      Certificate for Section 1 or not. The Parties did not agree that the Engineer
      shall issue such a certificate, or that the certificate would be deemed to have
      been issued on 30 November 2006. The second part of the sentence is a
      representation by the Claimant that it had achieved Substantial Completion
      of Section 1 on 30 November 2006. The effect of paragraph (viii) was
      therefore that the Engineer was to assess whether the Contractor had
      achieved Substantial Completion of Section 1 by the date it claimed to have

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         done so, 30 November 2006, and if so, to issue a Taking Over Certificate for
          Section 1 bearing that date. The Addendum did not dictate automatic taking
         over of Section 1.

Allegations of failure to pay certified sums

    91. The Respondents repeat that the Claimant had been paid more than in full
         when it purported to terminate in March 2009 and relies on Appendix A in
         the SoDC.

Treatment of the Contract as terminated from 16 December 2008

   91 The Respondents deny this ground for the reasons set out above. They aver
         that the Employer correctly and appropriately terminated the contract on 16
         December 2008 and therefore the Claimant's arguments are misconceived.

         In any event, even if the Respondents were in repudiatory breach, which is
         denied, the Claimant would not have had a right to terminate. In order to
         terminate for another party's repudiatory breach, a contractual party must be
         willing and able to perform the contract itself. As set out above, the
         Claimant abandoned the Works and averred on multiple occasions that it
         was not prepared to perform the Contract. It therefore had no right to
         terminate when it purported to do so.

Analysis and conclusions of the Tribunal

         The Contractor's primary case regarding its alleged entitlement to terminate
         is that it was entitled to do so pursuant to Sub-Clause 16.2 on the basis of the
         notice dated 2 December 2008.

         The Tribunal has some difficulty with this submission given the time that
         elapsed between the date of that notice, or more particularly the expiration
         of the 14 day period mentioned in that notice, and the Contractor's Notice of
         Termination dated 11 March 2009.

         There is an issue with respect to the period within which an actual Notice of
         Termination can be given by a contractor under sub-clause 16.2 afler the


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      giving of a notice of intention to terminate and expiry of the period specified
      in that notice.

      The Tribunal accepts the Respondents' submission that a sword of
      Damocles cannot be indefinitely held over the head of an Employer. There
      must come a time at which a notice of intention to terminate ceases to be
      effective for the purpose of an election to terminate.

      The Contractor sought to preserve the right to actually terminate in
      correspondence the last of which is dated 12 February 2009 [G4/625/22811.

      There is however such force in the Contractors argument that the Employer
      repudiated the Contract and that that repudiation was accepted by the
      Claimant, that the Tribunal prefers to base its reasons upon this ground of
      termination.

      Under Tanzanian law whether repudiation has taken place is a matter of fact.
      The actions of the Employer in the engaging of another contractor to
      undertake the work reserved to the Contractor under the Contract, and in
      excluding the Contractor from the site, constitute, in the Tribunal's view,
      conduct consistent only with an intention by the Employer no longer to be
      bound by the Contract amounting to a repudiation of the Contract. This
      occurred on the 51h March 2009 and the Contractor accepted that
      repudiation by letter dated 11 March 2009 [G5/645/23251.

      This acceptance of the Employer's repudiation of the Contract is done so
      expressly, albeit as an alternative basis to the Contractor's asserted right to
      terminate the Contract under sub-clause 16.2.

      The Tribunal, having reached the view that the Respondent's' interpretation
      of sub-clause 16.2 is incorrect, find as a consequence that the Respondents
      had no right to engage another contractor to execute the work and to exclude
      the Claimant from the site and find that the Claimant was entitled to accept
      such a repudiation and terminate the Contract. This conduct by the
      Respondents was of course expressly based upon its view that the Contract



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        had been terminated by the Claimant pursuant to its notice under sub-clause
         16.2 dated 2 December 2008.

Termination for Convenience

Overview and summary of Parties' submissions

        The Respondents contend that when assessing the Claimant's claims on
        termination, the Tribunal must give effect to the legal principle that the
        losses flowing from termination will be assessed on the assumption that but
        for the termination, the defaulting party would have performed the contract
        in the least onerous way possible. They rely on a number of cases set out at
        footnote 160 of the Rejoinder [A5/1.1/561.

        They further contend that there is no requirement to prove the Contractor
        would have terminated the Contract, it is just an assumption that is applied
        in order to avoid over-compensating. In any event, it is clear from Mr
        Mrema's letter of 15 December 2008 [G4/571/21641 that Tanroads was
        going to terminate for convenience if they were wrong on acceptance of
        repudiation 1T14/188/15 - T14/189131. Consequently, they aver that the
        Tribunal would have to assess the losses flowing from the termination
        assuming that the Employer would have exercised the contractual right to
        terminate for convenience on 28 days' notice pursuant to Sub-Clause 15.5.
        Such losses do not include loss of profit or other loss or damages sustained
        by the Contractor as a result of the assumed termination for convenience.

        The Claimant submits that this argument is wrong in law and fact. The case
       relied on of Golden Strait Corporation v Nippon [2007] UKHL 12 is
       distinguishable from the present facts because it was shown there that the
       contract would have come to an end at a particular date that lay in the future
       viewed from the date of breach. The argument was not about whether the
       contract would have been terminated at this date in 2003 but about whether
       the law permitted consideration of that later fact. The Respondents have
       neither pleaded nor produced any evidence that they would actually have
       terminated for convenience at any date.




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        Sub-Clause 15.5 specifically provides that the Employer shall not terminate
        the Contract under that Sub-Clause in order to execute the works himself or
        to arrange for the works to be executed by another contract or 1T15/28/11-
        22j. It is therefore wholly unrealistic to suppose that the Employer would
        have exercised such a right. The general principle should therefore apply
        that damages should be assessed as at the date of breach and so far as money
        can do it, to place the Claimant in the same situation, with respect to
        damages, as if the Contract had been performed.

Analysis and Conclusions of the Tribunal

        The Tribunal does not agree with the Respondents' submissions that the
        Contractors right to general damages arising from the Respondents'
        repudiation of the Contract is limited to what could be recovered had the
        Respondents exercised their right to terminate the Contract for convenience
        under Sub-Clause 15.5,

        The authorities referred to by the Respondents deal with assumptions to be
        made with respect to the basis upon which damages will be assessed. The
        cases concern periods of time for which it can be anticipated loss will
        continue and other assumptions regarding the conduct of the Parties.

        The cases are not consistent with the propositions advanced by the
        Respondents. In particular, the cases are not authority for the proposition
        that where there has been a wrongful termination the compensation to be
        paid is on the basis of a termination for convenience, particularly where no
        purported termination for convenience has even been contemplated or
        exercised.

        Put simply for there to be a limitation upon general damages arising from a
        provision of the Contract it would need to be expressed. Indeed the contract
        does contain a limitation of liability in Sub-Clause 17.6 of the General
        Conditions.

        Contrary to the Respondents' submissions the letter of 15 December 2008
        from Mr Mrema does not, in the Tribunal's view, suggest that the

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      Respondents were going to terminate for convenience. In fact, there is no
      evidence to suggest that this Contract would have been terminated for
      convenience as an inevitable consequence of the repudiation of it by the
      Respondents.

      Another complete answer to the proposition advanced by the Respondents is
      that the works remaining at the date that the Claimant was removed from the
      site were completed by another contractor. This is a scenario expressly
      prohibited by Sub-Clause 15.5.

      Accordingly the Claimant's entitlement to general damages falls to be
      assessed by reference to general principles unlimited by what may have been
      recoverable by it had it been terminated for convenience by the Respondents
      under Sub-Clause 15.5.




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SECTION IX - CLAIMS ARISING FROM TERMINATION

       The Contractor makes a number of claims in relation to termination separate
       to the claims for damages.

       As a preliminary matter, the Tribunal addresses the Parties' arguments on loss
       of profits and overheads.

Loss of Profits and Overheads

       In respect of each item of loss claimed by the Claimant by reason of the
       termination of the Contract, the Claimant claims an uplift for (i) overheads at
       5.52% and (ii) profit at 5%. They aver that this reflects what the Parties agreed
       in the Appendix to Tender as reasonable profit for the purposes of Sub-Clause
       10.3. The Respondents dispute the figure for profit, and the experts have
       therefore stated in their Second Joint Report their figures for the termination
       claims inclusive of an uplift of 5.52% for overheads but net of profit.

Parties' submissions

       The Respondents contend that 5% profit should only apply to Variations under
       Sub-Clause 13.3 of the Contract and in respect of the termination claims profit
       should be limited to 1.2%. Mr Kyte states in his First Side Report dated 19
       November 2014 [D515.8111] that he has had sight of the intemal Konoike
       records submitted to their bank at the outset of the Project which show that
       Konoike itself anticipated only 1.2% profit margin on the project. They rely
       on "Report of New Contract Signed" 152/1.1/11 ["Report"] and aver that
       during cross examination M Sakamoto confirmed that Konoike was expecting
       a profit margin of 1.2% 1T4/197111. The Respondents also contend that other
       documents, such as the site status for weekly meeting documents, refer to the
       expected 1.2% profit margin [P2/21/2]; [P2/15/2]; [P2/15/3]; [P2/15/4].

       The Claimant contends that this point is being taken at a very late stage by the
       Respondents, the 1.2% is of little guidance and the agreements that were made
       as to the reasonable 5% profit should stand. Mr Sakamoto's statement in cross
       examination must be placed in the context of the entirety of his evidence on


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     the Report. Mr Sakamoto qualified his answers at the outset by explaining that
     the Report was an internal document prepared by Konoike's head office,
     rather than the site team and it was not a type of document he was familiar
     with 1T4/193/11I. It was prepared in 2003, four years before he joined the
     Project. He was therefore unable to explain the Report with any knowledge as
     to what it was intended to record, what it actually recorded and how it is to be
     interpreted. The Report was not put to any other Konoike witnesses. In the
     circumstances, the Claimant contends that very little weight should be given to
     his answers, particularly in light of Ms Prior's analysis in respect of the
     inconsistencies which are present in the Report.

    Ms Prior recognises that if the purported costs as stated in the Report are taken
     away from the Lump Sum Contract Price, the apparent conclusion is that these
     figures show an estimated profit of 1.2%. However, there are contradictions
    in the report - page 7 in particular contains figures which suggest that the
    Claimant anticipated a profit of 7% on the Project fS211.171. There are two
    separate figures recorded in the Report as the Project Costs and no explanation
    as to how these figures are reconciled.

    The Claimant further relies on:

            Ms Prior's assessment that 5% is the level of profit she would expect a
            contractor to anticipate on such a project and in her experience is
            reasonable 1)36/2/111.

            The agreement between the Parties in the Contract of 5% as reasonable
            profit for the purposes of Sub-Clause 13.3 (Variations) (E2/5/257].

            The Respondents' acceptance of 5% profit on the billed and measured
            works in the SoD A3/1.1/1831.

            Mr Kyte's agreement in the First Joint Report with Ms Prior that 5%
           profit on the billed and measured works is reasonable.




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          e. Paragraph 39 of Ms Prior's third report dated 24 December 2014
             [D6/2/111 in which she points out the benefits of a cash positive
              Cashflow.

       The Respondents argue in response that Mr Salcamoto did not mention during
       cross examination that he was unfamiliar with the Report, his confirmation of
      the profit margin was unequivocal. Further, the Claimant has been more than
      happy to have Mr Sakamoto address in detail a number of other topics that
      preceded his physical presence on the site.

Analysis and conclusions of the Tribunal

      In relation to the uplift of 5.52% for overheads there is no dispute between the
      Parties and the Tribunal find that the Claimant is entitled to recover 5.52% for
       overheads.

      In relation to the uplift for profit the Claimant contends that it is entitled to S
      % uplift. The Respondents agree that an uplift of 5% for profit applies to
      Variations under Sub-Clause 13.3 and the Tribunal agrees that this is the case.

       Otherwise the Respondents dispute an uplift of 5 % for profit and now allege
      that the uplift should be no more than 1.2% based upon the Report and Mr
      Sakamoto's evidence in cross examination This was not the Respondents'
      position at an earlier stage. The Respondents accepted 5% profit on billed
      and measured work was reasonable [SOD; A3/1.1/183] and Mr Kyte agreed in
      Joint Statement of 17 December 2014 (D611/11 that 5% is a reasonable profit
      on billed and measured work.

      Notwithstanding this, in cross examination on the Report Mr Sakamoto agreed
      on the basis of this document that the profit margin on the Contract Price was
      1.2% tT4/192-197]. This document is an internal report prepared by Konoike
      head office (not the site office) and before M Sakamoto became Project
      Manager. By its own terms it is described as a report submitted for Konoike's
      bank.




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     The Claimant submits that little weight should be put upon the Report and Mr
     Sakamoto's evidence in the context of the points summarised at paragraph [3]
     above and in particular the inconsistencies in the Report which have been
     highlighted by Ms Prior and summarised above.

     In the Tribunal's view there are two difficulties with the Claimant's
     submissions. First, the Report, notwithstanding the inconsistencies is the only
     direct documentary evidence at the time the Contract was entered into of the
     anticipated profit margin. Secondly the Claimant's submissions understate the
     importance of Mr Sakamoto's evidence and his position. Mr Sakamoto was
     appointed Project Manager in 2007 and has been responsible not only for the
     conduct of the Contract but also the conduct of this arbitration on behalf of
     Konoike. In cross examination his responses were clear and repeated on the
     issue of the profit margin referred to in the Report. The relevant part of the
     cross examination is set below [T4/192-197]:




          "24 Q. To double check all of this and to round it off I would

         25     like to look at one more document which is under tab B5

                                 192
           I     ofyour binder. This one does have a reference number

           2     because it came out of Mr Okada's witness statement.

           3 A. Correct.
           4 Q. Then we translated it into English, together with our

           S     opening submissions, and the reference is (S211. 1/1).

           6       It is under your tab B5. What I would like to do,

           7     if we start on the very first page, it is largely in

           8    Japanese but we see at the top it says 'Report of new

           9    contract signed."
          10 A. Correct.
          11 Q. Do you recognise this as being aform of report that


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          12     Konoilce submitted to its banks?

          13 A. Correct. To the banks?
          14 Q. To the banks.

          IS A. This is an internal document I think.
          16 Q. Okay. Are you saying that you don't think this would

          17     have gone to the bank?

          18 A. I think so. Actually I'm not sure about that. I do not
          19     think so.
          20 Q. You don't think so, but you don't know.

          21 A. This is still internal document, I believe.
          22 Q. We will just check it briefly against what Mr Okada says
          23    to be sure because it comes out of his witness

          24    statement
          25       (Pause).


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          I       Maybe we should just turn it up. Can we put up on

          2     the screen {C51315}. This is Mr Okadas witness

          3    statement Ifyou just look at 7.1 and 7.2. We see him

          4    describing the document that we are looking at now.

          S     What he says is the "main Japanese bank" and which bank

          6    would that be, Mr Sakamoto?
          7 A. Correct, yes. I think this is Mitsui Sumitomo --
          8 Q. SMBC?
          9 A. SMBC. Yes.
         10 Q. it says that they queried it and:

         11        "Following the award of the contract ... I prepared

         12     the document entitled "Report of New Contract

                                      197



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          13     Signed'.."

          14       We were assuming that that meant it went to the

          15     bank, but you can tell me ifyou have any recollection

          16     in that regard?
          17 A. No. This type of document is prepared in the

          18     international -- in the -- in Japan, not at the site.

          19 Q. Of course not
          20 A. That's why I don't know the details.
          21 Q. I think we can -- I'm sorry --

          22 A. But ifMr Okada said he said, probably --
          23 Q. Well, just turn the page. We will go down to the very

          24    next page. (C51316). I should have pointed this to you
          25    before, to the bottom of 7.2 and we see in the last



                               194

          1     sentence he says:
          2        "This report was presented to Konoike's bank in

          3    May2003."

          4 A. Okay
          S Q. So that is what we are looking at here, okay?

          6 A. Okay.
          7 Q. I'm afraid we have to turn to the English, ifyou don't

          8    mind. We translated it. Ifyou flip through in your
          9    binder a number ofJapanese pages, you come to

         10     (3211.119) which is the translation.

         11 A. Okay.
         12 Q. If we look at this first page of this document that
         13     apparently, according to Mr Okada, went to the banks.

         14     Ifyou look on page] where it says "Contract Amount".

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          15     We have the same contract value in yen that we have seen

          16     several times now, right? The 6.136.

          17 MR CHRISTIE: Sorry, Jam not --

          18 A. Yes, correct.
          19 MR CHRISTIE: We are on 119?
          20 MR KING: We are on 1S211.119,l. The first page of the

          21     English translation and as we go from the left we see

          22     "Jurisdiction ' "Project Name" and then we get to

          23     "Contract Amount' We see Konoike --
          24 MR C'HRJSTIE: That where rm lost (Pause) Sorry Yes,

          25    got it.


                                195



          I MR KING: I was just asking Mr Sakamoto to confirm that that
          2     is the same contract amount in yen that we have seen

          3     afew times now in the documents. Right Mr Sakamoto?

          4 A. Yes, it is correct
          S Q. Now, i/we turn to the second page of the document
          6     (S211.1110). In the second column you see it is

          7     entitled "Project Costs", right?

          8 A. Correct
          9 Q. We see the same amount in yen that we saw in the other
          JO    document called 'Motivation Cost' remember that?

          11 A. Iremember that.
          12 Q. Again we see confirmation that the ratio of those two is
          13    9&8%?

          14 A. Correct
         15 Q. Equating to an expected profit margin of 1.2% on the

                                      '99



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          16     contract, right?

          17 A. Correct
          18 Q. So lets see if we can summarise what we have seen so
          19 far. I'm going try and summarise, Mr Sakamoto, not on

          20     this document, but just generally what we have been

          21     discussingfor the last hour or so and Iwill as/c you to

          22     agree with me ifyou can.

          23       For reasons of its own, Konoike did its accounting

          24 for the project in yen; correct?

          25 A. Yes, correct


                               196


          I Q. Andfinanced the project in yen; correct?

          2 A. Correct
          3 Q. At the very beginning of the project Konoike was

          4     expecting a profit margin of only 1.2%; correct?

          S A. Correct.
          6 Q. And that was only fKonoike's motivation costs or

          7     initial project budget was not understated; correct?

          8     Was not too low. (Question translated).
          9 A. Simply, this contract (inaudible) divide net to costs.

          10    This dfference is 1.2 116, is expe cted profit. Ithink?
          11 Q. Yes. My question was just, had the initial budget of

          12    6065 turned out to be understated, the profit margin

          13    would have been even less; correct?
         14 A. What is the meaning of"understated"?
         15 Q. Too lou'. (Question translated).
         16 A. So "other" means, if this net cost is properly made. we

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              17      could expect 1.2% profit? Am Icorrect?

              18 Q. Aha, and if it turned out that that initial budget was

              19      too low, you would have made less than 1.2% profit,

              20      correct? (Question translated)
              21 A. Yes, (inaudible) correct
              22 Q. Over the course of the project we saw the dollar

              23      devalued against the yen by about 20 1 6, correct?
              24 A. You are talking about April 2003 and--
              25 Q. June 2009."


       In the Tribunal's view this evidence of Mr Sakamoto is to be given fbil weight
       by the Tribunal on the basis that Mr Sakamoto agreed more than once that the
       Report indicated a profit margin of 1.2% and that as Project Manager and the
       person responsible for the arbitration he would be aware of the likely profit
       margin even though he was not Project Manager at the time the Report was
       prepared.

       In addition there are site status for weekly meeting documents that refer to an
       expected 1.2% profit margin and which are referred to above [P2/21/2;
       P2/15/2; P2/15/3; P2/15/4].

       The Tribunal concludes that the Report. Mr Sakamoto's evidence and the site
       status documents outweigh the other evidence and find that the applicable
       uplift for profit is 1.2%.

Analysis and conclusions of the Tribunal on claims arising from termination

       For the sake of convenience, the Tribunal sets out its analysis of these claims
       in the Schedule below.




                                          20]



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            SCHEDULE OF CLAIMS ARISING FROM TERMINATION




 Claim                              Response                       Tribunal's finding




 Additional             insurance Costs already incurred      -   Not recoverable as not
 premiums policies were sunk costs not caused by
               -                                                   caused by or a
already in place until 31           the termination               consequence of
 March11 April 2009 with             [54/1/294].                  termination.
termination on 11 March
2008.

Agreed      costs        of TZS
 14,218,293




Safety works        -   Engineer Potentially recoverable          The Claimant is entitled to
directed           works       in under 19.6 [54/1/2951.          TZS 499,154 and JPY
December                    after                                 95,543 plus 1.2% uplift
termination          by       the                                 for profit totalling TZS
Employer.                                                         505,144 and JPY 96,690.

Agreed costs of TZS
499,154; JPY 95,453




Services provided to                Potentially recoverable       Notified then incurred so
Engineer   -   security             under 19.6 [5411/295].        recoverable at agreed
guards, telephones,                                               amount. The Claimant is
vehicles, plus manpower                                           entitled to TZS 4,586,139
for Engineer's offices                                            plus 1.2% uplift for profit

                                                   202



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provided for? days after                                          totalling TZS 4,641,173.
11 March 09.

Agreed        costs   of TZS
4,586,139.




Repair           costs           of Withdrawn.                    Withdrawn.
Engineer's               vehicle
(withdrawn)




Claimant's costs and                Do not fall within 19.6       Recoverable as a result of
expenses from 11 March              but may under 16.4(c).        termination at the costs
2009 to 30 June 2009         -      Some incurred in any          detailed in 7.86.4 of the
incurred in preparing final         event, therefore not due to   CCS. The Claimant is
account, but also                   termination. Also general     entitled to the sums set out
termination costs and               running costs [S4/11296].     therein which are
value of work done,                                               inclusive of the 20%
together with office and                                          reduction set out in
general running costs                                             paragraph 7.83.5 of the
claimed as part of costs of                                       CCS plus 1.2% uplift for
termination,                                                      profit totalling TZS
                                                                  243,606,189; USD
                                                                  69,028; and WY
                                                                  37,472,773.


Claimant's costs and                Part of Final Account so      Not allowed as not
expenses post 30 June               costs are recovered in any    incurred as a result of
2009   -   preparing final          event. Over claimed for       termination.
account and office and              period involved
general running costs.              1S4/1/2981.


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Loss of profits and           Not    entitled     -        the The Arbitral Tribunal
overheads on the              Claimant    would        have have found that the
balance of works the          made    a    loss       if    it Contract was wrongfully
Claimant did not              completed the Works.             terminated by the
execute as a result of                                         Respondents. Accordingly
terminating the                                                the Claimant is entitled to
Contract                                                        receive loss of profit at
                                                                1.2% and overheads at 5%
                                                                on the balance of works
                                                                not executed.

                                                                The Claimant is awarded
                                                                TZS        428,431,533      and
                                                               USD 993,957.


Materials left on site    -   Not accepted. Contractor          Allowed as consequence
materials sold to Estim       made more losses than if          of termination as assessed
(some at a profit).           it had completed the              and evidenced by Ms
Difference between sale       Works. Costs also already         Prior in her presentation
price and original costs of   incurred so not a loss on         (Page 39, Tab 2 of Exhibit
purchasing claimed            termination 184/1/3001.           (13   -   X1/201130). The
                                                                Claimant is entitled to
                                                               JPY 12,152,046 and must
                                                                give credit in the amount
                                                                of TZS 20,694,102; USD
                                                                20,846.


Borrow pit preparation        No reliable substantiation        Recoverable but on the
work   -   borrow pits        provided, although               basis it is only for those
constructed and costs         recoverable under                bulldozers identified as
incurred but not yet          19.6(c). Can only claim          doing preparatory work at
utilised in full due to       bulldozers during                the borrow pits as detailed
termination. 69%              preparatory work at pit          by Mr Kyte 1D515.811091

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preparation costs                [S4/1/3011.                   at paragraph 456.
unrecovered claimed.
                                                               The Claimant is entitled to
                                                               TZS 7,817,662 and JPY
                                                               121,051 plus 1.2% uplift
                                                               for profit totalling TZS
                                                               7,911,474; and JPY
                                                               122,504.


Water supply facilities      -   Recoverable under             In the absence of evidence
facilities constructed for       19.6(c) but estimate not      from the Respondents
last section of road which       substantiated and not         regarding the proportion
was not built by the             clear. Cost spread over all   of this item which was
Claimant due to                  bill items [S4111303).        incomplete at termination
termination therefore not                                      the claim is allowed. The
recovered through                                              DR Alternative Rates
measured works on last                                         apply.
section of road. 26%
                                                               The Claimant is entitled to
unrecovered claimed.
                                                               TZS      189,174,768;    JPY
                                                               890,685 and must give
                                                               credit for    USD 27,930;
                                                               plus 1.2% uplift for profit
                                                               totalling TZS 198,633,506
                                                               and      JPY 935,936 and
                                                               must give credit for USD
                                                               26,576.


Quarry preparation               Recoverable under 19.6        In the absence of evidence
works   -   a quarry was         but not substantiated and     from the Respondents
built at Suranda with costs      only 12% not 18%              regarding the proportion
recovered through                [S4/1/303 —304].              of this item which was
measured concrete work,                                        incomplete at termination
Due to termination 18%                                         the claim is allowed. The

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unrecovered through                                       DR Alternative Plant
measured works.                                           Rates apply. The Claimant
                                                          is entitled to TZS
                                                          22,427,287; USD 6,139:
                                                          JPY 452,947 plus 1.2%
                                                          uplift for profit totalling
                                                          TZS 22,696,414; USD
                                                          6,213; and WY 458,383.


Construction of               Recoverable under 19.6      In the absence of evidence
temporary diversion           but no substantiation of    from the Respondents
road   -   a temporary        estimate and may have       regarding the proportion
gravel diversion road was     already been recovered in   of this item which was
built for kml 10 to the end   full. Cost to remove        incomplete at termination,
of the road but               diversion not deducted      claim is allowed with
unrecovered through           1S4/1/3041.                 deduction for the cost to
measured works due to                                     remove the diversion.
termination. 73% of cost                                  The DR Alternative Plant
unrecovered.                                              Rates apply. The Claimant
                                                          is entitled to TZS
                                                          52,858,711; USD 4,045;
                                                          JPY 1,114,829 plus 1.2%
                                                          uplift for profit totalling
                                                          TZS 53,493,015; USD
                                                          4,094; and JPY 1,128,207.


Demobilisation and            Recoverable under 19.6      Allowed as damages
removal of plant and          fS4/1/3051.                 consequent on
equipment     -   costs                                   termination. The Claimant
claimed for                                               is entitled to TZS
demobilisation of plant                                   40,256,206 plus USD
and equipment post                                        39,158 plus JPY 792,503
                                                          plus 1.2% uplift for profit

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termination                                                 totallingTZS 40,739,281:      -




                                                            USD 39,628; and JPY
                                                            802,013.


Demobilisation and            Recoverable under 19(6)       Allowed as damages
removal of temporary          154/11305-3061                consequent on
facilities   -   costs of                                   termination. The Claimant
demobilisation and                                          is entitled to TZS
removal after termination.                                  105,402,108 plus USD
                                                            307, plus WY 1,220,877
                                                            plus 1.2% uplift for profit
                                                            totalling TZS
                                                            106,666,934; USD 311;
                                                            and JPY 1,235,528.


Stand down of plant and       Costs recoverable are for     Allowed from termination
equipment to 30 June          removal not stand down        on 11 March 2009 to
2009— costs of labour,        of plant, especially not as   demobilization to the
plant and equipment           long as claimed. Stand        Zuzu storage yard and at
following termination for     down would occur on           the same plant rates as
storage at Zuzu until plant   completion. Failure to        determined elsewhere as
sold.                         mitigate by hiring out        detailed in [D6/1/101. The
                              [S4/1/306   -   S4/1/3071.    Claimant is entitled to
                                                            TZS 4,414,500; USD
                                                            37,354; JPY 12.325.993
                                                            plus 1.2% uplift for profit
                                                            totalling TZS 4,467,474;
                                                            USD 37,802; and JPY
                                                            12,473,905.


Security guards       -       Recoverable under             Allowed at a cost of TZS
security guards for           19.6(d) for reasonable        48,237,624 for security
protection of residences,     period pending removal,       guards from Il March to

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temporary camps and             Would incur if completed         30 April 2009 as per Prior
facilities, plant and           the works after                  and Kyte 2nd Joint Report
equipment during                demobilization                   on Quantum [D6/1/10]
demobilization                  1S4/113071.                      plus 1.2% uplift for profit
                                                                 totalling TZS 48,816,475.



Repatriation of ex-pat          Plant     demobilised       in Recoverable as damages
staff   -   costs incurred in   April so not needed after               as a consequence
repatriating staff. USD         that. Recoverable under                 of       termination.
19,374 agreed.                  19.6(e)    but      not     as          The Claimant is
                                damages [S4/1/3081.                     entitled to USD
                                                                         19,374 plus 1.2%
                                                                        uplift     for   profit
                                                                        totalling        USD
                                                                         19,606.


Legal and consultant            Not recoverable under            Not recoverable as a
costs   -   costs of fees       19.6. Incurred before            consequence of
incurred in relation to         termination [S4/1/308-           termination
early termination               3091.




Management costs and            Not recoverable under            Not recoverable as a
expenses senior
              -                 19.6 as not incurred as a        consequence of
management staff from           result of termination            termination.
Japan and Tanzania from         [S4/1/3091.
November 2008 to
February 2009 on early
termination.




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   19. Accordingly, the Claimant is entitled to the following total amounts in respect
      of the claims arising out of termination:

          a. TZS 1,139,914,510;

          ii USD 1,123,217;

          c. JPY 66,877,983.




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SECTION X: THE FINAL ACCOUNT: the Claimant's claim for outstanding
sums for the measured works

Introduction

       The Claimant seeks reimbursement for measured works arising from those
       aspects of its Final Account that were rejected by the Engineer's assessment of
       10 February 2010.

      A preliminary point raised by the Respondents is that the Contractor did not
       give a notice of claim in respect of its dissatisfaction with the Engineer's
       determinations on the Claimant's Final Account within the 21 days specified
       by the first paragraph of Sub-Clause 20.1.

      It is therefore necessary to consider whether the first paragraph Sub-Clause
      20.1 applies as asserted by the Respondents.




Application of Sub-Clause 20.1

      The Tribunal is of the view that Sub-Clause 20.1 does not apply. The first
      paragraph of Sub-Clause 20.1 relates to claims for additional payment "under
      any Clause of these Conditions..." and requires the Contractor to give notice
      to the Engineer describing the event or circumstance giving rise to the claim.
      The Sub-Clause is intended to alert the Employer to events or circumstances
      giving rise to the assertion by the Contractor of a right to additional payment.
      The whole purpose of the Sub-Clause is to enable the Parties to be aware of
      matters in respect of which additional payment is to be claimed by the
      Contractor to enable the investigation and management of such claims.

      Under Clause 14 the Contractor is required to first submit a Statement at
      Completion (Sub-Clause 14.10) and then a Final Statement (Sub-Clause
      14.11). Both these statements are submitted to the Engineer. Clause 14
      provides a self-contained regime for dealing with the final account issues and
      the issue of a Final Payment Certificate.


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       The Contractor's Final Statement deals with matters of which the Employer
       and Contractor were well aware: the measurement of the works, performed by
       the Contractor under the supervision of the Employer's Engineer. The
       dissatisfaction of the Claimant with the Engineer's assessment of the matters
       of which all Parties were aware does not easily fall within the description of
       an event or circumstance pursuant to which the Contractor is intending to
       claim additional paymcnt.

       In the Tribunal's view the submission of the Statement at Completion and/or
       the submission of the Final Statement do not constitute an event or
       circumstance giving rise to a claim.

S.     Accordingly the Tribunal finds that Sub-Clause 20.1 does not apply in relation
       to the submission of the Statement at Completion and/or the Final Statement
       under Clause 14. It follows that the Engineer's assessment of the Final
       Account of 10 February 2010 is not binding on the Parties or the Tribunal.

       The Tribunal therefore turns to a consideration of the Bill items which are the
       subject of this claim.

Originai design costs

       Given the reduction by the Engineer in its assessment of the Contractor's final
       claim of 30%, on the basis that the Contractor did not demobilise any plant or
       temporary facilities, the issue has arisen as to whether original design should
       be the subject of this reduction given that it would have been complete at the
       time of termination.

       The Claimant argues that Bill Item 13.01 includes not only establishment and
       demolition but also the Claimant's allowance for design services for the
      original lump sum work.

11    In support of its position, the Claimant refers to its Tender in which the
      Claimant listed the proposed prices for the elements of the Works in eight
      separate sections. The proposed price of the design for the original scope of
      the Works was set out in Item 7 "Design of the Works" at TZS 1,835,343.34

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      1E116/1091. In the original 31 Bills the agreed prices for the elements of the
     Works were combined into six separate sections [E5/911331} rather than eight.
     Bill item 1 "General" combined the prices set out in the Claimant's tender at
     Items 1(a), (b) and (c) and Item 7. The breakdown of Bill item 1 "General"
     clearly establishes the inclusion of the original scope of the Works in item
      13.01. The revised figures for item 13.01 in the 32 Bills of Quantities (132
     Bills) attached to the Addendum included the original design scope costs of
     TZS 1,813,008,129. Items 1 and 2 of the revised item 13.01 totalled TZS
     17,218,601,677 which is the same rate set out in the 31 Bills.

     In its application for payment, the Claimant separated the BQ sum for
     Establishment and Demolition into (i) a sum for Establishment and
     Demolition; and (ii) a flrnher sum for the Original Design fee. This was
     accepted by Mr Ntensibe on behalf of the Engineer 1S3/1/951. The sums
     certified and paid subsequently represented 100% of the Original Design Fee
     and 70% of the Establishment and Demolition. However, at the time of issuing
     his assessment of the Claimant's Final Account claim in February 2010, the
     Resident Engineer added the Establishment and Demolition and Design Fees
     together and applied a 70% valuation to both, thereby reducing the Claimant's
     valuation of the Design Fee by 30%.

     The Respondents say that the Claimant has provided no documentary evidence
     showing the original design costs were included in item 13.01 but instead has
     relied on its own documents which the Respondents say are at odds with what
     appears in the wording of the Bill item. Neither the B 1 Bills nor the 32 Bills
     contain a line item referring to original design costs [E515/1330] [E5513391.

    After careful consideration of the Parties' submissions, the Tribunal is
    satisfied that Bill item 13.01 does include the allowance for original design as
    contended for by the Claimant.

    As a consequence of the agreement between the quantum experts, the amount
    to be certified is TZS 3,123,032.804 (being inclusive of 100% of the original
    design fee which is TZS 1,813,008,129).


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Additional design costs

       This refers to the dispute regarding the Claimant's entitlement to TZS
       1,813,008,129.00 for additional design costs arising from the Addendum. The
       Tribunal has found in Section III that the Contractor is entitled to this amount.

Additional Indirect Cost

       This issue relates to a reduction to be made in respect of the prolongation costs
       agreed in the Addendum where any extension of time awarded by the Tribunal
      falls within the period of 30 September 2006 to 29 September 2008 being the
      extension of time that was agreed in the Addendum. This is addressed in
       Section VII relating to the entitlement of the Claimant to payment for
      prolongation costs.

Gravel (crushed stone) bedding for Structures

      This dispute relates to whether the Claimant is entitled to be paid in addition
      to the rate for pipe culverts, bridges and box culverts, for the gravel bedding
      for those structures.

      In the Contractor's revised bill of quantities, submitted at the time of the
      Addendum, referred to as the B2 bills of quantities, the following appears in
      paragraph 2218 which deals with compensation for concrete pipe culverts:
       "the bid rates shall include full compensation for providing, testing, loading,
      transporting and unloading the culverts, for providing and placing the fine-
      grained material, where required..." 1E4/31984J

      In relation to gravel bedding for bridge and box culverts, it appears clear from
      bill item 61.08 1E4/8/11401 that gravel bedding for these is included in this
      bill item. Accordingly, the Tribunal concludes that the Contractor is not
      entitled to additional measurement and compensation for the gravel bedding
      for structures as claimed.




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Clearing and grubbing

       This item is agreed with the Claimant entitled to recover the amount of TZS
       406,549,114.

Excavation to spoil

       Konoike's case is contained in paragraph 7.36 and at Appendix 7.1,
       paragraphs 28 -38 of the SOC and paragraphs 7.34-7.4 1 of the Reply; and in
       paragraphs 3.130-3.137 of the CCS.

       The Respondents' case is contained in paragraphs 425-428 of the SODC;
       paragraphs 106-107 of the Rejoinder; and paragraphs 2 1-27 of Appendix 2,
       RCS.

       Bill no 3 item 36.01(a) relates to common excavation to spoil. The Parties
       agree that the applicable rate is TZS I 9941rn3 and the issue to be decided by
       the Tribunal is whether this item of the Bills is to be interpreted to apply to all
       material that may be excavated and deposited in any manner and not only to
       material taken to spoil.

       Having considered the Parties' submissions and in particular, Standard
       Specification 3610 which provides that common excavation to spoil shall be
       measured based on "the cubic metre of material removed as specified to be
       spoiled on the instruction of the engineer" the Tribunal have decided that this
       item only applies to material taken to spoil on the instructions of the Engineer
       and that the amount in respect of which payment is to be made under this item
       is for 305.7 m3 at the applicable rate of TZS 1994/m3.

       In fact in the Final Account the Resident Engineer certified 261,020.46 cubic
       metres which for the purposes of payment entitlement is pursuant to the
       Tribunal's decision to be reduced to 305.6 m 3   .




       Secondly the Respondents contend that the instruction for the removal of
       305.7 m3 was in relation to the waterlogged ground and that if the latter claim
       is paid the Claimant should only be compensated for the removal of that


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      material under one of the Bill items to avoid double counting. The Tribunal
      agrees with this submission and since the cost of excavating the amount of
      305.7 cubic metres on the instructions of the engineer is already included in
      the valuation of the waterlogged ground the Tribunal finds that no thrther
      compensation is due for this item.

Road Signs

      This claim relates to a deduction in relation to 55 road signs which had been
      installed in Sections 1 and 2 (in the case of Section 1, before 30 November
      2006 and in the case of Section 2. before 28 December 2007) but then stolen
      from the site before termination of the Contract in March 2009.

      Initially the Contract provided in the Standard Specification at Clause 5407
      that the Contractor shall protect the completed road signs against damage until
      they have been finally accepted by the Employer and that he shall maintain the
      road signs until the Performance Certificate has been issued.

      In addition, initially under the original Contract (before the Addendum) Sub-
      Clauses 10.1 and 10.2 of the Condition of Particular Application (amending
      the standard FIDIC Sub-Clause 110.1) stated that takeover as a result of use or
      sectional completion could not occur.

      The original FIDIC contract provisions had provided that at Clause 10.1 that
      "If the Works are divided into Sections, the Contractor may similarly apply
     for a Taking-Over Certificate for each Section." Clause 10.2 stated that "The
      Employer shall not use any part of the Works (other than as a temporary
      measure which is either spec?/Ied in the Contract or agreed by both Parties)
      unless and until the Engineer has issued a Taking-Over CertUicate for this
      part. However, tf the Employer does use any part of the Works before the
      Taking-Over Certificate is issued: (a) the part which is used shall be deemed
      to have been taken over as front the date on which it is used; (b) the
      Contractor shall cease to be liable for the case of such part as from this date,
      when responsibility shall pass to the Employer, and ('c) if requested by the



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       Contractor, the Engineer shall issue a Taking-Over Certificate for this part"
       1E3/1/6361

       Pursuant to the Addendum it was agreed that there would be sectional
      completion. One of the main justifications for this was that the Contractor
      wished to be alleviated from care of the Works in respect of those sections
      which were already in public use or about to be. The Contractor's Minimum
      Position Paper notes that "Sections and Defects Liability Period: As stated
      above, the Contract has no defined Sections, thus no Completion Dates for the
      sections and hence no Defect's Liability Period Without these, the ending of
      the Contract cannot be properly effected" 1G2110115291

      As a consequence, it was agreed pursuant to paragraphs v and vii of the
      Addendum that the original standard FIDIC Sub-Clauses 10.1 and 10.2 of the
      General Conditions would be reinstituted. Sub-Clause 10.2 provides that on
      take-over, care of the works passes to the Employer.

      The consequence of this amendment was that the Contractor was relieved of
      continued care of the Works, including of the 55 road signs once taking over
      of any section occurred.

      The takeover of Section 1 had occurred on 30 March 2006 (as agreed by the
      Parties in the Addendum) and the takeover of Section 2 occurred on 23
      December 2007. The Tribunal finds that the Claimant is entitled to recover
      TZS 22,157,703 in respect of this claim.

Thermoplastic road markings

      This bill item 55.03 relates to painting of road markings in the section of the
      road between Km 2.5 and Km 23.6. This section of the road is the subject of a
      counter claim as it is alleged by the Respondents that in light of undulations in
      this section, remedial works are required.

      The Tribunal has rejected this counterclaim in respect of undulations in the
      Road for the reasons set out later in the Award, at Section XV.


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       The position is however that the provision of the road markings was essential
       for road safety. The road markings were installed by the Contractor and in the
       Tribunal's view the Contractor should be paid for the execution of this work.
       The Tribunal notes in passing that the Road has been in continuous use since it
       opened which supports the Contractor's contention that the provision of the
       Road markings was both necessary and essential for the operation of the Road.
       Accordingly the Claimant is entitled to recover TZS 304,154,766.

Topsoiling median strip

       The dispute in this matter relates to the alleged inadequacy of the top soil
       provided by the Contractor for the first 2.5km of the Road.

       Although the amount claimed by the Contractor of TZS 1,690,095 was
       originally certified by the Engineer in IPC 25 that was subsequently reversed
       when the allegations of inadequacy of the topsoil were made.

       In Mr Ntensibe's first witness statement at paragraphs 49 and 50 he says that
       he deducted the amount because the topsoil was not in his opinion in
       accordance with specification and was incapable of sustaining the growth of
       grass. In the Tribunal's view, more cogent evidence is necessary to establish
       the inadequacy of the topsoil, given that the work was originally certified for
       payment and then reaffirmed in a number of certificates over a considerable
       period of time.

       The certification was only reversed at the time of the final certificate. The
      Tribunal notes that there could be a number of reasons why the median strip
       did not sustain grass in the period 2007 - early 2010 other than the inherent
       quality of the topsoil and thus is dissatisfied with the evidence provided as to
      its inadequacy. After considering Mr Ntensibe's evidence and exhibits
      referred to the Tribunal is not satisfied that the works were inadequate.

      Accordingly the Tribunal finds that the Claimant is entitled to recover the
      amount of TZS 1,690,095.

Railway crossing

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       This claim is similar to the road signs claim above. It relates to broken panels
       in Section 2 discovered after handing over of Section 2 on 23 December 2007.

       There is a related aspect of incomplete filling which the Contractor has made
       an allowance for.

       As a result, the only issue for determination is whether the Claimant continued
       to have responsibility for care of the panels after sectional takeover of section
       2.

       As with the road signs, the consequence of the reintroduction in the
       Addendum of Clause 10.2 of the Conditions of Contract in its original FIDIC
       form was to provide that care of the works after takeover is the responsibility
       of the Employer.

       As a result, the Tribunal finds that the sum of TZS 10,621,376 is recoverable
       by the Claimant.

Concrete class 30

       The experts are agreed on this issue and the Claimant is entitled to recover
       TZS 260,229,612.

Renovation work at the RE office in Dodoma, temporary accommodation and
telephone costs for the Engineer's office in Chikuyu

       The Tribunal also notes that the Konoike comments on the Respondents' List
       of Issues notes in relation to these three items at item 1 0(o to q) that: "There is
       no issue between the parties other than the... contention that Konoike is bound
       by the RE 's assessment of 10 February 2010. Subject to the Tribunal's
      determination of that issue the parties agree the amount to be cer4/Ied."

      In relation to these three Final Account items at Tab 2 page 17 RCS under the
      heading "Agreed Variations" the Respondents confirm that these three items
      are agreed as variations and as to quantum subject to a submission that the
      Claimant is bound by the Resident Engineer's assessment of 10 February
      2010. The Tribunal has ruled above in this Section that the assessment is not

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          binding. Consequently, there is agreement between the Parties that these
          items are Variations and quantum is also agreed as set out at tab 2 page 17
          RCS.

51        Accordingly the Tribunal finds that the Claimant is entitled to recover the
          following amounts:

                 Renovation work:                     TZS 9,248,370.

                 Temporary accommodation:             TZS 9,144,000.

     C.          Telephone costs:                     TZS 3,779,391.



Engineer's laptop

          This claim arises from Sub-Clause 19.1 of the Employer's Requirements
          [E2/7/313] requiring the provision of two laptops for the Engineer which were
       provided. Subsequently, a Variation was issued for a further laptop to be
       provided to the Engineer which was also supplied.

       In response to the claim for payment of this Variation the Respondents
       contend that one of the originally supplied laptops was deficient or unreliable
       and therefore the Variation was to supply a replacement.

       However the Variation itself did not specify that this was the basis for the
       further laptop and this contention appears to be a belated justification for not
       paying for the Variation.

       In the absence of any evidence substantiating this was the reason for the
       Variation and the provision of the further laptop the Tribunal is not persuaded
      that the cost of the Variation is unrecoverable. Accordingly this claim of TZS
       1,423,464 is allowed in accordance with the Variation Order which was issued
      on the basis that the additional laptop was to be further and additional to these
      required under the Specification.

Excess materials purchased or produced by the Contractor prior to termination


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      At item 14(9) the Respondents raise the issue of losses incurred by the
      Claimant in relation to excess materials purchased or produced by the
      Contractor prior to termination. The difficulty with this issue is that the works
      were finished by Estim who purchased materials left on site by the Claimant
      There is no way of knowing whether there were excess materials purchased by
      the Claimant prior to termination as the Claimant might have executed the
      works in a different manner to Estim. Given that the termination of the
      Contract was wrongful and Estim purchased the materials left on site the
      Tribunal finds that no adjustment is to be made in respect of materials on site
      at termination in respect of losses alleged in relation to excess materials
      purchased or produced by the Contractor prior to termination.

Claim for slow working

      The Claimant claims for slow working costs between 21 June and 6 November
      2008 which is the period between the end of the Second Suspension and the
      beginning of the Third Suspension.

      The Claimant's case is contained in paragraph 7.36 and appendix 7.1
      paragraphs 91-93 of the SOC; paragraphs 7.81 - 7.84 of the Reply; and in
      paragraphs 3.197-3.200, CCS.

      The Respondents case is contained in paragraphs 453-454 of the Reply and in
      paragraphs 68-70 of Appendix 2 RCS.

      The Claimant claims direct costs incurred due to a lack of finance hampering
      progress as a result of the continuing late payment of IPCs 20A and 23 and
      additionally as a result of late payment of IPCs 24 and 25. The Claimant had
      insufficient funds to pay for its contracted supplier of diesel fuel and was
      forced to seek alternative sources of fuel at an additional cost. Secondly the
      Claimant was unable to pay for ordered bitumen supplies and the consignment
      was sold to other customers resulting in the costs of testing being wasted.

      In the Tribunal's view this claim fails for the following reasons:



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        Sub Clause 16.1 of the contract gives the Contractor the right to suspend
        the work or reduce the rate of work if the Employer fails to pay an IPC
        provided the Contractor gives not less than 21 days' notice. Prior to the
        period of slow working the Second Suspension took place and following
        the period of slow working the Third Suspension took place. The Tribunal
        has found that the Second Suspension was not valid because of lack of
        appropriate notice but that the Third Suspension was valid.

        If the Claimant had wished to reduce the rate of working during the period
        between 21 June and 6 November 2008 it should have given 21 days'
        notice of its intention to reduce the rate of working during this period. It
        did not do so.

        Secondly the Claimant is responsible for financing its own work and is not
        entitled to claim the costs of the slow working as a breach of contract for
        non-payment of a certificate when it has failed to operate the relevant
        provisions of the Contract that would have provided relief.

        Thirdly the Claimant has not established that the failure to pay its
        contracted supplier of diesel fuel resulted from non-payment of any IPC in
        circumstances where it was able to source fuel from local stations in
        Dodoma Town. Similarly in relation to the bitumen testing the Claimant
        ordered y6t which it was then unable to pay for as a result of lack of
        finance which the Claimant has not shown to be attributable to the non-
        payment of any IPC.




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SECTION XI: THE CLAIMANT'S DAMAGES CLAIMS

       In this Section, the Tribunal considers the Claimant's damages claims in
       relation to (i) performance security; (ii) currency devaluation; (iii) loss of
       opportunity; (iv) costs of DAB and amicable settlement; which are in addition
       to the claims made directly under the provisions of the Contract. The Tribunal
       first addresses the availability of damages as an alternative to claims made
       under the terms of the Contract.

Availability of damages

Parties' submissions

       The Claimant makes these damages claims in addition to the claims made
       directly under the Contract. The Respondents aver that this is not possible as a
       matter of Tanzanian Law: where the Claimant has elected to proceed under the
       Construction Contract or common law, then the Contractor - by operation of
       common law election - is held to that path.

       The Claimant denies that it is put to an election between its entitlement to
       terminate under Sub-Clause 16.2 of the Contract and to terminate for
       repudiatory breach at common law. Rights may accrue under the common law
       and rights may accrue under the Contract. To the extent that they do, they are
       independent rights and both may be exercised, subject to the qualification that
       there cannot be double recovery. If there are inconsistent remedies then an
       election may be required, but the Respondents have acknowledged at footnote
       128 of the Rejoinder 1A5/1.1/461 that no election is necessary in cases where
       the remedies under and for breach of contract do not differ: Stocznia v
       Gearbulk [2009] EWCA Civ 75 FF414.24/I1. They do not differ materially in
       the instant case. Termination under Sub-Clause 16.2 entitled the Claimant to
      the remedies provided under that clause, namely: (i) return of the performance
       security; (ii) payment in accordance with Sub-Clause 19.6; (iii) loss of profit
       and other loss and damage suffered as a result of the termination. Following
      acceptance of a repudiatory breach the Claimant was entitled to be put back in
      the position it would have been in had the contract been performed and so


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       would have been entitled to all of the matters provided for under Sub-Clause
        16.2.

       The Respondents aver that even if Tanroads was in repudiatory breach, the
       law provides that damages are to be calculated based on the least onerous
       legitimate action available to the defaulting party at the time of breach.
       Therefore damages would be assessed assuming that Tanroads had exercised
       its contractual right to terminate for convenience under Sub-Clause 15.5, with
       compensation limited to the payment provided for thereunder. In the case of a
       Sub-Clause 15.5 termination for convenience, payment is to be made in
       accordance with Sub-Clause 19.6. Assuming termination for convenience, the
       Contractor's potential recovery is limited to any categories of claim under
       Sub-Clause 19.6 that it has adequately proven. The Contractor's remaining
       claims are costs incurred, on the Contractor's theory, as a consequence of
       termination, and not in expectation of completing the Works or recoverable
       under any other provision of Sub-Clause 19.6. Therefore, oven if the Contract
       was validly terminated by the Contractor, which is denied, the bulk of its
       claims on termination would still fail.

       The Claimant denies the Respondents' suggestion that damages on termination
       should be assessed on the basis that, but for the termination, the defaulting
       party would have performed the contract in the least onerous way possible.
       The argument is based on the fact that because the Respondents had the
       benefit of a termination for convenience clause in the contract, damages would
       have been assessed on the basis that the Respondents would have exercised
       that right.

       However, the Claimant maintains this is incorrect as (i) the Respondents
       cannot have the benefit of Sub-Clause 15.5 as they arranged for the Works to
       be executed by another contractor - Estim, which is not permitted by the
       clause; and (ii) in any event, the general principle is that damages are assessed
       at the date of breach.

Analysis and conclusions of the Tribunal



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       There are two issues to be decided in connection with the availability of
       damages.

       The first is whether in the event that the Respondents are in rejDudiatory breach
       in relation to termination of the Contract as the Tribunal has decided, any
       damages are to be calculated on the basis of the least onerous legitimate action
       available to the Respondents at the time of breach The Tribunal has already
       decided in Section XIII that the damages recoverable by the Claimant are not
       limited to the damages recoverable as if the Respondents had terminated the
       Contract for convenience under Sub- Clause 15.5.

       The second issue is whether the Claimant is put to an election between its
       entitlement to terminate under Clause 16.2 of the Contract or to terminate for
       repudiatory breach at common law The Tribunal has decided in Section XIII
       that the Contract was validly terminated in March 2009 by the Claimant for
       repudiatory breach by the Respondents.

       In the Tribunal's view the right to recover damages for repudiâtory breach and
       to recover under the Contract provisions relating to termination arise
       independently and no election is required where the remedies under the
       Contract and for repudiatory breach are similar as is the case in this instance.
       The Respondents accepted this to be the case in footnote 128 of the Rejoinder
       IA5.1.1/461. The Tribunal, having found that the Contract was validly
       terminated on the basis of the Respondents' repudiatory conduct find that the
       Claimant is entitled to recover damages. The compensation recoverable by the
       Claimant in relation to Termination is addressed in Section IX and the
       remaining damages claims are addressed below.

Performance Security

Parties' submissions

       The Claimant's claim in respect of Performance Security is set out at Section
       11 of the Amended SoC. In summary, there are three heads of loss claimed:




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           First, the Claimant seeks the cost of maintaining the Performance
           Security at a value higher than it was contractually obliged to do from
           1 November 2006 to termination on 11 March 2009. Under paragraph
           vi of the Addendum, the Performance Security was to be reduced as
           the Works were completed as follows:             "...the Amount of the
           Performance Security shall be reduced by amounts equal to the value
           of Sections as and when the Sections are being Taken Over in
           accordance with Sub-Clause 10." It is the Claimant's case that the
           Employer failed to take over Sections 1 - 3 of the Works when they
           were obliged to in accordance with Sub-Clauses 10.1 and 10.2 as
           amended by the Addendum, which prevented the Performance Security
           from being reduced. These sections were in use by the general public
           and therefore deemed taken over under the Addendum. The Claimant
           avers that this was not challenged by the Respondents during the
           hearing.

           Second, the cost of maintaining the Performance Security from 12
           March 2009 to its expiry. In accordance with Sub-Clause 16.4(a) of the
           Contract, the Employer is obliged to return the Performance Security
          to the Claimant promptly. The Employer failed to do this despite the
           Claimant requesting such in its letter of 11 March 2009
           [G5/64512325]. The Claimant had to maintain the Performance
          Security up to its expiry and is entitled to recover the costs of doing so.
          The Performance Security was for TZS 1,299,960,087.60 and USD
          4,073,613.75 initially expiring on 26 November 2009 but subsequently
          extended to 29 September2011 [11.3.3, Amended Sod.

          Third, the cost of preventing the Employer from making a claim under
          the Performance Security following termination of the Contract. The
          Employer threatened to call the Performance Security following
          termination and gave the Claimant no option but to take action to
          prevent the call. Accordingly, on the advice of counsel it took the
          following steps: (i) requested return of the Performance Security; (ii)
          commenced arbitration proceedings seeking return of the Performance

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             Security; (iii) commenced and conductd proceedings in the High
             Court of Tanzania seeking conservatory measures. The Claimant
             therefore seeks its costs incurred as a consequence of the Employer's
             breaches and an indemnity in accordance with Sub-Clause 4.2. As to
             the Respondents' res judicata argument, the Claimant avers that in both
             Arbitration and Cotht proceedings, the Respondents succeeded on
             procedural grounds and the Claimant's substantive case was not
             addressed. In any event, the Claimant is not seeking to re-open
             anything, it is seeking damages for breach of contract and/or the
             enforcement of a contractual indemnity, which is a different cause of
             action.

  12. The Respondents reject the Claimant's claims:

            As to the claim for maintaining performance security at a higher value,
            their position is that since no sections of the Road were actually taken
            over by the Employer, and since the Contractor improperly repudiated
            the Contract, the Employer was under no obligation either to reduce
            the amount of Perfonnance Security or return it in part or in whole to
            the Contractor. Starting in May 2007, the Contractor made numerous
            requests to the Engineer to issue Taking-Over Certificates to Sections
            1, 2 and 3 of the Road. Each time the Engineer declined because the
            Contractor had not, pursuant to Sub-Clause 10.1 of the Contract,
            substantially completed these sections at the time of its requests. In
            October 2008, both Employer and Engineer agreed that the Contractor
            could be issued Taking-Over Certificates for Sections 1 and 2 of the
            Road, excluding the undulating portion in Section 1. The Contractor,
            however, improperly repudiated the Contract in December 2008

            In relation to the claim for maintaining the performance security past
            11 March 2009, the Respondents aver that the Contractor's notice of
            termination was invalid. Accordingly, the Employer was under no
            obligation to return the Performance Security. On the Respondents'
            primary case, the Contract was terminated in December 2008,


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               following the Contractor's repudiation. In that instance, the
               Respondents were entitled to retain the Performance Security until
               such time that the works were completed.

           c. In response to the claim for protecting the Performance Security, the
               Respondents' position is that the Claimant breached the Contract when
               it filed for arbitration with the ICC without first referring the dispute to
               the DAB as required by the Contract. The Employer prevailed in the
               arbitration proceedings and was awarded costs for the arbitration,
               which the Claimant has failed to pay. The Claimant may not attack the
               prior tribunal's award or the High Court's decision by repackaging its
               rejected costs claim as a claim for contractual damages. The decisions
               of the previous tribunal and High Court are res judicata between the
               Parties such that neither party can seek to re-litigate those costs awards
               before this Tribunal.

       Further, the Respondents note that My Kyte made a number of observations
       and had certain reservations about the poor state of the underlying
       substantiation provided by the Contractor to support its claim, which should
       be taken into account in any valuation the Tribunal performs [P5/5.8/151-
       1561.

Analysis and conclusion of Tribunal

       In relation to the claim for maintaining the Performance Security at a higher
       value than the Claimant was obliged to do the Tribunal concludes that under
       paragraph vi of the Addendum the Parties agreed expressly that the amount of
       the Performance Security would be reduced by amounts equal to 10 percent of
       the value of Sections taken over.

Claim for maintaining the Performance Security at a higher value to 11 March 2009

       The Parties agreed in the Addendum that use by the general public of a section
       would constitute a deemed takeover of the relevant section.




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     Section 1 was wholly in use by the general public by 31 October 2006 [11.5.2,
     Amended Sod. The Addendum was executed on 14 March 2007.

     Accordingly for the purposes of this issue, the Tribunal finds that Section 1 is
     deemed to be taken over following the execution of the Addendum, with effect
     from 15 March 2007 and that the Performance Security should have been
     reduced to TZS 982,055,301.54 and USD 3,404,756.32 [Appendix 1.1;
     Amended Sod].

     Section 2 was in use by the general public on 28 December 2007 [11.6.4,
     Amended Sod]. Accordingly, for the purposes of this issue, the Tribunal
     finds that Section 2 is deemed to be taken over with effect from 28 December
     2007 and that the Performance Security should have been reduced to TZS
     659,81 8,405,73 and USD 2,287,570.66 [Appendix 11.2, Amended SoC].

     Section 3 was in use by the general public from 1 November 2008 [11.2.4,
     Amended SoC] and for the purposes of this issue, the Performance Security
     should have been reduced to TZS 260,858,439.47 and USD 904,388.40
     [Appendix 11.3, Amended SoC].

     Accordingly the Tribunal accepts the Claimant's submission that the
     Performance Security was maintained at a higher value than contractually
    required from 14 March 2007 (the date of the Addendum) to 11 March 2009
     (the date of valid termination as found by the Tribunal) and finds that the
     Claimant is entitled to recover the cost of this as damages for breach of the
    Contract.

    The particulars of the cost incurred are set out at paragraph 11.12.7 and in
    Appendices 11.4 and 11.5 of the Amended SoC. The Tribunal accepts the
    categories of cost claimed for the Bond Fee, the insurance premium and the
    Valuation Fees, but not the Nominal Fee. The latter consists of rent paid by
    the Claimant to Highland Estates Ltd. a subcontractor, for allowing its
    premises in Dar es Salaam to be used as security for the Performance Security.
    The Tribunal does not consider that this arrangement represents a proper cost
    of maintaining the Performance Security.


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       Accordingly the Tribunal finds that the Claimant is entitled to recover TZS
       25,888,889 and USD 39,523 for this head of claim.

Claim for maintaining the Performance Security from 12 March 2009

       In relation to the cost of maintaining the Performance Security from 11 March
       2009 to the date of expiry of the Performance Security as the Tribunal has
       found that the Claimant validly accepted the Respondents' repudiatory
       conduct as terminating the Contract on this date and the Employer did not
       return the Performance Security as requested in the Claimant's letter of 11
       March 2009 1G5/645/23251 as it should have done, the Tribunal finds that the
       Claimant is entitled to recover this cost.

       Accordingly the Claimant is entitled to recover the sums of TZS 121,056,060
       and USD 443,903 as set out in Appendices 11.6 and 111.7, Amended SoC.
       Those sums are agreed by the Quantum Experts as figures.

Claim for costs of preventing a call on the Performance Security

       In relation to the claim to recover, as damages, the costs incurred by the
       Claimant in taking conservatory measures to prevent the Respondents from
       making a call under the Performance Security following termination of the
       Contract, the Tribunal finds that this claim fails. The Claimant commenced
       both arbitration proceedings and proceedings in the High Court of Tanzania
       for these conservative measures. The Claimant failed in both sets of
       proceedings and costs were awarded to the Respondents. Whatever the reasons
       for the decisions in the arbitration proceedings and the High Court (and
       irrespective of the question of whether the Tribunal in this arbitration has
       jurisdiction to award, as damages, costs arising in another arbitration) the
       Tribunal considers that the Claimant is not entitled to recover damages in
       respect of the costs incurred in taking conservatory measures where the
       Claimant has failed in the proceedings. If the Claimant had been successful in
       the proceedings it would, no doubt, have been awarded its costs but the costs
       now being claimed following the failure of the proceedings cannot be
       considered as being damages flowing from the wrongftil termination of the


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       Contract. The issue of the unpaid award of costs in the arbitration proceedings
       in favour of the Respondents is addressed in Section 13.

       Finally at RCS/Appendix 5/4 the Respondents rely on certain observations by
       Mr Kyte in his First Side Report [D5/5.8/151-156] about the "poor state of the
       underlying substantiation provided by the Contractor to support its claim".
       However in the Second Joint Report [1)6/1/11] Mr Kyte agreed figures as
       figures with Ms Prior in relation to the value of the claims and the Tribunal
       sees no need to depart from these agreements.

Currency devaluation

Parties' submissions

       The Claimant seeks an award in Japanese Yen being the currency in which it
       felt the loss and relies on s73(l) of the Tanzanian Law of Contracts Act.
       Devaluation is a recoverable as a head of loss under Tanzanian Law - Zuberi
       Augustino v Anciet Mugabe [1992] TLR 137 [F2/2.14.

       It avers that although the currencies of payment under the Contract were TZS
       and USD, the Claimant had to finance the project in JPY as this was the
       currency available to it from its Japanese banks. Only an award in Japanese
       Yen or in other currencies plus compensation for the devaluation of the other
       currencies against Japanese Yen will compensate the Claimant for the
       deteriorating exchange rates.

       The Respondents contend that entitling the Claimant to recover for the
       depreciation of contractual currencies as against the Yen has no legal basis
       and would lead to inequitable results. The Claimant would retain the upside
       benefit when the contractual currencies appreciate against the Yen, without
       having to accept the downside risk when those same currencies depreciate.
       There is no indication in the Contract that the Employer agreed to bear this
       risk. To the contrary, the Parties had agreed a contractual exchange rate.

       The Claimant's position finds no support in either English or Tanzanian Law.
       The law does not countenance the recovery of foreign exchange losses. First,


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     the claim is wholly speculative, and falls outside the scope of the type of
     damages that are recoverable under the Tanzanian Law of Contract Act s73
     (1) which only permits the recovery of damages "which the parties knew,
     when they made the contract, to be likely to result from the breach of it."
     Further, compensation is not to be given for "any remote and direct loss or
     damage sustained by reason of the breach." Second, in the Texaco Melbourne
     case, the court found that once the appropriate currency for paying damages
     has been determined "no account is taken of fluctuations in the relevant
     currency as against other currencies between the date of breach and the date
     ofjudgment." Third, the Contractor voluntarily bore the risk that the value of
     the contractual currencies vis-á-vis the yen could fluctuate over time. Prior to
     submitting its bid, the Contractor was free to select the convertible foreign
     currency it wished, which Mr Salcamoto admitted could have been Japanese
     Yen [T4/168/21-25]. Mr Koizumi also acknowledged that he understood that
     the choice of currencies exposed the Contractor to foreign exchange risks
     [T4/85/12-15].

     The Respondents state that case law provides that an award of damages should
     be made in the currency in which the Parties have agreed payments should be
     made. The currency in which a claimant felt its loss is a fall-back position to
     be used if - and only if - there is no such agreement. Here, the Parties chose
     US dollars and Tanzanian shillings as the currencies of account and payment
     for all transactions arising under the Contract. Accordingly, the proper
    currencies for any award of damages are the contractual currencies.

    The Respondents also point out that if the Claimant succeeded on both the
    financing charges claim and the devaluation claim, this would amount to
    double recovery. Theoretically, the Contractor would receive financing
    charges at the contractual rates of interest during the period of delayed
    payment, on top of the principal. Therefore, when assessing the Contractor's
    actual loss for the purpose of calculating damages, it would be improper
    merely to compare the difference between the Yen that the Contractor could
    have purchased had its various claims for additional payment been paid at the
    time they were made, and the Yen that it will be able to buy when the

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        Respondents pay the hypothetical award in this Arbitration. That approach
        improperly disregards the interest payable on the principal amounts. Instead,
        the comparison would have to be made between (i) the Yen that the Contractor
        could have purchased (principal), plus the interest that is payable on the
        principal and (ii) the Yen that the Contractor will be able to purchase, when
        the award is paid. They contend that adjusting for this duplication would
        eradicate the devaluation claim in its entirety.

Analysis and conclusions of Tribunal

       The Claimant is seeking an award in Japanese Yen as the currency in which it
        felt the loss or in other currencies plus compensation for the devaluation of the
       other currencies against the Yen this claim ignores the reality of the position
       under the Contract and the basis on which the Claimant chose to tender.

       Prior to submitting its tender the Claimant was free to select the convertible
       foreign currency that it wished to have In fact the foreign currency chosen
       was US Dollars notwithstanding that the Claimant knew it had to finance the
       Project in Yen as this was the currency available to it from its banks. Mr
       Sakamoto accepted in evidence that the foreign currency selected could have
       been Yen [T4/168/21-25].

       Despite this the Claimant did not hedge the currency risk 1T4/81/23-25 -
       T4/8211-21 and Mr Koizumi accepted that he understood the Claimant was
       exposed to foreign exchange risks [T4/85112-15].

       In the Tribunal's view the Claimant knowingly undertook the foreign
       exchange risk after selecting US Dollars as the foreign currency for the
       Contract alongside TZS and did nothing to protect itself from the risk of
       fluctuations in the exchange rate. Accordingly the Tribunal finds that the
       Claimant is not entitled to compensation for the devaluation of other
       currencies against the Yen.

Loss of opportunity

Parties' submissions


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     The Claimant avers that Konoike's financial difficulties caused by the
     Respondents' breaches of contract affected its ability to bid for and win new
     work. Its ease on loss of opportunity is set out at Section 13 of the Amended
     SoC. It had identified three projects where it could not submit a bid because
     of its financial difficulties and lost the chance to submit tenders for and win
     these three contracts. Tender I was for a joint tender for the sub-contract for
     the construction of two pre-stressed concrete tanks forming part of a jetty
     development and LNG received terminal project in Thailand. Tender 2 was a
     tender for Phase 3 of a Hydropower project in Kenya. Tender 3 was for the
     Fly Over Project in Mongolia. The Claimant avers that its banks, in particular
     SMBC, advised the Claimant not to submit the tenders and it had no option
     but to follow this advice. In 2006, SMBC and Konoike agreed a Framework
     according to which Konoike would not engage in a further large international
     project until one year after the Dodoma issue has been resolved. In the
     meantime, Konoike should concentrate only on going for Grant Aid Projects.
     Konoike could not persuade SMBC to allow it to tender for Tenders 1 -3 and
     for that reason it did not submit these tenders. Konoike claims loss of profit in
     the sum of J.Yen 838,610,983 altematively tender expenses in the sum of J.
     Yen 6,682,378.

     Sub-Clause 17.6 of the Contract provides a limitation of liability provision
     stating that: "Neither Party shall be liable to the other Party for loss of use of
     any Works, loss of profit, loss of any contract or for any indirect or
     consequential loss or damage which may be suffered by the other party in
     connection with the Contract, other than under Sub-Clause 16.4 and Sub-
     Clause 17.1." The Claimant points to the final paragraph which states "This
    Sub-Clause shall not limit liability in any case offraud, deliberate default or
    reckless misconduct by the defaulting Party. "It is the Claimant's case that the
    Respondents' breaches which resulted in the Claimant being unable to tender
    for Tenders 1 - 3 amount to both deliberate default and reckless misconduct of
    the Respondents so that the limitation does not apply.

    The Respondents contend that the lost opportunity claim is speculative in the
    extreme. It rests entirely on the testimony of Mr Yamashita, who has admitted

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       that Konoike never actually tendered for any of the three projects [T7/74/1-71.
       In fact, the weight of the evidence is that the Claimant's decisions not to
       pursue these Tenders were based on quite unrelated business considerations,
       including the Claimant's inability to prepare a reliably lower bid, competition
       from other construction companies, and the Claimant's own poor track record
       in the countries where these projects were located. The Claimant has abjectly
       failed to prove either causation or damages with respect of any of the three
       Tenders. It cannot show that (i) but for a specific breach of contract by the
       Employer, it would have submitted the bids; and (ii) there was a substantial
       chance, not merely a speculative chance - that it would have won them.

       Additionally, with respect to at least Tenders 2 and 3, the Respondents state
       that a broader point should be made on the issue of causation, which is that the
       Claimant's decision making appears to have hinged largely on the "advice" of
       a single bank which the Claimant treats as binding, rather than the Claimant's
       own appreciation of its business circumstances. If so, the Respondents
       contend that the Claimant's unwillingness or inability to seek other sources of
       project finance is a more prominent cause of any decision not to bid than
       supposed cash flow problems on any particular project.

       In relation to the Claimant's argument on the limitation clause, the
       Respondents aver that there was no such wilful misconduct or deliberate
       default. How that could even be alleged as of October or December 2007,
       when Tenders 1 and 2 would have taken place, is in the Respondents'
       submission incomprehensible.

       Furthermore, in the event that the Tribunal were to accept all or some of the
       Claimant's case on lost opportunities, the Respondents aver that the
       Claimant's estimates are over-optimistic and clearly ignore the realities of its
       past projects.

Analysis and conclusions of the Tribunal

   43, The Tribunal have concluded that the loss of opportunity claims in respect of
      the three projects must be dismissed on the grounds that the Claimant has


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       failed to prove causation or that damage was suffered In all three projects the
       proposed tenders were not even submifted.

Tender 1

       Tender 1 involved a tender to 1HI for a subcontract for two concrete LNG
       tanks for the PTT LNG Terminal in Thailand. It is clear from the minutes of a
       meeting on 27 October 2007 [C2/1.11/3] of the Claimant's Screening
       Committee setting out the reasons for not proceeding with the tender and form
       Mr Yamashita's evidence that the problems with the this Project were not
       given as a reason for not proceeding 1T7/82/5-191.

       The Claim in respect of Tender 1 fails for this reason alone.

Tender 2

       This tender involved a bid to construct phase 3 of the SondulMiriu
       Hydropower Project in Kenya. Although the Claimant contends that they did
       not proceed with this tender and that their bank (SMBC) advised them not to
       because of the problems on this Project it was apparent from Mr Yamashita's
       evidence that losses incurred by the Claimant on previous phases of the
       Kenyan project of 1.8 billion yen were a factor influencing the position
       [T7/90/10-17; T7/92/19-93/6].

       Secondly Mr Yamashita told the Kenya Ministry of Energy, the Japan Bank
       for International Cooperation and the Japanese Ambassador to Kenya that the
       Claimant was not proceeding with its tender because of high costs and security
       problems [T7/99/4-9]. My Yamashita said in evidence that he had no
       alternative but to say this in order to protect the Claimant's business reputation
       on Kenya [T7/96/19-23] although the overriding reason not to proceed was the
       problems on this Project.

       Given the foregoing the Tribunal has no hesitation in dismissing the claim for
       lost opportunity in respect of Tender 2.

Tender 3



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       Tender 3 was a joint tender for the construction of a Railway Flyover in
       Mongolia. Mr Yamashita accepted in evidence [T7/112/17-211 that the
       contemporaneous documentation did not refer to this Project as being a reason
       not to proceed with a project in a country where the Claimant had previous
       negative experience. Instead Mr Yamashita relied upon an undocumented
       telephone call from SMBC on 10 July 2009 instructing the Claimant not to
       proceed due to the Claimant's cash flow problems.

       The evidence in the Tribunal's view is insufficient to establish causation in
       respect of Tender 3 and this claim for lost opportunity is dismissed.

       Although it is not necessary to address further submissions in the case of all
       three tenders the Claimant submits through Mr Yamashita that they had a
       100% chance of winning each tender. The reality is that none of the tenders
       were submitted and in any competitive tendering situation in other countries
       no bidder has a 100 % chance of success. In the case of each of these tenders
       there are specific reasons submitted by the Respondents as to why the chance
       of success could not have been 100 %. Given the decision of the tribunal on
       the basis of causation it is not necessary to address these specific submission
       although many of them are cogent in the Tribunal's view.

       Finally Sub-Clause 17.6 of the Subcontract excludes loss of profit and contract
       claims unless the Claimant is able to establish fraud, deliberate default or
       reckless conduct by the Respondents. Given the Tribunal's findings on the
       merits it is not necessary to decide whether Sub-Clause 17.6 is applicable.

Costs of the DAB proceedings and amicable settlement procedures

Parties' submissions

       The Claimant states that as a consequence of the Respondents' breaches, it
       referred the disputes to a DAB. There were two Referrals for two
       adjudications - DAB 1 and DAB2 and the adjudicator failed to give a decision
       in either. The Claimant avers that the Respondents served a Defence which
       failed to address the majority of the issues in DAB 1 and failed to serve a
       Defence at all in DAB2. Thereafter, amicable settlement talks were conducted

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     by the Parties. The Claimant accordingly seeks recovery of JPY 215,959,867
     in respect of the DAB Proceedings; and JPY 60,448,403 in respect of the
     amicable settlement talks.

     The Claimant contends that the Respondents' conduct in refusing to perform
     their obligations under the Contract and refusing to agree to allow these
     disputes to be determined in arbitration without first going through the DAB
     and Amicable Settlement processes in circumstances where it was obvious
     that these disputes simply were not suitable for these processes is such that
     Konoike is entitled to recover such costs as damages and/or compensation for
     breach of the Contract and/or as costs. Further, the costs incurred would not
     have been incurred had the Respondents not committed their breaches of
     contract which are the subject of this Arbitration. Further again, the Parties
     conferred jurisdiction on the DAB to determine costs in DAB I by seeking
     payment of such in their submissions. Sub-Clause 20.6 of the Contract
     provides that any dispute in respect of which the DAB's decision has not
     become final and binding shall be finally settled by international arbitration.
     The DAB failed to reach a decision including in respect of the costs claims
     and the Tribunal has jurisdiction over this matter. In relation to DAB 2, the
     Claimant sought its costs in those proceedings in its Referral and accordingly
     in accordance with Sub-Clause 20.6 it is a dispute upon which the DAB failed
     to give a decision and it is submitted that it is a dispute which the Tribunal
     must decide.

     The Respondents' primary position is that the costs incurred in the DAB
     proceedings and the subsequent settlement talks are unrecoverable by either
     party. The costs were incurred by both Parties as a result of the operation of
     the contractual dispute resolution mechanism, as mandated by Sub-Clauses
     20.2 to 20.4 of the Contract. There is no allegation that the Employer breached
     Sub-Clauses 20.2 to 20.4 of the Contract, and there are no grounds upon
     which such allegations could be founded. The Respondents' primary position
    is consistent with prevailing principles in international arbitration. While the
    ICC rules expressly empower the Tribunal to allocate the costs associated with



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       arbitral proceedings, there are no provisions permitting the allocation of costs
       of pre-arbitration settlement mechanisms.

       In any event, it was the Claimant, not the Respondents, who caused
       unnecessary burdens during the DAB process. While the DAB was intended
       as an efficient dispute resolution mechanism, the Claimant served up vast and
       complicated submissions. The Claimant refused to cooperate with the
       Respondents' attempt to streamline the dispute by narrowing the issues, which
       led to the DAB's cancellation of the hearing and the expiry of its jurisdiction.

      In the alternative, if the Tribunal determines that the costs of these type are in
      principle recoverable, then the Claimant should be ordered to pay the
      Respondents' DAB and settlement negotiations costs.

      In the further alternative, if the Tribunal were to award the Claimant costs in
      respect of the DABs and settlement discussions, the claim for management
      time should be rejected, and the overall award should not exceed the
      corresponding sums expended by the Respondents.

Analysis and conclusions of Tribunal

      Both DAB I and DAB 2 and the amicable discussions took place as a result of
      the requirements of the dispute resolution provisions contained in Sub-Clauses
      20.2 to 20.4 of the Contract. These provisions require these steps to take place
      before this arbitration could commence but in the case of the discussions the
      requirement is that a period has to expire for this purpose rather than that
      discussions have to take place.

      No decision was given by the adjudicator in either DAB as the time limit for
      giving such a decision expired .l3oth Parties claim their costs incurred in both
      the DABs and for the discussions although the Respondents primary position
      is that these costs are not recoverable by either Party.

      The Tribunal agrees with the Respondents' primary case for the following
      reasons:




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             Sub-Clauses 20.2 to 20.4 do not make any provision for the recovery
             of costs in respect of DAB proceedings or in respect of amicable
             discussions.

             In respect of any DAB proceedings, although such proceedings are a
             precondition to commencing an arbitration they are separate
             proceedings conducted by a separate tribunal, in this case a sole
             adjudicator. There was no final decision by the adjudicator on the
             merits of the issues and no decision in relation to costs incurred by
             either Party.

             In relation to amicable discussions although a precondition to
             arbitration this is simply a sensible step to require the Parties to take in
             an attempt to explore whether arbitration can be avoided. The process
             is not formal and in the Tribunal's view costs would only be
             recoverable if the Parties agreed to this as part of an overall; or partial
             settlement resulting from the discussions.

             Article 37 of the ICC Rules empowers the Tribunal to allocate costs
             relating to the arbitration proceedings but contains no provisions
             allowing the award of costs relating to pre- arbitration settlement
             mechanisms.

  62. For the foregoing reasons the Tribunal finds that neither Party is entitled to
     recover its costs in relation to DAB 1, DAB2 or the amicable discussions
     which took place as part of the dispute resolution process before the
     commencement of this arbitration.




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SECTION XII: THE CLAIMANT'S CLAIMS FOR VAT; FINANCING;
INTEREST

       In this Section, the Tribunal considers the Claimant's claims for VAT,
       financing costs and interest.

VAT

Parties' submissions

       The Claimant avers that it is entitled to recover VAT and]or an indemnity for
       the same on the sums found due to it by the Tribunal. It seeks (i) payment of
       VAT at 20% on all sums claimed in the arbitration; and (ii) an indemnity from
       the Respondents in the event that the Tanzanian Revenue Authority seeks to
       recover VAT in excess of that paid to the Contractor for the Project, or impose
       interest, fines, penalties or other charges or sums on the Claimant in respect of
       the Project.

       The Claimant submits that it is clear that the Respondents have frequently
       failed to pay sums due and payable to the Claimant when due or at all. The
       Claimant is claiming those sums in this arbitration and is entitled to recover
       VAT on the sums due to it by the Tribunal. VAT is a cost to the consumer (the
       Respondents), not the supplier (the Claimant).

       Further, Ms Karume in closing submissions pointed out that it is for the
       Tanzanian Revenue Authority to interpret the Value Added Tax Act to
       determine whether or not VAT was due. Therefore there is a risk, if the
       Claimant is not provided with an indemnity, that the Tanzanian Revenue
       Authority could ask for VAT and on appeal the Court of Appeal could decide
       that VAT is due. 1T14/102/5-251. Ms Karurne was asked by the Tribunal
       whether it was correct that the prima facie position was that damages do not
       attract VAT, but it was open to a court to rule otherwise. She confirmed this
       was correct [T14/103/1-61.

       The Respondents deny that the Claimant is entitled to be paid VAT at 20% on
       a]l sums claimed in the arbitration. The rate of VAT in force in Tanzania since


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       1 July 2009 has only been 18%. Further, the Claimant has failed to
       demonstrate that the sums claimed in the Arbitration constitute "taxable
       supply" for the purposes of the VAT Act. The only possible claim put forward
       by the Claimant that constitutes "taxable supply" is the claim for additional
       payment in relation to the value of work done as at termination i.e. the
       additional quantities certified in the Final Account Assessment. The
       remaining claims do not relate to the Claimant providing goods and services.
       On the contrary, they are damages claims that relate to the Claimant actively
       not providing goods or services to the Employer during periods of suspension
       and as a consequence of termination.

       In relation to the indemnity sought, the Respondents aver that the Tribunal has
       no jurisdiction to make an order as to the purely hypothetical potential future
       actions of the Tanzanian Revenue Authority. They would not be actions under
       this Contract, but rather actions in implementing the VAT Act. Such disputes
       do not fall within the scope of the arbitration agreement pursuant to which this
       Tribunal has been appointed.

       Further, the Contractor is effectively requesting immunity from the Tanzanian
       VAT regime. Such relief is not within a contractual tribunal's authority to
       give. To the extent that the Contractor subsequently comes into dispute with
      the Tanzanian Revenue Authority, its remedy lies elsewhere.

Analysis and conclusions of the Tribunal

      The Claimant is claiming VAT at 20% on all sums claimed in the arbitration.
      The Respondents say the VAT rate applicable in Tanzania since 1 July 2009 is
       18% and may not be recoverable on all sums claimed in the arbitration. Ms
      Karume for the Claimant submitted that the Tanzanian Revenue Authority will
      interpret the VAT Act to decide whether VAT is due on any sums claimed in
      this arbitration.

      On the basis of the foregoing and lack of evidence as to the applicability of
      VAT to any sums awarded the Tribunal is not in a position to decide what if
      any VAT may be due on sums received by the Claimant.


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     However the Contract is governed by Tanzanian law and the services were
     supplied in Tanzania. Accordingly it is possible that the Tanzanian Revenue
     Authority may decide that VAT is due on some or all of the sums awarded to
     the Claimant in this arbitration. In the Tribunal's view it is appropriate that if
     such a liability arises the Claimant is entitled to be reimbursed by the
     Respondents and that the Respondents as Tanzanian Government bodies
     should have no objection to the imposition (if any) of VAT by another
     government body in relation to this Contract.

     Accordingly the Tribunal finds that the Claimant is entitled to and shall have
     an indemnity from the Respondents in respect of any amount of VAT which
     the Tanzanian Revenue Authority seeks to recover on sums awarded in this
     arbitration (in excess of any VAT so far paid to the Claimant) and in respect
     of any interest, fines, penalties and/or any other charges that may be imposed
     on the Claimant in relation to VAT in respect of the Contract or Project
     provided that any such interest, fines, penalties or other changes do not arise,
     in whole or in part from any fault on the part of the Claimant. The indemnity
     shall be in respect of the final amount of VAT that is applicable after all
     appeals under the Tanzanian legal system have been exhausted.

     The Respondents contend that the Tribunal does not have the jurisdiction to
     make an order for an indemnity and secondly that the Claimant is effectively
     requesting immunity from the Tanzanian VAT regime.

     The Tribunal does not agree with either of these submissions. Firstly the
     Claimant's request for an indemnity is not a request for such immunity. It is a
    request to be protected in the event that the Tanzanian Revenue Authority
    decides that under Tanzanian law the sums paid by the Employer to the
    Contractor are subject to VAT. This is a contract for the supply of goods and
    services in Tanzania and if VAT is applicable thereto the Tribunal considers it
    to be reasonable for the Claimant to recover this from the Respondents who
    are benefitting from the Contract.

    Secondly if VAT is applicable to sums due to the Claimant under the Contract
    or this arbitration pursuant to the Contract the liability for such VAT clearly

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       arises under the Contract in respect of whatever sum is decided to be
       applicable by the Tanzanian Revenue Authority.

Financing costs and interest

Parties' submissions

   15. The Claimant claims financing charges, alternatively interest on the sums
       found due to it in the arbitration.

   16. The Claimant's ease on financing charges is set out at Section XIV for the
       amended SoC [A1/1.1/430-436; and Appendix 4 ]. The Claimant seeks
       financing charges in accordance with Sub-Clause 14.8 on all payments which
       the Employer allegedly failed to make in accordance with Sub-Clauses 143,
       the Payment Certificates under Sub-Clause 19,6 and/or Sub-Clause 16.4.

   17. The Claimant seeks financing charges in respect of:

               The Outstanding Amount;

               IPCs 19, 20A and 23;

               Balance of payments due for billed and measured work completed
               including adjustments for Price Escalation;

               Prolongation and disruption payable on claims 6, 7, 8, 13, 20 and 22;

              Entitlement arising upon termination;

          f Claims 10 and 12.

   18. In the alternative, the Claimant claims interest pursuant to Section 49 of the
       Arbitration Act 1996.

   19. The Respondents aver that the Claimant should not receive financing charges
       because the Employer did not make payments late. Furthermore, given the
       Claimant's claim for currency devaluation, the Respondents infer that any
       sums that the Claimant received denominated in Shillings and Dollars would
      purportedly have been transferred to Yen immediately had they been paid on
      the same day as the Claimant says payments were due. Any interest thereon
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       should therefore be limited to the interest rates in Japan. The Claimant has not
      put into evidence its actual cost of financing but assuming that the Claimant
      was borrowing at the short term prime lending rate for principle banks, then
      the appropriate rate would be 1.475% which has been fixed since January
      2013.

Analysis and conclusions of Tribunal

      In the Tribunal's view it is not possible to calculate what the financing charges
      would be pursuant to Sub-Clause 14.8.As the Respondents submit there is
       little evidence of Konoike's actual cost of financing although it is reasonably
       clear that the Contract was financed by Konoike's bank in Yen. Secondly the
      dates from which such financing charges would be calculated on the sums
      awarded in respect of the categories of cost set out above are difficult to
      calculate with any reasonable accuracy on the evidence available.

      However it is the Tribunal's view that the Claimant is entitled to some
      compensation for the loss of use of the sums of money which the Tribunal has
      found are due to the Claimant. Accordingly the Tribunal finds that the
       Claimant is entitled to recover simple interest pursuant to Section 49 of the
      Arbitration Act 1996 on the following basis:                                -

              Interest on sums due under the Addendum shall be payable from 14
              April 2007 which is 30 days after the date of the Addendum until the
              date of payment of such sums. Where a sum has not been paid the
              interest continues until 31 December 2015 .Interest has been calculated
              at the Bank of Tanzania rates from 2007 plus 1.005 %. The Claimant is
              accordingly entitled to TZS 1,787,741,126 and USD 6,198,045..

              In respect of all other sums awarded in this arbitration it is not possible
              to ascertain with any accuracy the specific dates on which such sums
              became due. The Tribunal have found that the Contract wa          c01aIy

              treated by the Claimant as wrongfully repudiated by the Rea-lents
              in March 2009. The Claimant commenced this arbitrtiDn i, j July 2012
              approximately three years after the termination and apjroxjaiately 3


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              years prior to the date of this award. The Tribunal concludes that it is
              fair to award interest on all sums awarded (other than the sums referred
              to in the preceding paragraph) from the date of 4 July 2012 to the date
              of this Award,using the date of3l December 2015 for this purpose..




   22. The rates of interest from 4 July 2012 to 31 December 2015 shall be:

              For US Dollars, 1.005% above base for 2012, 2013, 2014 and 2015
              which is:

              2012             1.013%
              2013             0.683%
              2014             0.561%
              2015             0.792%




              For Tanzanian Shillings, 1.005% above base for 2012, 2013, 2014 and
              2015 which is:

              2012             13.005%
              2013             13.672%
              2014             17.005%
              2015             17.005%




              For Japanese Yen, 1.005% above base for 2012, 2013, 2014 and 2015
              which is:

             2012              1.305%
             2013              1.305%
             2014              1.305%
             2015              1.305%




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   23. Accordingly the Claimant is entitled to interest of:

              TZS             6,007,136,955;
              USD             800,624

              WY              3,613,226.



      upto3l December2Ol5.



   24. In addition the Tribunal finds that the Claimant is entitled to recover interest
      99

              TZS 5,172,428.40;

              USD 682.04;

              JPY 2,833.90;




      perday from 1 January 2016 to the date of payment of the principle sums due
      under this award. These daily amounts are calculated on all principle sums
      awarded to the Claimant ,other than costs.




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SECTION XIII: COUNTERCLAIMS


       The Respondents make a number of counterclaims in these proceedings with
       which the Tribunal will now deal.


Revisions to IPCs


       This counterclaim must fail in view of the Tribunal's findings regarding the
       enforceability of the Addendum. Secondly, in relation to the items at
       paragraphs 175(1) and 175(g) the Tribunal does not consider that it is
       necessary or appropriate to make any adjustment to the IPCs referred to
       therein.


Liquidated damages


       In the light of the Tribunal's findings in Section VI regarding the
       unenforceability of liquidated damages for sectional completion and for
       completion of the whole of the Works, the Respondents' claim for liquidated
       damages must fail. In the Tribunal's view, as set out in Section VI, the
       liquidated damages provision for completion of the whole of the Works cannot
       be enforced where the Contractor had been prevented from completing by
       wrongful termination.


Defective works


Defective box culvert


       The Respondents claim the amount of TZS 16,512,045.68 and USD 8,422.36
       (including VAT). The cracking to this box culvert arose from settlement and
       the Claimant admits that if it had been obliged to complete the work it would
       have been required pursuant to Sub-Clause 11.1 to rectify the cracking.


       The Claimant argues that it has been discharged from the obligations for
       rectification of the cracking from the date of termination of the Contract as it

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       was not the intention of the Parties in the event of wrongful termination by the
       Employer for the Contractor to have any obligation with respect to completion
       of outstanding works and remedying defects.


       It seems however to the Tribunal that a calculation of the damages to which a
       wrongfully terminated Contractor is entitled must take into account the cost to
       the Contractor of rectifying the defective work carried out before the
       termination of the Contract at its cost if no termination had occurred.


       The position is however complicated by the fact that the Tribunal does not
       have evidence of what it would have cost the Contractor to remedy this
       defective work. The Counterclaim is for the actual costs incurred by the
       Respondents in having this work carried out by a replacement Contractor. The
       amount of this claim is not in the Tribunal's view the proper amount which
       should be taken into account against the wrongfully terminated Contractor.
       There are also issues raised regarding the extent of the remedial work in
       addition to its cost.


       Accordingly the Tribunal does not accept that the Respondents are entitled to
       the amounts claimed and disallows this counterclaim.


                  ooen         pits and cleamup of excess materials


       This Counterclaim relates to the completion of work still to be executed by the
       Contractor rather than to defective work for which the Contractor was
       responsible. Characterised thus, it is not an amount which can be recovered by
       the Respondents from the wrongfully terminated Contractor. This
       Counterclaim is dismissed.


Undulating section of Road


       There is a dispute between the Parties as to how this section of Road came to
       be in the state in which it presently exists, and a dispute as to whether, if the
       state of the road is the responsibility of the Contractor, being properly

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     characterised as defective work, any amount can be recovered by the
     Respondents given the expert evidence regarding the appropriate rectification.


     The first issue concerns the insistence by the Engineer upon the final trimming
     and finishing of the CRR base course layer being undertaken by a paver only
     and without the use of a grader as desired by the Contractor.


     The Tribunal accepts the evidence of Mr Penfold [04/4.1/13 - 04/4.1/14;
     05/5.5/4 - P5/5.5/7; T11/23/15 - T11/32/5] that any undulations to this
     section of the Road were a consequence of the working method instructed by
     the Engineer against the Contractor's wishes and that, following a comparison
     of the undulating section of the Road with an adjacent section, this was the
     only cause of any irregularities created.


     The Tribunal is also cognisant of the fact that the new Resident Engineer after
     December 2005 immediately rescinded the prohibition which prevented the
     Contractor from using a grader on the final CRR surface and that as a result
     there have been no irregularities from the 23Km+ point onwards.


     The section of the Road in question has been in use by the public for some 9
     years now without remedial works and the experts are in agreement fD4/4.2/4
     - 04/4.2/5; T11/20/22 - T11/20/24; T11/22/7 - T11/22/11; T11/42/14 -
     T11/42/221 that the durability of this section of the Road has not been affected
     or compromised.


     In that respect it is important to note that only some 8% of the undulating
     section is outside the specified tolerance for surface regularity and that there
     are no signs of early failure of the undulating section of the Road, despite the
     fact that it is now nearly past 50% of its design life.


     It was accepted by both the experts 1D414.2/8 - D4/4.2/9; 05/5.5/9 -
     D5/5.5/10; 05/5.9/10; T11/34/13 — T11/34/17; T11/58/19—T11/63/41 that as
     the Road is performing as expected and that only 8% of the Road has any
     issue with regard to ride quality, the work and the risks involved in disturbing

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       the pavement by remedial work are not justified. Neither of the experts
       recommend the carrying out of the works at this time and suggest the
       Employer should continue to monitor the Road. Dr Busch, the Respondents'
       expert, stated in cross-examination:


       "MR THOA'IAS: Yes. Just to be clear, the works that you have costed in your
       report, you do not recommend carrying those out now?


       A. No I don 't. I would require benefit/cost analysis, where the risks also of
       doing these patches was taken into account." IT11/62/24 - T11/63/4]


       The Respondents' expert accepted that it might be advisable for the Employer
       to wait and see what eventuated and possibly apply a 2 inch asphalt concrete
       overlay in due course to the entire length of the undulating section when more
       routine and comprehensive maintenance was undertaken.


       In the Tribunal's view, in the circumstances set out above the counter claim
       must fail.


Bleeding of bitumen


       The Respondents claim costs in respect of the surface dressing of the Road
       between (1) Ch. 83+700 and Ch. 84+000 and (2) Ch. 78+000 to Ch. 78+600
       which they contend is out of specification in that the surface dressing
       contained bleeded and fatted areas. However the experts are both agreed that
       no rectification works are required in respect of the bleeding of bitumen at this
       section. Although it is not entirely clear from the Respondents' closings
       whether this counterclaim is pursued, in these circumstances the Tribunal
       considers that this counterclaim must fail.


Costs of DAB proceedings and settlement negotiations


       This issue is addressed in Section XII and the counterclaim fails.



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Deduction of Costs awarded against the Claimant in the First Arbitration


   21. The Claimant commenced a previous arbitration ("First Arbitration") under
      the Contract in coimection with the Performance Security provided under the
       Contract.


   22. It is not necessary for the Tribunal to consider the issues which arose in the
      First Arbitration. As set out at paragraphs 1- 10 of the Respondents'
      Application for Determination of Preliminary Issues dated 10 April 2013
      ("Preliminary Issues Application"), the Tribunal in the First Arbitration
      declined jurisdiction and in its final award dated 23 November 2010, awarded
      costs to the Respondents in the following currencies:


              EUR 271,258;


              USD 136,016.60;


              GBP 1,504.02;


              TZS 4,780,194.30.


   23. The Claimant has not paid this award of costs in the First Arbitration but
      accepts that the Claimant will pay by credit in this arbitration. At the hearing
      of the Preliminary issues Application 1T2158110-20] Mr Thomas QC for the
      Claimant stated:


      "So we accept that when it comes to your final award in this arbitration in the
      quantum section there will be a line which, if there is money in our favour
      there will be a line with a sum in brackets of the costs award in the first
      arbitration.




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      We accept that that will be so, whether our claim for the costs of that
     arbitration arising from a breach of contract succeeds or/ails. So if we get all
      of our costs back or some of our costs back as damages for breach of contract
     or we get none of them back we will still have to credit the amount of those
     costs."




     Accordingly the Tribunal finds that the costs awarded in the First Arbitration,
     set out above plus interest from 10 December 2010 to 31 December 2015 and
     thereafter in a daily amount until the date payment are to be deducted from the
     sums awarded in this arbitration to the Claimant.


     For the purpose of calculating interest the Tribunal have selected the date of
      10 December 2010 as the date from which interest is to run because this is the
     date proposed by the Respondents as the date by which it proposed to the
     Claimant that the costs under the final award in the First Arbitration should be
     paid as set out at paragraph 11 of the preliminary Issues Application. The
     interest from 10 December 2010 to 31 December 2015 and the daily amount
     thereafter to the date of payment of each of the principal sums is:


               Currency           Interest to 31 October            Dairy amount
                                                2015


     USD                         6,862                       2,95


     GBP                         164                         0.06


     TZS                         3,379,909                   2,227.05


     EUR                         25,694                      9.07



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     The sums awarded to the Claimant in this arbitration are calculated in the
     currencies of TZS, USD and JPY. As set out in Section XVI Summary of
     Decisions the net sums awarded to the Claimant in TZS and USD include a
     deduction of the TZS and USD costs (including interest to 31 December 2015)
     of the First Arbitration.


     In relation to the EUR and GBP costs of the First Arbitration the Tribunal
     finds and directs that these sums plus interest due thereon are to be converted
     to TZS and USD in the proportions specified in the Contract at the exchange
     rates prevailing on the date of payment of the TZS and USD sums awarded to
     the Claimant in this Award and deducted therefrom prior to payment.




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SECTION XIV - COSTS

Applicable legal principles

       The allocation of costs by the Tribunal is governed by the relevant provisions
       of the ICC Rules.




       Article 37(l) of the ICC Rules provides that:

       "The costs of the arbitration shall include the fees and expenses of the
       arbitrators and the 1CC administrative expenses fixed by the Court, in
       accordance with the scale in force at the time of the commencement of the
       arbitration, as well as the fees and expenses of any experts appointed by the
       arbitral tribunal and the reasonable legal and other costs incurred by the
      parties for the arbitration."




       Article 37(4) of the ICC Rules provides:

       "The final award shall fix the costs of the arbitration and decide which of the
      parties shall bear them or in what proportion they shall be borne by the
      parties."




       Article 37(5) of the ICC Rules provides:

       "In making decisions as to costs, the arbitral tribunal may take into account
       such circumstances as it considers relevant, including the extent to which each
      party has conducted the arbitration in an expeditious and cost-effective
       manner."




       The Claimant has also referred to various provisions of the English Arbitration
       Act 1996. The Tribunal accepts the Respondents' submission that since no


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       provisions of that Act conflict with the costs provisions of the ICC Rules, the
       ICC Rules apply to the determination of costs.




   6. The parties are agreed that the general principle is that costs follow the event.
       The parties also agree that the application of this general principle is based on
       an assessment of the parties' "relative success" in the arbitration. However,
       the parties disagree on how the Tribunal should measure relative success.



   7. The Claimant submits that relative success should be assessed on whether the
       Tribunal decides that the Claimant's termination was valid and/or that the
       Claimant is entitled to payment of further sums over and above what it has
       been paid so far. It submits that in either or both of these situations it should
       be considered to be the successful party.



   8. The Respondents submit that relative success should be determined by:



              A comparison of any sums awarded to the Claimant against the amount
              claimed by the Claimant; and

              The Parties' success on certain discrete claims or issues.




Relative success in the arbitration

   9. The Tribunal finds that in this arbitration, the critical issues that have largely
       determined the Award were whether the Claimant was entitled to terminate the
       Contract and whether it was entitled to any further payments in particular
       arising from the Addendum especially on Price Escalation. The Claimant was
       successful on these issues. In addition the Respondents have not succeeded on
       their counterclaims, other than to the extent the costs of the previous
       arbitration have been deducted as a line item from the amount awarded to the

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       Claimant. This issue occupied little time and does not impact on the
       assessment of relative success.




       While the Tribunal does not necessarily accept the Claimant's submission that
         y financial recovery should entitle them to costs, the Claimant has
       succeeded to a substantial financial extent. Again, the Claimant has succeeded
       on the key issue of termination. The Claimant has also been successful on the
       counterclaims which were of significant value,




       It follows that the Tribunal finds that the Claimant had relative success in the
       arbitration and the starting point is that it is entitled to costs.




Efficient and cost-effective manner of proceeding




       Article 37(5) of the ICC Rules expressly provides that the Tribunal may take
       into account the extent to which each party has conducted the arbitration in an
       expeditious and cost-effective manner.




       Both parties submit that the other has failed to conduct the arbitration in an
       efficient and cost effective manner.




       The Tribunal's view is that both parties have at times complicated the conduct
       of the arbitration. However, the Tribunal finds that the conduct of each of the
       parties does not justify any change from the costs to be awarded to the
       Claimant on a costs follow the event approach.




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Costs of various preliminary issues




       The Tribunal has considered whether the costs of any preliminary issues
       should be assessed separately.




       The Tribunal has considered the various preliminary issues referred to by each
       of the parties. It finds that none of the issues justify being dealt with
       separately nor justify a separate costs award.




       Although the Respondents were successftil on the interim award ultimately
       this did not have any real impact on the scope of the arbitration or on the
       Award.




       Similarly although the Claimant says that it should get costs in any event in
      relation to the objection to Mr Schwartz; the Respondents' unsuccessful
       application for interim relief; the Respondents' failure to comply with the
       timetable; and the Respondents' changing position and pursuit of
      unneritorious arguments, the Tribunal finds that these issues do not justify
      being dealt with separately.




Jurisdiction to award costs of DAB proceeding/amicable settlement




      Both parties claim as costs, costs incurred in relation to the DAB proceedings
      and settlement discussions. For the Respondents, this claim is in the

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       alternative because its primary position is that these costs are not recoverable
       in principle as they are not costs of this arbitration.




       The Claimant submits that these costs should be recovered as the work done
       for the DAB proceedings and settlement discussions was necessary for and not
       duplicated in the arbitration.




      The Tribunal finds that it is empowered to allocate only the costs of this
       arbitration. The costs of separate previous processes cannot be claimed as
       costs in this arbitration, and any claim for these costs is disallowed.




      The calculation of the Claimants costs of the DAB and amicable settlement
      which have been disallowed, are those set out in the table at paragraph 3.19 of
      the Claimants costs submissions. These calculations do not appear to be
       challenged by the Respondents and the figures have been agreed between the
      parties experts: see joint statement of Ms Prior and Mr Kyte dated 17
      December 2014.




Whether any settlement offers impact on the award of costs




      The Claimant has referred to various offers made by it during the settlement
       discussions. The Trbunal does not consider it necessary to determine the
      admissibility of.these offers as in any event these offers were higher than the
      amount awarded to the Claimant and were not express offers relevant to costs.




      The Tribunal has considered the two without prejudice save as to costs offers
      made by the Respondents:

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              Offer of 16 September 2011 corrected on 3 October 2011: the parties
              disagree as to whether this was an offer capable of acceptance and on
             what the amount of the offer was. However, on either party's
              contention of the amount the offer was well below the amount awarded
             to the Claimant.

              Offer of 19 January 2015: the Tribunal finds that this offer was made
             too late to have any real impact on the assessment of costs and in any
              event this offer was less than the amount awarded to the Claimant.




      It follows that the Tribunal finds that there are no relevant settlement offers
      that impact on the Tribunal's assessment of costs.




Assessment of costs claimed by Claimant




      While the Tribunal has found that the Claimant is entitled to costs, and accepts
      that it had the burden of proof for its claims, its costs must be reasonable to be
      recoverable.




      The Respondents have submitted that a comparison of the amounts spent by
      the Parties shows that the costs claimed by the Claimant are excessive. The
      Tribunal considers that it is relevant to take the costs incurred by the
      Respondents into account as a comparative factor but the simple fact that costs
      incurred by the Claimant may be higher than those of the Respondents does
      not mean that the Claimant's costs are excessive.




      The Tribunal finds that the Claimant is entitled to its costs as claimed, subject
      im


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                   Costs in relation to the DAB proceeding/settlement discussions, which
                   are disallowed;

                   A deduction for the "Internal Party Staff costs', which are disallowed
                   (addressed in further detail below); and

                   Specific deductions on some categories of costs, as detailed below.

        Each of the categories of costs claimed by the Claimant will be dealt with in
        turn.




Solicitor's fees




        The Claimant has incurred solicitor's fees of GB? 4,678,893.75, as set out in
        schedule 2 to its costs submissions.




        Adequate breakdown of these fees has been given and the fees claimed are
        substantiated.




        The Tribunal disallows any fees relating to the DAB proceedings/settlement
        discussions but otherwise allows the claim for solicitor's fees. The amount for
        Beale & Company fees and disbursements for the DAB was GBP 946,949.13,
        with no fees for the amicable settlement (see paragraph 3.19 of the Claimant's
        costs submissions). Deducting this amount means an award for solicitor's fees
        of GBP 3,731,944.60.




Solicitors disbursements

        The Claimant has incurred solicitor's disbursements of GEP 490,244.50, as set
        out in Schedule 2 to its costs submissions.

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       Adequate breakdown of the disbursements has been given and the
       disbursements claimed are substantiated.




       The Tribunal disallows any disbursements relating to the DAB
       proceedings/settlement discussions but otherwise allows the claim for
       disbursements. Because disbursements for the DAB proceedings were
       included in the DAB costs deducted from solicitors fees above, they are not
       separately deducted here. This means the award for disbursements is GBP
       490,244.50.



       Since the filing of costs submissions, the Claimant has incurred fbrther costs
       in relation to the provision of the electronic hearing bundle. These costs have
       been substantiated and are allowed at the amount claimed of GBP 12,060.




Counsel fees

       The Claimant has incurred counsel fees of GBP 1,422,258.78 and USD
       133,256.70, as set out in Schedule 3 to its costs submissions.




       Adequate breakdown of these fees has been given and the fees claimed are
       substantiated.



       The Tribunal disallows any fees relating to the DAB proceedings/settlement
       discussions but otherwise allows the claim for counsel fees. The schedule of
       DAB/amicable settlement costs at paragraph 3.19 of the Claimants costs
       submissions shows counsel fees and expenses of USD 34,250 and GBP
       19,280.37 for the DAB and no counsel fees and expenses for the amicable


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       settlement. Deducting these amounts from the amount claimed means an
       award of USD 99,006.70 and GBP 1,402,978.40 for counsel fees.




ICC/Tribunal

       The Claimant has currently incurred an advance on ICC costs of USD
       627,500, as set out in Schedule 4 to its costs submissions.

       The Respondents have submitted that an inflated claim by the Claimant has
       meant that the ICC costs and expenses have been higher than necessary.
       However, the Tribunal finds that as the Claimant has succeeded on the key
       issue of termination and has had substantial financial success, it is entitled to
       recover its share of the costs of the arbitration fixed by the Court.

       At its session of 17 December 2015, the ICC Court has fixed the costs of the
       arbitration at USD 1,068,440. Accordingly, the Claimant is entitled to recover
       from the Respondents 50% of the costs of the arbitration which is USD
       534,220.




Expert fees




       The Claimant has incurred expert fees of GBP 2,282,259.63, as set out in
       Schedule S to its costs submissions.




       The Claimant has incurred fees and expenses of OBP 1,400,603.38 for its
       expert Mr David Richards. The Tribunal finds that Mr Richards's fees are
       high, and that given his views changed during the course of the arbitration,
       allows these fees with a 20% reduction, ie an award of GDP 1,120,482.60.




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       The Claimant has incurred fees and expenses of GBP 70,949.63 for its expert
       Mr Nigel Penfold. The Tribunal allows these fees.



       The Claimant has incurred fees and expenses of GBP 390,188.77 for its expert
       Mr Tim Tapper. Mr Tapper was originally instructed by the Claimant
       however dispensed with and Ms Prior was instructed. In these circumstances
       the Tribunal disallows the claim for Mr Tapper's fees.



       The Claimant has incurred fees and expenses of GBP 420,517.85 for its expert
       Ms Joanne Prior, not including the work required by Ms Prior from February
       2015. The Tribunal allows these fees.



       From the expert costs must also be deducted expert fees for the DAB of GBP
       32,194.30. This means an award for expert fees of GBP 1,579,755.70.




Costs directly paid by p arty




       The Claimant has incurred costs directly paid by party of OBP 350,129.55,
       USD 146,294.56, JPY 22,380,759.50 and TZS 954,276.82, as set out in
       Schedule 6 to its costs submissions.




       The Tribunal has found that costs for the DAB and amicable settlement are not
       recoverable in this arbitration. The schedule of DAB/amicable settlement
       costs at paragraph 3.19 of the Claimant's costs submissions shows the
       following for costs paid directly by party:




       "a.'

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               Consultant fees and expenses: USD 63,220, JPY 4,659,041 and GBP
               50,252.86.

               Costs of business trips: TZS 276, 412 and USD 23,778.

               DAB fees: USD 8,000.




       Amicable settlement




               Consultant fees and expenses: JPY 2,160,467 and GBP 97,074.41.

               Costs of business trips: USD 9,860.




       Deducting these amounts from the amount claimed for costs paid directly by
       party means an award of:

       GBP 202,802.28;

       USD 41,436.56;

       JPY 15,561,251; and

       TZS 677,864.82.




Fact witnesses costs



       The Claimant has incurred fact witnesses costs of GBP 24,238.75, USD
       1,090.96 and JPY 983,147, as set out in Schedule 7 to its costs submissions.




       The Tribunal notes that the Claimant's claims for lost opportunity for which
       there were a number of Japanese witnesses were unsuccessful. Because of this

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       the Tribunal allows the fact witnesses costs with a 10% reduction. Costs of
       fact witnesses relating to the DAB proceedings (GBP 6,323.96) are also
       disallowed. This means that for fact witnesses:



       GBP 24,238.75 —6,323.96 with 10% reduction = GBP 16,123.31;

      USD 1,090.96 with 10% reduction = USD981.86; and

       JPY 983,147 with 10% reduction = JPY 884,832.30.




Internjpty staff costs




      The Claimant has incurred internal party staff costs of USD 547,543, JPY
      214,682,872 and TZS 740,090,201, as set out in Schedule 8 to its costs
       submissions.

      These are essentially management costs and some relate to the DAB/amicable
       settlement. The Tribunal finds that none of these costs are allowable as a
       category of costs and disallows this claim.




Award of costs




      The Tribunal finds that the Claimant is entitled to the following costs:

       Solicitors fees: GBP 3,731,944.60.

       Solicitors disbursements: QBP 490,244.50 and GBP 12,060.

       Counsel fees: GBP 1,402,978.40 and USD 99,006.70.

       ICC/Tribunal expenses: USD 534,220.00

       Expert fees: GBP 1,579,755.70.
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       Costs directly paid by party: GBP 202,802.28, USD 41,43656, JPY
       15,561,231 andTZS 677,864.82.

       Fact witness costs: GBP 16,123.31, USD 981.86 and JPY 884,832.30.




SECTION XV: SUMMARY OF DECISIONS



       For the reasons set out above, the following is a summary of the Tribunal's decisions
       in this Arbitration



SECTION III: THE ADDENDUM CLAIMS

Price Escalation

       The Respondents have failed to demonstrate that approval of the Addendum
       by a Tender Board was not granted. Accordingly, pursuant to paragraph 1.0(i)
       of the Addendum (and also stated in the Deed of Settlement), the Claimant is
       entitled to be paid Price Escalation in US Dollars on the foreign currency
       element of the Adjusted Contract Price from the date of the Addendum.


       Under the original Contract after the expiry of the first 18 months of the
       contract period the Claimant is entitled to payment of Price Escalation in
       Tanzanian shillings on both the local currency and the foreign currency
       elements of the Accepted Contract Amount. The Pre-Bid Minutes do not alter
      this finding.


       The fact that the Claimant did not insert a figure in the foreign currency
       column of the Schedule does not alter this finding.


       The figure of TZS 1.5 billion inserted in the Schedule is a provisional sum and
       does not operate as a cap on the amount of Price Escalation payable under the




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      original Contract in Tanzanian shillings on both the local and foreign currency
      elements of the Accepted Contract Amount,

      The agreement in respect of Price Escalation in the Addendum does not result
      in an unreasonable windfall to the Claimant.

      The Addendum is not void on the basis of mutual mistake of fact.

      Accordingly, pursuant to the Addendum, the Claimant is entitled to the sum of
      TZS 3,825,541,246.28 and USD 9,167,298.07 for Price Escalation



Pre-Addendurn Disruption Costs

      The Parties agreed a liquidated sum of TZS 10 billion in respect of the Pre-
      Addendum Disruption costs and that no fUrther substantiation is required. This
      was paid to the Claimant in IPC 19 and was not subsequently deducted.


      The Claimant is entitled to TZS 593,370,920 and USD 5,630,448.83 for Price
      Escalation on Pre-Addendum Disruption.


Additional Design Costs

      The Claimant is entitled to recover TZS 1,813,008,129,00 for Additional
      Design Costs without fUrther substantiation of this figure. This sum was paid
      in IPC 19 and was not subsequently deducted.



SECTION IV: THE SUSPENSIONS CLAIMS

      The Claimant was not entitled to slow down or suspend work for the First
      Suspension.


      The Claimant was not entitled to slow down or suspend work for the Second
      Suspension.




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      The Claimant was entitled to suspend or slow down work for the Third
      Suspension and accordingly is entitled to an extension of time and
      prolongation costs arising therefrom.



SECTION V: OTHER DELAY AND DISRUPTION CLAIMS

Cement (Claim 7)

      The claim in relation to cement fails as to its merits and the Claimant is not
      entitled to an extension of time in relation to Section 3 or Section 4, or to
      prolongation costs or disruption costs.



Cholera (Claim 8)

      The Claimant is entitled in principle to recover its direct costs on the basis that
      the cholera outbreak constitutes an event of Force Majeure. Accordingly the
      Tribunal finds that the Claimant is entitled to recover TZS 10,282,899; USD
      1,330 and JPY 234,478 in respect of the direct costs in relation to the cholera
      outbreak.


      The Tribunal is not however satisfied that the circumstances surrounding the
      cholera outbreak establish any breach by the Respondents of paragraph 6.3 of
      the MoU as alleged by the Claimant.



Emergency repairs (Claim 8)

      The Claimant is entitled to an extension of time of one day for Section 4 and
      to recover the costs of TZS 72,258,670 being the cost of the execution of this
      requested work and prolongation costs. This day of delay as a result of the
      emergency repairs is concurrent with the period of delay for which an
      extension of time was agreed in the Addendum (30 September 2006 to 29
      September 2008). Consequently the prolongation costs cannot be recovered
      twice.

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Rainfall

       The Tribunal is not satisfied that the weather conditions experienced by the
       Claimant and the subject of this claim constitute exceptionally adverse rain.
       Accordingly the Claimant's claim fails.



Waterlogged Ground (Claim 20)

       The Claimant is entitled to an extension of time of one day for Section 4 and
       its Costs pursuant to Sub-Clause 4.12 of TZS 40,348,543; USD 28,378; JPY
       4,193,472.


SECTION VI: EXTENSIONS OF TIME AND LIQUIDATED DAMAGES



Extensions of time

      The Claimant has no entitlement to extensions of time, prolongation costs or
       disruption costs in respect of Sections 3 and 4 arising from the First and
       Second Suspensions.


      The Claimant is entitled to an extension of time to Section 4 of the work and
       for the whole of the work of 126 days for the period from 6 November 2008 to
       11 March 2009 which is the date the Contract was terminated.

      The Claimant is entitled to an extension of time of 1 day in respect of Claim 8
       (Emergency repairs to Manyoni-Issuna Road; and Claim 20 (waterlogged
       ground).


Liquidated Damages

      The Respondents cannot recover liquidated delay damages in respect of
       Sections 3 and 4. The contract provisions relating to liquidated delay damages



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     were not amended in the Addendum so that liquidated delay damages applied
     to sections rather than to the whole of the work.


     The Respondents cannot recover liquidated delay damages for any delay by
     the Claimant in completing the whole of the work due to the Respondents'
     own default in repudiating the Contract, resulting in the termination on 11
     March 2009. The Contractor was deprived wrongfully of the opportunity to
     complete the whole of the work at this point.

SECTION VII: PROLONGATION AND DISRUPTION COSTS

     There is no agreement between the Parties in the Addendum or otherwise that
     the monthly amount for Additional Indirect Cost stated in the Addendum is to
     be applied to the calculation of prolongation costs claimed in this arbitration
     by the Claimant. The amount of the Additional Indirect Cost operates as a full
     and final settlement agreed between the Parties in respect of prolongation
     costs related to the extension of time of 731 days agreed in the Addendum


     Clause 6.3 of the MoU supplements the provisions of the Contract but there is
     no contradiction between Clause 6.3 and the relevant provisions of the
     Contract pursuant to which the Contractor claims prolongation cost. The
     Tribunal concludes that prolongation costs are to be recovered pursuant to the
     relevant provisions of the Contract agreed between the Parties for this purpose
     in respect of those claims which the Tribunal has accepted.

     The Claimant is entitled to prolongation costs of:


            ClaimS (Emergency Repairs):                            TZS 351,293




                                                                   JPY 68,710




            Claim 20 (Waterlogged Ground):                         TZS 444,738

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                                                                   USD 635

                                                                   JPY 60,388




             Claim 22 (Third Suspension):                          TZS 39,638,528

                                                                   USD 12,511

                                                                   JPY 7,827,373



     The amount of TZS 9,908,094,816 found by the Tribunal to be recoverable by
     the Claimant pursuant to the Addendum for prolongation costs is to be
     reduced by the amount of TZS 13,572.73


     The Claimant is entitled to disruption costs of:


             Emergency Repairs:                            USD 11,354,740.25


             Cholera:                                      USD 11,354,740.25




SECTION VIII: TERMINATION

     The Tribunal, having reached the view that the Respondents' interpretation of
     Sub-Clause 16.2 is incorrect, find as a consequence that the Respondents had
     no right to engage another contractor to execute the work and to exclude the
     Claimant from the site. Accordingly, the Claimant was entitled to accept such
     a repudiation and terminate the Contract.


     The Claimant's right to general damages arising from the Respondents' repudiation
     of the Contract is not limited to what cotild be recovered had the Respondents
     exercised their right to terminate the Contract for convenience under Sub-Clause
     15.5.

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     The Claimants entitlement to general damages falls to be assessed by
     reference to general principles unlimited by what may have been recoverable
     by it had it been terminated for convenience by the Respondents under Sub-
     Clause 15.5.



SECTION IX: CLAIMS ARISING FROM TERMINATION

     The applicable uplift for loss of profit is 1.2%.


     The claim in respect of additional insurance premiums fails.

     The claim in respect of safety works is allowed. The Claimant is entitled to
     TZS 505,144 and JPY 96,690.

     The claim in respect of services provided to the Engineer is allowed. The
     Claimant is entitled to TZS 4,641,173.

     The claim in respect of repair costs of the Engineer's vehicle has been
     withdrawn.

     The claim in respect of costs and expenses from 11 March 2009 to 30 June
     2009 is allowed. The Claimant is entitled to TZS 243,606,189; USD 69,028;
     and JPY 37,472,773

     The claim in respect of costs and expenses post 30 June 2009 fails.

     The claim in respect of loss of profits and overheads on the balance of works
     the Claimant did not execute as a result of terminating the Contract is allowed.
     The Claimant is entitled to TZS 428,431, 533 and USD 993,957.

     The claim in respect of materials left on site is allowed. The Claimant is
     entitled to JPY 12,152,046 and must give credit in the amount of TZS
     20,694,102; USD 20,846.



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     The claim in respect of borrow pit preparation work is allowed in part. The
     Claimant is entitled to TZS 7,911,474; and JP'Y 122,504.

     The claim in respect of water supply facilities is allowed. The Claimant is
     entitled TZS 198,633,506 and JPY 935,936 and must give credit for USD
     26,576.

     The claim in respect of quarry preparation work is allowed. The Claimant is
     entitled to TZS 22,696,414; USD 6,213; and JPY 458,383.

     The claim in respect of the construction of temporary diversion road is
     allowed. The Claimant is entitled to TZS 53,493,015; USD 4,094; and JPY
     1,128,207,

     The claim in respect of the demobilisation and removal of plant and
     equipment is allowed. The Claimant is entitled to TZS 40,739,281; USJJ
     39,628; and JPY 802,013.

     The claim in respect of the demobilisation and removal of temporary facilities
     is allowed. The Claimant is entitled to TZS 106,666,934; USD 311; and WY
     1,235,528.

     The claim in respect of the stand down of plant and equipment to 30 June
     2009 is allowed in part. The Claimant is entitled to TZS 4,467,474; USD
     37,802; and JPY 12,473,905.

     The claim in respect of security guards is allowed. The Claimant is entitled to
     TZS 48,816,475.

     The claim in respect of the repatriation of ex-pat staff is allowed. The
     Claimant is entitled to USD 19,606.

     The claim in respect of legal and consultant fees fails.

     The claim in respect of management costs and expenses fails.


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     Accordingly, the Claimant is entitled to the following total amounts in respect
     of the claims arising out of termination:


     TZS 1,139,914,510

     USD 1,123,217

     JPY 66,877,983




SECTION X: THE FINAL ACCOUNT



     Sub-Clause 20.1 does not apply in relation to the submission of the Statement
     at Completion and/or the Final Statement under Clause 14. Accordingly, the
     Engineer's assessment of the Final Account of 10 February 2010 is not
     binding on the Parties or the Tribunal.


     Bill item 13.01 includes the allowance for original design costs. The Claimant
     is entitled to TZS 1,813,008,129.


     The claim in respect of additional design costs is allowed. As set out above,
     the Claimant is entitled to TZS 1,813,008,129.


     The claim in respect of additional indirect costs is addressed in Section VII
     above.


     The claim in respect of gravel (crushed stone) bedding for structures fails.


     The claim in respect of clearing and grubbing is agreed. The Claimant is
     entitled to TZS 406,549,114.


     The claim in respect of excavation to spoil fails.




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     The claim in respect of road signs is allowed. The Claimant is entitled to TZS
     22,157,701


     The claim in respect of thermoplastic road markings is allowed. The Claimant
     is entitled to TZS 304,154,766.


     The claim in respect of topsoiling median strip is allowed. The Claimant is
     entitled to TZS 1,690,095.


     The claim in respect of the railway crossing is allowed. The Claimant is
     entitled to TZS 10,621,376.


     The claim in respect of concrete class 30 is allowed. The Claimant is entitled
     to TZS 260,229,612.


     The claim in respect of renovation work at the RE office in Dodoma is
     allowed. The Claimant is entitled to TZS 9,248,370.


     The claim in respect of temporary accommodation at the Chikuyu camp is
     allowed. The Claimant is entitled to TZS 9,144,000.


     The claim in respect of telephone costs for the Engineer's office in Chikuyu is
     allowed. The Claimant is entitled to TZS 3,779,391.


     The claim in respect of the Engineer's laptop is allowed. The Claimant is
     entitled to TZS 1,423,464.


     The claim in respect of excess materials purchased or produced prior to
     termination fails.


     The claim in respect of slow working costs between 21 June and 6 November
     2008 fails.



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   SECTION XI: THE CLAIMANT'S DAMAGES CLAIMS

     The right to recover damages for repudiatory breach and to recover under the
     Contract provisions relating to termination arise independently and no election
     is required.


     The Claimant is entitled to recover the cost of maintaining the Performance
     Security at a higher value than contractually required from 14 March 2007 to
     11 March 2009 as damages for breach of contract. The Tribunal accepts the
     categories of cost claimed for the Bond Fee, the insurance premium and the
     Valuation Fees, but not the Nominal Fee. Accordingly, the Claimant is
     entitled to recover TZS 25,888,889 and USD 39,521

     The Claimant is entitled to recover the cost of maintaining the Performance
     Security from 12 March 2009 to the date of expiry of the Performance
     Security. Accordingly, the Claimant is entitled to recover the sums of TZS
     121,056,060 and USD 443,903.

     The claim in relation to the costs incurred in preventing the Employer from
     making a call under the Performance Security fails.

     The claim for currency devaluation fails.

     The claims for loss of opportunity fail.

     The claim for the costs of the DAB proceedings and amicable settlement
     procedures fails.


SECTION XII - THE CLAIMANT'S CLAIMS FOR VAT; FINANCING AND
INTEREST

     The Claimant is entitled to an indemnity from the Respondents in respect of
     any amount of VAT which the Tanzanian Revenue Authority seeks to recover
     on sums awarded in this arbitration (in excess of any VAT so far paid to the
     Claimant) and in respect of any interest, fines, penalties and/or other charges


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      that may be imposed on the Claimant in relation to VAT in respect of the
      Contract or Project provided that any such interest, fines, penalties or other
      charges do not arise, in whole or in part from any fault on the part of the
      Claimant. The indemnity shall be in respect of the final amount of VAT that
      is applicable after all appeals under the Tanzanian legal system have been
      exhausted.


   81. The Claimant is entitled to recover simple interest pursuant to Section 49 of
      the Arbitration Act 1996 on the following basis:

              Interest on sums due under the Addendum shall be payable from 14
              April 2007 which is 30 days after the date of the Addendum until the
              date of payment of such sums. Where a sum has not been paid the
              interest continues until 31 October 2015. The Claimant is accordingly
              entitled to TZS 1,787,741,126 and IJSD 6,198,045.

              In respect of all other sums awarded in this arbitration, from 4 July
              2012 to 31 December 2015 in the amounts of:


              TZS             6,007,136,955;
              USD             800,624;
              JPY             3,613,226..



   82. In addition the Tribunal finds that the Claimant is entitled to recover interest
      of:

              TZS 5,172,428.40;

              USD 682.04;

              JPY 2,833.90.




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      per day from 1 January 2016 to the date of payment of the principle sums due
      under this award. These sums for daily interest are calculated after deducting
      the amounts of daily interest in TZI-1 and USD to which the Respondents are
      entitled in respect of the amounts awarded for the costs of the First Arbitration
      and which are set out below at Section XIII, paragraph 90 . The deduction of
      the amounts of interest in GBP and EUR are addressed in Section XVI
      paragraph 4.



SECTION XIII: COUNTERCLAIMS

   81 The claim for revisions to IPCs fails.


      The claim for liquidated damages fails.


      The claim in respect of the defective box culvert fails.


      The claim in respect of open gravel pits and clean-up of excess materials fails.


      The claim in respect of the undulating section of the Road fails.


      The claim in respect of the bleeding of bitumen fails.


      The claim in respect of the costs of the DAB proceedings and settlement
      negotiations fails.


      The costs awarded in the First Arbitration set out above (EUR 271,258; USO
       136,016.60; GBP 1,504.02; TZS 4,780,194.30) plus interest from 10
      December 2010 to 31 December 2015 and thereafter in a daily amount until
      the date of payment (as set out in the table below): are to be deducted from the
      sums awarded in this arbitration to the Claimant.




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              Currency                  Interest to 31                Daily amount
                                       December 2015


      USD                         6,682.40                     2.95


      GBP                          160.27                      0.06


      TZS                         3,244,059                    2,227.05


      EUR                         25,140.93                    9.07




SECTION XIV: COSTS



   91. The Tribunal finds that the Claimant is entitled to the following costs:

      Solicitor's fees: GBP 3,731,944.60.

      Solicitor's disbursements: QBP 490,244.50 and GBP 12,060.

      Counsel fees: GBP 1,402,978.40 and USD 99,006.70.

      ICC/Tribunal expenses: USD 534,220.00

      Expert fees: GBP 1,579,755.70.

      Costs directly paid by party: GBP 202,802.28, USD 41,436.56, WY
       15,561,251 and TZS 677,864.82.

      Fact witness costs: GBP 16,123.31, USD 981.86 and WY 884,832.30.




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     92. The effect of the foregoing decisions and findings of the Arbitral Tribunal
              (excluding the award of costs set out above) is set out in the table below.



                                            -                                                                                lrilnana7s finding
                                         claim                                                                                                                           €
                                                                                                  rob                   $               Jpntert            098

 A"oa d                                                     ________________                   54,710,520,419
 30 temo                                                                                       24,525,341,00l
 tariations                                                                                       146,439,337               29.717        4,427,950
 Price encntatinn                                                                 4,410,912,159                       14,797,747
  ermintaofl Costs                                                                              1,139 ,914 510         14I147            96.317 1933
 Other Insect                                                                                     146,144,949            483,429
 prolongation                                                                                      43,434,559               13.432        11356,471
 Disruption                                                                                        22,109,481                1,109                -
 Previous Arhinsation Costs                                                                -        4,730,134 -          131,087                  -    -    3,504 .      271,253

 Counterclaim
 Total Slim Awarded Excluding Interest                                                         95,037,t83;293         16,311,828         19,262,404 -       1,904 -     272,138


 Payment Ratio otlatoaniao Sitililags to Foreign Currency                                      23,815,801,329         78,969.253         73,262,404 -       1,504 -      211,259

 Less Awnents Paid                                                                         -   12,703,171,462 .       40,010,931
 Net Sum Awarded Excluding Interest                                                            12,247,022,362         31,8118,271        79,262,404 -       1,501 .      271,258


                    Anardoil fmotn4 laIr 2011 tall Oacewber101S                                 6,007,136,955            utij              3613,226
 rnteresron Addenclssmsumsfrow 14 April 2cOltoal December2019                                   1.781,741.126          6,198.041
 Interest en PrcMsuc Arbitration Costs Awarded to te-opondent to 31 December2015           '        3,319,906 .              5.062                -    .     164 -        25,544
 totereston Net Ssmftwaided                                                                     7,731,413,373          6,991,807           3,613,226 -       154 -        23,694


 tdetslini titcinding Interest                                                                 13.391,521,840         38.969,078         22,875,629 .       1,606 -      296,982



                     floia                 ten
                                                                                    Toli         1,172,429.40
                                                                                   USS                   682.04
                                                                                    aPr                 2,233.90
                                                                                   033-                     0.06
                                                                                      3'                    3,07


 genoihe Is entitled It an indemnity from TANRDAD1 in relntlon to VATcharged by Ihelantanian Revetne Asoherity is eacest of that paid to Konnike for this Project
 goenthe is eflhittdd to as indemnity from 74380401 in tire event that the ranoanian eeeente Aothsri tylmpsoeslnteeene. fleas, penalties to othercharges orsems on fraroolu, in
 relation to the Frojete.




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SECTION XVI: FINAL AWARD

   1, For the foregoing reasons, the Arbitral Tribunal awards and declares as
      follows in respect of the Claims of the Claimant and the Counterclaims of the
      Respondents as set forth in their respective pleadings and submissions.

      The Decisions and Findings of the Arbitral Tribunal in relation to each Claim
      and each Counterclaim are set out in the preceding Section XV: Summary of
      Decisions.

      As a consequence of such Decisions and Findings the Respondents shall pay
      to the Claimant the following net sums as set out in the table at Section XV
      paragraph 92 (including net interest to 31 December 201 5)less the TZS and
      TJSD sums calculated pursuant to paragraph 4 below:

         the sums of:

         TZS 18,898,521,040

         USD 38,560,078

         JPY 82,875,629




         J

          interest of the following daily amounts from 1 January 2016 to the date of
         payment of the principle sums of:

          TZS 5,172,428.40

          USD 682.04

          JPY 2833.90




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  4. At the date of payment of the sums set out in paragraph 3 above the
      Respondents shall convert the following sums(which include interest to 31
      December 2015) into TZS and USD at the Contract TZS:USD ratio at the rates
      of exchange prevailing on the date of payment and deduct such converted
      amounts from the total of the foregoing TZS and USD sums:




          GBP 1,668

          EUROS 296,942

          interest on GBP 1,504 and EUR 271,258 sums from 1 January 2016 to the
          date of payment of the principle sums at daily amounts of GBP 0.06 and
          EUROS 9.07.




   5. The Respondents shall indemnify the Claimant in respect of any final amount
      of VAT, after all appeals under the Tanzanian legal system have been
      exhausted, which the Tanzanian Revenue Authority seeks to recover on sums
      awarded in this arbitration in excess of any VAT which the Claimant has so
      far paid in respect of the Project or the Contract.




   6. The Respondents shall indemnify the Claimant in respect of any interest, fines,
      penalties and/or other charges that may be imposed on the Claimant in relation
      to VAT on the Project or Contract, provided that any such interest, fines,
      penalties or other charges do not arise in whole or in part from any fault on the
      part of the Claimant.



   7. In respect of the costs of the arbitration the Respondents shall pay to the
      Claimant

      (a) Claimant's costs of:



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             TZS 677,864.82

             USD 141,425.12

             JPY 1,6446,083.30

             GBP 7,435,908.79




         (b) ICC costs of USD 534,220.00



 Place of Arbitration: London, United Kingdom
 DATED: f0 February 2016




 John Beliliouse              Professo ouglas Jones AO


 President




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